Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 1 of 264
                                                               July 13, 2020



                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                                Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA
               v.
   PRINCESS CRUISE LINES, LTD.,
                     Defendant.
   ________________________________/

                                                      THIRD ANNUAL REPORT

                 OF THE COURT APPOINTED MONITOR (APRIL 19, 2019 – APRIL 18, 2020)

   I.   Introduction ............................................................................................................................1

        A. Preliminary Statement ....................................................................................................... 2

        B. Background ........................................................................................................................ 8
           1. Report Overview ........................................................................................................ 8
           2. COVID-19 and Court Oversight .............................................................................. 11
           3. Case Background ..................................................................................................... 15
           4. Other Legal Proceedings Arising Since Start of ECP.............................................. 25

        C. COVID-19 Developments................................................................................................ 27
           1. Background .............................................................................................................. 27
           2. COVID-19 Timeline ................................................................................................ 30
           3. CDC No Sail Order .................................................................................................. 33
           4. Company Impacts and Response ............................................................................. 36

        D. CAM Methodology and Activities ................................................................................... 64
           1. CAM Team Visits to Ships and Shoreside Facilities ............................................... 64
           2. Other CAM Team Activities.................................................................................... 67
           3. Oversight of the External Audit Function (TPA) .................................................... 68
           4. Oversight of the Internal Audit Function (RAAS) .................................................. 68

   II. Executive Summary: CAM ECP Year Three Findings...................................................69

        A. CAM Findings: Progress ................................................................................................. 70

        B. CAM Findings: Unresolved Barriers and Opportunities for Improvement .................... 75
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 2 of 264
                                                               July 13, 2020




   III. CAM Findings: Progress ....................................................................................................79

         A. No Repeat of the Underlying Offenses ............................................................................ 79

         B. General Fulfillment of Enumerated ECP and Probation Revocation Agreement
         Requirements; Initiatives Beyond Enumerated Requirements ............................................. 80
            1. Pre-COVID-19 Fulfillment of Enumerated Requirements ...................................... 80
            2. COVID-19 Impacts on Ability to Fulfill Enumerated Requirements ...................... 81
            3. Initiatives Beyond Enumerated Requirements ........................................................ 82

         C. Employee Cooperation and Commitment ........................................................................ 84

         D. Acceptance of Culture Assessment Findings and Efforts to Address Those Findings .... 85
            1. Background .............................................................................................................. 85
            2. Company Acceptance of Findings and Signs of Progress ....................................... 88
            3. Culture Action Plans ................................................................................................ 92
            4. Ongoing CAM Team Examination .......................................................................... 94

         E. Formation of Ethics & Compliance Department and Program ........................................ 94
            1. Background .............................................................................................................. 94
            2. Ethics & Compliance Department and Program...................................................... 98
            3. Boards of Directors Updates .................................................................................. 102
            4. Ongoing CAM Team Examination ........................................................................ 105

         F. Improvements on Food Waste Management ................................................................. 107
            1. Background ............................................................................................................ 107
            2. Single Use Plastics Reduction and Food Waste Reduction ................................... 110
            3. Food Waste Digester Installations ......................................................................... 112
            4. Other Food Waste Management Initiatives ........................................................... 116
            5. Food Waste Workload Assessment and Response Plan ........................................ 118
            6. Ongoing CAM Team Examination ........................................................................ 121

         G. Development of a Strong Environmental Officer Corps ............................................... 123
            1. Background ............................................................................................................ 123
            2. COVID-19 Impacts ................................................................................................ 124
            3. Ongoing CAM Team Examination ........................................................................ 127




                                                                     ii
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 3 of 264
                                                               July 13, 2020



       H. Efforts to Develop IT Systems and Tools in Support of Compliance ........................... 127
          1. Background ............................................................................................................ 127
          2. Overview of IT Initiatives...................................................................................... 128
          3. Ongoing CAM Team Examination ........................................................................ 136

   IV. CAM Findings: Unresolved Barriers and Opportunities for Improvement ...............137

       A. Repeat Failures on Basic Compliance Support for the Ships ........................................ 137
          1. Overview ................................................................................................................ 137
          2. Pollution Prevention Equipment and Spare Parts .................................................. 143
          3. Crew Staffing and Workload ................................................................................. 150
          4. IT Support, Including Voyage Planning ................................................................ 159
          5. Waste Vendor Assessments ................................................................................... 162
          6. Ongoing CAM Team Examination ........................................................................ 162

       B. Missed Opportunities in Response to Culture Assessment Findings ............................. 164
          1. Background ............................................................................................................ 164
          2. Process Concerns: Delays and the Impact of the Corporate Structure ................. 165
          3. Substance Concerns: Draft Culture Action Plan................................................... 167
          4. COVID-19 Impacts: Culture Section of the Draft Pause Priorities Plan .............. 170
          5. Ongoing CAM Team Examination ........................................................................ 171

       C. Unresolved Weaknesses in Corporate Compliance Function ........................................ 172
          1. Overview ................................................................................................................ 172
          2. Compliance Function Remains Decentralized in Many Ways .............................. 174
          3. Ongoing Failure to Provide Required Authority to Chief Ethics & Compliance
              Officer and Environmental Corporate Compliance Manager ................................ 176
          4. Ongoing CAM Team Examination ........................................................................ 179

       D. Internal Investigations Remain Flawed.......................................................................... 180
          1. Overview ................................................................................................................ 180
          2. Background ............................................................................................................ 182
          3. Revised Investigation Procedures .......................................................................... 183
          4. Investigation Reports ............................................................................................. 193
          5. Auditing the Investigation Function ...................................................................... 197
          6. Investigation Training ............................................................................................ 198
          7. COVID-19 Impacts ................................................................................................ 199
          8. Ongoing CAM Team Examination ........................................................................ 200



                                                                   iii
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 4 of 264
                                                               July 13, 2020




        E. Inadequate Waste Vendor Assessment Program ........................................................... 201
           1. Overview ................................................................................................................ 201
           2. Audit Findings ....................................................................................................... 202
           3. Company Sustainability Report Statements .......................................................... 204
           4. Incident Reports ..................................................................................................... 204
           5. Revised Waste Vendor Assessment Procedure ..................................................... 206
           6. COVID-19 Impacts ................................................................................................ 210
           7. Ongoing CAM Team Examination ........................................................................ 211

        F. Ongoing ECP and Environmental Law Violations ........................................................ 211
           1. Overview ................................................................................................................ 211
           2. Advanced Air Quality Systems.............................................................................. 216

   V.   Evaluation of the External Audit Function (TPA)..........................................................221

        A. Engagement with the TPA ............................................................................................. 221

        B. TPA Audit Process ......................................................................................................... 222

        C. TPA Audit Reports......................................................................................................... 223

        D. TPA Independence ......................................................................................................... 223

        E. TPA Receptiveness to CAM Feedback .......................................................................... 223

        F. COVID-19 Impacts ........................................................................................................ 223

   VI. Evaluation of the Internal Audit Function (RAAS)........................................................224

        A. General RAAS Assessment ........................................................................................... 224
           1. Overview ................................................................................................................ 224
           2. Audit Process (Pre-COVID-19) ............................................................................. 226
           3. Auditors ................................................................................................................. 228
           4. Audit Findings ....................................................................................................... 229
           5. COVID-19 Impacts ................................................................................................ 232




                                                                     iv
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 5 of 264
                                                               July 13, 2020



         B. RAAS ECP Year Three Highlights ................................................................................ 234
            1. August 2019 RAAS Maritime Retreat ................................................................... 234
            2. RAAS Initiatives .................................................................................................... 234

         C. Ongoing CAM Team Examination ................................................................................. 235

   VII. Areas of Focus for ECP Year Four ..................................................................................236

         A. Diversity and Inclusion .................................................................................................. 236

         B. Training .......................................................................................................................... 243

         C. Other Personnel Issues ................................................................................................... 244

         D. Integration of Compliance Considerations into Ship Design, including
           New Builds and Dry/Wet Docks..................................................................................... 245

         E. Other Support for Operations and Compliance.............................................................. 247

         F. Company Response to Internal and External Findings .................................................. 248

         G. Post-2022: Compliance Beyond the ECP ...................................................................... 248

   Appendix A: Status of Probation Revocation Agreement Commitments

   Appendix B: Company Initiatives




                                                                         v
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 6 of 264
                                                                             July 13, 2020


   I.     INTRODUCTION

          Consistent with the Court’s Order of April 24, 2020, Dkt. No. 187, the Court Appointed

   Monitor (“CAM”)1 submits this Annual Report for Year Three of the Environmental Compliance

   Plan (“ECP”) (“CAM Third Annual Report” or “Report”).2 This Report focuses on

   developments during ECP Year Three: the period from April 19, 2019 – April 18, 2020.3

   However, notable developments since the end of this period are included below.4




   1
    The CAM is Steven P. Solow, a partner at the law firm Baker Botts LLP (“Baker Botts”). The
   CAM retained, inter alia, Baker Botts and the marine consulting firm Martin & Ottaway as
   advisors to the CAM (collectively, the “CAM Team”).
   2
     Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms, Dkt. No. 58-1, or prior CAM reports. The CAM has submitted the following
   reports: (1) First Annual Report of the Court Appointed Monitor (2017-2018) (June 21, 2018),
   Dkt. No. 105 (“CAM First Annual Report”); (2) Quarterly Report of the Court Appointed
   Monitor (September 2018) (Sept. 21, 2018), Dkt. No. 114 (“CAM September 2018 Quarterly
   Report”); (3) Quarterly Report of the Court Appointed Monitor (December 2018) (Dec. 18,
   2018), Dkt. No. 115 (“CAM December 2018 Quarterly Report”); (4) Quarterly Report of the
   Court Appointed Monitor (April 2019) (Apr. 2, 2019), Dkt No. 116 (“CAM April 2019 Quarterly
   Report”); (5) Second Annual Report of the Court Appointed Monitor (April 19, 2018-April 18,
   2019) (July 3, 2019), Dkt. No. 150 (“CAM Second Annual Report”); (6) Quarterly Report of the
   Court Appointed Monitor (September 2019) (Sept. 18, 2019), Dkt No. 166 (“CAM September
   2019 Quarterly Report”); (7) Quarterly Report of the Court Appointed Monitor (December 2019)
   (Dec. 18, 2019), Dkt. No. 172 (“CAM December 2019 Quarterly Report”); and (8) Quarterly
   Report of the Court Appointed Monitor (March 2020) (Mar. 27, 2020), Dkt. No. 183 (“CAM
   March 2020 Quarterly Report”).
   3
    ECP Year One was April 19, 2017, through April 18, 2018. ECP Year Two was April 19,
   2018, through April 18, 2019. ECP Year Four is April 19, 2020, through April 18, 2021.
   4
    The CAM provided the Company and the United States Department of Justice (“DOJ”) a copy
   of this Report in advance of its submission for their review and comment. See 07-10-2020
   Carnival Corp. Comments to CAM Third Annual Report (July 10, 2020) (“Company Comments
   on Draft Report”). The CAM took the comments received into account; however, the comments
   did not alter the substance of the Report.



                                           Page 1 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 7 of 264
                                                                               July 13, 2020


          A.      Preliminary Statement

          Before the “coronavirus disease 2019” (“COVID-19”) pandemic, CAM Annual Reports

   were structured around reporting on the Company’s5 progress towards compliance, and on

   obstacles or barriers towards compliance. This Report continues this structure, but also

   addresses impacts of the pandemic.

          In terms of progress made towards building a sustainable compliance program and

   culture, there were some important steps in ECP Year Three.6 These include:

              For the first time, creating an Ethics & Compliance group, the head of which reports
               directly to the Company’s President and Chief Executive Officer (“CEO”);

              Developing and delivering compliance training for the Boards of Directors, and hiring
               a new independent director with significant compliance experience;

              Establishing a new, permanent Compliance Committee of the Boards of Directors,
               and hiring independent outside counsel to advise the Committee on compliance
               issues;

              Making efforts to respond to the results of an environmental compliance culture
               survey of over 70,000 ship and shore employees across the Company, which
               illuminated deficits in leadership and management, resulting in “a culture where
               people who are involved in failures are blamed, and where management does not take
               required steps to learn from failures.” See Propel, Environmental Compliance
               Culture Assessment of Carnival Corporation 2018/2019 (Aug. 28, 2019)

   5
    As noted below, “Company” refers collectively to all corporate entities, including individual
   brands and operating groups, under the Carnival corporate umbrella. See infra, Part I.B.3.a.
   6
     Some of these steps were the result of the June 2019 settlement of the Company’s six admitted
   probation violations. See infra, Part I.B.3.c. That said, the Company accepted responsibility for
   these violations, agreed to undertake remedial measures, and committed resources to carry out
   those measures. See id. In prior CAM reports and in statements to the Court, the CAM has often
   observed that the Company has employees with the skill, ability, and dedication to accomplish its
   compliance goals. The continuing question has been whether there is lasting resolve from the
   Company’s top leadership to support those efforts, both in words and in deeds. In the most
   recent CAM Quarterly Report, the CAM observed that many of the Company’s top-level leaders
   have increased their personal engagement on compliance issues since the probation settlement.
   See CAM March 2020 Quarterly Report at 39. The CAM will continue to evaluate the extent to
   which there is a sustained focus by top leadership on support for compliance, including in the
   form of concrete commitments and actions. See id.


                                             Page 2 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 8 of 264
                                                                                July 13, 2020


              (“Environmental Compliance Culture Assessment Report”), at 3. Although a
              coordinated, centralized response has yet to emerge, and the results of the survey
              have not yet been widely shared within the Company beyond the senior management
              levels, it is a sign of progress that the Company’s CEO and other senior leaders have
              spoken out about the primacy and importance of safety, environmental protection,
              and compliance—even as the pandemic suspended the Company’s cruise operations;

             Implementing significant measures designed to prevent the illegal discharge of
              plastics and other non-food items in food waste, including new procedures and
              equipment installations. Before the COVID-19 pandemic, the Company reported
              significant progress toward meeting its commitments to reduce single-use plastics and
              food waste onboard;

             Continuing to grow a robust Environmental Officer corps, which will be supported by
              a new group—the Fleet Environmental Officers—as ships prepare for and begin
              returning to service. Efforts to develop the Fleet Environmental Officer program
              were coupled with other improvements in Environmental Officer training and
              support, under the strong leadership of the Environmental Corporate Compliance
              Manager and his team;

             Taking steps to develop or improve existing information technology (“IT”) systems
              and tools in support of compliance;

             Making efforts to enhance the Company’s internal audit function, which will need to
              fulfill the “monitor” role once probation is over; and

             Although not directly related to this matter, making significant investments in
              liquefied natural gas (“LNG”) propulsion technology for new ships, which will
              reduce toxic air pollutants associated with traditional maritime fuel oils.7

          Yet, barriers and obstacles to compliance remain. In ECP Year Three, the Company

   continued to have gaps and missteps in addressing underlying compliance weaknesses. These

   include:

             Repeated gaps on basic compliance support for the ships, including issues related to:
              reliability and availability of pollution prevention equipment;8 availability of spare

   7
    Whether a shift to LNG fuel will result in an overall reduction, increase, or no change in
   greenhouse gas emissions is a matter of debate and beyond the scope of this Report. See infra,
   Part III.B.3.
   8
    Crew members have continued to express to the CAM Team that malfunctions and breakdowns
   of pollution prevention equipment present a significant workload issue. This is true even when
   pollution prevention equipment incidents do not rise to the level of an ECP or regulatory



                                             Page 3 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 9 of 264
                                                                                 July 13, 2020


              parts; adequacy of crew staffing; high crew workloads; the generally slow pace of IT
              improvements needed to support compliance; and the revelation that, despite public
              statements that the Company was vetting its waste vendors before using them, the
              general lack of evidence of such vetting, leading to questions about the ultimate fate
              of wastes offloaded from Company ships;

             Delay in developing a coordinated, centralized response to the findings of the
              corporate-wide environmental compliance culture survey—a delay which reflects the
              challenges of the Company’s complex and decentralized corporate structure,
              identified as a barrier to compliance in the CAM First Annual Report;

             Unresolved weaknesses in the corporate compliance function, including that the
              compliance function remains decentralized in many ways—again, reflecting the
              CAM’s ECP Year One finding that the Company’s balkanized corporate structure is a
              barrier to compliance;

             An apparent failure to provide the Chief Ethics & Compliance Officer and
              Environmental Corporate Compliance Manager with the authority required by the
              ECP and probation settlement, despite pleading guilty in June 2019 to a probation
              violation for failing to provide the Environmental Corporate Compliance Manager
              with ECP-required authority, another issue identified by the CAM in ECP Year One;

             Persistent failure to develop an effective, independent internal investigations
              function—a challenge recognized by the Company, its consultant, the Third Party
              Auditor (“TPA”),9 and the CAM as early as ECP Year One;

             A waste vendor assessment program that, despite being an improvement from the
              previous practices, still appears to be inadequate; and

             A continuing failure to listen to, and respond to, the Company’s own employees,
              auditors, and consultants, who have repeatedly alerted the Company to many of these
              issues. For instance, as early as February 2018, Company employees identified the
              issue of prohibited discharges of non-food items (including plastics) into the ocean
              due to inadequate onboard food waste management. But it was not until the issue was


   violation, as these incidents still require crew members to take time and resources away from
   other obligations. As discussed below, the Company’s response to these concerns reflects a
   mindset that is focused on how incidents are classified, rather than on lessons that can be learned
   from incidents regarding continued obstacles to ship compliance efforts. See infra, Part IV.A.1.
   9
    The TPA is ABSG Consulting Inc., an advisory and technical services provider for the marine
   and other sectors. The TPA has submitted the following annual reports: (1) Third Party Auditor
   Year One Annual Report (June 18, 2018) (“TPA First Annual Report”); and (2) Third Party
   Auditor Year Two Annual Report (July 3, 2019), Dkt. No. 153 (“TPA Second Annual Report”);
   and (3) Third Party Auditor Year Three Annual Report (July 13, 2020) (“TPA Third Annual
   Report”).



                                             Page 4 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 10 of 264
                                                                                 July 13, 2020


               illuminated by the TPA and the CAM Team in late 2018, and put forward by the
               Office of Probation in the probation revocation petition filed in March 2019, that the
               Company began significant work to address this problem.

           Indeed, the Company appears to be among the few corporate defendants to have violated

    the terms of a corporate probation so significantly that it faced probation revocation proceedings.

    As discussed below and detailed in prior CAM reports, the Office of Probation filed a probation

    revocation petition in March 2019, near the end of ECP Year Two, alleging six probation

    violations. The Company admitted guilt to all six violations, and, as part of a June 2019

    settlement agreement resolving the violations, agreed to pay an additional $20 million fine and

    perform a range of remedial actions.

           These six probation violations were significant, not only because the underlying behavior

    was improper, but because they also indicated both: a lack of understanding of the purposes of

    oversight by the CAM and TPA, as evidenced by the violations related to improperly seeking to

    prepare ships for TPA audits; and a failure to have been sufficiently engaged with employee

    concerns to have acted upon internal warnings, as evidenced by the violation related to the illegal

    discharge of plastic waste into the ocean.

           During this past year, the Company has devoted substantial efforts and resources towards

    implementing the remedial steps agreed to in the probation settlement. It has also pursued other

    positive avenues to improve compliance, detailed in this Report.

           COVID-19 has thrown these efforts into uncertainty. For a period of weeks beginning

    around February 2020, the cruise industry, and the defendant Princess Cruise Lines in particular,

    seemed to be the daily face of the pandemic in public news and media reports. Dozens of legal

    actions and investigations are underway, both private and public, aimed at the Company’s

    response to COVID-19. Whatever their outcome, despite the impression given by early news




                                                 Page 5 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 11 of 264
                                                                                   July 13, 2020


    coverage, the spread of coronavirus does not appear to have been primarily driven by the cruise

    industry, but by a combination of factors, including the contagiousness of the virus,

    governmental failures, and the ease and ubiquity of travel. While other parts of the travel sector

    (including air travel, ground transportation, and the hotel industry) have continued or resumed

    service to some extent, as of this writing, it is unknown to what extent the cruise industry will

    recover. The Company has announced that it intends to take a phased approach to the

    resumption of cruises, and that three of its European ships will be the first to resume service in a

    limited capacity (with reduced passenger loads, no port stops, and brief three-day cruise

    durations) from German ports beginning in August 2020.

           For cruising to resume, and for the cruise industry to survive, ships must be able to

    operate safely for all onboard, including the crew. Over the past three years, the CAM Team and

    TPA have conducted over 150 ship visits and audits and spent thousands of hours with hundreds

    of crew members. The CAM Team and TPA spend little time in the guest spaces on ships,

    instead focusing on understanding the challenges crew members face in performing the many

    tasks necessary to operate the ship and support a long-standing core value of the Company:

    providing a great guest experience.

           As a result, the CAM Team and TPA are deeply aware of the dire impacts of the COVID-

    19 crisis, and the shut-down of the Company’s operations, on the livelihoods of the tens of

    thousands of employees from around the world who work on the Company’s ships, and their

    families. We are aware of this impact even as it has been observed that crew work conditions

    may call out for improvements, and that this Company, like the maritime industry it is a part of,

    reflects longstanding issues of racial and gender discrimination.




                                               Page 6 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 12 of 264
                                                                                  July 13, 2020


           As of this writing, it is unknown how, as the Company navigates through this pandemic,

    it will address the safety and other needs of these dedicated employees. The Company’s CEO

    recently pledged to make real the diversity commitments in the Company’s public statements by

    achieving concrete progress in the diversity of leadership onboard the ships. In doing so, he

    recognized that there is a direct connection between a diverse and inclusive workplace and a

    workplace that is safe and compliant. It remains to be seen if the Company uses this moment to

    take concrete steps to create a workforce with diversity at every position, including senior

    shipboard officers—particularly for crew members from nationalities who have long sought the

    opportunity to rise to the highest shipboard positions, but found those pathways almost entirely

    denied to them.

           On these and other issues, in this moment of crisis, there is also opportunity. The Court

    spoke to the broader opportunity of this moment at the virtual Status Conference held on April

    24, 2020, referencing a recent speech by former Deputy Attorney General Sally Yates.10 The

    Court noted: “[J]ust how important in emergency times, unprecedented emergency times like

    this, that it’s so important to focus on the values that the company has and not just be focused on

    the bottom line. You need the bottom line to have an industry, I am not going to minimize that,

    but it can be a temptation to cut corners.” Status Conf. Tr. at 12 (Apr. 24, 2020).




    10
       See, A. Barbarino, LAW360.COM, Ex-DOJ Deputy Warns of Virus’ Long-Term Compliance
    Risks (Apr. 22, 2020). Notably, this speech was delivered at the Ethics & Compliance
    Initiative’s (“ECI”) IMPACT 2020 Virtual Conference. ECI describes itself as a “best practice
    community of organizations that are committed to creating and sustaining high quality ethics &
    compliance programs.” About ECI, https://www.ethics.org/about/. ECI also serves as a
    consultant to the Company on its culture survey response efforts, and former Deputy Attorney
    General Yates serves on the board of ECI. Our Boards of Directors,
    https://www.ethics.org/about/our-board/.



                                              Page 7 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 13 of 264
                                                                                    July 13, 2020


              To the extent that the Company resumes cruise operations, it is expected that it will be in

    small increments. Those increments, those “minute particulars,”11 create an opportunity. As

    each ship returns to sea, consideration should be given not only to whether it has been made as

    safe as reasonably possible from the virus, but also to whether it has been repaired, provisioned,

    equipped, staffed, and supported to meet the broad and minute particulars of its compliance

    obligations. The goal of this probationary period is that the Company learn to operate in a way

    that supports its top priorities of safety, environmental protection, and compliance—today under

    probation, and, soon enough, on its own.

              B.      Background

                      1.      Report Overview

                              a) Roadmap of Report

              Part I.A of this Report opened with the CAM’s preliminary statement on ECP Year Three

    developments, including observations about the Company’s ongoing efforts to respond to the

    COVID-19 crisis that emerged near the end of ECP Year Three.

              Part I.B sets up the background for this Report, including: (1) a roadmap of the Report,

    as well as a summary of the role of the CAM and CAM reports as required by the ECP and the

    Court; (2) a discussion of the Court’s oversight role in light of the unfolding COVID-19




    11
         It is better to prevent error than to forgive the criminal.
    Labour well the Minute Particulars: attend to the Little Ones;
    And those who are in misery cannot remain so long,
    .…
    He who would do good to another must do it in Minute Particulars.
    General Good is the plea of the scoundrel, hypocrite, and flatterer . . .
    “Jerusalem” by William Blake (f. 55, ll. 48–53, 60–6).


                                                   Page 8 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 14 of 264
                                                                                  July 13, 2020


    pandemic; (3) the background of the current case, including: the Company and its corporate

    structure; the underlying criminal conviction and sentencing; the probation revocation petition

    and the agreement resolving that petition; the Status Conferences held with the Court during ECP

    Year Three; the first Status Conference of ECP Year Four, held on April 24, 2020; and the

    Court’s Order issued following the April Status Conference; and (4) other legal proceedings

    arising since the start of the ECP, including COVID-19-related proceedings.

           Part I.C. summarizes COVID-19-related developments, with a focus on those affecting

    the cruise industry and the Company, including developments since the most recent CAM

    Quarterly Report.

           Part I.D. provides an overview of the CAM Team’s activities during ECP Year Three,

    including visits to ships and shoreside facilities, as well as updates on the CAM Team’s efforts to

    transition to remote visits while in-person visits remain temporarily suspended due to COVID-

    19, as directed by the Court.

           Part II is an Executive Summary of the CAM’s ECP Year Three findings regarding the

    Company’s capabilities to meet ECP objectives. See ECP § VI.F.3.b.12 As in prior CAM

    Annual Reports, the CAM’s findings are divided into two categories: “Progress” and

    “Unresolved Barriers and Opportunities for Improvement.” Part III and Part IV provide more

    detailed discussion and analysis of each of the Progress and Barrier findings, respectively.

           Part V provides an assessment of the CAM Team’s oversight of the external audit

    function performed by the TPA, while Part VI provides an assessment of the CAM Team’s




    12
      Unless otherwise specified, all citations to the ECP in this Report are to the second amended
    version that went into effect on June 3, 2019.



                                              Page 9 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 15 of 264
                                                                                July 13, 2020


    oversight of the internal audit function performed by the Company’s Risk Advisory and

    Assurance Services (“RAAS”) group.

             Finally, Part VI identifies ongoing CAM Team areas of focus for ECP Year Four.

                           b) Role of CAM and CAM Reports

             The CAM’s mandate under the ECP is to “monitor [the Company’s] compliance with this

    ECP.” ECP § VI.A. This includes both performing the “tasks and responsibilities” set forth in

    the ECP, and reporting to the Court, Interested Parties,13 and Company. See id. at § VI.F.

    Among other things, the CAM must submit an annual report that shall “include and address” any

    “information of which the CAM becomes aware pertaining to [the Company’s] capabilities to

    meet the objectives of this ECP, including . . . with respect to [the Company’s] performance,

    whether personnel-based or related to any of its Covered Vessels, systems, equipment, or

    components.” Id. at § VI.F.3.a-b.

             The CAM’s annual report must also “provide a summary of the CAM’s findings with

    respect to the adequacy of the audits and recommendations for change made by” the TPA. Id.

    at § VI.F.3.a. In addition, during ECP Years One through Four, the CAM must perform “a

    review of [the Company’s] internal environmental audits with respect to Covered Vessels and

    Covered Personnel” and “assess the ability of the Company’s internal audit process to

    accomplish the objectives of this ECP.” ECP § VI.F.4.14

             The Court has tasked the CAM with serving as its “eyes and ears” within the Company

    and to provide the “big picture” of the Company’s compliance efforts. Status Conf. Tr. at 16


    13
      The Interested Parties are “[t]he Government, the United States Probation Office for the
    Southern District of Florida, the Seventh Coast Guard District (dp), and the U.S. Coast Guard
    Office of Investigations & Analysis.” Id. at § I.D.
    14
         As noted above, internal environmental audits are performed by the Company’s RAAS group.



                                             Page 10 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 16 of 264
                                                                                   July 13, 2020


    (Oct. 18, 2017); Status Conf. Tr. at 45 (Dec. 4, 2017). The TPA’s reports provide a more

    granular review of ship and shoreside audit findings related to ECP requirements.

           In addition to the CAM Annual Reports required by the ECP, the Company, the

    Government (together, the “Parties”), the CAM, and the Court agreed that the CAM would

    prepare CAM Quarterly Reports beginning with the first quarter of ECP Year Two. See Dkt. No.

    66. At the conclusion of each ECP year, the CAM prepares an Annual Report that also serves as

    the Quarterly Report for the final quarter of the preceding year. Therefore, this CAM Third

    Annual Report also serves as the report for the fourth quarter of ECP Year Three. The Court has

    ordered that all CAM Annual Reports and Quarterly Reports be filed in the public record. See

    Dkt. Nos. 104, 113.

                   2.      COVID-19 and Court Oversight

           Before COVID-19, this Court had made clear that the Company must improve its

    compliance performance in the face of continuing ECP violations, including violations of marine

    environmental protection laws. See CAM Second Annual Report at 1-3. The Court stressed that

    this would require not only a focus on meeting specific ECP requirements, but also on improving

    the way the Company operates, and its culture. See CAM First Annual Report at 24; CAM

    Second Annual Report at 53; CAM September 2019 Quarterly Report at 15-16. In ECP Years

    One and Two, the CAM observed that the Company’s balkanized corporate leadership and

    structure, ineffective internal investigations, pervasiveness of a blame culture, and inconsistent

    support for compliance (financial, operational, and otherwise) were barriers to developing a

    sustainable compliance program and culture. Following its guilty plea to multiple probation

    violations in June 2019, the Company made significant changes to its corporate compliance

    structure, including establishing the position of a Chief Ethics & Compliance Officer to lead a




                                              Page 11 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 17 of 264
                                                                                  July 13, 2020


    new Ethics & Compliance Department.15 The Company also began or continued other efforts to

    improve its investigations function, understand and address the problems in its culture, and

    increase the consistency of support for the compliance needs of the ships.

           COVID-19 now presents a threat to the continued operation of the Company, and those

    efforts are under the stress of a company without revenue. But, consistent with the Court’s

    admonition, it is critical that the Company maintain its commitment to and support for

    compliance (including financial and operational support) as it navigates the crisis. Recently

    updated guidance from DOJ affirms the need to evaluate whether a company’s compliance

    program is “adequately resourced and empowered to function effectively,” as well as “why the

    company has chosen to set up the compliance program the way that it has, and why and how the

    company’s compliance program has evolved over time.” DOJ, Evaluation of Corporate

    Compliance Programs (Updated June 2020), available at https://www.justice.gov/criminal-

    fraud/page/file/937501/download (“DOJ Corporate Compliance Program Guidance”), at 2.16 It

    is also important to evaluate whether the steps the Company has and will take “create and foster

    a culture of ethics and compliance with the law at all levels of the company.” Id. at 10.

            The COVID-19 crisis also underscores the interrelated nature of the four “HESS” areas

    of Health, Environment, Safety, and Security. In examining the Company’s compliance

    performance, the “E” in HESS—Environmental compliance—cannot be separated from the other


    15
      Recently, the Company also announced the appointment of a Chief Operating Officer at All
    Brands Group (a position that has not existed for several years). Both the Chief Ethics &
    Compliance Officer and the Chief Operating Officer will report directly to the Company’s CEO.
    16
       The DOJ guidance calls for looking at a range of factors in evaluating a corporate compliance
    program, including: the risk assessment function; policies and procedures; corporate culture;
    training and communications; reporting mechanisms; investigations; third-party management;
    commitment by senior and middle management; autonomy and resources; incentives and
    disciplinary measures; and continuous improvement. See generally id.


                                              Page 12 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 18 of 264
                                                                                   July 13, 2020


    areas of Health, Safety, and Security compliance. As a threshold matter, an environmentally

    compliant ship must have the necessary resources and support for compliance, including:

    installed and functioning pollution prevention equipment; a full set of critical (environmental)

    spare parts; sufficient staffing with qualified and adequately trained individuals, especially in the

    deck, technical, and environmental departments; manageable workloads; adequate shoreside

    support, including financial, IT, voyage planning, and waste offload and waste vendor

    assessment support; and a culture that supports and incentivizes compliance (including one that

    is free from harassment and discrimination). See CAM March 2020 Quarterly Report at 37-41,

    61-65.

             As COVID-19 has made stark, an environmentally compliant ship also must be a healthy,

    safe, and secure ship. A ship that is struggling with its health, safety, or security compliance

    may also struggle with its environmental compliance as a result. See id. As this Court has

    recognized, onboard outbreaks of a potentially disabling disease like COVID-19 among crew

    members “could jeopardize a ship’s ability to operate safely and in compliance with

    environmental protection requirements.” Id. at 30. The International Maritime Organization has

    also observed that “[s]eafarers spending extended periods onboard” due to governmental travel

    restrictions “are more at risk of adverse health effects, including physical and mental health

    issues . . . And a physically and mentally fatigued seafarer has a much higher risk of being

    involved in a marine casualty.” Crew changes and repatriation of seafarers – a key issue

    explained (June 16, 2020), http://www.imo.org/en/MediaCentre/HotTopics/Pages/FAQ-on-crew-

    changes-and-repatriation-of-seafarers.aspx.17


    17
      Further, many of the same causes may underlie compliance challenges across HESS areas.
    For example, cultural and workplace conditions affecting deck/bridge officers were found to



                                              Page 13 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 19 of 264
                                                                                    July 13, 2020


            The COVID-19 pandemic is also having direct impacts on the Court’s supervision of the

    Company’s compliance with the ECP and the terms and conditions of probation. The CAM and

    TPA have an obligation under the ECP to visit ships and shoreside facilities as part of their

    oversight responsibilities. While the Court has granted temporary leave for remote visits and

    audits, see infra, Part I.B.3.f and Part I.D.1, the Court also recognizes “that remote visits and

    audits are not optimal but are necessary given the unique and unprecedented circumstances of the

    COVID-19 pandemic.” Dkt No. 189 at 6. To determine when it might be safe for the CAM

    Team and TPA to return to in-person visits and audits, the Court, CAM Team, and TPA must be

    able to assess the Company’s health, safety, and security compliance efforts. This is necessary

    not only for the health and safety of members of the CAM Team and TPA, but also for ship

    crews and shoreside staff who would interact with them. While it is important for the CAM

    Team and TPA to avoid exposing themselves to COVID-19, it is equally important that the CAM

    Team and TPA avoid introducing or exacerbating the spread of COVID-19 on a ship or at a

    shoreside facility.




    have contributed to the 2012 Costa Concordia tragedy, a major safety incident, ultimately
    leading to the development of the concept of Bridge Resource Management. See CAM First
    Annual Report at 30; CAM December 2019 Quarterly Report at n.32 (noting that the Company
    defines Bridge Resource Management as the “effective management and utilization of all
    resources, human and technical, available to the bridge team to ensure the safe completion of the
    ship’s voyage from berth to berth”); see also A. Di Lieto, BRIDGE RESOURCE MANAGEMENT:
    FROM THE COSTA CONCORDIA TO NAVIGATION IN THE DIGITAL AGE (1st Ed. 2015). Ineffective
    Bridge Resource Management (and/or the related concept of Engine Resource Management)
    continues to be a repeat finding in investigations of the Company’s recent environmental and
    safety incidents. See CAM December 2019 Quarterly Report at 49-50; CAM March 2020
    Quarterly Report at 141.



                                               Page 14 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 20 of 264
                                                                                           July 13, 2020


            Therefore, while this Report focuses on the Company’s environmental compliance

    performance, it also discusses relevant aspects of the Company’s broader HESS compliance

    efforts in the areas of health, safety, and security.

                     3.        Case Background

                               a) The Company

            The defendant in this case is Princess Cruise Lines, a wholly-owned indirect subsidiary of

    Carnival Corporation & plc (“Carnival Corp.”). Princess Cruise Lines is one of nine brands

    under the Carnival Corp. corporate umbrella. Each of the nine brands falls within one of

    Carnival Corp.’s four operating groups.18 The brands and operating groups are based in various

    locations around the world:

         Operating                   Brand(s)                  Primary Shoreside Office Location(s)
          Group
     Carnival Cruise      Carnival Cruise Line            Miami, Florida
     Line
     Carnival UK          Cunard                          Southampton, UK
                          P&O Cruises UK
     Costa Group          AIDA Cruises (“AIDA”)           Hamburg, Germany (Costa and some AIDA
                                                          shared services)
                          Costa Cruises (“Costa”)
                                                          Rostock, Germany (AIDA)
                                                          Genoa, Italy (Costa)
                                                          Shanghai, China (Costa Asia)
     Holland              Holland America Line            Seattle, Washington (Holland America Line,
     America Group                                        Seabourn, and some shared services for the other
                          P&O Cruises Australia19
                                                          brands)
                          Princess Cruise Lines
                                                          Santa Clarita, California (Princess Cruise Lines
                          Seabourn                        and some shared services for the other brands)
                                                          Sydney, Australia (P&O Cruises Australia)



    18
      Operating groups may also be referred to as “operating lines” or “operating companies.” For
    consistency, this Report generally adopts the term “operating group.”
    19
      P&O Australia does not operate any Covered Vessels, but the P&O Australia shoreside office
    provides support to Covered Vessels operating in and around Australia.



                                                    Page 15 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 21 of 264
                                                                                 July 13, 2020


           In addition, Carnival Corp. has a corporate headquarters office in Miami, Florida, that

    houses the All Brands Group, an entity that oversees all of the Company’s operating groups and

    brands (collectively, the “Company”). See CAM First Annual Report at 1; CAM Second Annual

    Report at n.4.

           The Company’s complex, multi-national corporate structure is the result of a series of

    mergers and acquisitions that took place over the course of several decades. See CAM First

    Annual Report at 25-26. The Company began in 1972, with the founding of the flagship

    Carnival Cruise Line and its parent corporation, incorporated in Panama. See Carnival Corp.,

    Form 10-K for the Fiscal Year Ended November 30, 2019 (“2019 10-K”), available at

    https://www.carnivalcorp.com/static-files/dda3ed91-579c-4930-96bf-55bc4e839497, at 4. An

    initial public offering was completed in 1987, which provided an “influx of capital” that

    “allowed the company to begin expanding through acquisition.” Corporate Timeline,

    https://www.carnivalcorp.com/corporate-information/corporate-timeline?c=200767&p=irol-

    corporatetimeline (“Corporate Timeline”). Subsequent acquisitions and mergers included:

              1989: Acquisition of Holland America Line;

              1992-1999: Acquisition of Seabourn;

              1993: Name of parent corporation changed to “Carnival Corporation” to distinguish
               it from Carnival Cruise Line;

              1997-2000: Acquisition of Costa;

              1998-1999: Acquisition of Cunard;

              2003: Merger of Carnival Corporation and P&O Princess Cruises (which includes
               Princess Cruise Lines, P&O Cruises UK, AIDA, and P&O Cruises Australia); and




                                             Page 16 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 22 of 264
                                                                                  July 13, 2020


                2003: Carnival Corporation begins trading as “Carnival Corporation & plc,” dual-
                 listed on the New York and London stock exchanges.20

    See Corporate Timeline. As of late 2019, the Company describes itself as the “world’s largest

    leisure travel company” and “the largest cruise company, carrying nearly 45 percent of global

    cruise guests” on a fleet of over 100 ships. 2019 10-K at 4.

            As discussed in the CAM First Annual Report, the Company’s brands and operating

    groups have historically operated with a high degree of independence, making Carnival Corp.

    “closer to an association of companies rather than a coordinated and integrated corporation.”

    CAM First Annual Report at 25-26. The Company’s website states that its “unprecedented rise

    to the world’s largest cruise operator can be attributed to its ability to manage brand autonomy,21

    with each major cruise line maintaining separate sales, marketing and reservation offices, as well

    as through the industry’s most aggressive shipbuilding program.” Vision, Mission & History,

    https://www.carnivalcorp.com/corporate-information/mission-and-history?c=200767&p=irol-

    history.22


    20
      As noted above, Carnival Corporation was incorporated in Panama in 1972. Carnival plc was
    incorporated in England and Wales in 2000. As a dual-listed company, the “two companies
    operate as if they are a single economic enterprise with a single senior executive management
    team and identical Boards of Directors, but each has retained its separate legal identity.” 2019
    10-K at 4.
    21
      The assertion that the Company’s success is a product of its decision to maintain largely
    autonomous operations across its brands is often presented as an unqualified truth. However,
    individuals from all levels of the Company have expressed concerns that this approach may not
    be optimal from a compliance perspective. See Employee Interview/Call Notes. With the recent
    appointment of a Chief Operating Officer at All Brands Group, it remains to be seen if the
    Company will continue to operate in this decentralized manner.
    22
      As discussed below, see infra, Part IV.C, the CAM made a finding in ECP Year One that the
    Company’s “complex corporate structure and lack of centralization impede efforts towards
    continuous improvement,” and that there is “a need for greater clarity as to responsibility,
    accountability, and authority for environmental compliance.” CAM First Annual Report at 4.
    The CAM also found that the Company had not given the Environmental Corporate Compliance



                                              Page 17 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 23 of 264
                                                                                  July 13, 2020


                           b) Criminal Conviction and Probation

           On December 20, 2016, Princess Cruise Lines pleaded guilty to seven criminal felony

    counts related to knowing illegal discharges of oily waste water, and efforts to conceal those

    discharges, on the Caribbean Princess from 2005-2013: one count of conspiracy; four counts of

    failure to maintain accurate records; and two counts of obstruction of justice. See Dkt. No. 30.

    This case arose against a backdrop of numerous prior vessel pollution prosecutions and court-

    imposed compliance programs involving cruise, shipping, and other maritime companies.23 See

    CAM First Annual Report at 6-8 (discussing history of vessel pollution cases); id. at 8-11

    (discussing history of the current case); id. at 12-13 (providing an overview of the regulatory

    regime in which cruise ship companies operate). These include at least two cases in which other

    Carnival Corp. entities have pleaded guilty to felony charges for conduct similar to that in the

    present case:

              In 1998, a Holland America Line company pleaded guilty to felony charges after
               illegally discharging oily waste water and failing to properly record such discharges
               on one of its ships, resulting in $2 million in criminal penalties and a five-year ECP
               for all Holland America Line ships; and

              In 2002, Carnival Corp. pleaded guilty to six felony charges after falsifying records to
               conceal oily waste discharges on six ships, resulting in $18 million in criminal
               penalties and a five-year ECP for its entire fleet (including Princess Cruise Lines
               ships following the 2003 merger).



    Manager the ECP-required “authority to ensure full implementation of [the] ECP.” Id.; see
    ECP § III.A.2. Although the Company has taken steps to address these findings—prompted in
    large part by the probation revocation petition filed near the end of ECP Year Two—these issues
    continue to impede the Company’s compliance efforts in ECP Year Three. See infra, Part IV.C.
    23
       These prosecutions have involved violations of the International Convention for the Prevention
    of Pollution from Ships (“MARPOL”), an international environmental treaty implemented in the
    United States by the Act to Prevent Pollution from Ships, 33 U.S.C. §§ 1901-12, and associated
    criminal offenses, such as obstruction of justice, 18 U.S.C. § 1505, false statements, id. § 1001,
    and conspiracy, id. § 371.



                                              Page 18 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 24 of 264
                                                                                   July 13, 2020


    See id. at 7-8 (discussing the Company’s prior environmental criminal convictions and court-

    mandated compliance programs). Princess Cruise Lines also had at least two other prior

    environmental convictions: the first, in 1993, for knowingly discharging plastic bags of garbage

    in the ocean off the Florida Keys; and the second, in 2007, for failing to operate safely in the

    vicinity of humpback whales in waters near Alaska. See id. at 8.

           On April 19, 2017, this Court sentenced Princess Cruise Lines to pay a $40 million

    criminal penalty and community service payment, and to serve a five-year term of probation.

    See Dkt. No. 30. Among the Special Conditions of Supervision, Princess Cruise Lines and its

    parent Carnival Corp. must fund, implement, and abide by an ECP for five years. See id. The

    terms of the ECP apply to the Company’s ships, across all of its brands, that are authorized to

    operate in United States waters (“Covered Vessels”24), see ECP §§ I.A, I.D, and XI, and to

    shoreside and shipboard employees involved with the operation and technical management of

    those ships (“Covered Personnel”). See ECP §§ I.B and I.D. The Company also must retain an

    outside independent TPA and fund a CAM to report to the Court and the Interested Parties. See

    Dkt. No. 30. The role of the CAM is to “monitor [the Company’s] compliance with this ECP.”

    ECP § VI.A. The ECP also charges the CAM with overseeing both the external TPA audit

    function, see ECP §§ VI.F.1-3, and the Company’s internal audit function, see ECP § VI.F.4-5,

    which is housed in Carnival Corp.’s RAAS group.




    24
      The list of Covered Vessels has changed throughout the ECP period. As of the date of this
    Report, there are 74 Covered Vessels spanning eight of the Company’s brands: 2 for AIDA; 27
    for Carnival Cruise Line; 2 for Costa; 3 for Cunard; 14 for Holland America Line; 3 for P&O
    Cruises UK; 18 for Princess Cruise Lines; and 5 for Seabourn. See May 2020 Probation
    Supervision Report, Attachment 4.



                                              Page 19 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 25 of 264
                                                                                   July 13, 2020


                           c) Probation Revocation Petition and Agreement

           In March 2019, the Office of Probation filed a probation revocation petition,

    subsequently amended, alleging a total of six violations of the terms and conditions of probation.

    See Dkt. Nos. 93, 110. The alleged violations relate to: (1) conducting an undisclosed ship visit

    program to prepare ships shortly in advance of TPA audits; (2) conducting an undisclosed ship

    visit program after the Court had disapproved of the prior undisclosed ship visit program;25 (3) a

    continuing failure to provide the Environmental Corporate Compliance Manager with the

    requisite authority to implement the ECP; (4) falsifying training records on two ships during ECP

    Year One; (5) contacting officials of the United States Coast Guard seeking agreement with the

    Company’s position on the definition of a disputed ECP term, outside of the specified protocol

    for modifying the ECP; and (6) illegally discharging plastic mixed with food waste in Bahamian

    waters and failing to accurately record the discharge in the ship’s records in violation of

    MARPOL Annex V. See CAM Second Annual Report at 5-6, 86-93 (discussing the probation

    violations).

           On June 3, 2019, the Carnival Corp. CEO pleaded guilty on behalf of the Company to all

    six violations. See Dkt. No. 137 (Paperless Minute Entry). The Court accepted an agreement

    between the Government and the Company to resolve the probation violations and avoid the

    need for an evidentiary hearing. See Proposed Agreement For The Court’s Consideration

    Resolving Superseding Petition For Summons For Offender Under Supervision Dated April 26,

    2019, Dkt. No. 134 at 1-8 (proposed agreement); Dkt. No. 143 (Order accepting agreement)



    25
      These undisclosed ship visit programs are discussed in detail in prior CAM reports. See CAM
    First Annual Report at 73-74; CAM September 2018 Quarterly Report at 29-30; CAM December
    2018 Quarterly Report at 38; CAM April 2019 Quarterly Report at 41-52 (discussing findings
    resulting from the CAM Team’s review of these ship visit programs).



                                              Page 20 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 26 of 264
                                                                                July 13, 2020


    (collectively, “Probation Revocation Agreement”). Both the Court and the Government have

    emphasized that the main impetus for the probation revocation petition was not due to particular

    compliance issues on any ship, but due to the failure of the Company’s top leadership to take

    appropriate action on, and provide needed support for, environmental compliance. See CAM

    December 2019 Quarterly Report at 11.

           Under the terms of the Probation Revocation Agreement, the Company agreed to

    undertake a range of remedial and other actions, many with associated deadlines. These include:

    the payment of an additional $20 million criminal penalty; the issuance of a statement to

    employees by Company leadership personally accepting responsibility for the probation

    violations, see Important Message from Chairman Micky Arison and CEO Arnold Donald (July

    1, 2019) (stating that “Chairman Arison, Mr. [Stuart] Subotnick and I [Arnold Donald] take full

    responsibility for these violations”); enhanced CAM and TPA oversight, including additional

    visits and/or audits; restructuring of the Company’s corporate compliance function, including

    appointing a Chief Ethics & Compliance Officer and promoting the Environmental Corporate

    Compliance Manager; enhancements to the Company’s policies for reporting regulatory

    violations; other enhanced reporting requirements; and improvements to the Company’s food

    waste management practices. See CAM Second Annual Report at 5-6, 86-93; CAM September

    2019 Quarterly Report at 3-6; CAM December 2019 Quarterly Report at 11-17; CAM March

    2020 Quarterly Report at 50-52. Notably, the Company appears to have met its filing and

    submission deadlines under the Probation Revocation Agreement to date. See infra, Part III.B

    and Appendix A (providing an overview of the status of the Company’s fulfillment of its

    Probation Revocation Agreement obligations).




                                             Page 21 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 27 of 264
                                                                                     July 13, 2020


                           d) ECP Year Three Status Conferences

           As part of its oversight of the Company’s compliance with the ECP and other terms and

    conditions of probation, the Court ordered the Company, the Government (together, the

    “Parties”), as well as the Office of Probation, the CAM, and the TPA, to hold quarterly Status

    Conferences with the Court. See Dkt. No. 54. The Court also ordered the Parties to file Status

    Reports prior to each quarterly Status Conference. See id. During ECP Year Three, Status

    Conferences were held on: July 19, 2019; October 2, 2019; and January 8, 2020. In addition:

    on June 3, 2019, a hearing was held on the Parties’ proposed Probation Revocation Agreement;

    and on December 19, 2019, a meeting was held in open court at which the Company presented

    on “its compliance efforts beyond those that have been conveyed to the Court during the status

    conferences.” Dkt. No. 167.

                           e) April 24, 2020 Status Conference

           The first Status Conference of ECP Year Four was held on April 24, 2020. Due to the

    COVID-19 pandemic, the hearing was held virtually. With the Court’s recognition that “[t]hese

    are unprecedented times for all of us,” and that “right now . . . is a critical time” to “not lose

    focus on the core values of compliance,” the focus of the hearing was on “how the defendant is

    using this pause26 in operations to take and prepare [it]self for when [it] come[s] out the other

    side.” Dkt. No. 189 at 1 (citing Status Conf. Tr. (Apr. 24, 2020)). The Carnival Corp. CEO

    expressed to the Court: “[P]lease be assured that we remain committed to compliance . . .

    nothing is wavering in our commitment to compliance. Nothing is wavering in our commitment



    26
      As discussed below, on March 12 and 13, 2020, respectively, the Company announced a
    voluntary 60-day suspension of its cruise operations at Princess Cruise Lines, and an
    approximately 30-day suspension at its other brands. Those initial suspensions have since been
    extended, with durations varying by brand and geographic location. See infra Part I.C.4.a.



                                               Page 22 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 28 of 264
                                                                                   July 13, 2020


    to environmental protection.” Id. While acknowledging that “it is a very trying time” and that

    “we are . . . still fighting for survival of the company,” the CEO stated that he “made it very clear

    to my leadership team, to the organization . . . that under no circumstances should we

    compromise as we seek to keep the company alive, but that we never compromise on compliance

    or environmental protection or our safety and health and well-being.” Id. at 1-2. He reiterated:

    “[W]e are totally focused on compliance still, and we are not going to cut any corners.” Id. at

    2.27

           Regarding the Company’s activities during the pause in cruise operations, the CEO and

    the Chief Maritime Officer represented that the Company’s immediate focus was on

    “repatriation,” or the process of returning “tens of thousands of crew members” to their home

    countries, including through the use of some of the Company’s ships. Dkt. No. 189 at 2.28

    Acknowledging that, even if they are not carrying passengers, “[t]hose ships are still operating,”

    the CEO pledged that “we are still are very much focused on environmental protection and

    compliance with those ships wherever they happen to be anchored or wherever they happen to be

    berthed and when they are at sea.” Dkt. No. 189 at 2. In addition, the Chief Ethics &

    Compliance Officer stated that his team “is focusing on how we develop our plan for the

    relaunch, whenever that will occur . . . We want to keep the CAM updated during the pause in

    guest operations as we develop a more detailed plan. We are prepared now to really begin

    looking at prior to re-entry how do we come back stronger, better, smarter . . . [We] remain




    27
      It remains to be seen if there is a gap between these stated commitments and actions taken by
    top leadership across the Company, including within the brands/operating groups. See infra, Part
    IV.A.
    28
       As of the date of this Report, several thousand crew members have not yet made it home. See
    infra, Part I.C.4.c(ii)-(iii).


                                              Page 23 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 29 of 264
                                                                                  July 13, 2020


    wholly committed to figuring what we can advance during this pause so we come back stronger.”

    Id.; see also infra, Part I.C.4.g (discussing the Ethics & Compliance Draft Pause Priorities Plan).

                            f) Order Re: COVID-19 Impacts and Probation Obligations

            Following the April 24, 2020, Status Conference, on June 2, 2020, the Court issued an

    Order Re: COVID-19 Impacts and Probation Obligations. See Dkt. No. 189. The Order

    recognizes both the “significant impact” of COVID-19-related events on the Company

    (including suspensions of cruise operations, financing efforts, and staff reductions), and the

    “continuing obligation of the Company to meet its compliance obligations in existing law and the

    terms and conditions of probation.” Id. at 4. The Order addresses the Court’s need for “further

    information in order to assess the impact of these events, including the recent staff reductions, on

    the Company’s ethics and compliance efforts in the interrelated Health, Environment, Safety,

    and Security (‘HESS’) areas.” Id. It also addresses “the CAM and TPA’s need for alternative

    means of access to Company personnel, physical spaces and equipment, systems, records,

    documents, information, and other items to continue to perform their oversight responsibilities

    while the ability to perform in-person ship and shoreside facility visits and audits remains

    limited.” Id. at 5; see also infra, Part I.D.1.

            Accordingly, the Court ordered that, on or before June 17, 2020, and supplemented or

    amended as needed, the Company submit to the Interested Parties, CAM, and TPA:

               Draft Pause Priorities Plan: The current draft of the Company’s Pause Priorities
                Plan that describes “how the Company will address its obligations under the ECP and
                terms and conditions of probation . . . during the current suspensions of guest
                operations, as well as in preparation for resumption of guest service ‘to ensure that
                when the ships return to service, they will come back stronger and better equipped.’”
                Dkt. No. 189 at 5 (quoting April 2020 Probation Supervision Report, Attachment 5, at
                2); see also infra, Part I.C.4.g (discussing the draft plan);

               Organizational Charts: Organizational charts “reflecting the organizational
                structure and personnel that will be in place after June 1, 2020, at All Brands Group


                                                Page 24 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 30 of 264
                                                                                   July 13, 2020


               and each of the operating groups/lines/brands” for specified organizations within the
               Company with HESS-related compliance or operational functions. Dkt. No. 189 at 5;
               see also infra, Part I.C.4.f (discussing personnel impacts, including staff reductions);
               and

              Updated Ethics & Compliance Financial Plan: An updated Carnival Corporation
               Financial Plan (2019 and 2020), previously submitted on December 10, 2019,
               including a revised Ethics & Compliance Department and Program budget for Fiscal
               Year 2020. Dkt. No. 189 at 6; see infra, Part III.E.1 (noting that the revised plan is
               still under development, with an expected production date during the week of July 27,
               2020).

           In addition, the Court “grant[ed] temporary leave for the CAM and TPA to perform ship

    and shoreside facility visits and audits remotely, recognizing that remote visits and audits are not

    optimal but are necessary given the unique and unprecedented circumstances of the COVID-19

    pandemic.” Dkt. No. 189 at 6. The Court ordered the Company to “cooperate with the CAM

    and TPA to facilitate their ability to perform such remote ship and shoreside facility visits,

    including complying with reasonable requests” for access to: remote audio and video-

    conferencing capabilities; records, logbooks, and other documents; electronic databases and

    systems; video-recordings (e.g., CCTV); and other items or materials as reasonably necessary for

    performing oversight responsibilities. Id. The Court also granted temporary leave for the

    Company, Government, CAM, and TPA to “confer to develop an alternative procedure for

    conducting remote visits and audits” to the extent it is not feasible to conduct them in an

    “unannounced” or “short notice” manner as described in Dkt. Nos. 75 and 81. Id. The Parties,

    CAM, and TPA are to “report on the status of remote visits and audits at the upcoming Status

    Conference, currently scheduled for July 29, 2020.” Id.

                   4.      Other Legal Proceedings Arising Since Start of ECP

           Other legal proceedings involving the Company have arisen since the start of the ECP,

    including COVID-19-related actions.




                                              Page 25 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 31 of 264
                                                                                  July 13, 2020


                           a) COVID-19-Related Legal Proceedings

           As discussed in detail below, the Company is facing numerous legal proceedings and

    potential legal proceedings regarding its handling of the COVID-19 crisis, including: an

    investigation by the United States Congress; investigations by multiple governmental authorities

    in Australia and New Zealand regarding the Ruby Princess; several putative class action lawsuits

    by former passengers on different Costa, Holland America Line, and Princess Cruise Lines ships;

    at least two putative class action securities lawsuits by Carnival Corp. shareholders; over thirty

    additional individual civil lawsuits from former passengers on different Costa, Holland America

    Line, and Princess Cruise Lines ships, including wrongful death lawsuits; and other actions or

    investigations by United States governmental authorities detailed below. See infra, Part I.C.4.h.

    The Company “does not agree with all of the assertions made in the various media reports and

    lawsuits described throughout this report.” See Company Comments on Draft Report.

                           b) Other Legal Proceedings

           Other non-COVID-19-related legal proceedings arising since the start of the ECP

    involving Carnival Corp. entities include:

              DOI Administrative Agreement: An administrative agreement between Princess
               Cruise Lines and the United States Department of the Interior (“DOI”) that, among
               other things, requires Princess Cruise Lines to comply with the terms and conditions
               of probation in this case, and allows DOI to initiate suspension and/or debarment
               proceedings against Princess Cruise Lines if there is a material breach of the
               administrative agreement. See CAM Second Annual Report at 14-15;

              Criminal Conviction for Workplace Fatality: A June 2018 criminal guilty plea by
               Princess Cruise Lines to a violation of the New Zealand Maritime Transport Act “in
               connection with an incident that led to the death of a crewmember when a high-
               pressure nitrogen cylinder burst while being re-pressurized.” See CAM Second
               Annual Report at 15 (citation omitted); and

              Criminal Conviction for Alleged Emissions Violation (Overturned and
               Currently on Appeal): A November 2018 criminal conviction by the Criminal
               Court of Marseilles, France, resulting in a fine, costs, and damages against Carnival



                                              Page 26 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 32 of 264
                                                                                  July 13, 2020


                plc and the captain of a Non-Covered P&O Cruises UK ship totaling € 118,000,
                related to the alleged burning of fuel in the port of Marseilles with a higher sulfur
                content than allowed under the French Environmental Code. See 2019 10-K at 35. In
                November 2019, a court of appeal overturned the original conviction. See id. The
                French prosecution has appealed to the French Supreme Court. See id.; and

           C.      COVID-19 Developments

                   1.      Background

           As discussed in the most recent CAM Quarterly Report, the Company has faced an

    overwhelming and ongoing crisis due to COVID-19, beginning around early 2020. See CAM

    March 2020 Quarterly Report at 1-36 (discussing COVID-19 background; responses by

    international and national governments; cruise industry impacts and responses; Company

    impacts and responses; and CAM Team response and ongoing examination).

           According to the United States Centers for Disease Control and Prevention (“CDC”),

    COVID-19 is a respiratory disease that was first detected in Wuhan, China, in late 2019, and

    since spread worldwide. See id. at 3-4. The primary cause of its spread appears to be

    international air and domestic travel. See H. Lau, et al., The association between international

    and domestic air traffic and the coronavirus (COVID-19) outbreak, 53 Journal of Microbiology,

    Immunology and Infection 467 (June 2020) (concluding that “[t]he number of flight routes as

    well as total passenger volume are highly relevant risk factors for the spread of current COVID-

    19”); Tracking the Spread of COVID-19 with Air Travel Data,

    https://www.rand.org/nsrd/projects/cat-v.html (series of reports using data visualization tool to

    track COVID-19 exportation and importation around the world); see also B. Carey and J. Glanz,

    Travel From New York City Seeded Wave of U.S. Outbreaks, NYTIMES.COM (Updated June 27,

    2020), https://www.nytimes.com/2020/05/07/us/new-york-city-coronavirus-outbreak.html

    (attributing primary source of outbreak in the United States to international flights from Europe

    into New York and subsequent domestic spread).


                                              Page 27 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 33 of 264
                                                                                  July 13, 2020


              Reported symptoms of COVID-19 range from very mild, including no symptoms, to

    severe, including death. Individuals who appear most at risk of developing severe symptoms

    include “older adults and people of any age who have serious underlying medical conditions,”

    such as heart disease, lung disease, or diabetes. Frequently Asked Questions (Updated June 24,

    2020), https://www.cdc.gov/coronavirus/2019-ncov/faq.html. The virus “is thought to spread

    mainly from person to person, mainly through respiratory droplets produced when an infected

    person coughs, sneezes, or talks.” Id. As of the date of this Report, the complete clinical picture

    of COVID-19 is still unknown. See id. There is still no approved vaccine to protect against it.

    See id.

              The COVID-19 situation was declared a global pandemic by the World Health

    Organization on March 11, 2020; a national public health emergency by the United States on

    January 31, 2020; and a national emergency by the United States as of March 1, 2020. See CAM

    March 2020 Quarterly Report at 5-7. As of July 12, 2020, the World Health Organization

    reports over 12.5 million cases and over 560,000 deaths worldwide. See Situation Report – 174

    (July 12, 2020), https://www.who.int/docs/default-source/coronaviruse/situation-

    reports/20200712-covid-19-sitrep-174.pdf?sfvrsn=5d1c1b2c_2. As of the same date, CDC

    reports over 3.2 million total cases and over 143,000 deaths in the United States. Cases in the

    U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (Updated July

    12, 2020).

              Governments at all levels around the world have implemented travel restrictions,

    quarantine requirements, stay at home orders, social gathering restrictions, and other public

    health and safety measures in an effort to contain the spread of the disease. See CAM March

    2020 Quarterly Report at 6-20. These measures have had significant impacts on many



                                               Page 28 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 34 of 264
                                                                                    July 13, 2020


    businesses and individuals, including those in the travel and cruise industries. Travel warnings

    from the United States government advising against all international travel, as well as all cruise

    ship travel, remain in effect. See id. at 13-15. Based on available information, with the Court’s

    approval, the CAM Team and TPA suspended all in-person ship and shoreside visits and audits

    under the monitorship in early March 2020. See infra, Part I.D.1.

            Like other cruise companies, the Company continues to face substantial challenges from

    the crisis, including impacts to its operations, finances, and personnel. The Company voluntarily

    suspended cruise operations across its fleet around mid-March 2020. Facing the sudden

    cessation of revenues as a result, the Company completed financing efforts over the following

    months to raise over $10 billion in liquidity, see infra, Part I.C.4.e(i), and engaged in a range of

    cost preservation efforts, including significant staff reductions and the sale of some of its ships.

    See infra, Part I.C.4.e-f.

            As of the date of this Report, the Company continues to suspend cruise operations across

    its fleet, although three AIDA ships (all non-Covered Vessels) are expected to resume cruising in

    a limited, phased capacity from German ports in August 2020. Along with other members of the

    Cruise Lines International Association (“CLIA”), each of the Company’s brands has suspended

    cruise operations in United States waters until at least September 15, 2020. See infra, Part

    I.C.4.a. Some of the Company’s brands have announced additional suspensions, which vary by

    brand and geographic location. See id.

            Both the impacts of COVID-19, and the Company’s responses, continue to develop as the

    situation evolves.




                                               Page 29 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 35 of 264
                                                                               July 13, 2020


                  2.      COVID-19 Timeline

           A timeline of notable developments discussed in the most recent CAM Quarterly Report

    include:

              January 30, 2020: World Health Organization declares a Public Health Emergency
               of International Concern;

              January 31, 2020: United States Secretary of State declares a national public health
               emergency;

              January 31, 2020: United States restricts travel into the United States of foreign
               nationals who traveled to China within the past 14 days;

              ~February 2020 (updated February 18, 2020): United States CDC issues Interim
               Guidance for Ships on Managing Suspected Coronavirus Disease 2019, which
               covers strategies for preventing spread of COVID-19 during and after a voyage,
               including personal protective measures for crew members;

              February 29, 2020: United States restricts travel into the United States of foreign
               nationals who traveled to Iran within the past 14 days;

              March 3, 2020: CAM Team suspends all in-person ship visits;

              March 8, 2020: United States Department of State issues travel recommendation
               that United States citizens, particularly those with underlying health conditions,
               should not travel by cruise ship;

              March 8, 2020: United States CDC issues travel recommendation that travelers,
               particularly those with underlying health issues, defer all cruise ship travel
               worldwide;

              March 9, 2020: CAM Team suspends all in-person shoreside visits;

              March 10, 2020: TPA suspends all in-person ship and shoreside audits;

              March 11, 2020: World Health Organization declares a global pandemic;

              March 11, 2020: United States restricts travel into the United States of foreign
               nationals who traveled to European countries in the Schengen Area within the
               past 14 days;

              March 12, 2020: Princess Cruise Lines announces that it is voluntarily suspending
               global cruise operations for 60 days (later extended);

              March 13, 2020: United States President declares a national emergency;


                                            Page 30 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 36 of 264
                                                                               July 13, 2020


              March 13, 2020: CLIA announces that its members, which include all of the
               Company’s brands, are voluntarily and temporarily suspending cruise ship
               operations from United States ports for 30 days (later extended by individual
               cruise lines for varying time periods);

              March 14, 2020: United States CDC issues a No Sail Order applicable to cruise
               ships that are not voluntarily suspending operations; therefore, it does not apply to
               Company (and other CLIA member) ships. The No Sail Order is renewed, and
               expanded to include cruise ships not subject to the original order (including Company
               and other CLIA member ships), on April 15, 2020, as discussed below;

              March 14, 2020: United States restricts travel into the United States of foreign
               nationals who traveled to the United Kingdom and Ireland within the past 14
               days;

              March 16, 2020: United States President announces a nationwide program to slow
               the spread of COVID-19 through the implementation social distancing measures,
               including recommendations to avoid social gatherings of more than ten people and
               avoid discretionary travel;

              March 17, 2020: United States CDC upgrades its prior recommendation on cruise
               ship travel to a Level 3 travel warning that travelers defer all cruise travel
               worldwide;

              March 19, 2020: United States Department of State issues a Level 4 Global Health
               Advisory that advises United States citizens to avoid all international travel; and

              March 27, 2020: United States President signs into law the Coronavirus Aid, Relief,
               and Economic Security (“CARES”) Act, which includes provisions for economic
               relief to “severely distressed” sectors of the United States economy—including
               airlines and financial institutions, but not cruise lines.

    See CAM March 2020 Quarterly Report at 5-32 (citations omitted).

           Additional notable developments since the most recent CAM Quarterly Report include:

              March 30, 2020: United States CDC issues Public Health Guidance for Potential
               COVID-19 Exposure Associated with International Travel or Cruise Travel. See
               https://www.cdc.gov/coronavirus/2019-ncov/php/risk-assessment.html (last updated
               May 1, 2020);

              April 1, 2020: United States White House issues updated guidelines to slow the
               spread of COVID-19 in the United States, which continue to recommend avoiding
               discretionary travel and social gatherings of more than 10 people. These 30 Days:
               How You Can Help (Apr. 2, 2020), https://www.whitehouse.gov/articles/these-30-
               days-how-you-can-help/;



                                            Page 31 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 37 of 264
                                                                                  July 13, 2020


             April 9, 2020: United States CDC announces its plan to renew and extend its prior
              March 14, 2020, No Sail Order to include cruise ships not covered by the original
              order, including Company and other CLIA member ships. The formal notification is
              published in the Federal Register on April 15, 2020. See infra, Part I.C.3;

             April 10, 2020: CLIA issues a statement on the revised United States CDC No
              Sail Order, noting “concern[s] about the unintended consequences the No Sail Order
              . . . has in singling out the cruise industry,” including potentially significant economic
              and job loss impacts to the United States. CLIA Statement Regarding No Sail Order
              Issued by the U.S. Centers for Disease Control and Prevention (CDC) on April 9,
              2020 (Apr. 10, 2020), https://cruising.org/news-and-research/press-
              room/2020/april/clia-statement-regarding-no-sail-order;

             April 14, 2020: United States President announces that various executives,
              economists, scholars, and industry leaders will form Great American Economic
              Revival Industry Groups, which “will work together with the White House to chart
              the path forward toward a future of unparalleled American prosperity.” President
              Donald J. Trump Announces Great American Economic Revival Industry Groups
              (Apr. 14, 2020), https://www.whitehouse.gov/briefings-statements/president-donald-
              j-trump-announces-great-american-economic-revival-industry-groups/. The
              Hospitality group includes the Carnival Corp. Chairman of the Boards of
              Directors, along with executives from other cruise lines, hotels, and resorts. See id.;

             April 15, 2020: United States CDC publishes in the Federal Register a formal
              notice renewing and extending its prior March 14, 2020, No Sail Order. The revised
              No Sail Order is in effect until July 24, 2020, unless rescinded or modified earlier.
              See infra, Part I.C.3;

             April 16, 2020: United States White House issues Guidelines for Opening Up
              America Again, which recommend a three-phased approach to re-opening and
              empower states to develop their own tailored plans for phased reopening. President
              Donald J. Trump Announces Guidelines for Opening Up America Again (Apr. 16,
              2020), https://www.whitehouse.gov/briefings-statements/president-donald-j-trump-
              announces-guidelines-opening-america/;

             April 17, 2020: United States CDC publishes Interim Guidance for Mitigation of
              COVID-19 Among Cruise Ship Crew During the Period of the No Sail Order
              (subsequently updated several times, most recently on June 1, 2020). See infra, Part
              I.C.3;

             April 18, 2020: As of this date, the United States President has declared that a
              major disaster exists in all states and territories of the United States.
              Memorandum on Authorizing the Crisis Counseling Assistance and Training
              Program for Major Disaster Declarations Related to Coronavirus Disease 2019
              (Apr. 28, 2020), https://www.whitehouse.gov/presidential-actions/memorandum-




                                             Page 32 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 38 of 264
                                                                                 July 13, 2020


               authorizing-crisis-counseling-assistance-training-program-major-disaster-
               declarations-related-coronavirus-disease-2019/;

              May 26, 2020: International Maritime Organization, International Labour
               Organization, and International Civil Aviation Organization issue joint statement
               seeking support from governments to facilitate crew changes in ports and
               airports. See infra, Part I.C.4.c(iii);

              June 2, 2020: Court issues Order granting temporary leave for the CAM Team
               and TPA to perform remote visits and audits. See supra, Part I.B.3.f and infra,
               Part I.D.1;

              June 8, 2020: International Maritime Organization and United Nations issue joint
               statement seeking support from governments to facilitate crew repatriation and
               ensure crew wellbeing, including access to medical care. See infra, Part I.C.4.c(iii);

              June 12, 2020: Secretary-General of United Nations issues statement noting concern
               about the growing humanitarian and safety crisis facing seafarers around the
               world. See id.;

              June 19, 2020: CLIA announces that its members, including all of the Company’s
               brands, will voluntarily extend the suspension of cruise operations from United
               States ports until September 15, 2020. See infra, Part I.C.4.a;

              June 30, 2020: European Union publishes interim guidelines, called the Healthy
               Gateways Guidance, for restarting cruise ship operations. See infra, Part
               I.C.4.b(i);

              July 6, 2020: Carnival Corp. and the World Travel & Tourism Council announce
               plans to jointly host a virtual Global Science Summit on COVID-19 on July 23,
               2020. The event will be free and open to the public. See infra, Part I.C.4.b(ii); and

              July 7, 2020: Two other major cruise companies, Royal Caribbean Group and
               Norwegian Cruise Line Holdings, announce the creation of the Healthy Sail Panel, a
               team of cross-disciplinary experts who will advise on developing a science-backed
               plan for returning cruise ships to service. See infra, Part I.C.4.b(iii).

                  3.      CDC No Sail Order

           On April 14, 2020, the United States CDC renewed and extended its prior March 14,

    2020, No Sail Order. See No Sail Order and Suspension of Further Embarkation; Notice of

    Modification and Extension and Other Measures Related to Operations, 85 Fed. Reg. 21,004

    (Apr. 15, 2020) (“No Sail Order Notice”). The prior Order did not apply to cruise ships that had



                                             Page 33 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 39 of 264
                                                                                    July 13, 2020


    already voluntarily suspended operations in United States waters, including the Company’s

    ships. However, the renewed Order applies to large cruise ships (with the capacity to carry 250

    or more individuals) operating in, or seeking to operate in, United States waters, including “any

    cruise ship that was previously excluded from the March 14, 2020 Order.” Id. at 21,005. The

    No Sail Order generally restricts covered ships from operating in United States waters or

    disembarking or embarking passengers or crew in United States ports, except under limited

    circumstances. See id. at 21,008; see also Cruise Ship Crew Member Disembarkations,

    https://www.cdc.gov/coronavirus/2019-ncov/travelers/cruise-ship/cruise-ship-member-

    disembarkations.html. The Order is set to expire on July 24, 2020, although this date may be

    modified. See No Sail Order Notice at 21,004-05.

           The No Sail Order is based on findings that “cruise ship travel exacerbates the global

    spread of COVID-19 and that the scope of this pandemic is inherently and necessarily a problem

    that is international and interstate in nature and has not been controlled sufficiently by the cruise

    ship industry or individual State or local health authorities,” and that there is “evidence to

    support a reasonable belief that cruise ships are or may be infected or contaminated with a

    quarantinable communicable disease.” Id. at 21,004-06.

           If a cruise ship operator wishes to operate any cruise ships in United States waters during

    the No Sail Order period, it must submit and obtain approval from CDC on an “appropriate,

    actionable, and robust plan to prevent, mitigate, and respond to the threat of COVID-19 on board

    cruise ships [(“No Sail Order Response Plan”)].” Id. at 21,007.29 The Order lays out a minimum


    29
      There is a limited exception to this requirement: CDC may allow cruise ship operators to
    disembark asymptomatic crew members in United States ports for repatriation to their home
    countries, or transfers to another ship, prior to approval of the operator’s No Sail Order Response
    Plan if the operator signs a statement attesting that, after leaving the ship, only private (non-



                                               Page 34 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 40 of 264
                                                                                  July 13, 2020


    of 14 elements that the plan must address, including: onboard surveillance of passengers and

    crew; reporting to CDC; crew training on COVID-19 prevention, mitigation, and response;

    testing protocols; isolation, quarantine, and social distancing protocols; onboard medical staffing;

    outbreak management and response plans; evacuation and repatriation plans; and cleaning and

    disinfection protocols. See id.

           As of the date of this Report, the Company has submitted a proposed No Sail Order

    Response Plan to CDC, but has not received formal approval of its plan. See Employee

    Interview/Call Notes. The Company reports that it does not currently have any ships operating

    in United States waters, and does not plan to operate any of its ships in United States waters

    before the expected expiration of the No Sail Order period on July 24, 2020. See id. As noted

    above, the Company, along with other CLIA members, has voluntarily suspended operations of

    its cruise ships in United States waters until September 15, 2020, approximately 7 ½ weeks

    beyond the current expected expiration of the No Sail Order. See supra, Part I.C.1-2.




    commercial) transport will be used for the crew member(s), along with “with measures in place
    to ensure those involved in transport are not exposed to the virus that causes COVID-19.” See
    CDC, Interim Guidance for Mitigation of COVID-19 Among Cruise Ship Crew During the
    Period of the No Sail Order (Updated June 1, 2020),
    https://www.cdc.gov/quarantine/cruise/management/interim-guidance-no-sail-order.html. The
    attestation must be signed by the “President and Chief Executive Officer of the operating cruise
    company, the Chief Ethics and/or Compliance Officer of the operating cruise company and all
    parent companies, and the highest-ranking Medical Officer of the operating cruise company and
    all parent companies.” Attestation for Non-Commercial Travel or Crew Transfers Pre-Approval
    of NSO Response Plan (Apr. 23, 2020), available at
    https://www.cdc.gov/quarantine/pdf/Attestation-for-Non-Commercial-Travel-Pre-Approval-of-
    NSO-Response-Plan_042320_final_fillable-p.pdf.


                                              Page 35 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 41 of 264
                                                                                July 13, 2020


                  4.      Company Impacts and Response

                          a) Suspension of Cruise Operations

           As of the date of this Report, the Company continues to voluntarily suspend cruise

    operations across its fleet, although some AIDA ships are expected to resume cruising in a

    limited capacity from German ports beginning in August 2020, as discussed below. The initial

    suspensions were announced on March 12, 2020, for Princess Cruise Lines (60 days), and on

    March 13, 2020, for the remaining brands (approximately 30 days). See CAM March 2020

    Quarterly Report at 30-32. Since that time, individual brands/operating groups announced

    extensions of their respective suspensions, with durations varying by brand and geographic

    location, as detailed below. Further, as noted above, on June 19, 2020, CLIA announced that its

    members, which include all of the Company’s brands, are extending their voluntary suspension

    of cruise operations in United States waters until September 15, 2020. CLIA Announces

    Voluntary Suspension of Cruise Operations from U.S. Ports (June 19, 2020),

    https://cruising.org/news-and-research/press-room/2020/june/clia-announces-voluntary-

    suspension-of-cruise-operations-from-us-ports.

           In addition to the CLIA announcement, the Company’s brands/operating groups have

    announced the following brand-specific suspensions:

              AIDA: United States and Canadian cruises cancelled through the end of 2020;
               European cruises generally cancelled through August 31, 2020, with the exception of
               cruises from three German ports on three ships (none of which are Covered Vessels),
               which will resume in August 2020 on three-day cruises “with an adjusted passenger
               capacity and without calling at another port.” See Carnival Corporation’s AIDA
               Cruises to Restart Sailing Vacations in August (July 9, 2020),
               https://www.carnivalcorp.com/news-releases/news-release-details/carnival-
               corporations-aida-cruises-restart-sailing-vacations; AIDA Cruises suspends cruises
               with ports in the USA and Canada for 2020 (June 5, 2020),
               https://www.carnivalcorp.com/news-releases/news-release-details/aida-cruises-
               suspends-cruises-ports-usa-and-canada-2020; AIDA Cruises extends pause of its
               operation until end of August 2020 (July 2, 2020),


                                            Page 36 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 42 of 264
                                                                              July 13, 2020


              https://www.carnivalcorp.com/news-releases/news-release-details/aida-cruises-
              extends-pause-its-operation-until-end-august-2020;

             Carnival Cruise Line: cruises cancelled through at least September 17, 2020, with
              additional cancellations through different dates between October 2020 and May 2021
              for certain ships and itineraries. See https://www.carnival.com/health-and-sailing-
              updates.aspx;

             Costa: cruises cancelled through at least August 13, 2020, with additional
              cancellations through different dates between mid-August and October 2020 for
              certain ships and itineraries. See https://www.costacruises.com/cruising-soon.html;

             Cunard: cruises cancelled through different dates in November 2020. See
              https://www.cunard.com/en-us/contact-us/travel-health-advisories; Cunard Extends
              Pause in Operations (June 9, 2020), https://www.carnivalcorp.com/media-
              center/news-releases;

             Holland America Line: Alaskan, European, and Canadian/New England cruises
              cancelled through the end of 2020; certain additional Canadian and Hawaiian cruises
              cancelled through the end of 2020 and early 2021, respectively. See Holland America
              Line Extends The Pause Of Ship Operations For All 2020 Alaska, Europe And
              Canada/New England Sailings; Holland America Line Extends Pause Of Cruise
              Operations To Fall Vancouver Departures & Early 2021 Hawaii Itineraries,
              https://www.hollandamerica.com/en_US/news/coronavirus-travel-advisory.html;

             P&O Cruises UK: cruises cancelled through October 15, 2020. See
              https://www.pocruises.com/travel-health-advisories;

             P&O Cruises Australia: cruises from Australia cancelled through September 17,
              2020; cruises from New Zealand cancelled through August 31, 2020. See
              https://www.pocruises.com.au/news-centre/notices-advisories;

             Princess Cruise Lines: cruises cancelled through different dates between August
              and November 2020. See Princess Cruises Extends Pause of Global Ship Operations
              For Remaining 2020 Summer Season (May 6, 2020),
              https://www.princess.com/news/notices_and_advisories/notices/global-ship-
              operations-pause-2020-summer-season.html; Princess Cruises Extends Pause of
              Global Ship Operations On Select Sailings in Australia, Canada and Taiwan (June 3,
              2020), https://www.princess.com/news/notices_and_advisories/notices/global-ship-
              operations-pause-2020-australia-canada-taiwan.html; see also Princess Cruises
              Announces Deployment Changes in Alaska and Europe for Summer 2021 (July 8,
              2020), https://www.carnivalcorp.com/news-releases/news-release-details/princess-
              cruises-announces-deployment-changes-alaska-and-europe; and

             Seabourn: cruises cancelled through different dates between October and November
              2020. See https://www.seabourn.com/en_US/news/pause-global-cruise-
              operations.html (May 6, 2020).


                                           Page 37 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 43 of 264
                                                                                    July 13, 2020


                           b) Resumption of Cruise Operations

           The Company reports that it “expects to resume guest operations, after collaboration with

    both government and health authorities, in a phased manner, with specific ships and brands

    returning to service over time,” with the expectation that “initial sailings will be from a select

    number of easily accessible homeports.” Form 8-K (June 18, 2020), available at

    https://www.carnivalcorp.com/static-files/067a3942-adca-428a-88ae-2c0270d21177, at § 7.01;

    Carnival Corporation & plc Reports Summary Second Quarter Results and Other Matters (June

    18, 2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-

    corporation-plc-reports-summary-second-quarter-results (“Second Quarter Results Summary”).

    The Company also states that it will resume cruise operations “in a manner consistent with the

    company’s highest priorities, which are compliance, environmental protection and the health,

    safety and well-being of its guests, crew and the communities its ships visit.” Form 8-K (July

    10, 2020), available at https://www.carnivalcorp.com/static-files/b3116f6f-617c-497b-90e8-

    8f5ebd83c441, at Ex. 99.1; Carnival Corporation & plc Provides A Business Update And

    Additional Financial Information For The Second Quarter (July 10, 2020),

    https://www.carnivalcorp.com/news-releases/news-release-details/carnival-corporation-plc-

    provides-business-update-and-0 (“July 2020 Business Update”).

           On July 9, 2020, the Company announced that AIDA will be the first of its brands to

    resume cruises. See Carnival Corporation’s AIDA Cruises to Restart Sailing Vacations in

    August (July 9, 2020), https://www.carnivalcorp.com/news-releases/news-release-

    details/carnival-corporations-aida-cruises-restart-sailing-vacations. Three AIDA ships will sail

    on three-day cruises from three German ports beginning in August 2020: (1) AIDAperla will sail

    on August 5, 2020, from Hamburg; (2) AIDAmar will sail on August 12, 2020, from Rostock-




                                               Page 38 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 44 of 264
                                                                                  July 13, 2020


    Warnemünde; and (3) AIDAblu will sail on August 16, 2020, from Kiel. See id. None of these

    ships are Covered Vessels. These “first cruises will take place with an adjusted passenger

    capacity and without calling at another port.” Id. However, “[d]epending on the opening of

    further European ports for cruise ships,” there could be a second phase in which “the first foreign

    destinations could be integrated into the itinerary,” although the Company has not announced

    specific plans for a further phase. Id. As discussed in the following section, the Company

    reports that AIDA “worked with several global and national health authorities to develop a

    comprehensive set of health and hygiene protocols to help facilitate a safe, healthy and phased-in

    return to cruise vacations.” Id.

                                       i.   HEALTH/SAFETY/SECURITY RESTART PROTOCOLS

           The Company reports that “[i]n preparation for the resumption of its cruises, and

    consistent with its commitment to provide its guests with a safe and healthy environment,” it is

    “consulting and working in close cooperation with various medical policy experts and public

    health authorities to develop enhanced procedures and protocols for health and safety onboard its

    ships.” Second Quarter Results Summary. A “comprehensive restart protocol may include areas

    such as medical care, screening, testing, mitigation and sanitization addressing arrival and

    departure at cruise terminals, the boarding and disembarkation process, onboard experiences and

    shore excursions.” Id. The Court’s interest in any restart protocols, as understood by the CAM,

    is that onboard health and safety measures are not only directly related to the health and safety

    needs of crew members, passengers, contractors, and other visitors (including internal and

    external auditors and members of the CAM Team), but also critical to the ships’ ability to

    manage the ongoing environmental compliance obligations of probation and beyond. The




                                              Page 39 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 45 of 264
                                                                                  July 13, 2020


    CAM’s attention to these efforts is a result of the Court’s continuing view that these issues are a

    necessary part of oversight of the Company’s probation. See supra, Part I.B.2.

           As of the date of this Report, the CAM is not aware of any finalized, comprehensive

    restart protocols or procedures for Carnival Corp. or its brands. However, Costa Group—the

    operating group for the AIDA and Costa brands—has developed a draft high-level health

    protocol for restarting cruise operations in European waters. See [Draft] Restarting Cruise

    Operations Health Protocol (June 8, 2020). According to the Company, this draft protocol is

    consistent with the European Union’s recently published Healthy Gateways Guidance. See EU

    HEALTHY GATEWAYS Joint Action, Interim advice for restarting cruise ship operations after

    lifting restrictive measures in response to the COVID-19 pandemic (June 30, 2020), available at

    https://www.healthygateways.eu/Portals/0/plcdocs/EU_HEALTHY_GATEWAYS_COVID-

    19_RESTARTING_CRUISES.pdf; see also Employee Interview/Call Notes.

           In addition, AIDA has published on its website high-level information “about the

    enhanced protocols and procedures it will implement against COVID-19” on its ships that will

    resume cruises in August 2020. See Carnival Corporation’s AIDA Cruises to Restart Sailing

    Vacations in August (July 9, 2020), https://www.carnivalcorp.com/news-releases/news-release-

    details/carnival-corporations-aida-cruises-restart-sailing-vacations (providing link to

    https://www.aida.de/kreuzfahrt/reisen-mit-aida/mit-sicherheit-der-schoenste-urlaub.40409.html).

    These measures “will include pre-boarding health questionnaires and temperature checks for

    both guests and crew, physical distancing guidelines, routing systems on arrival, departure and

    onboard, increased mitigation and sanitation efforts in all cabins and public areas, as well as

    closely managing capacities at onboard experiences.” See July 2020 Business Update. The

    Company reports that these measures “have been developed with advice from medical experts



                                              Page 40 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 46 of 264
                                                                                  July 13, 2020


    and align with the current guidance from the World Health Organization (‘WHO’) and the

    German Robert Koch Institute (‘RKI’), as well as other governmental and health authorities.”

    Id.

                                      ii.    GLOBAL SCIENCE SUMMIT ON COVID-19

           On July 6, 2020, the Company announced that it is collaborating with the World Travel

    & Tourism Council to host a virtual “Global Science Summit on COVID-19” on July 23, 2020,

    which will be free and open to the public. WTTC and Carnival Corporation Present Unique

    COVID-19 Scientific Summit (July 6, 2020), https://www.carnivalcorp.com/media-center/news-

    releases. The summit is described as an opportunity to “share the latest scientific knowledge and

    evidence-based best practices related to prevention, detection, treatment and mitigation of

    COVID-19.” Id. Speakers and panelists will “represent a diverse range of science, research,

    clinical, academic, policy and business backgrounds,” including medical, epidemiology, and

    public health experts. Id. Panels will focus “on a critical area of science surrounding COVID-19

    and will include best practices from different industry sectors and world regions to control and

    limit the spread of COVID-19” around the topic areas of epidemiology; transmission; screening

    and testing; therapeutics; and practical risk mitigation. Id.

                                      iii.   HEALTHY SAIL PANEL

           On July 7, 2020, two other major cruise companies, Royal Caribbean Group and

    Norwegian Cruise Line Holdings, announced the creation of the Healthy Sail Panel. See Healthy

    Return to Sailing, available at

    http://i.email.silversea.com/wpm/1035/ContentUploads/pdf/HEALTHY_SAIL_PANEL.pdf.

    The Healthy Sail Panel is described as a “team of cross-disciplinary experts,” including

    specialists in public health, infectious diseases, hospitality, and maritime operations, who have




                                                Page 41 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 47 of 264
                                                                                  July 13, 2020


    been “enlisted to guide the cruise industry’s way forward in response to COVID-19” and advise

    “on a science-backed plan for a healthy return to service,” with a focus on United States

    operations. See id. It has been reported that the Healthy Sail Panel intends to provide initial

    recommendations to both companies by August 31, 2020, which “will then be vetted by each

    company and presented to the CDC.” Healthy Sail Panel Hopes to Have Plan By August 31 for

    Royal and Norwegian (July 7, 2020), https://www.cruiseindustrynews.com/cruise-news/23200-

    healthy-sail-panel-hopes-to-have-plan-by-august-31-for-royal-and-norwegian.html. Although no

    Carnival Corp. entities are part of the Healthy Sail Panel, Royal Caribbean Group and

    Norwegian Cruise Line Holdings have stated that the recommendations and protocols “will also

    be shared with the entire cruise industry,” as well as other regulatory bodies. R. Gibson, RCL

    and NCLH develop new Healthy Sail Panel (July 8, 2020),

    https://www.cruiseandferry.net/articles/rcl-and-nclh-develop-new-healthy-sail-panel.

                           c) Repatriation Efforts

                                     i.   PASSENGER REPATRIATION

           The Company reports that, during the suspension of cruise operations, it has “[r]eturned

    over 260,000 guests to their homes, coordinating with a large number of countries around the

    globe,” including via chartered aircraft, commercial flights, and use of its own ships for guests

    who could not fly. See Second Quarter Results Summary; July 2020 Business Update. As of the

    date of this Report, the Company reports that it has no passengers remaining on its ships in need

    of repatriation. See Employee Interview/Call Notes.

                                    ii.   CREW REPATRIATION

           The Company has also been returning crew members to their home countries. Roughly

    half of the Company’s ships have been involved in these efforts. As of June 18, 2020,

    approximately 60,000 out of 81,000 crew members had been repatriated to over 130 countries.


                                              Page 42 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 48 of 264
                                                                                   July 13, 2020


    See Second Quarter Results Summary. As of July 10, 2020, approximately 77,000 crew

    members had been repatriated. See July 2020 Business Update. According to the Company, its

    repatriation efforts have faced obstacles and delays due to travel restrictions, testing and

    quarantine requirements, Visa requirements, and other requirements and restrictions set by

    governments around the world. See Employee Interview/Call Notes.

                                    iii.   CREW REPATRIATION CHALLENGES AND HUMANITARIAN
                                           CRISIS

           The International Maritime Organization has observed that “[t]ravel restrictions imposed

    by governments around the world have created significant hurdles to crew changes and

    repatriation of seafarers, which has led to a growing humanitarian crisis as well as significant

    concerns for the safety of seafarers and shipping.” Coronavirus disease (COVID-19) Pandemic,

    http://www.imo.org/en/MediaCentre/HotTopics/Pages/Coronavirus.aspx. This humanitarian

    crisis includes not only the risks of onboard exposure to COVID-19 or other workplace hazards,

    but also the mental health impacts associated with prolonged periods of time stranded at sea.30

    The Secretary-General of the United Nations has also recognized “the growing humanitarian and

    safety crisis facing seafarers around the world” as a result of COVID-19-related travel

    restrictions. Statement attributable to the Spokesman for the Secretary-General on the



    30
       The International Maritime Organization notes that “[t]housands of seafarers stranded on
    board ships have already expressed their exhaustion, fatigue, anxiety and mental stress.” Crew
    changes and repatriation of seafarers – a key issue explained (June 16, 2020),
    http://www.imo.org/en/MediaCentre/HotTopics/Pages/FAQ-on-crew-changes-and-repatriation-
    of-seafarers.aspx. It has been reported in the media that, as of June 19, 2020, there have been
    between 6-10 cases where “it appears that [cruise ship] crew members may have decided to end
    their own lives since April 30th, as well as one attempted suicide.” See Crew Member Dies on
    the Island Princess Awaiting Repatriation (June 19, 2020),
    https://www.cruiselawnews.com/2020/06/articles/maritime-death/crew-member-dies-on-the-
    island-princess-awaiting-repatriation/. These cases are not limited to Carnival Corp. ships, but
    include other cruise lines as well.


                                               Page 43 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 49 of 264
                                                                                   July 13, 2020


    repatriation of seafarers (June 12, 2020), https://www.un.org/sg/en/content/sg/statement/2020-

    06-12/statement-attributable-the-spokesman-for-the-secretary-general-the-repatriation-of-

    seafarers.

           On June 8, 2020, the International Maritime Organization and the United Nations issued

    a joint statement which “seek[s] the support of Governments to facilitate crew changes and

    ensure crew wellbeing, by facilitating repatriation and safe return home of seafarers . . . as well

    as access to medical care for sick or injured crew.” Joint statement IMO-UNCTAD – Call for

    collaborative action in support of keeping ships moving, ports open and cross-border trade

    flowing during the COVID-19 pandemic, Circular Letter No. 4204/Add. 21 (June 8, 2020). A

    similar joint statement by the International Maritime Organization, International Labour

    Organization, and International Civil Aviation Organization was issued on May 26, 2020, “to

    enlist the support of Governments for the facilitation of crew changes in ports and airports in the

    context of the COVID-19 pandemic.” Joint Statement IMO-ICAO-ILO on designation of

    seafarers, marine personnel, fishing vessel personnel, offshore energy sector personnel, aviation

    personnel, air cargo supply chain personnel and service provider personnel at airports and ports

    as key workers, and on facilitation of crew changes in ports and airports in the context of the

    COVID-19 pandemic, Circular Letter No. 4204/Add. 18 (May 26, 2020).

                           d) Ship Layups

           Ships not involved in repatriation, and ships that complete repatriation efforts, are being

    placed in a “layup” status during the suspension in cruise operations. These ships are “docked or

    anchored in locations around the world with no guests onboard.” Quarterly Status Report by

    Princess Cruise Lines Ltd., Dkt. No. 186 at 3. Ships in layup “will continue to house crew

    members onboard, either because those crew members are essential to maintain the ship even




                                              Page 44 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 50 of 264
                                                                                  July 13, 2020


    during this period of reduced operations, or because international travel restrictions have

    prevented Carnival Corp. from repatriating those crew members to their home countries.” Id.

    These ships “will continue to use fuel and generate reduced levels of food waste and other waste

    products.” Id. The Company has represented that it “is committed to handling those continued

    operations in a compliant manner.” Id.

           The Company has established three possible levels of layup:

              “Hot” or “Pause” Layup: Ship is idle but can return to service within about 24
               hours. Ship engines and machinery are kept running;

              Warm Layup: Ship can return to service within about a week. Not all machinery is
               kept running; and

              Cold Layup: Ship will take more than a week (potentially many weeks) to return to
               service. The ship is only supplied with emergency energy for lights, mooring
               winches, and fire extinguishing.

    See March 2020 Probation Supervision Report, Attachment 5, at 1-2.

           As of July 10, 2020, approximately 52 of the Company’s ships are in hot layup, and no

    ships are in warm or cold layup. See Company Comments on Draft Report. All 52 ships in hot

    layup are in their final layup location. See id. Layup locations encompass regions in Asia, the

    Caribbean, Central America, the Middle East, Northern Europe, and Southern Europe. See

    PCL_ECP1067055, (SR 33) Pause July 9. The Company does not plan to have any ships enter

    layup in United States waters. See id.

           Ships in layup have reduced staffing/manning levels, down to only those crew who are

    necessary to maintain safe and compliant ship operations, based on regulatory, flag state, and

    other requirements (referred to as “minimum operational manning”). See International

    Convention for the Safety of Life at Sea (SOLAS), Ch. V, Reg. 14; International Maritime




                                              Page 45 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 51 of 264
                                                                                 July 13, 2020


    Organization, Res. A.1047(27), Principles of Minimum Safe Manning.31 Minimum operational

    manning levels vary across ships and brands. In general, the average level for ships in hot or

    warm layup is about 100 crew members. See Company Comments on Draft Report. While none

    of the Company’s ships are currently in cold layup, minimum operational manning levels for

    those ships would be lower and would “depend on factors such as location, service, and

    equipment status.” Id. The Company reports that all 52 ships in hot layup are at their minimum

    operational manning level. Id.

                          e) Financial Impacts

                                     i.   FINANCIAL RESULTS AND LIQUIDITY IMPACTS

           As discussed in the most recent CAM Quarterly Report, the Company reported on March

    16, 2020, that it “believes the ongoing effects of COVID-19 on its operations and global

    bookings will have a material negative impact on its financial results and liquidity.” See Update

    on Debt Funding and Other Matters (Mar. 16, 2020),

    https://www.carnivalcorp.com/node/60901/pdf; Form 8-K/A (Mar. 16, 2020), available at

    https://www.carnivalcorp.com/static-files/aed6e4d5-caba-4b84-8ec1-6cad74522e1e, at § 7.01.

    As a result, the Company was “taking additional actions to improve its liquidity, including

    capital expenditure and expense reductions, and pursuing additional financing.” Id.

           On March 31, 2020, the Company reported that it “believe[d] the ongoing effects of

    COVID-19 on [its] operations and global bookings have had, and will continue to have, a

    material negative impact on [its] financial results and liquidity, and such negative impact may

    continue well beyond the containment of such outbreak.” Form 8-K (Mar. 31, 2020), available


    31
      The Company states that it “has implemented manning levels for [its] ships [in layup] that are
    much higher than the levels suggested in these regulations.” See Company Comments on Draft
    Report.


                                             Page 46 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 52 of 264
                                                                                   July 13, 2020


    at https://www.carnivalcorp.com/static-files/3b413b03-e345-4779-9e3f-143a9241eee8, at § 8.01;

    see also Form 10-Q (Apr. 3, 2020), available at https://www.carnivalcorp.com/static-

    files/8912eb63-49dd-4a1e-856a-8c2e316b3316 (“2020 Q1 Form 10-Q”), at 8. The Company

    further reported that it was “taking further actions to improve our liquidity, including capital

    expenditure and operating expense reductions, suspending dividend payments on, and the

    repurchase of, the common stock of Carnival Corporation and the ordinary shares of Carnival plc

    and pursuing additional financing.” Id.

           On June 18, 2020, the Company reported that the “pause in guest operations is continuing

    to have material negative impacts on all aspects of the company’s business.” Form 8-K (June 18,

    2020), available at https://www.carnivalcorp.com/static-files/067a3942-adca-428a-88ae-

    2c0270d21177, at § 7.01; Second Quarter Results Summary. Overall, the Company reported a

    net loss of over $4 billion for the second quarter of Fiscal Year 2020, which ended on May 31,

    2020. Id. The Company also reported that the quarter “ended with $7.6 billion of available

    liquidity,” and that it “expects to further enhance future liquidity, including through refinancing

    scheduled debt maturities.” Id.32 The Company estimated that, during the suspension of guest

    operations, the monthly average cash burn rate for the second half of 2020 will be approximately

    $650 million/month. Id. This rate “includes ongoing ship operating and administrative

    expenses, committed capital expenditures (net of committed export credit facilities), interest

    expense and excludes changes in customer deposits and scheduled debt maturities.” Id.

           On July 10, 2020, the Company again reported that the “pause in guest operations is

    continuing to have material negative impacts on all aspects of the company’s business,” and that



    32
       In addition, Company “has $8.8 billion of committed export credit facilities that are available
    to fund ship deliveries originally planned through 2023.” Id.


                                              Page 47 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 53 of 264
                                                                                   July 13, 2020


    the “longer the full or partial pause in guest operations continues, the greater the impact on the

    company's liquidity and financial position.” See July 2020 Business Update. The Company

    continued to estimate its monthly burn rate at approximately $650 million/month, although it

    “continues to explore opportunities to further reduce its monthly cash burn rate.” See id.

           The Company also reported that, since March 2020, it has raised over $10 billion in

    liquidity through a series of financing transactions, including: over $6 billion in bond and stock

    offerings;33 approximately $3 billion through existing credit lines;34 and approximately $2.8

    billion in two tranches through an additional loan agreement.35 See July 2020 Business Update.

    The Company reports that this “over $10 billion of additional liquidity” should “sustain another

    full year with additional flexibility remaining.” See id.

                                    ii.   SHIP SALES AND NEW SHIP DELIVERY DELAYS

           On June 18, 2020, the Company reported that, as a cash preservation measure, it “intends

    to accelerate the removal of ships in fiscal 2020 which were previously expected to be sold over



    33
       See Carnival Corporation & plc Announces Closing of 11.500% First-Priority Senior Secured
    Notes due 2023 and Exercise of Option for 5.75% Convertible Senior Notes due 2023 (Apr. 8,
    2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-corporation-
    plc-announces-closing-11500-first-priority; Carnival Corporation & plc Announces Closing of
    5.75% Convertible Senior Notes due 2023 (Apr. 6, 2020), https://www.carnivalcorp.com/news-
    releases/news-release-details/carnival-corporation-plc-announces-closing-575-convertible;
    Carnival Corporation & plc Announces Closing of Offering of 71,875,000 Shares of Common
    Stock (Apr. 6, 2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-
    corporation-plc-announces-closing-offering-71875000.
    34
       See Update on Debt Funding and Other Matters (Mar. 16, 2020),
    https://www.carnivalcorp.com/news-releases/news-release-details/update-debt-funding-and-
    other-matters.
    35
       See Carnival Corporation & Plc Announces Closing Of $1.86 Billion And €800 Million First-
    Priority Senior Secured Term Loan Facility (June 30, 2020),
    https://www.carnivalcorp.com/news-releases/news-release-details/carnival-corporation-plc-
    announces-closing-186-billion-and-eu800.



                                              Page 48 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 54 of 264
                                                                                    July 13, 2020


    the ensuing years,” in addition to “working on potential sales of non-ship assets.” See Second

    Quarter Results Summary. As of July 10, 2020, the Company has “sold one ship during June

    2020 and has agreements for the disposal of five ships and preliminary agreements for an

    additional three ships, all of which are expected to leave the fleet in the next 90 days,” in

    addition to “the sale of four ships, which were announced prior to fiscal 2020.” See July 2020

    Business Update. Overall, “the 13 ships expected to leave the fleet represent a nearly nine

    percent reduction in current capacity.” Id. 36

           In addition, the Company “expects only five of the nine ships originally scheduled for

    delivery in fiscal [year] 2020 and fiscal [year] 2021 will be delivered prior to the end of fiscal

    year 2021,” as well as “later deliveries of ships originally scheduled for fiscal [year] 2022 and

    2023.” See July 2020 Business Update; see also infra, Part VII.D.

                           f) Personnel Impacts

           On May 14, 2020, the Company publicly announced “a combination of layoffs,

    furloughs, reduced work weeks and salary reductions across the company, including senior

    management” to “further strengthen its liquidity position in the event of an extended pause in

    guest operations due to COVID-19.” Carnival Corporation Announces Additional Steps to

    Further Strengthen Ability to Manage through Extended Pause in Guest Operations (May 14,

    2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-corporation-

    announces-additional-steps-further. In addition, the Company has “[i]nstituted a hiring freeze


    36
       The sales or potential sales of at least two ships, both Non-Covered Vessels, have been
    publicly reported to date. The Costa Victoria was reportedly sold to an Italian shipyard. See A.
    Kalosh and L. Peruzzi, Costa Victoria reported sold to San Giorgio del Porto (June 19, 2020),
    https://www.seatrade-cruise.com/news/costa-victoria-reported-sold-san-giorgio-del-porto. The
    P&O Cruises UK Oceana was reportedly sold to an undisclosed buyer. See M. Bond, P&O
    Cruises sells Oceana to ‘fit for future growth’ (July 7, 2020), https://www.seatrade-
    cruise.com/news/po-cruises-sells-oceana-fit-future-growth.


                                               Page 49 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 55 of 264
                                                                                July 13, 2020


    across the organization” and “significantly reduced consultant and contractor roles.” Second

    Quarter Results Summary.

           The Company has also announced changes among All Brands Group and brand/operating

    group top leadership, including:

              Chief Operating Officer at All Brands Group: On June 19, 2020, the Company
               announced that the President of Carnival UK—the operating group that oversees the
               Cunard and P&O Cruises UK brands—would become Chief Operations Officer of
               Carnival Corp. (a position that was eliminated in December 2016 after the individual
               in that role took another position in the Company). See Internal Communication;
               Carnival Corporation & plc Names Josh Weinstein as Chief Operations Officer (June
               19, 2020), https://www.carnivalcorp.com/news-releases/news-release-
               details/carnival-corporation-plc-names-josh-weinstein-chief-operations; see also
               Company Comments on Draft Report. The Chief Operating Officer will report
               directly to the Carnival Corp. CEO, with responsibilities that “will include oversight
               of major operational functions, including global maritime, global ports and
               destinations, global sourcing, global IT and global auditing [RAAS].” Id. He will
               also “retain oversight” of Carnival UK, while the current President of Cunard will
               serve as President of Carnival UK, in addition to continuing to serve as President of
               Cunard. Id.; see also Carnival UK Names Simon Palethorpe as President (June 19,
               2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-uk-
               names-simon-palethorpe-president;

              Seabourn and Holland America Line Presidents: On or around May 12, 2020, the
               Presidents of the Seabourn and Holland America Line brands—part of the Holland
               America Group operating group—announced that they were leaving the Company.
               See Internal Communication.

                   o Seabourn: On June 25, 2020, the Company announced that the Chief
                     Strategy Officer at All Brands Group would become President of Seabourn.
                     Seabourn Announces Carnival Corp. Exec Josh Leibowitz As President (June
                     25, 2020), https://www.seabourn.com/en_US/news/press-release/2020-press-
                     releases/seabourn-announces-carnival-corp-exec-josh-leibowitz-as-
                     president.html;

                   o Holland America Line: On July 9, 2020, the Company announced that the
                     Chief Operations Officer at Carnival Cruise Line would become President of
                     Holland America Line. Carnival Corporation Names Antorcha to Lead
                     Holland America Line; Palomba as COO for Carnival Cruise Line (July 9,
                     2020), https://www.carnivalcorp.com/news-releases/news-release-
                     details/carnival-corporation-names-antorcha-lead-holland-america-line; and




                                            Page 50 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 56 of 264
                                                                                   July 13, 2020


                Costa President: On July 9, 2020, the Company announced that the President of
                 Costa—a brand that, along with AIDA, is part of the Costa Group operating group—
                 would become Executive Vice President and Chief Operations Officer for Carnival
                 Cruise Line. See id. The CEO of Costa Group will add the role of President of
                 Costa, in addition to continuing to serve as CEO of Costa Group. Costa Cruises
                 Announces Organizational Changes (July 9, 2020),
                 https://www.carnivalcorp.com/news-releases/news-release-details/costa-cruises-
                 announces-organizational-changes.

             On June 17, 2020, the Company provided the Interested Parties, CAM, and TPA with

    organizational charts reflecting staffing levels, as of June 1, 2020, for various groups across the

    Company with HESS-related functions, as required by the Court’s Order of June 2, 2020. See

    supra, Part I.B.3.f.37 These charts reflect:

                Ethics & Compliance: The structure of the Ethics & Compliance Department and
                 Program is largely consistent with the structure described in prior CAM reports. See
                 CAM March 2020 Quarterly Report at 68. At the All Brands Group level, it includes
                 a Chief Ethics & Compliance Officer who reports to the Carnival Corp. CEO and
                 Boards of Directors.38 Below the Chief Ethics & Compliance Officer, there are:
                 three Corporate Compliance Managers (for Environment, Health/Safety/Security, and
                 General Compliance, respectively); functional leaders for Communications,
                 Compliance Risk, Data Privacy, Investigations/Incident Analysis Group,39 and
                 Training; and various managers, directors, analysts, and administrative and other staff
                 to support these positions. At the brand/operating group level, it includes, for each of
                 the four operating groups: an Operating Line Ethics & Compliance Officer; an
                 Operating Line Compliance Manager; an Operating Line Training Manager; and
                 additional functional leaders for Communications, General Compliance,



    37
       The Company notes that personnel transitions at Carnival UK will not be complete until July
    1, 2020, due to UK employment law. Letter from Environmental Corporate Compliance
    Manager to Interested Parties, Order Re: COVID-19 Impacts and Probation Obligations (June
    17, 2020). The Company will provide an updated Carnival UK organizational chart once the
    transitions are complete. Id.
    38
         The Deputy Chief Ethics & Compliance Officer is no longer with the Company.
    39
      As discussed below, there have been significant personnel changes within the Incident
    Analysis Group, including the lay-off and/or furlough of five out of eight investigators. In
    addition, the Vice President of the Incident Analysis Group, who was hired in March 2019, is no
    longer with the Company. The former Senior Director/Deputy has assumed the role of acting
    Vice President. See infra, Part IV.D.7.



                                               Page 51 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 57 of 264
                                                                                   July 13, 2020


               Health/Safety/Security, Risk, and Training. See ABG Ethics & Compliance
               Department Org Chart (June 2, 2020);

              Chief Maritime Officer/Marine Operations: There have been significant
               reductions within the Chief Maritime Officer/Marine Operations organization. These
               include the elimination of the Fleet Captain and Fleet Chief Engineer programs, see
               infra, Part III.G.2,40 as well as the elimination of the Maritime Quality Assurance
               department, which was responsible for monitoring the implementation of HESS
               policies. See CAM First Annual Report at 29.41 At the All Brands Group level, the
               Chief Maritime Officer continues to oversee the CSMART training center,42 the
               Maritime Policy & Analysis department, which develops HESS policies and
               procedures, and the Shipbuilding department, among other groups. As noted above,
               the Chief Maritime Officer will also begin reporting directly to the newly appointed
               Chief Operations Officer. At the brand/operating group level, each operating group
               has an Executive Vice President of Marine Operations (or other equivalent title) that
               reports to the Chief Maritime Officer. See CMO Org Chart (June 2, 2020); and

              RAAS: RAAS experienced a significant reduction in staff of approximately 60%
               across the group, including for the internal HESS audit function. See Employee
               Interview/Call Notes; RAAS Org Chart (June 2, 2020); see also infra, Part VI.A.5.a
               (discussing COVID-19 impacts on the RAAS audit function, including staff
               reductions).

                           g) Draft Pause Priorities Plan

           The Company reported to the Office of Probation that, as of April 2020, it was

    developing a “Pause Priorities Plan,” described as “a list of priorities the Operating Lines want to

    focus on during the layup period . . . to ensure that when the ships return to service, they will


    40
      The Company reports that “resumption of the Fleet Captain and Fleet Chief Engineer
    programs will be considered once operations are resumed.” See Company Comments on Draft
    Report.
    41
      Although the Maritime Quality Assurance department was eliminated, the Company reports
    that “most of its core functions were assigned to other departments,” including oversight over
    certain training functions and assisting in the development of HESS policies. See Company
    Comments on Draft Report.
    42
      CSMART announced significant staff reductions and other personnel changes affecting
    approximately 60% of CSMART staff the week of June 15, 2020. See Employee Interview/Call
    Notes. The Company reports that updated organizational charts for CSMART will be completed
    once those personnel changes “have been fully implemented.” See Company Comments on
    Draft Report.



                                               Page 52 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 58 of 264
                                                                                   July 13, 2020


    come back stronger and better equipped.” April 2020 Probation Supervision Report,

    Attachment 5, at 2 (emphasis added).

           On June 17, 2020, the Company submitted a draft of its Pause Priorities Plan to the

    Interested Parties, CAM, and TPA, as required by the Court’s Order of June 2, 2020. See Letter

    from Chief Ethics & Compliance Officer to CAM and TPA, Draft Pause Priorities Plan (June 5,

    2020), PCL_ECP00166531-32 (“Draft Pause Priorities Plan Cover Letter”); Coming Back

    Stronger: “Pause Priorities Plan” DRAFT (June 16, 2020), PCL_ECP00166533-54 (“Draft

    Pause Priorities Plan” or “Plan”).43 The draft Plan is described as an “interim strategic plan” that

    outlines “both programmatic priorities, as well as the timeline for implementation (short, mid

    and longer terms).” Draft Pause Priorities Plan Cover Letter at PCL_ECP00166531. The draft

    Plan focuses on initiatives under four categories: (1) Environmental; (2) Investigations;

    (3) Culture; and (4) Training. Id. 44 The Company noted that the current draft “was written to be

    general in nature. Over the upcoming weeks and months, the various working groups will

    further refine and provide the specific details for each area.” Id.

           The Environmental initiatives apply to “ships that are expected to return to service.”

    Draft Pause Priorities Plan at PCL_ECP00166535. According to the Company, the “goal is to

    complete the initiatives on all ships that return to guest operations according to the order that

    they return. The initiatives will not be implemented on ships that do not return to guest



    43
       The Company provided the CAM and TPA with a prior draft on June 5, 2020, which was
    largely consistent with the June 17, 2020, submission. See Letter from Chief Ethics &
    Compliance Officer to CAM and TPA, Draft Pause Priorities Plan (June 5, 2020),
    PCL_ECP00166531-32; Coming Back Stronger: “Pause Priorities Plan” DRAFT (June 5,
    2020), PCL_ECP00166533-54.
    44
      Notably, the Draft Pause Priorities Plan focuses on ECP-related and environmental initiatives,
    and does not address the other three pillars of HESS compliance: Health, Safety, and Security.



                                               Page 53 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 59 of 264
                                                                                   July 13, 2020


    operations due to sale, recycling, or donation.” See Company Comments on Draft Report.

    However, as the Company has acknowledged, those ships which have not yet returned to guest

    operations “are still bound by the company’s Environmental Management System and applicable

    regulations.” See id. The Company has represented that “those ships will continue to comply

    with those requirements.” See id.

           The Company also cautioned that “all of these initiatives must be subject to best efforts

    and feasibility challenges,” including “the availability of contractors, the supply and delivery of

    components, the reduced level of shore-side personnel/resources, the restrictions imposed by

    insurance policies, as well as COVID-19-related issues, protocols, and quarantine rules.” Draft

    Pause Priorities Plan Cover Letter at PCL_ECP00166532. However, the Company reiterated its

    commitment from the April 20, 2020, Status Conference that “regardless of these challenges, we

    are maintaining our focus on safety, environmental protection and compliance.” Id.

           In addition to the initiatives outlined in the Draft Pause Priorities Plan, the Ethics &

    Compliance Program “will be pursuing other initiatives,” including: “developing new health

    protocols and related training programs consistent with new regulatory requirements and

    procedures, implementing management of change principles, improving data analytics,

    expanding compliance risk management, and developing better compliance communications.”

    Id. at PCL_ECP00166531. In addition, “other corporate functions will also be pursuing various

    projects,” including RAAS’s efforts to “use remote HESS auditing, as well as to develop

    shipboard self-assessments, and oversight of environmental compliance requirements for ships

    preparing to return to service.” Id. at n.1; see also infra, Part VI.A.5 (discussing RAAS’s

    activities during the suspension of cruise operations, including its transition to a program of

    remote audits).



                                              Page 54 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 60 of 264
                                                                                   July 13, 2020


           Details about specific initiatives in the Draft Pause Priorities Plan are discussed in the

    relevant sections of this Report. However, general observations from the CAM Team and TPA

    include:

              General lack of concrete commitments to support the Company’s claim that it is
               “maintaining [its] focus on safety, environmental protection and compliance”:
               See Draft Pause Priorities Plan Cover Letter at PCL_ECP00166532.

                  o The Plan states that “[t]o the extent that the commitments in the earliest time
                    frames [i.e., before ships return to service] are not met, this will not preclude a
                    ship’s return to operation, but the Company will document and provide an
                    explanation.” Draft Pause Priorities Plan at PCL_ECP001665335. The Plan
                    does not specify which issues the Company would consider acceptable to
                    leave unaddressed before a ship returns to service, the nature of any
                    explanation to be provided, or who the ultimate decision-maker is;

                  o The Plan states that the Company “aspire[s] to achieve compliance” and “will
                    continue to monitor [its] compliance with all environmental requirements
                    throughout the pause period and make best efforts to find ways to remain in
                    compliance where operationally feasible.” Draft Pause Priorities Plan at
                    PCL_ECP00166536 (emphasis added). Again, without further explanation or
                    definitions, it is unclear what the actual commitment will be, and whether it is
                    consistent with the representations made to the Court by the CEO and Chief
                    Ethics & Compliance Officer;

              General lack of information about the current status of each initiative: Most of
               the initiatives lack information about their current status—a critical piece of
               information for measuring and reporting on progress; and

              General lack of specific timelines or deadlines: Most of the initiatives are not
               assigned specific timelines or deadlines. Instead, they are classified under nebulous
               timeline categories such as: (1) “Do Before Ship Resumes Service”; (2) “Try to Do
               Before Ship Resumes Service”; (3) “Do When Feasible”; and (4) “[All Brands
               Group] to decide.” In response to this concern, the Company states that the draft Plan
               “does not include specific deadlines because no timeline has been established for
               when ships will return to service.” See Company Comments on Draft Report. The
               Company also notes that “due to the unprecedented nature of the relaunch and lack of
               awareness of the status of contractors and third party vendors, there are external
               factors that the Company does not have control over (which includes quarantining),”
               which “add to the Company’s inability to add timelines to the Pause Priorities Plan at
               this time.” Id. This suggests that, in the face of continued uncertainty, the Company
               may never complete the initiatives in the Draft Pause Priorities Plan. Further,
               uncertainties as to return to service for ships would not seem to apply to shore-based




                                              Page 55 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 61 of 264
                                                                                     July 13, 2020


                initiatives, including certain environmental and culture initiatives. Yet, many of these
                also lack specific timelines or deadlines.

            In its comments on the draft of the Report, the Company stated that, while it “appreciates

    this feedback, it is important to note that the draft Pause Priorities Plan was not intended to be

    final, and the Company conveyed that intent to the CAM Team. The Company therefore

    expected that the CAM Team would convey most of these comments prior to the CAM’s

    drafting this annual report, so that the Company could make adjustments before the annual report

    was due and before the July status conference with the court.” See id. The CAM Team

    appreciates that the Draft Pause Priorities Plan is a draft, and that it may evolve. However, the

    CAM also notes that almost a month has passed since the Company submitted the draft Plan on

    June 17, 2020. Since that date, the Company has announced that AIDA intends to resume cruise

    operations as early as August 5, 2020—less than 3 ½ weeks from the date of this Report. See

    supra, Part I.C.4.a-b. Given that the Company began creating the plan as early as April 2020, it

    is not unreasonable to expect that a more developed and actionable plan would be in place by

    mid-July 2020, mere weeks before its first ships are set to start sailing again.

            Further, the CAM Team provided specific observations on opportunities for compliance

    efforts during the pause, as well as feedback on the Draft Pause Priorities Plan, in multiple

    discussions with the Company both before and after receiving the Draft Pause Priorities Plan.

    Indeed, the CAM Team held two virtual meetings with the Company on June 22, 2020, to walk

    through the Draft Pause Priorities Plan in detail, during which the CAM expressed concerns

    noted above and elsewhere in this Report regarding: vague or non-existent timelines for many of

    the initiatives; lack of concrete commitments to complete certain initiatives (such as providing a

    full set of environmental critical spare parts) before ships resume service; absence of health,

    safety, or security initiatives; and the observation that many of the initiatives relate to issues that


                                                Page 56 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 62 of 264
                                                                                 July 13, 2020


    arose long before the COVID-19 pandemic yet remain unresolved.45 See Employee

    Interview/Call Notes. In addition, the Company received the draft of this Report on June 29,

    2020, containing the CAM Team’s written feedback on the Draft Pause Priorities Plan.46

           Continuing to label the Plan as a “draft,” especially as some ships are set to imminently

    resuming cruising, raises questions about the certainty of the commitments, and accountability if

    commitments are not met.

                          h) Legal Proceedings47

                                    i.   INVESTIGATION BY UNITED STATES CONGRESS

           On May 4, 2020, the Company notified the Interested Parties, CAM, and TPA that “on or

    about May 1, 2020, the Company received a letter from the chairman of the House Committee on

    Transportation and Infrastructure, Peter DeFazio, and chairman of the Subcommittee on Coast

    Guard and Maritime Transportation, Sean Patrick Maloney, requesting documents relating to the

    Company’s response to the COVID-19 pandemic.” Letter from Environmental Corporate

    Compliance Manager to Interested Parties, Notice of Congressional Investigation (May 4, 2020).

           The Congressional letter observes that, “[l]ong before the COVID-19 pandemic . . . the

    cruise industry had a problem managing, containing, and responding to public health outbreaks,”


    45
      This observation is a critique of the Company’s continuing struggle—after more than three
    years of probation—to create a sustainable web of compliance support for the ships on issues
    such as pollution prevention equipment and spare parts; crew staffing and workload; IT support,
    including voyage planning; waste offload and waste vendor assessment support; effective
    investigations; and a culture that supports compliance. See infra, Part IV.A-E.
    46
      On July 13, 2020, the date of this Report, the CAM Team became aware of a revised version
    of the Draft Pause Priorities Plan, dated June 25, 2020. The CAM Team will review and report
    on these changes, and any other revisions to the Draft Pause Priorities Plan, in the next CAM
    Quarterly Report.
    47
      As noted above, the Company “does not agree with all of the assertions made in the various
    media reports and lawsuits described throughout this report.” See Company Comments on Draft
    Report. See supra, Part I.B.4.


                                             Page 57 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 63 of 264
                                                                                   July 13, 2020


    including outbreaks of infectious diseases such as the norovirus and influenza. Letter from

    House Committee on Transportation and Infrastructure and Subcommittee on Coast Guard and

    Maritime Transportation to Carnival Corp. CEO (May 1, 2020), at 1. The letter further states

    that, when cruise ships resume sailing, “more robust health precautions and new social

    distancing protocols will be paramount to preventing the re-emergence and spread of new

    COVID-19 infections.” Id. at 2. It adds: “Our Committee, the U.S. Congress, and the American

    public need to be assured that the global cruise line industry, and Carnival Corporation & PLC in

    particular, are instituting necessary measures to ensure that the safety of the traveling public and

    crew members will be your number one priority when your ships set sail again.” Id. The letter

    also cites media report allegations that “suggest that officials at Carnival were aware of the

    threats to some of its ships and did not take appropriate actions, which may have led to greater

    infections and the spread of the disease.” Id. at 3.

           To “gain a better understanding of how Carnival intends to protect passengers and crew,”

    the letter requests that the Company provide the Committee with “the information Carnival

    Corporation cruise lines had, and when, regarding potential infections, public health

    implications, and possible exposure of its passengers and crew to COVID-19, as well as the

    decisions made by Carnival Corporation and its various affiliated lines regarding the health and

    safety of their passengers and crew.” Id. at 4. It specifies an extensive list of requested records

    from January 1, 2020, to the present, including: outbreak prevention and/or response plans; and

    a wide range of records and correspondence “discussing, referring to, or referencing COVID-

    19.” See id. at 4-5. Delivery of the records is requested by May 15, 2020, although a rolling

    production of records may be coordinated beyond that date. Id. at 5. The Company reports that




                                               Page 58 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 64 of 264
                                                                                 July 13, 2020


    it “continues to work with the Committee on producing responsive information on a rolling

    basis.” See Company Comments on Draft Report.

                                   ii.   INVESTIGATIONS BY AUSTRALIAN AND NEW ZEALAND
                                         GOVERNMENTAL AUTHORITIES

           On June 1, 2020, the Company notified the Interested Parties, CAM, and TPA of “certain

    legal proceedings and potential future proceedings against Princess.” Letter from Company

    Outside Counsel to Office of Probation, Notice of Proceedings and Potential Proceedings

    Involving Defendant Princess Cruise Lines, Ltd. (June 1, 2020) (“Notice of Proceedings”), at 1.

    These proceedings include the following investigations by governmental authorities in Australia

    and New Zealand regarding the Ruby Princess:

              New South Wales Police Department and Coroner: investigation “regarding the
               circumstances of deaths by former guests on the Ruby Princess.” Id. According to
               the Company’s notice, “[a]t least some of these guests are believed to have died
               because of complications due to COVID-19 after the ship disembarked guests in
               Sydney, Australia on March 19, 2020.” Id. The Company “expect[s] the
               investigation will take several months to complete.” Id.; see also Letter from
               Environmental Corporate Compliance Manager to Interested Parties, Notice of Port
               State Action (Apr. 13, 2020) (providing notice that “a coronial inquest was initiated to
               investigate the deaths of certain Australian former guests of the Ruby Princess”). The
               Company reports that it “is continuing to disclose records responsive to the coronial
               orders for production in cooperation with the investigation.” See Company
               Comments on Draft Report;

              Special Commission of Inquiry on behalf of the Premier of New South Wales:
               investigation regarding “the events surrounding the Ruby Princess.” Notice of
               Proceedings at 2. The appointed commissioner “is in the process of taking testimony
               from various witnesses and collecting other evidence, and he is scheduled to report
               back to the government of [New South Wales] by August 14, 2020.” Id. The
               Company reports that “the Commission has indicated that witness testimony is now
               likely closed, with one further hearing day of 9 July reserved in case any further
               witness testimony is required by the Commissioner. The Company is preparing
               written submissions which will be due to the Commission by the end the week ending
               10 July.” See Company Comments on Draft Report;

              Australian Federal Department of Agriculture, Water and the Environment:
               investigation regarding “whether the Ruby Princess complied with the pre-arrival
               reporting requirements of Australia’s Biosecurity Act prior to the ship’s docking in


                                             Page 59 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 65 of 264
                                                                                July 13, 2020


               Sydney on March 19, 2020.” Notice of Proceedings at 2. The Company reports that
               “the Department’s investigation is still in progress, and the Company will continue to
               cooperate with the investigation.” See Company Comments on Draft Report;

              New Zealand Customs Service: investigation regarding “whether the Ruby Princess
               complied with all requirements in New Zealand’s Customs and Excise Act of 2018
               while the ship was sailing in New Zealand waters between March 11 and 15, 2020.”
               Notice of Proceedings at 2. The Company reports that it “acknowledged the
               correspondence from the New Zealand Customs Service on 16 April 2020 and
               provided a point of contact for any further inquiries. As of 2 July 2020, the Company
               has not received any further communication in respect of this investigation.” See
               Company Comments on Draft Report; and

              Government of Tasmania, Australia: investigation regarding “a cluster of COVID-
               19 patients in Northwestern Tasmania, which the government believes may be
               attributable to two guests who sailed on the Ruby Princess.” Notice of Proceedings at
               2. The Company reports that “the government of Tasmania has not contacted or
               requested any information from the Company in relation to this matter.” See
               Company Comments on Draft Report.

                                   iii.   CLASS ACTION LAWSUITS

           The CAM is aware of the following COVID-19-related putative class action lawsuits

    against Carnival Corp. entities:

              Former Costa Luminosa Passengers:

                   o A putative class action against Costa Crociere S.P.A. and Costa Cruise Lines,
                     Inc., by former passengers on the Costa Luminosa cruises departing on
                     February 24, 2020, and/or March 5, 2020, seeking damages based on alleged
                     claims of negligence, negligent inflection of emotional distress, intentional
                     infliction of emotional distress, misleading advertising, and negligent
                     misrepresentation. See Turner v. Costa Crociere S.P.A., No. 1:20-cv-21481
                     (S.D. Fla.) (Complaint, Apr. 7, 2020).

              Former Grand Princess Passengers:

                   o A putative class action lawsuit against Carnival Corp. and Princess Cruise
                     Lines by former passengers on the Grand Princess cruise departing on
                     February 21, 2020, seeking both damages and injunctive relief based on
                     alleged claims of negligence, gross negligence, negligent infliction of
                     emotional distress, and intentional infliction of emotion distress associated
                     with having contracted and/or been exposed or potentially exposed to
                     COVID-19 onboard. See Notice of Proceedings at 3; Archer v. Carnival
                     Corp., No. 2:20-cv-04203 (C.D. Cal.) (First Amended Complaint, June 2,
                     2020);


                                             Page 60 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 66 of 264
                                                                                July 13, 2020


                 o A putative class action against Carnival Corp. and Princess Cruise Lines from
                   former passengers on the Grand Princess cruise departing on February 11,
                   2020, seeking similar relief and alleging similar claims to those in Archer.
                   See Chung v. Carnival Corp., No. 2:20-cv-04954 (C.D. Cal.) (Complaint,
                   June 4, 2020); and

                 o A putative class action against Princess Cruise Lines from former passengers
                   on the Grand Princess cruises departing on February 11, 2020, and/or
                   February 21, 2020, seeking damages based on alleged claims of negligence,
                   negligent infliction of emotional distress, and intentional infliction of
                   emotional distress. Eicher v. Princess Cruise Lines, Ltd., No. 2:20-cv-04958
                   (C.D. Cal.) (Complaint, June 4, 2020).

             Former Ruby Princess Passengers:

                 o A putative class action against Princess Cruise Lines by former passengers on
                   the Ruby Princess cruises departing on February 24, 2020, and/or March 8,
                   2020, seeking damages based on alleged claims of negligence, negligent
                   infliction of emotional distress, and intentional infliction of emotional distress.
                   See Heinzer v. Princess Cruise Lines, Ltd., No. 2:20-cv-04959 (C.D. Cal.)
                   (Complaint, June 4, 2020).

             Former Holland America Line Zaandam Passengers:

                 o A putative class action against Carnival Corp. and Holland America Line by
                   former passengers on the Holland America Line Zaandam cruise boarding on
                   March 7, 2020, and departing on March 8, 2020, seeking damages and
                   injunctive relief based on alleged claims of negligence, gross negligence,
                   negligent infliction of emotional distress, and intentional infliction of
                   emotional distress. See Lindsay v. Carnival Corp., No. 2:20-cv-00982 (W.D.
                   Wash.) (Complaint, June 24, 2020).

             Shareholders:

                 o A putative securities class action against Carnival Corp., the Carnival Corp.
                   CEO, and the Carnival Corp. Chief Financial Officer by those who acquired
                   Carnival Corp. common stock and securities between January 28, 2020, and
                   May 1, 2020, seeking damages based on alleged violations of the Securities
                   and Exchange Act and Rule 10b-5, including making false or misleading
                   statements that artificially and falsely inflated stock prices. See Service Lamp
                   Corp. Profit Sharing Plan v. Carnival Corp., No. 1:20-cv-22202 (S.D. Fla.)
                   (Complaint, May 27, 2020); and

                 o A putative securities class action against Carnival Corp., the Carnival Corp.
                   CEO, the Carnival Corp. Chief Financial Officer, and the Carnival Corp.
                   Chairman of the Boards of Directors by those who acquired Carnival Corp.
                   common stock and/or shares between September 26, 2019, and April 30,


                                            Page 61 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 67 of 264
                                                                                 July 13, 2020


                       2020, seeking damages based on similar allegations. See Elmensdorp v.
                       Carnival Corp., No. 1:20-cv-22319 (S.D. Fla) (Complaint, June 3, 2020).

                                    iv.   INDIVIDUAL CIVIL LAWSUITS

           The CAM is aware of over thirty additional COVID-19-related individual civil lawsuits

    by former passengers that have been filed against Carnival Corp. entities. See Notice of

    Proceedings at 3; see also

              Birkenholz v. Princess Cruise Lines Ltd., No. 2:20-cv-03167 (C.D. Cal.) and related
               cases (individual lawsuits by former Ruby Princess passengers);

              Hook v. Holland America Line N.V. d/b/a Holland America Line N.V. LLC, 2:20-cv-
               01009 (W.D. Wash.) (individual lawsuit by former Holland America Line Zaandam
               passengers);

              Nevis v. Costa Crociere S.P.A., No. 0:20-cv-60759 (S.D. Fla.) (individual lawsuit by
               former Costa Luminosa passengers);

              Toutounchian v. Princess Cruise Lines Ltd., No. 2:20-cv-03717 (C.D. Cal.)
               (individual lawsuit by former Diamond Princess passengers); and

              Weissberger v. Princess Cruise Lines Ltd., No. 2:20-cv-02267 (C.D. Cal.) and related
               cases (individual lawsuits by former Grand Princess passengers).

           In general, the plaintiffs in these lawsuits seek damages based on alleged claims similar

    to those in the class action lawsuits discussed above.

           These lawsuits also include at least three wrongful death actions. See Dorety v. Princess

    Cruise Lines, Ltd., No. 20-cv-03507 (C.D. Cal.); (wrongful death lawsuit on behalf of deceased

    former Grand Princess passenger and their estate and lawful survivors); Weidner v. Carnival

    Corp., No. 2:20-cv-04074 (C.D. Cal.) (same); Hsu v. Princess Cruise Lines, Ltd., No. 20-cv-

    03488 (C.D. Cal.) (wrongful death lawsuit on behalf of deceased former Ruby Princess

    passenger and their estate and lawful survivors).




                                              Page 62 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 68 of 264
                                                                                 July 13, 2020


                                   v.    ALLEGED VIOLATIONS OF CDC NO SAIL ORDER

           The CAM is aware of the following alleged violations of the United States CDC No Sail

    Order by Carnival Corp. entities:

              An April 29, 2020, Notice of Potential No Sail Order Violation from CDC regarding
               an alleged attempt to disembark a crew member from the Holland America Line
               Oosterdam in the Port of Los Angeles “even though Holland America and Carnival
               had not signed an attestation assuring public health authorities that sufficient
               precautions had been taken.” See Letter from CDC to Senior Vice President and
               Chief Medical Officer, Re: Notice of Potential No Sail Order Violation (Apr. 29,
               2020), at 1; see also Letter from Environmental Corporate Compliance Manager to
               Interested Parties, Notice of Port State Action (May 4, 2020). The Company
               submitted a response on May 6, 2020, which stated that Holland America Line
               shoreside management “never had any intention or plans to disembark crew,” that the
               situation was the result of “confusion among Oosterdam’s administrative personnel
               and the local port agent,” and that the confusion was “corrected immediately” once
               shoreside management became aware. See Letter from Senior Vice President, Fleet
               Operations, Marine Services to CDC, Re: Response to Notice of Potential No Sail
               Order Violation (“Notice”) (May 6, 2020), at 1; and

              An Enforcement Summary notification from the United States Coast Guard against
               Carnival Cruise Line alleging violations of Coast Guard orders issued pursuant to the
               CDC No Sail Order by the Carnival Imagination and Carnival Panorama on April 6-
               7, 2020, and April 13-14, 2020, respectively, while the ships were in the Port of Long
               Beach, California. Specifically, the notification alleges that the Carnival Imagination
               did not provide advance notice to the Coast Guard of its decision to medically
               evacuate a sick crewmember, and that the Carnival Panorama did not submit a
               disembarkation plan, request authorization, or provide advance notice of its decision
               to disembark a United States crew member, as required by the Order. See
               Enforcement Summary, Enforcement Activity # 5780050.

                                   vi.   OTHER PROCEEDINGS OR POTENTIAL PROCEEDINGS

           On April 7, 2020, DOJ notified the Company of allegations from a crew member on the

    Coral Princess that “on or about March 25 and 26, 2020, while underway, two separate crew

    parties were hosted on the vessel which were open to the Deck Department and ultimately the

    entire ship’s company.” Letter from DOJ to Company Outside Counsel, Re: United States v.

    Princess Cruise Lines, Ltd. (Case No. 1:16-cr-20897) (Apr. 7, 2020), at 1. According to DOJ,

    “[i]t is apparent from the email that the alleged conduct on board would have maximized rather



                                             Page 63 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 69 of 264
                                                                                July 13, 2020


    than minimized the transmission of the [COVID-19] virus and that senior ship officers and

    managers had awareness and/or involvement.” Id. The information “has been shared with the

    Center for Disease Control and the U.S. Coast Guard.” Id. DOJ issued an information and

    document request to the Company regarding the allegations. See id. at 3. The Company reports

    that its “Incident Analysis Group has completed an investigation into the allegations in the DOJ’s

    letter. The Company will provide a copy of the investigation report to the DOJ.” See Company

    Comments on Draft Report.

           D.       CAM Methodology and Activities

                    1.      CAM Team Visits to Ships and Shoreside Facilities

           Consistent with the Third Annual Work Plan, see CAM September 2019 Quarterly

    Report at 10-11 and Attachment 1, and the Probation Revocation Agreement, the CAM Team

    performed the following ship and shoreside office visits during ECP Year Three:

               14 ship visits:

                    o 10 CAM Team-only;48

                    o 3 accompanying TPA auditors;49 and

                    o 1 accompanying RAAS auditors.50




    48
      Due to COVID-19, the CAM Team was unable to complete scheduled visits on two additional
    Covered Vessels. The CAM Team plans to conduct these visits in ECP Year Four, along with
    the other missed visits and joint visit/audits of ships and shoreside facilities noted below, in
    addition to the required ECP Year Four visits.
    49
      Due to COVID-19, the CAM Team was unable to complete a scheduled visit to accompany
    the TPA on one additional Covered Vessel audit.
    50
     Due to COVID-19, the CAM Team was unable to complete a scheduled visit to accompany
    RAAS on one additional Covered Vessel audit.



                                             Page 64 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 70 of 264
                                                                              July 13, 2020


              7 shoreside office visits:

                   o 5 CAM Team-only, including Carnival Corp./All Brands Group, Carnival
                     Cruise Line, Carnival UK, Costa Group, and Holland America Group offices;

                   o 2 accompanying TPA auditors, including Holland America Group offices and
                     a joint audit of Carnival Corp./All Brands Group and Carnival Cruise Line
                     offices; and

                   o 0 accompanying RAAS auditors.51

           In addition, the CAM Team attended numerous Company meetings and events during

    ECP Year Three at shoreside offices and other sites, including:

              Multiple presentations by PROPEL SAYFR AS (“Propel”), the CAM’s retained
               maritime culture survey expert, to the Company’s Executive Leadership Team and to
               the different operating lines/brands on the results of the Environmental Compliance
               Culture Assessment. See infra, Part III.D and Part IV.B;

              Multiple meetings with the HESS Committee and the Compliance Committee of the
               Carnival Corp. Boards of Directors. See infra, Part III.E.3;

              A meeting with members of the Environmental Corporate Compliance Manager’s
               food waste Tiger Teams, held at the TPA’s offices in Houston, Texas, in August
               2019. See infra, Part III.F and Part V.A;

              Multiple sessions of an Environmental Excellence hybrid training/conference event
               for Environmental Officers, as well as a session of the Company’s redesigned
               Operational Excellence training course required for deck, technical, and
               environmental officers, held at the Company’s CSMART training facility in Almere,
               Netherlands. See infra, Part III.G and Part VII.B;

              The Company’s Semi-Annual Global Maritime IT Leadership Forum, held in
               Hamburg, Germany, in October 2019, as well as a Data Management Working Group
               session of the Company’s Corporate Technical Days event, held in Southampton,
               United Kingdom, in September 2019. See infra, Part III.H;

              One overview meeting and one session of the Company’s new causal analysis
               investigation training provided by an outside consultant, held at the Company’s
               offices in Miami, Florida, in November 2019 and February 2020, respectively. See
               infra, Part IV.D.6; and



    51
     Due to COVID-19, the CAM Team was unable to complete scheduled visits to accompany
    RAAS on two additional shoreside office audits.


                                             Page 65 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 71 of 264
                                                                                    July 13, 2020


              The annual 2019 RAAS Maritime Retreat, held at CSMART in August 2019. See
               infra, Part I.D.4 and Part VI.B.1.

           As discussed in the most recent CAM Quarterly Report, in light of the COVID-19 crisis,

    the CAM, with the Court’s approval, suspended all in-person ship visits as of March 3, 2020, and

    all in-person shoreside office and site visits as of March 9, 2020. See CAM March 2020

    Quarterly Report at 34. The TPA suspended all in-person ship and shoreside office and site

    audits as of March 10, 2020. See February 2020 Probation Supervision Report, Attachment 8, at

    2. Those suspensions remain in effect.

           As noted in the Court’s Order of June 2, 2020, the ability of the CAM and TPA to

    perform in-person visits and audits remains limited due to “challenges presented by the COVID-

    19 pandemic,” including “travel restrictions, quarantine requirements, and other public health

    and safety measures (such as screening and testing requirements), set by governments, port

    authorities, the Company, and other bodies, that remain in flux and with uncertain timeframes.”

    Dkt. No. 189 at 4-5. Therefore, as discussed above, the Court granted temporary leave for the

    CAM and TPA to perform ship and shoreside facility visits and audits remotely, and ordered the

    Company to cooperate to facilitate their ability to do so. See id. at 5; supra, Part I.B.3.f.

           As of the date of this Report, the CAM and TPA are coordinating with one another and

    with the Company to develop protocols for remote visits and audits, and will provide a status

    update to the Court at the July 29, 2020, Status Conference. The TPA conducted its first remote

    ship audit of a Princess ship from July 7-9, 2020, joined by the CAM Team. Overall, the TPA

    observed that, given the inherent limitations of a remote approach (which does not allow for the

    kind of informal, organic interactions with crew members that can help build rapport, or the live,

    in-person inspection or observation of equipment and spaces), the remote audit proceeded

    smoothly with good cooperation from the crew and no major IT issues. The TPA was able to


                                               Page 66 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 72 of 264
                                                                                 July 13, 2020


    review electronic versions of documents and records, and conduct interviews with crew members

    via videoconferencing software. The TPA plans to conduct its first remote shoreside audit of the

    All Brands Group shoreside offices from July 14-16, 2020, which the CAM Team will also join.

    In addition to joining these TPA audits, the CAM Team is working to schedule separate CAM

    Team-only remote visits of ships and shoreside offices.

           The CAM Team has continued its other work, as discussed below and described

    throughout this Report.

                   2.     Other CAM Team Activities

           Outside of visits to ships, shoreside offices, and other sites, the CAM Team has continued

    to perform an ongoing review of documents produced by the Company, and to communicate

    frequently with the Chief Ethics & Compliance Officer and the Environmental Corporate

    Compliance Manager and their teams. The CAM Team also communicates with other personnel,

    including the Chief Maritime Officer, the Chief Audit Officer, the Chief Financial Officer, the

    Health/Safety/Security Corporate Compliance Manager, the General Corporate Compliance

    Manager, executive leadership teams at All Brands Group and the operating line/brands, the

    HESS and Compliance Committees of the Carnival Corp. Boards of Directors, and the

    Compliance Committees’ independent outside counsel; and with Propel and the Company on the

    response to the Environmental Compliance Culture Assessment. The CAM Team conducts

    additional formal and informal interviews and communications with personnel from all ranks

    across the Company, including receiving confidential communications from individuals both

    within and outside of the Company.




                                             Page 67 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 73 of 264
                                                                                   July 13, 2020


           The CAM Team also remains in regular communication with the TPA and the Interested

    Parties, including the Office of Probation, and reports to the Interested Parties and the Court as

    required by the ECP and the Court.

                   3.      Oversight of the External Audit Function (TPA)

           During ECP Year Three, the TPA conducted nearly forty audits of Covered Vessels

    (including three accompanied by the CAM Team)52 and multiple audits of shoreside offices

    (including three accompanied by the CAM Team). See infra, Part V.A-B. In addition to

    accompanying the TPA on audits, the CAM Team continues to communicate frequently with the

    TPA, including regular weekly calls and periodic in-person meetings.

           The CAM Team has continued to evaluate the adequacy and independence of the TPA,

    including through: reviewing TPA audit and annual reports; directly observing TPA audits; and

    holding formal and informal discussions with Company personnel who have interacted with the

    TPA. Part V of this Report provides a more detailed assessment of the CAM’s oversight of the

    TPA during ECP Year Three.

                   4.      Oversight of the Internal Audit Function (RAAS)

           During ECP Year Three, RAAS audited over seventy Covered Vessels (including one

    accompanied by the CAM Team)53 and multiple shoreside offices. See infra, Part VI.A.1. In

    addition to accompanying RAAS on audits, members of the CAM Team and TPA attended a

    RAAS Maritime Retreat held at the Company’s CSMART training facility in Almere,




    52
      Due to COVID-19, the TPA was unable to complete scheduled audits of four additional
    Covered Vessels. The TPA plans to conduct these audits in ECP Year Four, in addition to the
    required ECP Year Four audits.
    53
      Due to COVID-19, RAAS was unable to complete scheduled audits of three additional
    Covered Vessels.


                                              Page 68 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 74 of 264
                                                                                  July 13, 2020


    Netherlands, from August 12-16, 2019. See infra, Part VI.B.1; CAM September 2019 Quarterly

    Report at 14-15.

           The CAM Team has continued to evaluate the effectiveness of the RAAS audit function,

    including through: reviewing RAAS audit reports and other materials such as newsletters and

    reports to the Boards of Directors; directly observing RAAS audits; and holding formal and

    informal discussions with RAAS personnel (auditors as well as management) and other

    Company employees, ship and shore, who interact with RAAS personnel. Part VI of this Report

    provides a more detailed assessment of the CAM’s oversight of RAAS during ECP Year Three.

    II.     EXECUTIVE SUMMARY: CAM ECP YEAR THREE FINDINGS

           For ECP Year Three, the CAM makes the following findings on the Company’s

    capabilities to meet ECP objectives and attain continuous improvement. See ECP § VI.F.3.b.

    These findings are based on the CAM Team’s activities during ECP Year Three, which included:

    over 30 visits to ships, shoreside offices, and sites; interviews and discussions with hundreds of

    employees, both ship and shore; and reviews of thousands of documents. See supra, Part I.D

    (discussing the CAM Team’s methodology and activities during ECP Year Three). These

    findings also build upon findings and observations from ECP Years One and Two.

           As in prior years, the CAM’s findings are based on multiple sources of support and

    corroboration, such as views expressed by a large number of employees across operating groups

    or brands, or documentation of similar findings in the Company’s own studies, surveys, and

    assessments. The CAM relies throughout this Report on information gathered from Company

    employees. The CAM is careful to protect the anonymity of communications made in

    confidence to the CAM or the CAM Team. Citations to interviews or discussions with




                                              Page 69 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 75 of 264
                                                                                  July 13, 2020


    Company employees do not identify the employee(s) interviewed, and are referred to as

    “Employee Interview/Call Notes.”

           The CAM continues to appreciate the opportunity to serve the Court in this matter. As in

    ECP Years One and Two, the CAM could not have performed his work during ECP Year Three

    without the extensive support and cooperation of the Company’s employees, both ship and shore.

    These high levels of cooperation and engagement have continued even as the Company faces

    unprecedented challenges from the COVID-19 pandemic. Now more than ever, the leadership

    and culture issues identified in this and prior CAM reports will be the most significant drivers for

    whether the Company emerges from this crisis with a sustainable compliance culture and

    program.

           A.      CAM Findings: Progress

           The CAM’s findings related to the Company’s progress regarding ECP objectives are:

       1) No Repeat of the Underlying Offenses: As in ECP Years One and Two, the CAM is
          not aware of any Covered Vessels that have repeated the misconduct that occurred on the
          Caribbean Princess and gave rise to the Company’s conviction. There were no known
          instances during ECP Year Three where employees on a Covered Vessel intentionally
          bypassed pollution prevention equipment to discharge oily waste water, coupled with
          falsification of records and conspiracy to conceal such illegal acts. But, as discussed
          below under Barrier Finding #6 (Ongoing ECP and Environmental Violations), other
          violations of the ECP and environmental laws continue to occur, including prohibited
          discharges and record falsifications.

       2) General Fulfillment of Enumerated ECP and Probation Revocation Agreement
          Requirements; Initiatives Beyond Enumerated Requirements: Before the COVID-19
          pandemic, the Company had generally appeared to fulfill its enumerated ECP
          requirements (i.e., requirements with discrete deadlines and/or submission requirements),
          as well as its enumerated filing and submission deadlines to date under the Probation
          Revocation Agreement. See Appendix A. However, COVID-19 has impacted the
          Company’s ability to comply with certain ECP requirements, including requirements
          related to: in-person training; testing and calibration of pollution prevention equipment;
          and performing audits and investigations. The Company has notified the Interested
          Parties, CAM, and TPA of these impacts, as well as its plans for addressing or mitigating
          the impacts.




                                              Page 70 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 76 of 264
                                                                               July 13, 2020


             The Company also continues to develop and implement initiatives that go beyond the
          enumerated ECP and Probation Revocation Agreement requirements, including policies,
          programs, surveys, IT projects, studies, trainings, and other efforts. See Appendix B.

       3) Employee Cooperation and Commitment: Overall, the CAM Team’s many ship and
          shoreside visits that took place before COVID-19 proceeded smoothly, with high levels
          of cooperation and engagement from Company employees, both ship and shore,
          including a willingness to candidly discuss issues related to ECP implementation and
          environmental compliance. After in-person CAM Team visits were suspended in early
          March 2020, these high levels of cooperation and commitment have continued. Many
          Company employees have made themselves available for calls and virtual video
          interviews with the CAM Team. The Company also continues to provide the resources
          and support needed to respond to CAM document and information requests and produce
          reports and other documents, as required by the ECP and terms and conditions of
          probation.

              The Company’s environmental compliance personnel—including the Environmental
          Corporate Compliance Manager and his team; CSMART staff involved in developing or
          implementing environmental and compliance training; RAAS personnel who perform or
          oversee HESS audits; and shipboard Environmental Officers—continue to display a
          commitment to environmental compliance, and to spearhead efforts to improve the
          efficiency and effectiveness of the ECP even during this challenging time. The
          Environmental Corporate Compliance Manager and his team have led progress on many
          key issues during ECP Year Three, including developing enhanced Environmental
          Officer training at CSMART; taking steps to establish a Fleet Environmental Compliance
          Training Officer Program; and taking steps to improve onboard food waste management.

       4) Acceptance of Culture Assessment Findings and Efforts to Address Those Findings:
          In 2018-2019, the Company, in conjunction with the CAM and the CAM’s retained
          maritime culture survey expert, completed a first-of-its-kind environmental compliance
          culture survey of more than 70,000 ship and shore employees. The results of the survey,
          finalized in August 2019, indicate that the Company’s greatest opportunities for
          improvement are in the areas of Trust, Care, and Openness. The Company’s top
          leadership accepted these results, and recognized that they are consistent with those of
          other studies commissioned by the Company. Following presentations of the results to
          senior management at All Brands Group and the brands/operating lines from September
          through December 2019, it seemed that there was support for and momentum towards
          undertaking a concerted, corporate-wide effort to address the identified opportunities for
          improvement. To support this effort, the Company retained an outside consultant in
          September 2019 to develop a draft action plan. With support from the consultant, the
          Company crafted a new Carnival Corp. Vision Statement, presented to the Court at the
          December 19, 2019, meeting, emphasizing the importance of safety, environmental
          protection, and compliance. The Carnival Corp. CEO has made an effort, even during the
          COVID-19 crisis, to reiterate the Vision Statement’s priorities, and the message has also
          been echoed by other leaders.




                                            Page 71 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 77 of 264
                                                                              July 13, 2020


              In general, however, progress on the action plan, which was still in draft form when
          COVID-19 hit, has been slow. In the absence of a final action plan from All Brands
          Group, most brands/operating groups developed their own culture action plans in
          collaboration with All Brands Group. To varying degrees, work has continued on
          refining and implementing these brand/operating group-level action plans, and elements
          of these plans are part of the Ethics & Compliance Draft Pause Priorities Plan, which
          contains a portion devoted to culture. The CAM Team understands that, in light of the
          pandemic, All Brands Group has suspended its efforts on the draft action plan and shifted
          to focusing on the culture portion of the Draft Pause Priorities Plan.

             As discussed further below in CAM Barrier Finding #2 (Missed Opportunities in
          Response to Culture Assessment Findings), despite some significant efforts, the
          Company’s overall response to the findings of the Environmental Compliance Culture
          Assessment appears to reflect missed opportunities. It also demonstrates that the
          Company’s complex corporate structure and lack of centralization remain a barrier to
          compliance.

       5) Formation of Ethics & Compliance Department and Program: Since pleading guilty
          in June 2019 to a probation violation for failing to provide the Environmental Corporate
          Compliance Manager with the authority required by the ECP, the Company has made
          significant efforts, many required by the Probation Revocation Agreement, toward
          standing up a new, centralized compliance organization. These efforts included elevating
          the Environmental Corporate Compliance Manager to a Senior Vice President level and
          creating a new position, the Chief Ethics & Compliance Officer. The Chief Ethics &
          Compliance Officer officially began duties in August 2019, and leads a new Ethics &
          Compliance Department, based at All Brands Group. From that position, he seeks to
          implement a broader Ethics & Compliance Program within the brands/operating groups.
          Since joining the Company, the Chief Ethics & Compliance Officer has led significant
          efforts toward putting in place the people, funding, structures, and systems for the
          corporate compliance organization.

              The Company has also taken steps to enhance the compliance expertise of its Boards
          of Directors, including by developing and implementing an annual training curriculum on
          corporate compliance topics, and hiring a new Boards member with significant
          compliance experience. In addition, the Company created and made permanent a new
          Compliance Committee of the Boards of Directors, separate from the HESS and Audit
          Committees.

              As the Company has acknowledged, however, much work remains to be done. Many
          of the CAM’s Barrier findings relate to unresolved weaknesses and areas for
          improvement in the Company’s corporate compliance function. As described in detail
          below, these include: continued decentralization of many HESS compliance functions;
          failure to give the Chief Ethics & Compliance Officer and Environmental Corporate
          Compliance Manager the authority required by the ECP and Probation Revocation
          Agreement; missed opportunities in responding to the findings of the Environmental




                                           Page 72 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 78 of 264
                                                                                 July 13, 2020


          Compliance Culture Assessment; a failure to address long-recognized flaws in the
          internal investigations program; and an inadequate waste vendor assessment program.

       6) Improvements on Food Waste Management: In pleading guilty in June 2019 to a
          probation violation for illegally discharging non-food items (including plastic) mixed
          with food waste into the ocean, along with failing to accurately record the discharge, in
          violation of MARPOL Annex V, the Company admitted the need to improve food waste
          management on its ships. Under the Probation Revocation Agreement, the Company
          agreed to take various actions to prioritize this issue, including establishing a Food Waste
          Task Force and two Food Waste Tiger Teams, and implementing a three-part program to
          improve its food waste management practices. The Company also committed to:
          (1) reduce the purchase and consumption of single-use plastic items onboard its ships by
          50% by December 31, 2021; (2) reduce the total weight of food waste generated onboard
          its ships by 10% by December 31, 2021; and (3) commit a minimum of $20 million in
          capital expenditures throughout the remainder of probation to optimize food waste
          management. The Company has implemented its food waste management improvement
          program throughout ECP Year Three, led by the Environmental Corporate Compliance
          Manager and his team.

                By early 2020, under the leadership of the Environmental Corporate Compliance
          Manager, the Company was making tangible progress on improving its food waste
          management. As of January 2020, the Company’s preliminary data indicated that it was
          on track to meet its Probation Revocation Agreement commitments to reduce single-use
          plastics and food waste weight onboard. The Company had also begun a program to
          install food waste digesters on the majority of its ships, which the Company’s prior
          reviews and assessments had concluded were the best technology option for addressing
          its food waste management challenges.

             Since January 2020, COVID-19 has had major impacts on nearly all aspects of ship
          operations, including food waste management. The full nature and extent of these
          impacts, including whether they may affect the Company’s ability to meet its Probation
          Revocation Agreement commitments, is not yet known.

               In particular, COVID-19 has affected the Company’s plans for food waste digester
          installations. In the Draft Pause Priorities Plan, the Company commits to (1) allocate $10
          million to purchasing digesters in Fiscal Year 2020; and (2) install those digesters (as
          well as digesters that have already been purchased and are available for installation) on
          ships within 60 days of their return to service. The Company has indicated, however, that
          it plans to install digesters only on those ships that it plans to return to service—and not,
          for instance, on ships being sold or going into layup for an extended period of time.

              If digester installations are cancelled or delayed, the Company has not explained what
          additional measures it would take to prevent prohibited discharges of plastic and other
          non-food waste. Unless the Company has ships offload all food waste, or provides them
          with additional measures or resources to replace the utility of the digesters, then it faces
          the potential that discharges of non-food waste in violation of MARPOL Annex V could



                                             Page 73 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 79 of 264
                                                                                July 13, 2020


          occur that could be said to have happened knowingly due to the actions of Company
          management.

       7) Development of a Strong Environmental Officer Corps: Since ECP Year One, the
          Environmental Corporate Compliance Manager and his team have led efforts to provide
          increasing levels of support, resources, and training to onboard Environmental Officers.
          These efforts, in combination with those of the individuals in these positions, have helped
          to create a strong corps of Environmental Officers who have consistently impressed the
          CAM Team with their dedication, knowledge, energy, and commitment to helping the
          Company improve its environmental compliance performance. The Company’s efforts
          include: using the its state-of-the-art CSMART training center to conduct some
          environmental and compliance-related trainings and events, including the Environmental
          Commitment and Environmental Excellence hybrid training/conference events;
          establishing an online forum for Environmental Officers; and taking steps to establish a
          new Fleet Environmental Compliance Training Officer Program.

              As with other areas of the Company’s operations, the COVID-19 pandemic has
          impacted issues related to the Environmental Officer role, many of which are still
          developing. These include impacts to CSMART training, onboard training, the Fleet
          Environmental Compliance Training Officer Program, and Environmental Officer
          staffing, job duties, and workload. It is also unclear whether the extended hiatus from
          cruise operations will cause the Company to lose some of these employees in whom it
          has invested significant training and other support efforts.

       8) Efforts to Develop IT Systems and Tools in Support of Compliance: Prior CAM
          reports have observed that the Company’s IT resources are generally non-centralized,
          outdated, and unable to support the collection and sophisticated analysis of environmental
          compliance data. The Company has recognized its need for more centralized, modern,
          and data-driven strategies, and taken steps to develop or improve existing IT systems and
          tools in support of compliance. These include corporate-wide initiatives related to: a
          global system for hosting HESS policies, procedures, reports, and communications; a
          corporate-wide incident reporting and tracking system; a single, unified spare parts and
          planned maintenance management system; fleetwide software to support voyage planning
          on the ships, including environmental planning (e.g., determining when and where on the
          ship’s itinerary discharges and emissions are permitted or restricted); and hiring a
          consultant to perform analytics on compliance-related data pulled from different
          brands/operating groups. Some of the Company’s brands/operating groups are also
          working on initiatives related to: collecting and analyzing operational and compliance-
          related data from the ships; improving the delivery and tracking of environmental
          compliance-related trainings to reduce administrative burdens; optimizing crew staffing
          and workloads; and managing certain ship visit, survey, and inspection reports.

             Overall, however, progress on these initiatives has generally been slow, with delays
          and limited tangible outcomes to date that directly make compliance easier on the ships.
          Disruptions from COVID-19 have further delayed many of these efforts.




                                            Page 74 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 80 of 264
                                                                                July 13, 2020


                The Company also has yet to implement a global, corporate-wide IT strategy.
           Individual brands/operating groups continue to pursue brand-specific strategies and
           initiatives that may sometimes be at odds or incompatible with other cross-brand efforts.

           B.     CAM Findings: Unresolved Barriers and Opportunities for Improvement

    The CAM’s findings of unresolved barriers and opportunities for improvement are:

       1) Repeat Failures on Basic Compliance Support for Ships: A recurring theme of prior
          CAM reports has been the impact on ship-level compliance of the failure of the
          Company’s top leadership to support compliance fully—not just in words, but in actions
          that translate to direct support for the ships. Even before the COVID-19 crisis placed
          unprecedented strains on the Company’s finances and operations, the Company had
          repeatedly failed to adequately address compliance support for its ships on issues
          identified by the Company’s internal and external studies, and supported by the findings
          of RAAS, the TPA, and the CAM. These issues include: working pollution prevention
          equipment; spare parts; sufficient staffing levels and manageable workloads; IT support,
          including voyage planning support; and waste offload and waste vendor assessment
          support. That is not to say that no progress was made on these issues, but pre-COVID-
          19, after almost three years, it was notable that these problems persisted.

                The Company’s Draft Pause Priorities Plan is a telling case-in-point. Many, if not
           most, of the environmental initiatives in the Plan relate to basic compliance support for
           the ships—such as providing a full set of environmental critical spare parts for pollution
           prevention equipment, or completing repairs to pollution prevention equipment to ensure
           it is in working order. These are not newly discovered issues or COVID-19 artifacts.
           Many of the items in the Draft Pause Priorities Plan could, and should, have been
           addressed long before COVID-19, and even as early as ECP Year One. It is remarkable
           that, several months into ECP Year Four, such issues are still unresolved.

               Some within the Company have observed that the current suspension of cruise
           operations presents an opportunity to focus on getting the ships staffed and equipped to
           be in the best position possible to operate compliantly upon return to service. It remains
           to be seen if the Company will seize this opportunity. As discussed below in CAM
           Barrier Finding #3 (Unresolved Weaknesses in Corporate Compliance Function), it is
           unclear whether the Chief Ethics & Compliance Officer and the Environmental Corporate
           Compliance Manager are empowered with the authority to meet the claim made to the
           Office of Probation that the Company will “ensure that when the ships return to service,
           they will come back stronger and better equipped.” See Dkt. No. 189 at 5 (quoting April
           2020 Probation Supervision Report, Attachment 5, at 2).

       2) Missed Opportunities in Response to Culture Assessment Findings: As described
          above in CAM Progress Finding #4 (Acceptance of Culture Assessment Findings and
          Efforts to Address Those Findings), a large-scale survey of over 70,000 ship and shore
          employees was completed in 2018-2019 to assess the Company’s environmental
          compliance culture. While significant time and resources have been expended since the
          findings were shared with the Company in August 2019, the Company still has no final,


                                             Page 75 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 81 of 264
                                                                                 July 13, 2020


          comprehensive action plan from All Brands Group for addressing the opportunities for
          improvement identified in the Assessment. The Company’s overall response reflects
          missed opportunities in terms of both: (1) process, including delays at the All Brands
          Group level, which the Company “acknowledges” and attributes to “a variety of reasons
          but principally because of the COVID-19 crisis,” which the CAM notes did not emerge
          until at least five months after the Company received the survey findings. See Company
          Comments on Draft Report; and (2) substance, including concerns with the draft All
          Brands Group action plan that the CAM Team has shared with the Company—most
          notably, that the plan focuses on pushing responsibility and accountability away from top
          leadership and towards lower-level supervisors and employees.

              The Company’s response also demonstrates that the CAM’s ECP Year One finding
          that the Company’s complex and decentralized corporate structure is a barrier to
          compliance remains relevant.

       3) Unresolved Weaknesses in Corporate Compliance Function: In ECP Year One, the
          CAM made a finding that the Company had failed to provide the Environmental
          Corporate Compliance Manager with ECP-required authority, and that the Company’s
          complex corporate structure, including the lack of centralization and lack of clarity as to
          responsibility, accountability, and authority for environmental compliance, was an
          unresolved barrier to compliance. The Company did not act to remedy these findings
          until it faced the revocation of its probation near the end of ECP Year Two.

              As noted above in Progress Finding #5 (Formation of Ethics & Compliance
          Department and Program), since pleading guilty in June 2019 to failing to provide the
          Environmental Corporate Compliance Manager with the required authority, the Company
          has made significant efforts toward standing up a new compliance function based at All
          Brands Group.

              Despite these efforts, unresolved weaknesses in the corporate compliance function
          persist. The CAM’s findings from ECP Year One largely still stand:

              (1) The compliance function remains decentralized in many ways, a symptom of the
              Company’s generally decentralized operations. Ownership and accountability over
              compliance-related initiatives tends to reside in the brands/operating groups, rather
              than All Brands Group. Often, the Company seeks to address a compliance problem
              by setting up a “working group” with individuals from both All Brands Group and the
              brands/operating groups, with All Brands Group members engaging in a protracted
              negotiation process to seek “buy-in” from each of the brands/operating groups on any
              proposed solution. This approach results in delayed, uncoordinated, and ineffective
              solutions to some of the Company’s most serious and long-standing compliance
              challenges, including the need to improve its compliance culture and internal
              investigations program; and

              (2) The Company does not yet appear to have provided the Environmental Corporate
              Compliance Manager with the authority required by the ECP. In addition, the
              Company does not yet appear to have provided either the Environmental Corporate


                                             Page 76 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 82 of 264
                                                                                 July 13, 2020


              Compliance Manager or the Chief Ethics & Compliance Officer (a position not
              created until ECP Year Three) with the authority required by the settlement of the
              Probation Revocation Petition.

                  In essence, the authority granted to these positions is the authority to ask, not the
              authority to do. The Company has described its system of governance as one in
              which executives are encouraged to engage in collaboration and coordination, with
              the authority to escalate issues but not to act unilaterally. Regardless of how effective
              this approach may be for other aspects of the Company’s business, this governance-
              by-consensus approach, without clearly empowered compliance leadership, appears
              to be an ongoing barrier to obtaining a comprehensive and consistent approach to
              meeting the compliance needs of the ships.

                 In particular, the Draft Pause Priorities Plan raises questions as to whether the
              Chief Ethics & Compliance Officer and the Environmental Corporate Compliance
              Manager are empowered with the authority to meet the claim that ships will “come
              back stronger and better equipped.” See Dkt. No. 189 at 5 (quoting April 2020
              Probation Supervision Report, Attachment 5, at 2).

       4) Internal Investigations Remain Flawed: At the end of ECP Year One, in June 2018,
          the CAM found that the Company’s internal investigations were critically flawed—an
          observation bolstered by similar findings from the TPA and the Company’s external
          consultant. In September 2018, the Company committed to the Court that it would
          improve its investigations program through various proposed actions and timetables, in
          accordance with the findings and recommendations from its consultant, the TPA, and the
          CAM. The Company also announced its plan to create a new, independent department at
          All Brands Group, called the Incident Analysis Group, that would be responsible for
          significant HESS investigations.

              The Company missed its initial self-imposed deadlines. It did not launch the Incident
          Analysis Group until March 2019, hiring a former official from the United States
          National Transportation Safety Board to lead the new department. Months passed with
          limited tangible progress, apart from hiring additional Incident Analysis Group
          investigators. After missing a second set of self-imposed deadlines for developing new
          investigations procedures and trainings by September 2019, the Company began to report
          progress on some efforts in late 2019 and early 2020. These included: launching an in-
          person root cause analysis training course for Incident Analysis Group investigators,
          developed by an outside consultant, in November 2019; launching a computer-based root
          cause analysis course for shipboard and shoreside investigators who investigate less
          significant HESS incidents in December 2019; and publishing a revised set of
          investigation procedures and associated guidance materials in late February 2020.

            Despite some progress, the investigations function remains flawed as the Company
          moves into ECP Year Four. Ongoing issues include:

                 o Many aspects of the investigations process under the revised procedures
                   remain unclear, including how investigations are assigned and performed after


                                            Page 77 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 83 of 264
                                                                                July 13, 2020


                      being assigned. Notably, in June 2020, the Company withdrew an
                      investigation manual it published in February 2020, following concerns
                      expressed by the CAM Team;

                  o There are concerns as to whether the Incident Analysis Group is set up and
                    resourced to operate with sufficient independence and authority to perform
                    effective and objective investigations;

                  o Details about how the Company will perform incident analysis and trending
                    (including of investigation findings) and share lessons learned to support
                    continuous improvement are unclear;

                  o In general, investigation reports continue to focus on identifying direct or
                    proximate causes of an incident, without also sufficiently identifying or
                    addressing broader, systemic (root) causes. Relatedly, investigation reports
                    continue to focus on the identification of individual errors—a sign of a
                    potential blame culture, as opposed to just culture, approach;

                  o The Company has not yet implemented a comprehensive process for auditing
                    the effectiveness of its investigations function; and

                  o While the new causal analysis training course appears to provide good
                    analytical methods and tools, it does not appear to be sufficient to make
                    investigators proficient at performing effective causal analysis without
                    additional, ongoing coaching and mentoring by experienced professionals
                    with relevant expertise.

              The investigations program also faces additional challenges as a result of COVID-19.
          Due to staff reductions, five out of eight Incident Analysis Group investigators have been
          either laid off or furloughed, and the individual hired to lead the Incident Analysis Group
          in March 2019 is no longer with the Company. The position has been temporarily filled
          in an acting capacity by the former Senior Director of the Incident Analysis Group. It is
          unclear when this critical position will be permanently filled. As a result, as of the date
          of the Report, the department lacks defined leadership and a cohesive vision for moving
          forward.

       5) Inadequate Waste Vendor Assessment Program: From 2018-2020, RAAS and the
          TPA issued multiple audit findings that the Company was not following its internal
          procedures requiring the assessment of third-party waste vendors—contrary to statements
          in its Sustainability Reports, reflecting a disconnect between public statements and efforts
          to make those statements reality. The Company has acknowledged that it was not
          following these procedures, a critical first step in addressing the issue. In late March
          2020, the Company published an updated waste vendor assessment procedure and
          associated materials, and has begun to implement these new procedures and processes.
          Although an improvement from the previous practices, the Company’s current waste
          vendor assessment program still appears to be inadequate. The vetting process relies
          almost exclusively on reviewing vendor self-assessments and performing a form of due


                                            Page 78 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 84 of 264
                                                                                   July 13, 2020


              diligence by searching for media reports. This is the type of “check-the-box” approach
              that DOJ has cautioned can be inefficient and ineffective.

           6) Ongoing ECP and Environmental Law Violations: Violations of the ECP and
              environmental laws persisted during ECP Year Three. As described in this and prior
              CAM reports, the Company has taken steps to learn from and reduce the frequency of
              some of these violations. Further, the CAM does not expect that there will ever be zero
              violations in the course of normal operations. However, these incidents remain
              concerning, not only because of their impacts or potential impacts on the environment,
              but because they reflect broader, systemic corporate leadership and culture issues that
              continue to serve as barriers to compliance. The Company has acknowledged that,
              despite some progress, it still has much work to do to improve its compliance
              performance.

                  The Company’s violations on Covered Vessels reported during ECP Year Three
              include incidents related to:

                      o Air emissions, including leaks of ozone-depleting substances from refrigerant
                        gas systems and emissions associated with the burning of fuel;

                      o Discharges to the sea of various liquid and solid wastes, including: ballast
                        water, black water/sewage, chemicals, food waste, grey water, oil and oily
                        wastes, permeate (e.g., treated sewage/grey water), recreational (e.g.,
                        pool/Jacuzzi) water, solid items/garbage (including plastics), treated bilge
                        water, and other wastes;

                      o Pollution prevention equipment maintenance and operation, including
                        incidents where equipment has been out of service for more than 24 hours
                        (and many more incidents where equipment has been out of service for less
                        than 24 hours), which represent a significant workload concern even when
                        incidents do not rise to the level of a regulatory or ECP violation; and

                      o Recordkeeping, including several incidents of apparent intentional
                        falsifications of ship record books in violation of legal and/or Company
                        requirements, as well as numerous incidents of apparent inadvertent errors in
                        ship record books.

    III.       CAM FINDINGS: PROGRESS

              A.      No Repeat of the Underlying Offenses

              The CAM is not aware of any evidence of a recurrence on any of the Company’s Covered

    Vessels during ECP Years One through Three of the same criminal conduct that occurred on the

    Caribbean Princess. Based on the CAM Team’s ship and shoreside facility visits and




                                                Page 79 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 85 of 264
                                                                                 July 13, 2020


    interviews, review of TPA and RAAS audit reports, and assessment of environmental incident

    reports, there has been no observed evidence of employees on a Covered Vessel intentionally

    bypassing pollution prevention equipment to discharge oily waste water coupled with

    falsification of records and conspiracy to conceal such illegal acts.

           However, violations of environmental laws and the ECP continue to occur, including

    numerous instances of prohibited discharges and record falsifications. See infra, Part IV.F.

           B.      General Fulfillment of Enumerated ECP and Probation Revocation
                   Agreement Requirements; Initiatives Beyond Enumerated Requirements

                   1.      Pre-COVID-19 Fulfillment of Enumerated Requirements

           Before the COVID-19 pandemic, the Company had generally appeared to fulfill its

    enumerated ECP requirements (i.e., requirements with discrete deadlines and/or submission

    requirements). The majority of these requirements and associated deadlines took effect during

    ECP Years One and Two. See CAM First Annual Report at 13-14 and Appendix D (assessing

    the Company’s efforts to meet enumerated ECP Year One requirements); CAM September 2018

    Quarterly Report at 15-16 (same for ECP Year Two and the first quarter of ECP Year Three);

    CAM December 2019 Quarterly Report at 69-75 (same for the second quarter of ECP Year

    Three); CAM March 2020 Quarterly Report at 117-119) (same for the third quarter of ECP Year

    Three). No significant new enumerated ECP requirements took effect during the fourth quarter

    of ECP Year Three.

           In addition, the Company appears to have met its enumerated filing and submission

    deadline obligations to date under the Probation Revocation Agreement.54 A chart summarizing



    54
      Of course, the Probation Revocation Agreement requirements exist because the Company
    pleaded guilty to multiple violations of the ECP and terms and conditions of probation during
    ECP Year Three.



                                              Page 80 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 86 of 264
                                                                                            July 13, 2020


    the status of the Probation Revocation Agreement requirements is included as Appendix A to this

    Report. Additional details about the Company’s efforts to perform its obligations under the

    Probation Revocation Agreement are discussed in the relevant sections throughout this Report.

                   2.      COVID-19 Impacts on Ability to Fulfill Enumerated Requirements

           On April 6, 2020, the Company notified the Interested Parties, CAM, and TPA that “the

    COVID-19 pandemic is impacting the Company’s ability to comply with certain” ECP

    requirements. Letter from Environmental Corporate Compliance Manager to Interested Parties,

    Notice of COVID-19 Impact, at 1. The identified compliance challenges relate to the following

    ECP requirements:

         ECP             Requirement               COVID-19 Impact             Plan to Address/Mitigate Impact
       Provision
     ECP           Environmental Officers       CSMART training               Evaluating temporary options to
     § IV.A.4(a)   must attend five days of     facility is closed, with an   provide “micro-distance-learning” to
                   in-person training and       uncertain re-opening          Environmental Officers
                   assessments each year        timeline
     Attachment    Crew members joining a       Crew members subject to       Interpreting seven-day period to begin
     3             ship must complete           in-cabin quarantine for       after completion of 14-day quarantine
                   environmental training       14 days after joining a
                   within seven days of         ship                          Exploring ways to conduct onboard
                   commencing duties                                          training without the need for a
                                                                              classroom, including through crew TV
                                                                              channels and the online Learning
                                                                              Management System
     ECP           Annual third-party testing   General travel                Assessing options to keep oil
     § IX.H.3      of Oil Content Monitors      restrictions; restrictions    monitoring equipment working
                                                on allowing outside           accurately and reliably during the
                                                visitors onto Company         period in which third-party vendors
                                                ships                         cannot join ships
     ECP           Monthly operational tests    Ships in or headed            Making best efforts to, at minimum,
     § IX.H.4      of Oily Water Separators     toward layup locations at     perform the test in re-circulation
                   and Oil Content Meters55     anchor or alongside that      mode; making best efforts to find
                                                limit the ability to          ways to remain in compliance where
                                                perform overboard             operationally feasible
                                                discharges to test

    55
       An Oily Water Separator is a piece of pollution prevention equipment used to separate oil and
    water mixtures into their separate components. Dkt. No. 58-1, at 9. The equipment is designed
    to produce effluent with oil content not exceeding fifteen parts per million, as required by
    MARPOL Annex I. Id. An integral part of an Oily Water Separator is an Oil Content Meter, a
    device that measures and records the oil content in a moving stream of water to determine if it
    meets regulatory standards prior to discharge. Id. at 8-9.


                                                 Page 81 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 87 of 264
                                                                                                 July 13, 2020


                                                    equipment; some ships
                                                    may not have sufficient
                                                    volume of bilge water to
                                                    perform test in layup
     ECP              Annual operational tests of   Same as above; ship visit    Same as above
     § IX.H.5         Oily Water Separators         restrictions for shoreside
                                                    representatives
     ECP              Clean Oily Water              Access to ports may be       May need to minimize the volume of
     § IX.H.6         Separator source tanks and    restricted, delaying the     waste produced during the layup
                      remove accumulated oil at     ability to timely offload    period
                      least once every six          accumulated oil
                      months
     ECP              RAAS must audit all           Travel and ship visit        Attempting to continue some aspects
     § III.B.1(a)     Covered Vessels               restrictions mean in-        of audit functions using telephonic
                                                    person audits cannot be      measures and records reviews
                                                    conducted
     ECP              Incident Analysis Group       Travel and ship visit        Attempting to continue some aspects
     § III.C.1        must investigate Covered      restrictions mean in-        of investigations using telephonic
                      Vessel casualties, oil        person investigations        measures and records reviews
                      pollution incidents, and      cannot be conducted
                      hotline reports
     Non-ECP          Washwater analysis and        Inability to embark third-   Requirements being extended by Flag
     Related          calibration of Advanced       party vendors; restricted    State Administrations and the United
     Challenges       Air Quality System56          sampling and lab analysis    States Environmental Protection
                      sensors                       services                     Agency

    See id. at 1-3.

                      3.      Initiatives Beyond Enumerated Requirements

            The Company continues to develop and implement initiatives that go beyond the

    enumerated ECP and Probation Revocation Agreement requirements, including policies,

    programs, surveys, IT projects, studies, trainings, and other efforts. See, e.g., CAM First Annual

    Report at 4, 19-21 and Appendix B; CAM Second Annual Report at 31-43 and Appendix A;

    CAM March 2020 Quarterly Report at 119-137. An overview of some of these initiatives is

    provided in Appendix B to this Report.




    56
      As discussed below, Advanced Air Quality Systems, also called Exhaust Gas Cleaning
    Systems or “scrubbers,” are large (i.e., multi-story towers or “stacks”) and complex systems that
    are designed to remove sulfur oxide compounds from a ship’s engine and boiler exhaust gases to
    meet air emission requirements. See infra, Part IV.F.2.



                                                     Page 82 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 88 of 264
                                                                                July 13, 2020


           In addition, although not directly related to this matter, the Company has made

    significant investments in LNG propulsion technology for new ships, which will reduce toxic air

    pollutants associated with traditional maritime fuel oils.57 The Company took delivery of the

    first LNG-powered cruise ship—the AIDAnova—in December 2018, and, as of April 2019, had

    an additional 10 LNG ships on order for delivery through 2025. See AIDAnova Delivered (Dec.

    12, 2018), https://www.cruiseindustrynews.com/cruise-news/20060-aidanova-delivered.html;

    Carnival Corporation’s AIDAnova First Ship to be Supplied with LNG in Mediterranean (Apr.

    26, 2019), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-

    corporations-aidanova-first-ship-be-supplied-lng. The first LNG-powered cruise ship to operate

    in the Western Hemisphere, the Carnival Mardi Gras, is expected to enter service in February

    2021. See Carnival Cruise Line Sets Ship Delivery Changes And Related Deployment Plans




    57
       There is debate as to whether a shift to LNG from conventional marine fuels will result in an
    overall reduction, increase, or no change in greenhouse gas emissions. See, e.g., Studies on the
    Feasibility and Use of LNG as a Fuel for Shipping (2016), available at
    http://www.imo.org/en/OurWork/Environment/PollutionPrevention/AirPollution/Documents/LN
    G%20Study.pdf (discussing potential for “methane slip” to offset reductions in carbon dioxide
    production); Thinkstep, Life Cycle GHG Emission Study on the Use of LNG as Marine Fuel
    (Apr. 10, 2019) (“Thinkstep Study”) (study commissioned by SEA-LNG, a “multi-sector
    industry coalition established to demonstrate LNG’s beneﬁts as a viable marine fuel,” see
    https://sea-lng.org/, and the Society for Gas as a Marine Fuel, concluding that “LNG is a viable
    solution to reduce GHG emissions from international shipping . . . . However, methane emission
    from the supply chain and engine slip need to be reduced further to maximise the positive impact
    on both air quality and GHG emissions”); E. Lindstad, SINTAF Ocean AS, Increased use of
    LNG might not reduce maritime GHG emissions at all – June 2019 (June 2019), available at
    https://www.transportenvironment.org/sites/te/files/publications/2019_06_Dr_Elizabeth_Lindsta
    d_commentary_LNG_maritime_GHG_emissions.pdf (challenging Thinkstep Study
    methodology); LNG Bunker Lobby Issues Full Response to Criticism of its Benchmark GHG
    Study (Sept. 26, 2019), https://shipandbunker.com/news/world/743410-lng-bunker-lobby-issues-
    full-response-to-criticism-of-its-benchmark-ghg-study (noting that “science alone may not be
    able to provide a yes/no, right/wrong conclusion to the ongoing debate on LNG’s [greenhouse
    gas] footprint”).


                                             Page 83 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 89 of 264
                                                                                 July 13, 2020


    (July 6, 2020), https://www.carnivalcorp.com/news-releases/news-release-details/carnival-

    cruise-line-sets-ship-delivery-changes-and-related.

           The CAM Team will continue to monitor the Company’s initiatives, including examining

    whether these initiatives are: well-coordinated; designed to address systemic or root causes; and

    developed with appropriate assessment of the additional workload or other impacts that may

    result, including whether the Company utilizes management of change principles. See id.

           C.      Employee Cooperation and Commitment

           The CAM’s ability to fulfill his broad mandate to monitor the Company’s compliance

    with the ECP, see ECP § VI.A, depends on the Company’s cooperation in facilitating the CAM

    Team’s access to the Company’s ships, facilities, personnel, and records. Overall, as in prior

    ECP years, the CAM Team’s many ship and shoreside visits that took place before COVID-19

    during ECP Year Three proceeded smoothly with high levels of cooperation and engagement

    from Company employees, both ship and shore, including a willingness to candidly discuss

    issues related to ECP implementation and environmental compliance. See CAM First Annual

    Report at 16-19; CAM Second Annual Report at 21-43.

           After in-person CAM Team visits were suspended in early March due to COVID-19,

    many Company employees have made themselves available for calls and virtual video interviews

    with the CAM Team. The CAM Team has also remained in regular contact with the

    Environmental Corporate Compliance Manager, the Chief Ethics & Compliance Officer, the

    Chief Maritime Officer, the Chief Audit Officer, and members of their respective teams, among

    others. In addition, the Company continues to respond to CAM document and information

    requests and produce required reports and other documents, as required by the ECP and terms

    and conditions of probation. See ECP § I.E; Special Condition of Supervision 11.




                                             Page 84 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 90 of 264
                                                                                  July 13, 2020


           The Company’s environmental compliance personnel—including the Environmental

    Corporate Compliance Manager and his team; CSMART staff involved in developing or

    implementing environmental and compliance training; RAAS personnel who perform or oversee

    HESS audits; and shipboard Environmental Officers—continue to display a commitment to

    environmental compliance, and to spearhead efforts to improve the efficiency and effectiveness

    of the ECP. The Environmental Corporate Compliance Manager and his team have led progress

    on many key issues during ECP Year Three, including developing enhanced Environmental

    Officer training at CSMART, see infra, Part III.G, taking steps to establish a Fleet

    Environmental Compliance Training Officer Program, see id., and taking steps to improve

    onboard food waste management. See infra, Part III.F.

           The CAM again expresses thanks for the support, cooperation, and open communication

    of the Company’s employees, ship and shore. The CAM also recognizes that this is a difficult,

    and even devasting, time for many of the Company’s 120,000+ employees and former

    employees around the world, as well as their families and loved ones. As a result of COVID-19,

    many of the talented and dedicated individuals with whom the CAM Team has interacted over

    the course of the ECP are no longer with the Company because their positions have been

    eliminated or furloughed, or their contracts have not been renewed. The CAM is grateful to have

    met and learned from so many extraordinary individuals over the past three years.

           D.      Acceptance of Culture Assessment Findings and Efforts to Address Those
                   Findings

                   1.      Background

           During ECP Year Two, the CAM, in consultation with the Company, retained Propel, a

    Norwegian consulting company that specializes in culture assessment in the maritime and energy

    industries, to conduct an Environmental Compliance Culture Survey and to prepare a first-of-its-



                                              Page 85 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 91 of 264
                                                                                   July 13, 2020


    kind Environmental Compliance Culture Assessment to illuminate both the strengths and

    opportunities for improvement in the Company’s environmental compliance culture. See CAM

    First Annual Report at 24-25, 68; CAM September 2018 Quarterly Report at 22-23; CAM

    December 2018 Quarterly Report at 28-30; CAM April 2019 Quarterly Report at 33-36; CAM

    Second Annual Report at 53-54.

           The Company’s compliance culture has been a consistent area of focus for the Court and

    the CAM, with the Court emphasizing its interest in evaluating the Company’s progress and

    growth in this area. See CAM First Annual Report at 24; CAM Second Annual Report at 53.

    When accepting the Company’s guilty plea in December 2016, the Court stated that it wanted to

    know “what was in the culture” because “there obviously was a culture, at least on [the

    Caribbean Princess], if not on other Princess Cruise Lines ships, that promoted dishonesty and

    the willingness to help each other out in getting around doing the right thing.” See Plea Hearing

    Tr. at 32 (Dec. 20, 2016). At the sentencing hearing in April 2017, the Court observed that “the

    culture really needs to be changed and [I’m] looking to [the CAM] to assist.” Sentencing

    Hearing Tr. at 13 (Apr. 19, 2017). The Company appeared to agree, stating that “we’re

    committed to working with the court-appointed monitor and the third-party auditor over the next

    five years to continue to enhance our compliance program even more, and our focus is a culture

    of compliance.” Id. at 36. At an April 2019 Status Conference following the filing of the

    probation revocation petition, the Court stated that “I am interested in . . . evidence of systemic

    inability to follow through on the commitment that this company made.” Status Conference Tr.

    at 5 (Apr. 10, 2019). This effort also supports the CAM’s broad mandate to monitor the

    Company’s compliance with the ECP, see ECP § VI.A, and to assess whether the Company has




                                              Page 86 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 92 of 264
                                                                                  July 13, 2020


    adequate systems in place to ensure regulatory compliance, correct non-compliance, and prevent

    future non-compliance. See ECP § VI.B.2.

            On August 28, 2019, the CAM’s retained maritime culture survey expert, Propel,

    provided the Company and the CAM with the final report of its assessment of the Company’s

    environmental compliance culture. See Environmental Compliance Culture Assessment Report.

    The assessment was based on a survey of over 70,000 Company employees and evaluated the

    Company’s environmental compliance culture.

           As discussed in prior CAM reports, the assessment found that “employees across all of

    Carnival, from its [All Brands Group] to the various brands, have identified the Company as

    having a compliance culture with a low level of maturity and significant potential for

    improvement.” Id. at 3. In particular:

           Carnival’s employees have described a culture where people who are involved in failures
           are blamed, and where management does not take required steps to learn from failures.
           They also describe Carnival’s culture as one where interpersonal dynamics are ignored,
           where management is narrowly focused on professional competence, and where
           management is insensitive as to how culture, attitudes and interpersonal dynamics
           influence operational performance. In short, the employees have identified a culture that
           is neither open to feedback nor one that sees failure as a vital source of learning.

    Id. at 3-4. The report indicated that the Company’s greatest opportunities for improvement, as

    evidenced by low scores, are in the areas of Trust, Care, and Openness. See id. at 19-21.

           In addition to the written report, on September 3, 2020, Propel presented the findings of

    its report to the Company’s CEO and senior leadership team (including the CEOs of Holland

    America Group and Costa Group, as well as the Presidents of Carnival Cruise Line and Princess

    Cruise Lines e, the Chief Maritime Officer, the Chief Ethics & Compliance Officer, and others).

    After that presentation, Propel was asked to present the findings of its assessment to the senior




                                              Page 87 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 93 of 264
                                                                                 July 13, 2020


    shoreside management at each of the Company’s four operating groups. Propel completed the

    last of these presentations on December 9, 2020.

           In the Environmental Compliance Culture Assessment Report, Propel noted that

    “[s]ignificant leadership efforts will be required to create a mature and sustainable compliance

    culture.” Id. at 3. While prescriptive measures were outside of Propel’s scope of work, the

    report “describes a roadmap approach that has successfully been used in connection with other

    [Propel] assessments.” Id. at 4. The Assessment also identified “a list of key success factors”

    that are important for implementing a meaningful culture change program. Id. at 42. These

    include:

              “Top Management takes ownership for compliance failures”;

              “Top Management accepts that changes are needed”;

              “Management dedicates necessary time and resources to implement cultural
               changes”;

              “Top Management takes ownership of strengthening compliance culture”;

              “Culture changes are linked to the company strategy”; and

              “Systems and governance are aligned to support the change.”

    Id.

                   2.     Company Acceptance of Findings and Signs of Progress

           In September 2019, after receiving the Environmental Compliance Culture Assessment

    Report and briefing by Propel, the Company’s CEO and senior leadership team distributed an e-

    mail to all employees conveying that the results of the survey had been received and stating:

           We are very grateful that more than 70,000 of you responded to our request for
           your input. We value your feedback to help us understand how we can improve
           in ways that will help us be a better company and a better place for you to work.
           The results have showed that we have a lot of work to do in building a culture of
           trust—not blame. We as your senior leadership own the responsibility to create a
           better culture.


                                             Page 88 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 94 of 264
                                                                                  July 13, 2020



           We are taking this very seriously and talking about this at every level of the
           corporation. Each of us is committed to devoting the time and the resources
           required to make the changes you have said we need to make and take concrete
           action steps to make these important changes. . . .

           Our efforts will support each of our brands, working on the topics most critical
           within each of them. We are committed to making our company a place where
           trust, care and openness are at the center of everything we do.

    Important message from Carnival Corporation leadership (Sept. 20, 2019),

    PCL_ECP00167092-93. In addition, at least one brand President followed this message with an

    additional message reinforcing a commitment to improving culture. The President of Carnival

    Cruise Line sent a message on September 27, 2019, to all Carnival Cruise Line shipboard and

    shoreside employees that included the following:

           As a company and a corporation, nothing is more important than building a
           culture of trust across the organization. I’m taking responsibility for the areas that
           the Propel Sayfr results identified for [Carnival Cruise Line] where we clearly
           have work to do to build a stronger culture of trust and accountability among our
           leaders and with our team members shipboard and shoreside. . . . While the survey
           results from Propel are not what we wanted to see, they provide us with critical
           input that points us to areas of opportunities and a path for continuous
           improvement. So, the bottom line is I want you to know we are listening to you
           in multiple ways and are taking action based on your feedback. . . . There is
           nothing more important to me than for us all to live our Carnival Values and that
           must start with TRUST in leadership.

    A Message From Christine Duffy (September 27, 2019), PCL_ECP00167086-87

           As noted in the most recent CAM Quarterly Report, the Company has recognized that

    Propel’s findings are consistent with those of other studies commissioned by the Company, and

    has stated that it accepts the findings of the Environmental Compliance Culture Assessment. See

    CAM March 2020 Quarterly Report at 63. During the January 8, 2020, Status Conference, the

    Carnival Corp. CEO stated: “[T]he Propel Study, the reason why we haven’t debated it is

    because we agree with it. We have other studies that suggested those same things, and we’ve



                                              Page 89 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 95 of 264
                                                                                  July 13, 2020


    had personal experience in talking to our crew and stuff to know that.” Status Conf. Tr. at 87

    (Jan. 8, 2020). Similarly, at the same Status Conference, the Chief Ethics & Compliance Officer

    said: “We are not questioning the Propel conclusions . . . [T]he Propel Survey we believe was

    invaluable in understanding the baseline. It confirmed themes that we understand. We need to

    develop trust, openness, and care. We understand that.” Id. at 11, 15.

           In September 2019, the Company retained an outside consultant, ECI, to develop “an

    action plan addressing the areas of improvement discussed in Propel Sayfr’s culture survey

    report.” January 2020 Probation Supervision Report, Attachment 3, at 1. The Company’s

    expectation, as expressed by its Chief Ethics & Compliance Officer at the January 2020 Status

    Conference, was that “the culture action plan is really going to be 18 to 24 months, at a

    minimum.” Status Conf. Tr. at 12 (Jan. 8, 2020).

           With the support of ECI, and as an initial step to improve the Company’s culture, the

    Company crafted the following Carnival Corp. Vision Statement:

           At Carnival Corporation & plc, our top priorities are to operate safely, to protect
           the environment, and to be in compliance everywhere we operate in the world.
           On this foundation, we aspire to deliver unmatched joyful vacations for our
           guests, always exceeding their expectations and in doing so driving outstanding
           shareholder value. We are committed to a positive and just corporate culture,
           based on inclusion and the power of diversity. We operate with integrity, trust
           and respect for each other -- seeking collaboration, candor, openness and
           transparency at all times. And we intend to be an exemplary corporate citizen
           leaving the people and the places we touch even better.

    Vision, Mission & History, https://www.carnivalcorp.com/corporate-information/mission-and-

    history. The Carnival Corp. CEO has made an effort, even during the COVID-19 crisis, to

    reiterate the Vision Statement’s priorities. See, e.g., An Important Update from Arnold Donald

    (Apr. 3, 2020) (email communication to all Carnival Corp. team members) (“As always, our

    highest responsibility and top priorities are compliance, environmental protection and the health,




                                              Page 90 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 96 of 264
                                                                                   July 13, 2020


    safety and well-being of our guests, the people in the locations we touch, and you and all the

    members of our Carnival family.”)

           This message has been echoed by other leaders. For example, on April 7, 2020, the

    President of Princess Cruise Lines and Carnival Australia wrote to all employees: “We will

    continue to carry on, and as always, compliance, health, safety and environmental protection

    remain our top priorities.” Message from Jan Swartz (Apr. 7, 2020), PCL_ECP00165458-60, at

    PCL_ECP00165458. In an April 2020 video for Carnival Cruise Line crew, the President of

    Carnival Cruise Line said: “Minimum staffing, or manning is designed to support the safe

    operation and maintenance of our vessels, and also will meet all of our regulatory, compliance,

    environmental, health and safety obligations which we will not compromise.” Video Script

    (Apr. 7, 2020), PCL_ECP00165361. Similarly, an April 11, 2020, message from the All Brands

    Group Ethics & Compliance Department to all ECP Covered Personnel began: “As our leaders

    continue to take actions to help safeguard our passengers, crew, and company in the wake of the

    COVID-19 pandemic, we are reaching out to you with a reminder of our ongoing commitment to

    ethics and compliance, and why it’s especially important during this time of crisis.” A Message

    from Your Ethics & Compliance Department PCL_ECP00165343. The message went on to

    instruct: “[A]nyone directly involved in the cash preservation planning, as well as anyone it

    impacts, has an obligation and a duty to speak up if you believe that decisions are being made

    that threaten or jeopardize our safety, environmental and compliance commitments. For

    example, this might include our decisions relating to maintenance, waste management or the

    purchasing of spare parts for pollution prevention or safety equipment.” Id.

           In addition, on June 3, 2020, the Carnival Corp. CEO sent a message to employees across

    the Company in the wake of nation-wide protests against racial injustice and police brutality. In



                                             Page 91 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 97 of 264
                                                                                July 13, 2020


    that message, he shared personal experiences and made specific reference to the portion of the

    vision statement addressing culture, writing:

                   In the hope of catalyzing even the smallest of change, I share with my
           neighbors and my professional colleagues the incidents of racial profiling and
           biased accusations that my family members and I have experienced on far too
           many occasions. And through the greatest platform that I have available to me to
           effect change, as CEO of this corporation, I want to provide the support and the
           motivation for us to build on our foundation of being the greatest travel and
           leisure company in the world, bringing millions of people together every year of
           all nationalities, ethnicities, backgrounds and experiences so they can joyfully
           discover what they have in common and learn to celebrate their differences, rather
           than fear them – while at the same time providing an economic multiplier that
           contributes to a higher quality of life through the power of inclusion.

                    I thank each of you for the part you play in making this possible and I
           encourage you to honor our core values expressed in our vision statement … “We
           are committed to a positive and just corporate culture, based on inclusion and the
           power of diversity. We operate with integrity, trust and respect for each other …
           an exemplary corporate citizen, leaving the people and the places we touch even
           better.”
                    Despite these times, and despite what seems to be far too tedious and far
           too slow progress, collectively we are capable of powerful change for the better,
           and I have no doubt that if we double down on our efforts and stay the course,
           together we will create a brighter future.

    Message to Employees from Arnold Donald, President & CEO Carnival Corporation (June 3,

    2020); see also Arnold Donald, Racism is real. The only way through is ... forward, MIAMI

    HERALD.COM (June 9, 2020), https://www.miamiherald.com/news/business/biz-

    monday/article243272911.html.

                   3.     Culture Action Plans

           After the results of the Propel Environmental Compliance Culture Assessment were

    provided to the Company’s leadership, the decision was made that the findings initially would be

    shared only with senior management at each of the brands/operating groups (rather than




                                             Page 92 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 98 of 264
                                                                                 July 13, 2020


    distributed more widely among employees),58 and that the Company would work with ECI to

    develop an overarching plan to address the findings. This effort was to result in what the

    Company calls its Culture Action Plan. A draft of this plan, dated January 29, 2020, was

    provided to the CAM Team in February 2020. See [Draft] Carnival Corporation Culture Action

    Plan (Jan. 29, 2020), PCL_ECP00154952-59 (“Draft Culture Action Plan”). The Draft Culture

    Action Plan is structured around five categories:

              Leadership Engagement & Accountability at Carnival Corporation Level;

              Prioritize Culture & Compliance at Individual Brand Levels;

              Integration & Ongoing Reinforcement of Core Values;

              Formal & Informal Communications at Corporate and Individual Brand Levels; and

              Assessment & Ongoing Measurement of Progress.

    Id. at PCL_ECP00154953-54. In March 2020, the CAM Team was told that the Draft Culture

    Action Plan had not been finalized because Company leaders “were prioritizing emergencies and

    issues related to the COVID-19 crisis.” See Company Comments on Draft Report; Employee

    Interview/Call Notes. The Draft Culture Action Plan is not yet finalized as of the date of this

    Report, although the June 17, 2020, Draft Pause Priorities Plan contains a segment devoted to

    culture. See supra, Part I.C.4.g. As discussed in the separate CAM Barrier finding below,

    however, the culture portion of the Draft Pause Priorities Plan is not a cohesive and




    58
       The Company reports that it had planned “to share with lower-level employees a summary of
    the Propel survey when the Ethics & Compliance Department began distributing to those
    employees culture pulse surveys, which is a component of the company’s Culture Action Plan,”
    discussed below, but “[s]ince the creation and distribution of the pulse surveys was delayed due
    to COVID-19, the Company also delayed distributing the results of the Propel survey.” See
    Company Comments on Draft Report.


                                              Page 93 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 99 of 264
                                                                                   July 13, 2020


    comprehensive attempt to address the Company’s culture deficits identified in the Environmental

    Compliance Culture Assessment. See infra, Part IV.B.3.

           In the absence of a finalized overarching Culture Action Plan from All Brands Group,

    most brands/operating groups developed their own plans to improve their cultures in

    collaboration with All Brands Group. By January 2020, Carnival Cruise Line, Carnival UK, and

    Holland America Group had each independently developed culture action plans and had begun to

    put those plans into action. See Carnival UK, Heroes of ‘Safe and Well,’ PCL_ECP00164191-

    97; Carnival Cruise Line, Culture Action Plan Roadmap, PCL_ECP00164130-57 (“Carnival

    Cruise Line Culture Action Plan”); Holland America Group, Culture Action Plan (HA Group

    Approach), PCL_ECP00166112-20 (“Holland America Group Culture Action Plan”). To

    varying degrees, work has continued on refining and implementing these brand/operating group-

    level culture action plans, and elements of these plans are part of the Draft Pause Priorities Plan.

                   4.      Ongoing CAM Team Examination

           The CAM will continue to monitor the Company’s response to the findings of the

    Environmental Compliance Culture Assessment. As discussed below, the Company’s overall

    response to date appears to reflect missed opportunities, and demonstrates that the Company still

    struggles with its complex and decentralized corporate structure in addressing barriers to

    compliance. See infra, Part IV.B.

           E.      Formation of Ethics & Compliance Department and Program

                   1.      Background

           In June 2019, the Company pleaded guilty to a probation violation for “failing to provide

    sufficient responsibility and authority to the [Environmental Corporate Compliance Manager] to

    implement the ECP.” Dkt. No. 134 at 10. In pleading guilty, the Company “acknowledge[d]

    that it failed to establish [an Environmental Corporate Compliance Manager] with authority


                                              Page 94 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 100 of
                                     264
                                                              July 13, 2020


  (including resources, budget, and staff) as required to implement the ECP.” Id. at 2. This issue

  was brought to the Company’s attention at least as early as the end of ECP Year One, when the

  CAM made a finding that the Company had failed to provide the Environmental Corporate

  Compliance Manager with ECP-required authority. See CAM First Annual Report at 4-5, 28.

  The CAM also found that the Company’s complex corporate structure, including the lack of

  centralization and lack of clarity as to responsibility, accountability, and authority for

  environmental compliance, was an unresolved barrier to environmental compliance. See id. at 4-

  5, 25-30. The CAM continued to report on the Company’s failure to remedy these findings

  throughout ECP Year Two. See CAM Second Annual Report at 46-49, 91-92.

         In ECP Year Three, as part of the June 2019 Probation Revocation Agreement, the

  Company committed “to restructure its existing corporate compliance governing authority.”

  Dkt. No. 134 at 2. The Probation Revocation Agreement lays out a number of actions the

  Company is required to take, including appointing a Chief Ethics & Compliance Officer (a

  position that had not existed at the Company before), promoting the Environmental Corporate

  Compliance Manager, and providing them “each with: the appropriate budget and staff; a

  substantive role in financial, strategic, and sustainability planning processes; and compliance

  authority over regulatory obligations and operations across and within all brands.” Id.; see also

  CAM September 2019 Quarterly Report at 31-33.

         Consistent with its obligations under the Probation Agreement, the Company has

  submitted to the Court, Interested Parties, CAM, TPA the following action plans and associated

  materials:

              Proposed Action Plan (August 2019). A proposed action plan for re-structuring its
               corporate compliance function, submitted on August 14, 2019. See Carnival Ethics
               & Compliance Submission, PCL_ECP00141514-24; Attachment A – Corporate
               Ethics & Compliance Department Charter and Responsibilities, PCL_ECP00141389-


                                             Page 95 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 101 of
                                     264
                                                              July 13, 2020


            99; Attachment B – Carnival Corporation & plc’s Ethics & Compliance Strategic
            Plan: “Compliance Alliance 2020 and Beyond,” PCL_ECP00141436-71
            (collectively, “Proposed Action Plan”);59

           Final Action Plan (September 2019). A final action plan for re-structuring its
            corporate compliance function, submitted on September 13, 2019. See Revised EC
            Submission Cover Letter (for 8 14 Court Filing), PCL_ECP00141538-48; Attachment
            A – Corporate Ethics & Compliance Department Charter and Responsibilities,
            PCL_ECP00141372-88; Attachment B – Carnival Corporation & plc’s Ethics &
            Compliance Strategic Plan: “Compliance Alliance 2020 and Beyond,”
            PCL_ECP00141436-71;

           Updated Final Action Plan (October 2019). An updated final action plan for re-
            structuring its corporate compliance function, submitted on October 9, 2019. See
            Revised EC Submission Cover Letter_Oct 9 2019_FINAL (“Ethics & Compliance
            October 2019 Final Action Plan Submission Letter”), PCL_ECP00141549-59 and
            Attachments A-D. The submission includes:

               o A charter for the corporate Ethics & Compliance Department. See Attachment
                 A – Corporate Ethics & Compliance Department Charter and Responsibilities
                 (“Ethics & Compliance October 2019 Final Charter”), PCL_ECP00141355-
                 71;

               o An ethics and compliance strategic plan, titled “Compliance Alliance 2020
                 and Beyond.” Attachment B – Carnival Corporation & plc’s Ethics &
                 Compliance Strategic Plan: “Compliance Alliance 2020 and Beyond”
                 (“Ethics & Compliance October 2019 Final Strategic Plan”),
                 PCL_ECP00141400-35;

               o An annual training curriculum for the Carnival Corp. Boards of Directors. See
                 Ethics & Compliance October 2019 Final Action Plan Submission Letter at
                 PCL_ECP00141551-52;

               o An internal Company communication announcing the new Ethics &
                 Compliance team. See Attachment C - Important announcement: Carnival
                 Corporation forms new Ethics & Compliance team, PCL_ECP00141508-11;
                 and

               o A statement from the Boards reiterating the Company’s and the Boards’
                 commitment to compliance. Attachment D - Carnival’s Commitment to Ethics



  59
    The CAM and TPA provided joint comments on the Proposed Action Plan on August 28,
  2019. See Joint CAM/TPA Comments on August 14, 2019, Proposed Action Plan Submission
  (Aug. 28, 2019); CAM December 2019 Quarterly Report at 32-33.



                                         Page 96 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 102 of
                                     264
                                                              July 13, 2020


                    & Compliance: A Statement from Our Boards of Directors,
                    PCL_ECP00141512-13;

            Preliminary Financial Plan (November 2019). A preliminary financial plan for the
             Ethics & Compliance Program for fiscal years 2019 (historical) and 2020 (proposed),
             submitted on November 1, 2019, as a supplement to the October 2019 updated final
             action plan. See Updated Draft for the Carnival Corporation Compliance Financial
             Plan (2019 and 2020), PCL_ECP00141532-37; Attachment A – Global Roster for
             Ethics & Compliance, PCL_ECP00141524-30; Attachment B – Ethics & Compliance
             Functional Leaders, PCL_ECP0014131; and

            Updated Financial Plan (December 2019). An updated financial plan for the Ethics
             & Compliance Program for fiscal years 2019 (historical) and 2020 (proposed),
             submitted on December 10, 2019, as a supplement to the October 2019 updated final
             action plan. See Carnival Corporation Compliance Financial Plan (2019 and 2020),
             PCL_ECP00162713-18 (“Ethics & Compliance December 2019 Financial Plan”).
             The submission includes:

                o A roster of Ethics & Compliance Program personnel for 2019 and 2020. See
                  Financial Plan E&C December 10 – Attachment A, 2019 roster for Ethics and
                  Compliance, PCL_ECP00162719-27; and

                o A list of Ethics & Compliance Program functional leaders for All Brands
                  Group and each of the operating lines. See Financial Plan E&C December 10
                  – Attachment B, Ethics & Compliance Functional Leaders,
                  PCL_ECP00162728.

         As noted above, the Court’s Order of June 2, 2020, required the Company to submit a

  revised financial plan for the Ethics & Compliance Program by June 17, 2020. See supra, Part

  I.B.3.f. On June 17, 2020, the Company notified the Interested Parties, CAM, and TPA that it

  was “in the process of providing a new Carnival Corporation Financial Plan, including an Ethics

  and Compliance Department and Program [budget] for the second half of Fiscal Year 2020.”

  Letter from Environmental Corporate Compliance Manager to Interested Parties, Order Re:

  COVID-19 Impacts and Probation Obligations (June 17, 2020), at 2. According to the

  Company, it “takes approximately 45-days to collect and evaluate the data commencing

  following the May month-end close. Last week, the Company closed the books for May;




                                          Page 97 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 103 of
                                     264
                                                              July 13, 2020


  therefore, the Company expects to produce the updated plan during the week of July 27, 2020.”

  Id.

                 2.     Ethics & Compliance Department and Program

                        a) Overview

         The Carnival Corp. Chief Ethics & Compliance Officer officially assumed duties on

  August 12, 2019. This individual leads the new Ethics & Compliance Department, based at All

  Brands Group, and seeks to implement a broader Ethics & Compliance Program that extends

  throughout the brands/operating groups. Appointing a Chief Ethics & Compliance Officer was a

  significant achievement, albeit one mandated by the Probation Revocation Agreement, for a

  company that historically lacked a centralized compliance organization—especially a company

  of Carnival Corp.’s size and complexity that operates in a highly regulated industry and faces a

  range of compliance risks, not just environmental. See CAM First Annual Report at 12-13

  (discussing the complex regulatory regime in which cruise companies operate); CAM Second

  Annual Report at 21-24 (same, with a focus on environmental regulations); id. at 46-47

  (providing overview of the Company’s decentralized compliance structure as of ~June 2019).

  From the beginning, the CAM and the Company recognized that building a new centralized

  corporate compliance organization would not be simple, easy, or quick. See id. at 48-49.

         In standing up the new compliance organization, the Company took steps to empower the

  Chief Ethics & Compliance Officer and the Environmental Corporate Compliance Manager with

  the authority required under the ECP and Probation Revocation Agreement, including by having

  the Chief Ethics & Compliance Officer report directly to the Carnival Corp. CEO, with a dotted

  reporting line to the HESS and Audit Committees of the Boards of Directors; and promoting the

  Environmental Corporate Compliance Manager to a Senior Vice President level, with a dotted




                                           Page 98 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 104 of
                                     264
                                                              July 13, 2020


  reporting line to the CEO and the HESS Committee of the Boards of Directors. These actions

  were required by the Probation Revocation Agreement. See Dkt. No. 134 at 2. As discussed

  below, however, the Company does not appear to have provided the Chief Ethics & Compliance

  Officer and the Environmental Corporate Compliance Manager with the full required authority.

  See infra, Part IV.C.

         The Company has also taken steps, again required by the Probation Revocation

  Agreement, to enhance the compliance expertise of its Boards of Directors, including by

  developing and implementing an annual training curriculum on corporate compliance topics, and

  hiring a new Board member with significant compliance experience. See Dkt. No. 134 at 3;

  infra, Part III.E.3. In addition, the Company made permanent the new Compliance Committee

  of the Boards of Directors, separate from the HESS and Audit Committees, an action not

  required by the Probation Revocation Agreement. See id.

         As detailed in prior CAM reports, since joining the Company in August 2019, the Chief

  Ethics & Compliance Officer has led significant efforts toward putting in place the people,

  funding, structures, and systems for the corporate compliance organization. In addition to

  developing the action plans and associated materials noted above, these efforts (which are in

  varying stages of completion and implementation) include:

            Staffing and Organizational Structure: Working to staff Ethics & Compliance
             Department and Program positions at All Brands Group and the brands/operating
             groups, including: (1) at All Brands Group, the three Corporate Compliance
             Managers (for Environment, Health/Safety/Security, and General Compliance,
             respectively), and the functional leaders for Communications, Compliance Risk, Data
             Privacy, Investigations/Incident Analysis Group, and Training; and (2) at the
             brand/operating group level, the Operating Line Ethics & Compliance Officers,
             Operating Line Compliance Managers, Operating Line Training Managers, and
             functional leaders for Communications, General Compliance, Health/Safety/Security,
             Risk, and Training. As discussed above, there have been some staffing reductions
             and other personnel changes in the Department and Program due to COVID-19 (most
             significantly, to the Investigations/Incident Analysis Group function), although the


                                           Page 99 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 105 of
                                     264
                                                              July 13, 2020


             basic structure remains consistent with the pre-COVID-19 structure. See supra, Part
             I.C.4.f;

            Ethics & Compliance Program Retreat: Holding an Ethics & Compliance
             Program Retreat attended by approximately 25 Ethics & Compliance Program
             personnel from All Brands Group and the brands/operating groups. See CAM March
             2020 Quarterly Report at 71;

            Ethics & Compliance Ship Visits: Conducting a series of half-day ship visits by
             Ethics & Compliance Program personnel to four ships. The visits included townhall-
             style sessions, where crew members shared a range of compliance-raised concerns.
             Plans for additional visits were put on indefinite hold due to COVID-19. See id. at
             72;

            Compliance Risk Assessment: Taking preliminary steps to identify material
             compliance risks facing the Company, in accordance with its risk assessment strategy
             and a baseline compliance risk assessment plan for Fiscal Year 2020. See infra, Part
             III.E.2.b; and

            Management of Change Procedure: Working to develop a management of change
             procedure to address concerns about the additional workload and logistical demands
             associated with new Company procedures and initiatives. See CAM March 2020
             Quarterly Report at 134-36. The Company’s initial deadline of April 20, 2020, for
             finalizing the procedure was pushed back due to COVID-19. The Company is now
             aiming to complete the procedure by July 2020. See Employee Interview/Call Notes.

  See CAM March 2020 Quarterly Report at 42-43, 66-77.

         However, as the Company has acknowledged, work remains to be done. Many of the

  CAM’s Barrier findings discussed below relate to unresolved weaknesses and areas for

  improvement in the Company’s corporate compliance organization, including: continued

  decentralization of many HESS compliance functions; failure to give the Chief Ethics &

  Compliance Officer and Environmental Corporate Compliance Manager the authority required

  by the ECP and Probation Revocation Agreement; missed opportunities in responding to the

  findings of Propel’s Environmental Compliance Culture Assessment; a chronic failure to address

  long-recognized flaws in the internal investigations program; and an inadequate waste vendor

  assessment program that reflects a disconnect between public statements about compliance and

  efforts to make those statements reality. See infra, Parts IV.C-E.


                                           Page 100 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 106 of
                                     264
                                                              July 13, 2020


                         b) Compliance Risk Assessment

         As noted above, the Company has taken steps to identify material compliance risks that it

  faces, in accordance with its risk assessment strategy and a baseline compliance risk assessment

  plan for Fiscal Year 2020. See CAM March 2020 Quarterly Report at 72-75. On June 15, 2020,

  the Company provided the CAM Team with the latest version of the draft risk assessment. See

  [Draft] Compliance Risk Assessment for FY 2020 (June 15, 2020).

         The CAM Team understands that work on the draft risk assessment is ongoing.

  However, it is worth noting some high-level preliminary observations at this time. The draft is

  based primarily on qualitative input from interviews with a limited number of stakeholders,

  mostly at All Brands Group, which was used to identify eight risk categories60 and create risk

  profiles for each of these categories.61 The draft does not explain the methodology used to

  assign risk profile values, and, except in a few limited circumstances, it is unclear if and how the

  Company has or will consider quantitative factors in finalizing the risk profiles.62

         Further, the draft does not appear to identify culture as a risk category, despite discussing

  the results of the Propel Environmental Compliance Culture Assessment as well as the impacts

  of culture on compliance. Without identifying and assessing cultural risks, it is unclear how the

  Company will address and monitor those risks in the future.


  60
    The eight categories are: (1) Health; (2) Environmental; (3) Human Resources; (4) Safety;
  (5) Security; (6) General Compliance (including data privacy); (7) Financial Controls; and
  (8) Operations related to Shipbuilding and Ports. See id. at 3.
  61
    Brand/operating group employees, particularly those who work on ships or directly support
  ship operations, have not yet been interviewed.
  62
     Using quantitative data to assess both risk and controls in place to reduce risk is a
  recommended best practice when conducting a risk assessment. See e.g., Committee of
  Sponsoring Organizations of the Treadway Commission (COSO),
  https://www.coso.org/Documents/COSO-ERM-Risk-Assessment-in-Practice-Thought-Paper-
  October-2012.pdf, at 8-9.


                                           Page 101 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 107 of
                                     264
                                                              July 13, 2020


         The CAM team plans to continue to examine the Company’s efforts to finalize and utilize

  the risk assessment. This examination will be guided by the recently revised DOJ guidance,

  which emphasizes the importance of evaluating “[t]he effectiveness of [a] company’s risk

  assessment and the manner in which the company’s compliance program has been tailored based

  on that risk assessment,” including whether the risk assessment criteria are “periodically

  updated,” and whether any such periodic reviews are “limited to a ‘snapshot’ in time or based

  upon continuous access to operational data and information across functions,” as well as whether

  periodic reviews have “led to updates in policies, procedures, and controls.” DOJ Corporate

  Compliance Program Guidance at 3.

                 3.     Boards of Directors Updates

         Consistent with its obligations under the Probation Revocation Agreement, the Company

  has taken steps to enhance the compliance expertise of its Boards of Directors.

                        a) New Compliance Committee

         In January 2020, the Boards of Directors voted to make the Special Compliance

  Committee of the Boards of Directors, newly convened as of October 2019, see CAM December

  2019 Quarterly Report at 34, into a permanent standing Compliance Committee, and the

  “Special” designation was removed from the name. See Compliance Committees Charter (Jan.

  27, 2020), available at https://www.carnivalcorp.com/static-files/feeb21d0-8a9e-4477-b34e-

  588d657851ff. The Compliance Committee is comprised of independent directors. It “will

  oversee the ethics and compliance program, maintain regular communications with the Chief

  Ethics and Compliance Officer and ensure implementation of the ethics and compliance

  program’s strategic plan.” 2019 10-K at 19. The Compliance Committee has retained a private




                                           Page 102 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 108 of
                                     264
                                                              July 13, 2020


  law firm to provide it with separate legal representation. See CAM December 2019 Quarterly

  Report at 34.

         In addition, the Boards continue to have both a HESS and an Audit Committee, each

  comprised of independent directors. The HESS Committee’s “principal function” is “to assist

  the boards in fulfilling their responsibility to supervise and monitor [the Company’s] health,

  environment, safety, security and sustainability related policies, programs and initiatives at sea

  and ashore and compliance with related legal and regulatory requirements.” 2019 10-K at 23.

  The HESS Committee and the Company’s management team “review all significant relevant

  risks or exposures and associated mitigating actions.” Id. The Audit Committee’s purpose

  includes assisting with the Boards’ oversight of the Company’s compliance with non-HESS legal

  and regulatory requirements; performance of the Company’s internal audit functions and

  independent auditors; and “[r]elevant elements of the Companies’ risk management programs.”

  Audit Committees Charter (Jan. 16, 2019), available at

  https://www.carnivalcorp.com/committee-details/audit-committee.

                         b) New Director with Significant Compliance Experience

         The June 2019 Probation Revocation Agreement required the Company to “immediately

  engage a search firm to assist the Board of Directors to recruit a new board member with

  significant corporate compliance experience.” Dkt. No. 134 at 3. The Company retained a

  search firm in July 2019, followed by an approximately nine-month long recruitment process.

  See Appendix A.

         That process culminated on April 20, 2020, with the appointment of Jeffrey J. Gearhart to

  the Carnival Corp. Boards of Directors. See Form 8-K (Apr. 20, 2020), available at

  https://www.carnivalcorp.com/static-files/d76de7d3-0c14-40d1-8d56-d097e133b629, at § 5.02.




                                           Page 103 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 109 of
                                     264
                                                              July 13, 2020


  Mr. Gearhart will be a member of both the Compliance and HESS Committees of the Boards.

  Id. His background includes approximately 15 years at Walmart, Inc., from 2003-2018, where

  he served in various roles, including as General Counsel and as Executive Vice President, Global

  Governance and Corporate Secretary, “responsible for oversight of the company’s global legal,

  compliance, ethics and security and investigative functions, among others.” Id. Before Walmart,

  Mr. Gearhart was a partner in a private law firm, practicing in the corporate, securities, and

  mergers and acquisitions areas. Id.

                         c) Compliance Training

         The Probation Revocation Agreement requires the Company to “develop an annual

  training curriculum for members of its Board of Directors that would include corporate

  compliance topics.” Dkt. No. 134 at 3-4. As part of its October 2019 final action plan

  submission, the Company provided a curriculum for a training program “to help educate the

  Boards as to the importance of topics in [the area of ethics and compliance], and the Boards’

  oversight role.” Ethics & Compliance October 2019 Final Action Plan Submission Letter at

  PCL_ECP00141551-52. According to this submission, the initial curriculum would consist of

  four sessions to be held from October 2019 through July 2020, covering: (1) culture, core

  values, and response plan; (2) review of the new Ethics & Compliance Department and the new

  DOJ guidance;63 (3) the role of Board oversight and fiduciary duties in the environmental and

  safety context; and (4) tools for measuring compliance program effectiveness. Ethics &

  Compliance October 2019 Final Action Plan Submission Letter at PCL_ECP00141551-52.




  63
    See DOJ, Evaluation of Corporate Compliance Programs (Apr. 2019). As noted above, the
  guidance was updated in June 2020.



                                           Page 104 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 110 of
                                     264
                                                              July 13, 2020


         As discussed in the most recent CAM report, the first two training sessions were held for

  the Boards, as well as senior executives, on January 14, 2020. See CAM March 2020 Quarterly

  Report at 69-71. One session covered DOJ’s guidance on the evaluation of corporate

  compliance programs, as well as efforts to apply elements of the DOJ guidance to the

  Company’s Ethics & Compliance Program. Id. at 69-70. The other session covered ethics and

  compliance culture, including the Propel survey results, the Company’s Culture Action Plan, and

  other culture initiatives by the Ethics & Compliance Department. Id. at 70.

         The other two training sessions were originally planned to be held before the end of July

  2020, as noted above. COVID-19 has delayed this timeline. The Company’s current plan is to

  develop and deliver the next training sessions(s) for the Boards of Directors and “key leaders,”

  which will include a guest speaker and comments from the new member of the Boards of

  Directors, by the end of September 2020. See Draft Pause Priorities Plan at PCL_ECP00166548.

                 4.      Ongoing CAM Team Examination

         The CAM Team will continue to monitor the Company’s efforts to develop and support a

  centralized, empowered, and effective corporate compliance organization. While some progress

  has been made, the Company has not achieved this goal. Unresolved weaknesses and areas for

  improvement in the corporate compliance function are discussed further below as CAM Barrier

  findings. See infra, Part IV.C; see also infra, Parts IV.D-E.

         A key area of focus will be the existence (or lack) of concrete and observable ways in

  which the Chief Ethics & Compliance Officer and Environmental Corporate Compliance

  Manager are empowered to exercise authority in support of compliance—including through




                                           Page 105 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 111 of
                                     264
                                                              July 13, 2020


  support and backing by the CEO and Boards of Directors.64 It is not yet clear that the Company

  has provided these positions with the authority required by the ECP and Probation Revocation

  Agreement. See infra, Part IV.C.

         Another key area of focus will be support for compliance, including funding, staffing,

  and other resources in light of COVID-19 impacts. As the recently revised DOJ Corporate

  Compliance Program Guidance notes, “[e]ven a well-designed compliance program may be

  unsuccessful in practice if implementation is lax, under-resourced, or otherwise ineffective.”

  DOJ Corporate Compliance Program Guidance at 9.

          The CAM Team will also examine the extent to which the compliance organization is

  able to address the culture and systemic issues that drive the Company’s compliance challenges.

  DOJ’s guidance emphasizes that “[b]eyond compliance structures, policies, and procedures, it is

  important for a company to create and foster a culture of ethics and compliance with the law at

  all levels of the company,” including “a high-level commitment by company leadership to

  implement a culture of compliance.” Id. at 10.

          For the Company’s new compliance structures and systems to succeed, it remains

  crucial that the Company’s top leadership (i.e., the CEO and Boards of Directors) take personal

  responsibility for and lead the promotion of a culture of compliance. This acceptance of

  responsibility and commitment to change must be authentic, sustained, and backed up by

  concrete actions by top leadership that value behaviors that support compliance as much as

  behaviors that support other business imperatives. See infra, Part IV.A.


  64
    As the CAM has observed, a critical function of a Chief Ethics & Compliance Officer is to
  both hold management accountable at the highest levels, and to provide the Boards of Directors
  with clarity as to how and in what ways the most senior and powerful leaders, including the CEO
  and the Chairman of the Boards, are engaging to support compliance. See CAM March 2020
  Quarterly Report at 42.


                                           Page 106 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 112 of
                                     264
                                                              July 13, 2020


         The CAM has previously observed that the Company’s top leadership appears to be

  hamstrung by a longstanding practice and mindset of minimizing chronic problems, rather than

  understanding them and addressing their root causes. See CAM March 2020 Quarterly Report at

  39-40. This is not atypical. When organizations, and in particular their leaders, are faced with

  issues that are complex, embarrassing or threatening, they may engage in what are known as

  “organizational defensive routines.” See C. Argyris, OVERCOMING ORGANIZATIONAL DEFENSES:

  FACILITATING ORGANIZATIONAL LEARNING (1990), at 25. These routines are characterized by

  “actions . . . that prevent individuals or segments of the organization from experiencing

  embarrassment or threat. Simultaneously, they prevent people from identifying and getting rid

  of the causes of the potential embarrassment or threat. Organizational defensive routines are

  antilearning, overprotective, and self-sealing.” Id.65 As the Environmental Compliance Culture

  Assessment illuminated, personal responsibility and leadership are necessary for the Company’s

  top leadership to develop a culture of compliance, where information—positive and negative—

  is heard, valued, and acted upon in a meaningful way.

         F.      Improvements on Food Waste Management

                 1.      Background

         In June 2019, the Company pleaded guilty to a probation violation for illegally

  discharging non-food items (including plastic) mixed with food waste into the ocean, along with

  failing to accurately record the discharge, in violation of MARPOL Annex V. See supra, Part



  65
     Argyris’s book is a seminal work in the field of organizational learning. See CAM March
  2020 Quarterly Report at n.33. Argyris was a Professor of Management Science at Yale
  University and a Professor Emeritus at Harvard Business School. Yale University has endowed
  a chair in his honor, and the current President of the University is the “Chris Argyris Professor of
  Psychology.” See https://www.yale.edu/about-yale/leadership-organization/peter-salovey.



                                           Page 107 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 113 of
                                     264
                                                              July 13, 2020


  I.B.3.c; see also CAM Second Annual Report at 86-90 (discussing the probation violation and

  the Company’s broader food waste management challenges).66 In pleading guilty, the Company

  acknowledged the need to improve food waste management on its ships, and agreed to take

  various actions to prioritize this issue, including establishing a Food Waste Task Force and two

  Food Waste Tiger Teams,67 and implementing a three-part program68 to improve its food waste

  management practices. See Dkt. No. 134 at 5-7. The Company also committed to: (1) reduce

  the purchase and consumption of single-use plastic items onboard its ships by 50% by December

  31, 2021; (2) reduce the total weight of food waste generated onboard its ships by 10% by

  December 31, 2021; and (3) spend a minimum of $20 million in capital expenditures throughout

  the remainder of probation “to optimize food waste management, including food waste disposal

  systems and associated processes.” Id. at 7.

         As discussed in prior CAM reports, the Company has implemented its food waste

  management improvement program throughout ECP Year Three, led by the Environmental

  Corporate Compliance Manager and his team. See CAM September 2019 Quarterly Report at

  60-67; CAM December 2019 Quarterly Report at 51-62; CAM March 2020 Quarterly Report at


  66
     As discussed in prior CAM reports, the problem was identified by the Company’s employees
  in the ECP-required Fleet Engineering Survey results as early as February 2018. However, the
  Company’s top leadership did not focus on this issue until it faced the revocation of its probation
  in March 2019. See CAM March 2020 Quarterly Report at 89-90.
  67
    Tiger Team” is a term of art that arose from aeronautics in the 1960s to describe a team of
  technical experts who are given unrestricted freedom to track down and assess all possible
  sources of failure in a system, and to develop solutions. The term is “generally applied to a high-
  functioning team of specialists who come together to complete a specific project.” See What is a
  Tiger Team Approach?, https://trextel.com/what-is-a-tiger-team-approach-how-to-successfully-
  launch-technology-and-save-space-missions-too/.
  68
    The three-part program addresses: (1) training, supervision, staffing, and culture
  improvements; (2) reducing single-use plastics and food waste onboard; and (3) technology and
  design improvements.



                                           Page 108 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 114 of
                                     264
                                                              July 13, 2020


  89-111. To spearhead these efforts, the Environmental Corporate Compliance Manager added

  two managers of Hotel Compliance & Sustainability to his team: one from Princess Cruise Lines

  who focuses on the Company’s North American brands, and one from Carnival UK who focus

  on the European brands. Id. at 93. These individuals “work[] exclusively on project managing

  the adoption of various measures to help ensure food waste compliance,” including developing

  new procedures, training, signage, and other compliance measures. Id. (citation omitted).

         The Company has also completed and submitted to the Interested Parties, CAM, and TPA

  the following plans, reviews, and assessments required by the Probation Revocation Agreement:

            Food Waste Management Implementation Plan. An implementation plan for
             developing improved procedures, training, signage, and media “specifying the
             project, the project owner, and specific timetables,” Dkt. No. 134 at 6-7, submitted on
             August 1, 2019, with an update submitted on September 4, 2019. See Food Waste
             Task Force: Tiger Team Report, Recommendations, and Implementation Plan (Aug.
             1, 2019); Tiger Team Implementation Plan Update, PCL_ECP00134215-19 (together,
             “Food Waste Management Implementation Plan”);

            Food Waste Technical Review. A review and analysis of “(1) new food waste
             disposal technologies; (2) options for redesign of existing food waste disposal
             systems and associated processes; and (3) the optimization of food waste disposal
             systems and associated processes,” Dkt. No. 134 at 7, submitted on October 31, 2019.
             Food Waste Equipment Technical Review (Oct. 31, 2019) (“Food Waste Technical
             Review”);

            Food Waste Optimization Plan. An implementation plan “to optimize food waste
             management, including food waste disposal systems and associated processes,
             specifying projects, the project owners, and specific timetables for milestones,” Dkt.
             No. 134 at 7, submitted on January 31, 2020. Letter from Company Outside Counsel
             to Interested Parties, CAM, and TPA, Re: Proposed Improvements to Food Waste
             Technology and Equipment -- United States v. Princess Cruise Lines, Ltd., No. 16-cr-
             20897 (S.D. Fla.) (Jan. 31, 2020) (“Food Waste Optimization Plan”);

            Food Waste Workload Assessment. A third-party assessment, performed by
             Lloyd’s Register North America (“Lloyd’s Register”), of “the staffing levels for both
             the operational and compliance aspects of food waste management,” Dkt. No. 134 at
             6, submitted on April 17, 2020. Lloyd’s Register, Food Waste Separation – Human
             Factors Analysis for Carnival Corporation (Apr. 15, 2020), PCL_ECP00163140-604
             (“Food Waste Workload Assessment” or “Assessment”); and




                                          Page 109 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 115 of
                                     264
                                                              July 13, 2020


              Food Waste Workload Assessment Response Plan. The Company’s plan in
               response to the Food Waste Workload Assessment, submitted on June 2, 2020. See
               Letter from Environmental Corporate Compliance Manager to Interested Parties,
               Lloyd’s Register Food Waste Workload Assessment & Layup Action Commitments
               (June 2, 2020) (“Food Waste Workload Assessment Response Plan” or “Response
               Plan”).

           In addition, the Company’s Draft Pause Priorities Plan, submitted on June 17, 2020,

  includes several initiatives related to food waste management, discussed in the relevant sections

  below.

                  2.      Single Use Plastics Reduction and Food Waste Reduction

                          a) Pre-COVID-19 Status

           As of January 2020, the Company’s preliminary data indicated that it was on track to

  meet its Probation Revocation Agreement commitments to: (1) reduce single-use plastics69

  onboard by 50% by December 31, 2021; and (2) reduce the total weight of food waste generated

  on its ships by 10% by December 31, 2021. See CAM March 2020 Quarterly Report at 98-101.

           On single-use plastics, as of the end of November 2019, the Company reported that,

  compared to a 2018 baseline of aggregated procurement data, it had reduced by 34% its single-

  use plastics onboard, and had reduced by 29% other single-use, non-food items such as sugar,

  sweetener, and butter packets. See id. at 98-99.70 As observed in the Company’s Food Waste


  69
    The Company describes single-use plastic items as including “straws, cups, lids, stir sticks,
  cutlery, cocktail picks, tooth picks, butter packets, serving sauce packets, honey packets, sugar
  packets, sweetener packets, plastic bags in retail stores, Company provided Q-tips, Company-
  provided individual shampoo bottles, plastic garbage bags in cabins, and balloons used during
  outdoor events.” Dkt. No. 134 at 7.
  70
     As of January 2020, single-use items that had been completely removed on ships across all of
  the Company’s brands consisted of: balloons (deck/external use only), plastic bags in retail
  stores, plastic cocktail picks, plastic lids, plastic cups, plastic cutlery (except Kosher), plastic stir
  sticks, plastic straws, plastic garnish picks, plastic tooth picks, and butter foil. Id. at 99. Single-
  use items that had a reduction program in place across all of the Company’s brands consisted of:
  chopsticks (reduction program in place, including reusable and disposable options). Id. Other



                                              Page 110 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 116 of
                                     264
                                                              July 13, 2020


  Technical Review, reducing or eliminating single-use plastics onboard is an “important goal”

  because “the most effective way to stop plastic from being discharged into the ocean is to avoid

  using it onboard in the first place. If plastic ends up in a pulper/vacuum system, it will likely be

  macerated into smaller pieces that might be indistinguishable from the organic matter it is

  blended with.” Food Waste Technical Review at 2.

           On food waste weight, as of January 2020, the Company reported that, compared to a

  two-week October 2019 baseline, it had reduced the weight of food waste for the period of

  January 6-19, 2020, by a fleetwide average of approximately 10%. See CAM March 2020

  Quarterly Report at 100-101.71

                         b) COVID-19 Impacts

         This preliminary data—indicating that the Company was on track to meet its single-use

  plastics and food waste weight reduction commitments—was provided at the early stages of the

  COVID-19 crisis. In the months since, COVID-19 has had major impacts on nearly all aspects

  of ship operations, including food waste management. The full nature and extent of these




  items with a removal or reduction program “in progress” at one or more of the Company’s
  brands consisted of: individual amenity bottles (e.g., lotion, shampoo, conditioner, and soap
  bottles), plastic bags (garbage bin liners, laundry, cabin), plastic Q-tips, individual plastic yogurt
  containers, artificial sweetener packets, plastic cling wrap, individual sauce packets, plastic water
  bottles, and plastic gloves. Id at 98-99. In addition, the Company was “reviewing some
  alternatives to plastic bottles and ha[s] implemented some. For example, Holland America Line
  has changed to aluminum cans, and Seabourn is looking into refillable bottles.” Id. at n.72.
  71
    Company procedures require each ship to measure and report, on a quarterly basis, the weight
  of food waste generated on board over a consecutive 14-day period. These quarterly food waste
  measurements must take place starting the first Monday of January, April, July, and October
  each year. See ENV 1302 Segregation and Disposal of Food Waste at § 3. Due to COVID-19,
  measurements for the second quarter of 2020 (based on April 6-19, 2020, measurements) were
  not taken. See ENV/10/2019 Food Waste Baseline Measurement. Measurements for the third
  quarter of 2020 (based on July 6-19, 2020, measurements) will be based on a “shortened food
  waste measurement period of seven (7) days.” ENV/06/2020 Q3 Food Waste Measurement.


                                            Page 111 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 117 of
                                     264
                                                              July 13, 2020


  impacts on the future of onboard food waste management is not yet known. Much will depend

  on a range of factors, including: whether and when ships resume guest service; crew and

  passenger (for ships that resume service) loads; ship locations and voyage itineraries (e.g., days

  at sea versus days in port; available options for discharging and/or offloading food waste);

  changes to food service and delivery practices for both crew and passengers (e.g., the

  elimination/modification of buffets or greater use of room service); changes to dining room

  schedules and layouts for both crew and passengers (e.g., to allow for staggered meal times with

  fewer individuals); changes to the design and layout of areas where crew prepare food and/or

  process food waste, including kitchens/galley spaces and Recycling Centers; available onboard

  food waste management equipment, including digesters, as discussed further below; and any new

  public health or safety requirements impacting food preparation, service/delivery, and waste

  management.

           The CAM Team will continue to engage with the Company to understand COVID-19’s

  impacts on onboard food waste management practices, including any impacts on the Company’s

  ability to meet its Probation Revocation Commitments to reduce single-use plastics and food

  waste.

                 3.      Food Waste Digester Installations

                         a) Pre-COVID-19 Status

           As discussed in prior CAM reports, the Company’s October 2019 Food Waste Technical

  Review concluded that the “only viable upgrade options available in the short term to improve

  [the Company’s] current food waste processing equipment capabilities are upgrades to the




                                           Page 112 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 118 of
                                     264
                                                              July 13, 2020


  existing pulper systems72 (including installing dryers73) or the simpler and more

  environmentally-friendly option to install multiple food digesters.” Food Waste Technical

  Review at 10. The Review further found that “[f]rom the research conducted to date, digesters74

  appear to be a good option” and “are a viable and effective means for [the Company] to enhance

  its food waste processing capability and related compliance obligations.” Id. at 10-11; CAM

  December 2019 Quarterly Report at 58-60; CAM March 2020 Quarterly Report at 101-02.

         The Company’s January 2020 Food Waste Optimization Plan stated that, based on the

  Food Waste Technical Review’s recommendations, the Company had “decided to optimize its

  food waste disposal systems and associated processes by installing food waste digesters on the

  vast majority of its ships.” Food Waste Optimization Plan at 2.75 The Company estimated that

  most ships would have between 7-12 digesters by 2023. Id. at 3. As of January 31, 2020, the


  72
     A food waste pulper is akin to a large, industrial-scale version of the garbage disposal in a
  kitchen sink. Pulpers use blades to grind food waste into a pulp that can then be directed to other
  parts of the food waste system, such as a tank or an overboard discharge chute.
  73
    A food waste dryer is a large, industrial-scale dehydrator that processes wet food waste into a
  dried powdered residue that can be offloaded ashore. Removing the liquid from the food waste
  can significantly reduce its volume and mass.
  74
     A food waste digester is “essentially a mechanized steel version of a human stomach that
  partially digests food waste and separates the water component.” Id. at 11. There are different
  designs and models, but digesters typically take the form of a large metal box with an opening on
  the top or front where food waste can be loaded. Microbes within the digesters partially digest
  the food waste and produce a liquid effluent. Various connections feed the unit with inputs, such
  as water and enzymes to aid the digestion process, and to carry away outputs, such as effluent.
  Once the effluent leaves the digester, it may be routed to different locations based on the ship’s
  design, such as a tank, secondary treatment system, or discharge point. There is a screen over
  the digester’s effluent outflow point to prevent “undigested” non-food items, such as plastics and
  metals, from entering the effluent stream. Such items can be removed by hand when the digester
  is opened for cleaning or other maintenance.
  75
    The Company would not install digesters on some AIDA ships “because those ships will
  continue their current practice of offloading food waste ashore using a drying process.” Id. at 2,
  n.2.



                                           Page 113 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 119 of
                                     264
                                                              July 13, 2020


  Company had installed 48 digesters across its fleet, and projected that it would install

  approximately 680 by the end of 2020, and approximately 900 by the end of 2023. See CAM

  March 2020 Quarterly Report at 106. The Company also projected that it would spend more

  than $27 million on digester installations before the end of the probation period, and that the

  project would extend beyond the probation period into at least 2023, with an anticipated total

  cost of more than $29 million. See id. at n.78. These expenditures would surpass the

  Company’s obligation in the Probation Agreement to commit at least $20 million in capital

  expenditures throughout the remainder of probation to optimize food waste management. See id.

                         b) COVID-19 Impacts

         Since the Food Waste Optimization Plan was submitted in January 2020, the COVID-19

  pandemic has affected the Company’s plans for digester installations. The Draft Pause Priorities

  Plan establishes commitments to (1) allocate $10 million to purchasing digesters in Fiscal Year

  2020; and (2) install those digesters (as well as digesters that have already been purchased and

  are available for installation) on ships within 60 days of their return to guest service. See Draft

  Pause Priorities Plan at PCL_ECP00166538. The Company notes that “the ability to complete

  such installations within this timeframe may be delayed due to circumstances beyond the

  Company’s control.” Id. The Plan sets an unspecified, long-term goal (“Do When Feasible”) of

  installing additional digesters called for in the January 2020 Food Waste Optimization Plan

  submission. See id. The Company has indicated, however, that it plans to install digesters only

  on those ships that it plans to return to service—and not, for instance, on ships being sold or

  going into cold layup for an extended period of time. See Employee Interview/Call Notes.

         The Company has not explained what additional measures, if digester installations are

  cancelled or delayed, it will use to prevent prohibited discharges of plastic and other non-food




                                            Page 114 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 120 of
                                     264
                                                              July 13, 2020


  waste. Since July 2019, the Company has reported through its weekly food waste dashboards

  issues with food waste sorting and separation, alone, as a method to prevent the unauthorized

  discharge of non-food waste into the ocean. As discussed below, non-food items continue to be

  found during inspections of food waste and grey water systems, although the dashboards reflect

  general improvement over time, even before the elimination of passenger food waste due to the

  suspension of cruise operations. Unless the Company requires ships to offload all food waste, or

  provides them with additional measures or resources to replace the utility of the digesters (such

  as food waste driers), then the Company’s management may be reasonably considered to have

  knowingly put ships to sea that are likely to discharge non-food waste in violation of MARPOL

  Annex V.

                         c) Regulation of Digester Effluent

         The Draft Pause Priorities Plan sets an unspecified, long-term goal (“Do When Feasible”)

  of working with Flag States to “determine the proper waste water classification for digester

  effluent.” Id. As discussed in the most recent CAM Quarterly Report, there is uncertainty

  within the industry on the regulatory status of digester effluent—in particular, whether it should

  be categorized as “food waste,” which is regulated as “garbage” under MARPOL Annex V, or as

  “grey water,” which is not regulated under MARPOL. See CAM March 2020 Quarterly Report

  at 108-09. In the absence of clear guidance from international regulatory bodies, the Company’s

  brands/operating lines have sought determinations from flag states and/or classification societies

  on the regulatory status of digester effluent. See Company Comments on Draft Report. The

  Company reports that to date “only Italy has a view towards classifying the digester effluent as

  food waste; all other flag states and classification societies that have responded are inclined to

  classify the effluent as grey water.” Id. The Company further reports that it “has not made a




                                            Page 115 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 121 of
                                     264
                                                              July 13, 2020


  determination about how to treat the digester effluent” and “is open to either classification

  depending on the views of flag states.” Id. The CAM will continue monitoring the Company’s

  treatment of food waste digester effluent, as well as efforts by the Company to seek

  determinations from flag states or other authorities on how it should be regulated.

                 4.      Other Food Waste Management Initiatives

         The Company has also undertaken additional food waste management initiatives—some

  of which were required by the Probation Revocation Agreement and some of which were not.

  Other food waste management initiatives required by the Probation Revocation Agreement that

  the Company has implemented in ECP Year Three include:

            Revised Food Waste Separation and Disposal Procedure: Developing and
             implementing a revised procedure on food waste segregation and disposal that
             streamlines and standardizes aspects of food waste management across the fleet,
             based on feedback from Tiger Team ship visits. See ENV 1302 Segregation and
             Disposal of Food Waste; Environmental Compliance Notice #6-2019; CAM
             December 2019 Quarterly Report at 53-55; CAM March 2020 Quarterly Report at 94-
             96;

            New Signage: Developing new standardized signage for food waste pulpers, which,
             as of May 2020, was in the process of being shipped to individual ships. See May
             2020 Probation Supervision Report, Attachment 5, at 1. The Company is also
             working with vendors to develop standardized signage for food waste digesters and
             food chutes. See id. The Draft Pause Priorities Plan sets a short-term goal (“Do
             Before Ship Resumes Service”) of installing the new signage for pulpers, and a mid-
             term goal (“Try to Do Before Ship Resumes Service) of installing the new signage for
             digesters and food chutes. Draft Pause Priorities Plan at PCL_ECP00166538; and

            New “Micro-Procedures” on Food Waste Digesters: The Company is developing
             three “micro-procedures” for each of the three different models of digester units on its
             ships to assist in on-the-job training. See May 2020 Probation Supervision Report,
             Attachment 5, at 1.

         The Company has also implemented food waste management initiatives not explicitly

  required by the Probation Revocation Agreement, including:

            Weekly Food Waste Dashboards: Implementing enhanced reporting and tracking
             of food waste management issues in weekly food waste dashboards, which



                                           Page 116 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 122 of
                                     264
                                                              July 13, 2020


            summarize data by ship on: (1) the results of daily compliance checks of food waste
            systems (the components of which may differ by ship); (2) the frequency of particular
            contaminants found during these daily compliance checks, such as plastics, glass,
            rubber, hard food items, and paper; (3) the results of food waste tank inspections (the
            frequency of which may differ by ship), which includes reports of items found in food
            waste tanks, pulpers, and/or magnetic traps; (4) the results of grey water system
            inspections, which includes reports of items found in the grey water system (typically
            in grease traps); and (5) the status of drain bell and scupper cover installation and
            securing, discussed in the next bullet. Non-food items continue to be found during
            inspections of food waste and grey water systems (including in the food waste tanks
            of 14 ships across multiple brands between March-June 2020), although the
            Company’s dashboards reflect that these findings have generally decreased across the
            fleet over time—even before the elimination of passenger food waste due to the
            suspension of cruise operations. See Carnival Corp. Fleet Dashboard: Food Waste
            and Grey Water System Contamination (July 21, 2019, through July 8, 2020);

           Drain Bell and Scupper Cover Installations: Launching an initiative to replace
            missing drain bells and scupper covers, following a TPA audit finding that missing
            covers were causing non-food items, including plastics, to drain into a ship’s grey
            water system. See CAM March 2020 Quarterly Report at n.89. The Company set an
            internal deadline of February 29, 2020, for completing certain installations. Recent
            food waste dashboards indicate that these installations are still “in progress” on
            numerous ships across the Company’s brands. See Carnival Corp. Fleet Dashboard:
            Food Waste and Grey Water System Contamination (June 24, 2020, through July 8,
            2020), at 6.76 The Draft Pause Priorities Plan sets a short-term goal (“Do Before Ship
            Resumes Service”) of installing required scupper covers and anti-tamper screws, and
            a mid-term goal (“Try to Do Before Ship Resumes Service) of installing required
            down-stream filters. Draft Pause Priorities Plan at PCL_ECP00166538;

           Data Analytics: Engaging a data science firm to analyze the Company’s existing
            data sets to identify opportunities to reduce food waste. See CAM March 2020
            Quarterly Report at 121-22; see also infra, Part III.H.2.a(v) (discussing Company IT
            initiatives in support of compliance, including data analytics to identify opportunities
            for compliance improvements); and

           Food Waste Shuffle Challenge: Hosting a “Food Waste Shuffle” music video
            competition. Over seventy videos were submitted from ships and shoreside offices
            across the Company’s brands. Winning videos from the top four ships and one
            shoreside office were announced. See CAM March 2020 Quarterly Report at 110.




  76
    The CAM Team understands that the delays occurred in part because “the Company’s
  understanding of the optimal parts changed based on experience.” See Company Comments on
  Draft Report.


                                          Page 117 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 123 of
                                     264
                                                              July 13, 2020


                5.      Food Waste Workload Assessment and Response Plan

                        a) Third-Party Assessment

         On April 17, 2020, the Company provided the Interested Parties, CAM, and TPA with the

  third-party Food Waste Workload Assessment required by the Probation Revocation Agreement,

  performed by Lloyd’s Register. The Assessment provides observations and recommendations

  regarding: (1) culture, including: workload and staffing; management commitment; leadership

  and supervision; communications, competence and training; learning; engagement; reporting;

  procedures and practices; risk management; (2) workplace design; (3) personal protective

  equipment; and (4) single-use plastics, non-food items, and waste reduction efforts. See Food

  Waste Workload Assessment at PCL_ECP00163144-45. Overall, the Assessment identifies 39

  global best practices and over 50 global recommendations. In addition, it identifies “many

  more” individual ship best practices and ship-specific recommendations, which are included in

  ship-specific appendices. See id. at PCL_ECP00163153-217. These findings were based on a

  review of written documentation (e.g., Company procedures), as well as interviews with over

  600 crew members from visits to 12 different ships across the Company’s brands between

  November 2019 and January 2020. See id. at PCL_ECP00163149-52.

         Notable observations and recommendations relate to:

            Staffing and workload, including the following three “common areas of particular
             concern”: (1) supervision of food separation and processing; (2) galley steward
             numbers and shift rotations; and (3) staffing in the recycling center;

            Management commitment, including implementing a corporate-wide management
             of change procedure;

            Leadership and supervision, including: formalizing incentives and recognition for
             good performance; and reviewing current supervision rotations;

            Communications, including: updating corporate messaging periodically, including
             providing information on successes and progress; educating and communicating with



                                          Page 118 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 124 of
                                     264
                                                              July 13, 2020


            guests; improving crew messaging, including use of pictorial job aids; and
            considering a system used by Costa to facilitate measurement of food waste weight;

           Competence and training, including providing Environmental Officers (and any
            other trainers) with “train the trainer” sessions to develop core training competencies;

           Learning, including: using graphical messaging and humor to promote learning and
            comprehension; considering buddy systems pairing new and more seasoned staff; and
            providing further content via the Company’s electronic Learning Management
            System platform;

           Engagement, including continuing to roll out environmental practices and programs
            to crew members in an effort to integrate environmental culture into their work and
            home lives;

           Reporting, including creating a Just Culture Policy that “clearly outlines a fair and
            clear approach to investigating near misses, mistakes and interventions,” in response
            to expressed concerns about blame culture, unfair treatment, and a reluctance to
            report non-compliance due to fear of punishment among some interviewees;

           Procedures and practices, including: considering an electronic key locker system to
            optimize key control; and considering procedures that have a step-by-step set of
            separation instructions (with photos), as seen on at least one Carnival Cruise Line
            ship, rather than those that are primarily word-based;

           Risk Management, including continuing with the digester installation program;

           Workplace Design, including: providing lifting equipment and support to aid crew
            members when lifting heavy food waste bins; optimizing the space for and design of
            food waste separation and processing areas; and implementing consistent food waste
            signage and labelling;

           Personal Protective Equipment, including providing physical support for staff
            lifting heavy equipment and ensuring that personal protective equipment is durable
            and fit for purpose;

           Single-Use Plastics, including reviewing and applying best practices fleetwide for
            reducing single-use plastics and non-food items onboard; and

           Food Waste Reduction, including reviewing and applying best practices fleetwide
            for food waste reduction and adopting a corporate approach to monitoring and
            measuring food waste.

  See id. at PCL_ECP00163153-217.




                                          Page 119 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 125 of
                                     264
                                                              July 13, 2020


                         b) Company Response Plan

         On June 2, 2020, the Company provided the Interested Parties, CAM, and TPA with its

  Food Waste Workload Assessment Response Plan required by the Probation Revocation

  Agreement. Overall, the Response Plan sets out a “two phase plan that takes into account the

  pause in operations associated with Covid-19 and the resumption of service thereafter.” Food

  Waste Workload Assessment Response Plan at 1.

         Phase One will occur during the suspension of cruise operations. During this period, the

  Company’s brands will implement three overarching recommendations from the Assessment,

  selected by “by eliminating recommendations that had already been achieved or were already in

  progress prior to Lloyd’s Register issuing the Report,77 recommendations that were out of scope

  and those recommendations not feasible during the pause in operations.” Id. at n.3. These

  recommendations are:

            Management of Change: Determine whether a management of change process
             exists in another department (such as IT or Marine Operations) that “has sufficient
             guidance to support ECP/[food waste] reduction change efforts to implement change
             at Corporate, brand and Ship level”;

            Communications (ECP Messages): Update onboard ECP messages periodically to
             keep the culture message alive, including successes and progress; and

            Communications (Video/Infographics): Create videos or infographics on the food
             waste separation process from the first stage of separation through to
             discharging/offloading “to illustrate one’s influence on others’ workload.”




  77
    The Company states that it had already adopted 13 out of the 50+ global recommendations in
  the Assessment by the time the final report was issued, including several of those highlighted
  above (e.g., reviewing transportation aids and lifting devices to reduce the amount of manual
  handling by crew; considering the system used on Costa ships to facilitate measurement of food
  waste weight; exploring the formalization of informal incentive and recognition programs for
  good performance). See id. at 2.



                                          Page 120 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 126 of
                                     264
                                                              July 13, 2020


  See id. at 2-3. The Company “decided to pursue the three recommendations listed above because

  they fell into the category of recommendations expected to have a high impact while requiring a

  level of effort consistent with the constraints imposed by the pause in guest operations.” Id. at 3.

  The Draft Pause Priorities Plan sets a short-term goal of implementing these three global

  recommendations on ships before they resume service. Draft Pause Priorities Plan at

  PCL_ECP00166538.

         Phase Two will occur as ships resume cruise operations. Once the Company has “clarity,

  regarding when and which ships resume operations,” it will provide “a revised plan to address

  additional recommendations from the [Assessment].” Food Waste Workload Assessment

  Response Plan at 1.

         The CAM recognizes that the observations and recommendations in the Lloyd’s Register

  Assessment were based on activities and assessments from the months just prior to the major

  disruptions to ship operations brought on by the COVID-19 pandemic. While some specific

  recommendations might no longer be pertinent or feasible, many of the global recommendations,

  including those highlighted above (several of which the Company states it has already adopted),

  would still appear be relevant—even after changes to onboard practices that may occur as a

  result of COVID-19. The CAM will continue to examine the Company’s plans for continuing to

  utilize the Food Waste Workload Assessment “both during the pause and when operations

  resume to further enhance food waste compliance.” Id. at 1.

                 6.      Ongoing CAM Team Examination

         The CAM Team will continue to monitor the Company’s implementation of its food

  waste management program, including: the implementation of its Food Waste Workload

  Assessment Response Plan and food waste management-related aspects of the Draft Pause




                                           Page 121 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 127 of
                                     264
                                                              July 13, 2020


  Priorities Plan; the implementation of its food waste management procedures and any future

  revised procedures; the procurement and installation of food waste digesters and/or other

  equipment or technology designed to improve food waste management onboard; the treatment

  and regulation of food waste digester effluent; and weekly food waste dashboard performance.

          The CAM recognizes that COVID-19 will continue to have substantial impacts on

  onboard food waste management, the nature and extent of which is not yet known. Key areas of

  focus will be COVID-19-related changes to food preparation, service/delivery, and waste

  management practices onboard, including changes to ship design, staffing, equipment, and

  procedures and processes.78

          In addition, the CAM Team is continuing its examination of the Company’s processes for

  selecting and vetting shoreside waste vendors, including food waste vendors. See infra, Part

  IV.E.




  78
     An initial investigation of the COVID-19 outbreak on the Diamond Princess concluded that
  “COVID-19 was likely transmitted first from passengers to crew members and subsequently
  spread among the crew, especially among food service workers.” See K. Kakimoto, et al.,
  Initial Investigation of Transmission of COVID-19 Among Crew Members During Quarantine of
  a Cruise Ship — Yokohama, Japan, February 2020, 69 Morbidity and Mortality Weekly Report
  312 (Mar. 20, 2020), available at https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6911e2-
  H.pdf, at 312 (emphasis added). The investigation further found that “infection had apparently
  spread among persons whose cabins were on the same deck (deck 3) and who worked in the
  same occupational group (food service), probably through contact or droplet spread, which is
  consistent with current understanding of COVID-19 transmission.” Id. (emphasis added).
  Another report similarly noted that the “crew dining area was considered the primary area of
  infection for the crew, since the food service had the most confirmed cases,” and that the “many
  difficulties in implementing quarantine” included the need for crew to continue performing
  support for daily life on the ship, including food service. See Y. Yamahata and A. Shibata,
  Preparation for Quarantine on the Cruise Ship Diamond Princess in Japan due to COVID-19,
  JMIR Public Health & Surveillance (May 2020), available at
  https://pubmed.ncbi.nlm.nih.gov/32365046/ (emphasis added) (citing Kakimoto, et al.).




                                          Page 122 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 128 of
                                     264
                                                              July 13, 2020


         G.      Development of a Strong Environmental Officer Corps

                 1.      Background

         Since ECP Year One, the Environmental Corporate Compliance Manager and his team

  have led efforts to provide increasing levels of support, resources, and training to onboard

  Environmental Officers.79 These efforts, in combination with those of the individuals in these

  positions, have helped to create a strong corps of Environmental Officers who have consistently

  impressed the CAM Team with their dedication, knowledge, energy, and commitment to helping

  the Company improve its environmental compliance performance.

         As discussed in prior CAM reports, the Company’s efforts include those related to:

             CSMART Training and Conferences: Using the Company’s state-of-the-art
              CSMART training center to conduct some environmental and compliance-related
              trainings and events, including the Environmental Commitment and Environmental
              Excellence hybrid training/conference events discussed in prior CAM reports. See
              CAM March 2020 Quarterly Report at 112-115. Feedback on these courses from
              participants, the CAM, and TPA has been generally positive. See id. A significant
              part of the success of these events has been high levels of engagement by the
              Environmental Officer participants, including a willingness to raise questions,
              concerns, and other feedback with shoreside personnel. See id.;

             Online “Environmental Hub” Forum: Establishing an online forum called the
              Environmental Hub for Environmental Officers to “share environmental compliance
              and stewardship information as well as solicit[] feedback on training, procedures and
              best practices.” Id. at 112 (citation omitted). Feedback from Environmental Officers
              to the CAM Team on the Hub has generally been positive. See Employee
              Interview/Call Notes. The Company has also established an Environmental Hub
              Hotel Operations Forum for hotel operations personnel “to discuss environmental
              compliance topics, including food waste challenges, ideas, potential best practices,
              etc.” Id. (citation omitted). As of March 2020, the Environmental and Hotel Hubs
              have the capability to send polls, including free text questions, to users. See March
              2020 Probation Supervision Report, Attachment 5, at 1. According to the Company,



  79
     The ECP requires each Covered Vessel to have an Environmental Officer onboard. ECP
  § IV.A.1. The ECP also establishes requirements for Environmental Officer
  background/qualifications; job duties and functions; training and competencies; and access to
  vessel spaces, equipment, and records. See id. at §§ IV.A.2-5.



                                           Page 123 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 129 of
                                     264
                                                              July 13, 2020


             this tool “will enable the Company to quickly obtain opinions, feedback, and answers
             specific to environmental compliance issues and questions.” Id.; and

            Fleet Environmental Compliance Training Officer Program: Taking steps to
             establish a new Fleet Environmental Compliance Training Officer Program, described
             by the Company as a program of Fleet Environmental Officers who will “travel
             across the fleet to provide guidance, support, mentorship, and training to seagoing
             Environmental Officers,” as well as “collect feedback (including potential best
             practices) from the fleet in order to improve and enhance the Environmental Officer
             position onboard.” February 2020 Probation Supervision Report, Attachment 8, at 1.
             A Director of the program was hired in January 2020. Id. Notably, this program was
             based upon the Chief Maritime Officer’s Fleet Captain and Fleet Chief Engineer
             programs, both of which were eliminated as part of the COVID-19-related staff
             reductions announced in May 2020. See supra, Part I.C.4.f; Employee Interview/Call
             Notes.

                 If successfully implemented and supported, this program could provide the
             advantage of having a group of Fleet Environmental Officers who could provide
             support, consistency, and oversight to Environmental Officers across the Company.
             The program could also provide additional career opportunities for individuals in the
             unique Environmental Officer role. See CAM December 2018 Quarterly Report at
             19-21 (discussing concerns about the Environmental Officer position, including lack
             of a clear career path).

                2.      COVID-19 Impacts

         As with other areas of the Company’s operations, the COVID-19 pandemic has had

  significant and ongoing impacts on issues related to the Environmental Officer role—the full

  nature and extent of which is not yet known. These include:

            Impacts to CSMART Training: As of about March 15, 2020, all in-person
             CSMART training is suspended, likely until at least April 2021, including
             Environmental Officer training. See Employee Interview/Call Notes. As a result,
             CSMART personnel, in coordination with training personnel within the broader
             corporation, are developing and implementing new virtual trainings for
             environmental, deck, and technical officers. See id. These include the following
             environmental and compliance-related trainings:

                o Environmental Excellence: The Company is developing a virtual version of
                  the next iteration of the Environmental Excellence course for 2020/2021,
                  originally planned to launch as a five-day, in-person event in August 2020.
                  See CAM March 2020 Quarterly Report at 112-15; Employee Interview/Call
                  Notes. The course is still planned to launch as a five-day course in August
                  2020; however, it will now be delivered virtually. See id. As with prior
                  iterations, the course will be interactive, rather than lecture-based, and will be


                                          Page 124 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 130 of
                                     264
                                                              July 13, 2020


                   structured around a series of case studies. See id. However, a new curriculum
                   is being developed that will focus on investigations training for Environmental
                   Officers. See id.; Draft Pause Priorities Plan at PCL_ECP00166553-54. The
                   CAM will continue to engage with the Company as it develops and
                   implements this course, including seeking to learn how the course will be
                   aligned with other investigations training provided by the Company, including
                   Incident Analysis Group investigator training, brand/operating group
                   investigator training, and computer-based training for both ship and shoreside
                   investigators. See infra, Part IV.D.6 (discussing the Company’s investigation
                   trainings);

               o Environmental Officer “Learning Nuggets”: The Company has begun
                 rolling out a new, virtual training program for Environmental Officers called
                 “learning nuggets.” See March 2020 Probation Supervision Report,
                 Attachment 5, at 1. During each session, which is approximately an hour
                 long, “experts on a particular subject share thoughts about best practices and
                 experiences in compliance” using tools such as presentation slides and videos.
                 Id. The sessions are interactive, with opportunities to ask questions, share
                 thoughts, participate in activities, and present the results of activities.
                 Participation is voluntary, and Environmental Officers from across all brands
                 are able to join, whether on a ship or ashore. Following the sessions, the
                 instructors prepare written responses to Frequently Asked Questions. Topics
                 to date have included: a new Environmental Officer handover procedure;
                 tying United Nations Global Sustainability Goals with Carnival Corp. Social
                 Responsibility goals; recordkeeping and reporting tasks related to Advanced
                 Air Quality Systems; and food waste separation procedures. See id.; April
                 2020 Probation Supervision Report, Attachment 5, at 1; May 2020 Probation
                 Supervision Report, Attachment 5, at 1; Employee Interview/Call Notes; Draft
                 Pause Priorities Plan at PCL_ECP00166553; and

               o Other Virtual Trainings: CSMART personnel are also developing and/or
                 implementing other virtual compliance-related trainings for environmental,
                 deck, and technical officers. These include “CSMART Talks,” which are
                 TED-talk-styled videos focused on various technical topics, as well as
                 webinars on various marine and technical topics. See Employee
                 Interview/Call Notes;

           Impacts to Onboard Training: As noted above, the ECP requires Environmental
            Officers to deliver onboard environmental compliance training, known as “TRG
            2302” training, to newly joined crew members within seven days after the crew
            members begin their duties on the ship. See supra, Part III.B.2. Before COVID-19,
            this training was typically provided in-person in a classroom-like setting on the ship.
            Attendee numbers could range from 1-2 to dozens of people. As a result of COVID-
            19, in an effort “to make the content accessible to team members in quarantine and/or
            isolation as well as to limit any health risks associated with Coronavirus and
            conducting in-person instructor led training sessions,” the Company has developed



                                         Page 125 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 131 of
                                     264
                                                              July 13, 2020


            and implemented a computer-based training for TRG 2302. March 2020 Probation
            Supervision Report, Attachment 5, at 1; Employee Interview/Call Notes. The Draft
            Pause Priorities Plan also sets a goal of revising two other onboard trainings, known
            as “TRG 2308” and “TRG 2309,” which focus on workplace-specific environmental
            training, by February 1, 2021. Draft Pause Priorities Plan at PCL_ECP00166552. A
            pilot project is being planned for the suspension of cruise operations “to receive
            feedback from shipboard teams” on possible revisions to these procedures and to
            “ensu[r]e training is effective, relevant, and fit for purpose,” including exploring ways
            to reduce administrative burdens and make trainings “position/department-specific
            and risk based.” Id.;

           Impacts to Fleet Environmental Compliance Training Officer Program: The
            hiring process for Fleet Environmental Officers, who will be supervised by the
            recently hired program Director, was delayed as a result of COVID-19. See March
            2020 Probation Supervision Report, Attachment 5, at 1. As of June 29, 2020, eleven
            individuals for these positions have been hired across the Company’s
            brands/operating groups. See May 2020 Probation Supervision Report, Attachment 5,
            at 1. The Draft Pause Priorities Plan sets a mid-term goal (“Try to Do Before Ship
            Resumes Service”) of activating the new program “to support the ship’s
            [Environmental Officer] and ship’s team return to service” through “compliance
            coaching/training, support and verification.” Draft Pause Priorities Plan at
            PCL_ECP00166542. The current plan is that by mid-July 2020, “five Fleet
            Environmental Officers will be ready to assist ships as they come back into service.”
            May 2020 Probation Supervision Report, Attachment 5, at 1. These individuals “are
            currently undertaking online training courses which include mentoring, listening,
            coaching and investigation skills.” Id. The Company reports that “[a]s and when the
            number of ships coming back into service increases [it] will add additional Fleet
            [Environmental Officers] to the program.” Id.

               As noted above, this program was based on the Fleet Captain and Fleet Chief
            Engineer programs, both of which were eliminated during COVID-19-related staff
            reductions. See supra, Part I.C.4.f; and

           Impacts to Staffing, Job Duties, and Workload: There are likely to be significant
            impacts to Environmental Officer staffing, job duties, and workload as a result of
            COVID-19. However, the full nature and extent of these is not yet clear. For
            example, the Draft Pause Priorities Plan states that the Environmental Corporate
            Compliance Manager is developing a “standard checklist for ships to self-assess prior
            compliance issues.” Draft Pause Priorities Plan at PCL_ECP00166537.
            Environmental Officers will be responsible for completing these checklists prior to
            sailing, and reporting back to the ship’s leadership team and the relevant Operating
            Line Compliance Manager to highlight any issues found. See id. at 11.

                The Draft Pause Priorities Plan sets a goal of providing additional support to
            onboard Environmental Officers before and during the resumption of guest service,
            including with “high training load” and “pre-sail compliance checks.” Draft Pause
            Priorities Plan at PCL_ECP00166539. The specific nature of what this additional


                                          Page 126 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 132 of
                                     264
                                                              July 13, 2020


              support would be is not yet clear. It is also unclear whether the extended hiatus from
              cruise operations will cause the Company to lose some of the Environmental Officers
              in whom it has invested significant training and other support efforts.

                  In addition, the Company reports that it evaluated the findings of the Lloyd’s
              Register Food Waste Workload Assessment regarding Environmental Officer
              workloads. See supra, Part III.F.5. The report, which is based on pre-COVID-19
              activities and assessments, “concluded there is a wide variation on the workload
              experienced by the Environmental Officer across ships and brands.” Food Waste
              Workload Assessment Response Plan at 3. After evaluating these findings, the
              Company “decided to maintain the existing Environmental Officer complement,”
              rather than adding an additional Environmental Officer onboard the ships. Id.
              However, the Company reports that it “will further examine existing and future
              developments of the role in the ever-changing operation,” and “continues to explore
              efficient workload management to achieve optimal Environmental Officer
              performance and productivity levels.” Id.

                 3.      Ongoing CAM Team Examination

         The CAM remains impressed by the strength of the Company’s Environmental Officer

  corps, including the talent, dedication, and enthusiasm exhibited by individual Environmental

  Officers. The CAM Team will continue to examine issues related to the Environmental Officer

  role, including: hiring; training; staffing; job duties and workload; support and resources,

  including the Fleet Environmental Officer Program; and other employment conditions. The

  CAM recognizes that the Company’s COVID-19 response is likely to continue to significantly

  impact many of these areas, and a key area of focus will be changes to the Environmental Officer

  role both during the suspension of cruise operations and as ships begin to resume service.

         H.      Efforts to Develop IT Systems and Tools in Support of Compliance

                 1.      Background

         The Company’s efforts to develop and implement IT systems and tools in support of

  compliance was an area of focus in ECP Year Three, based on the CAM’s observations that the

  Company’s IT resources were generally: non-centralized, with different systems—or versions of

  systems—in use by different brands; outdated; and not able to support the collection and



                                           Page 127 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 133 of
                                     264
                                                              July 13, 2020


  sophisticated analysis of environmental compliance data across the corporation, in contrast to the

  way the Company is able to analyze financial information. See CAM Second Annual Report at

  36-39, 82-83, 110; CAM September 2019 Quarterly Report at 82-85; CAM December 2019

  Quarterly Report at 75-76; CAM March 2020 Quarterly Report at 120-25.

         The Company has taken steps to address its recognized need for more centralized,

  modern, and data-driven strategies. Some related initiatives are discussed below. In general,

  however, the progress on these initiatives has been slow—even before the significant disruptions

  from COVID-19. The Company also has yet to implement a global, corporate-wide IT strategy.

  As the CAM Team observed following its attendance at the Company’s Global Maritime & IT

  Leadership Forum in Hamburg, Germany, in October 2019, “not every brand favors [the] global

  approach” proposed by the Company’s then-new Chief Information Officer, “preferring brand-

  specific strategies and initiatives, which are sometimes at odds or incompatible with other cross-

  brand efforts.” CAM December 2019 Quarterly Report at 81.

                 2.     Overview of IT Initiatives

                        a) Centralized (Corporate-Wide) Initiatives

                                  i.    ELECTRONIC HESS MANAGEMENT SYSTEM

            Global HESS: Global HESS is the Company’s corporate-wide electronic health,
             environmental, safety, and security management system. Global HESS contains,
             among other things, the Company’s HESS policies, procedures, and some related
             communications (including newsletters, case studies, compliance notices, videos,
             RAAS and third-party audit reports, and CAM reports). It also contains modules (i.e.,
             a part of a program that contains one or more individual functions) that allow for
             managing and tracking audit findings and corrective actions, managing tasks, and
             viewing a calendar of internal and external ship visits. See May 2020 Probation
             Supervision Report, Attachment 3, at 2-4.

                The Company reports that it has implemented improvements to Global HESS in
             2019 and the first half of 2020, including:

                 o Implementing electronic checklists for Operating Line Compliance Manager
                   monthly reports and Food Waste Segregation Compliance Reports. See


                                           Page 128 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 134 of
                                     264
                                                              July 13, 2020


                   Health, Environmental, Safety, and Security (HESS), Technical, Regulatory
                   and Sustainability Report Fourth Quarter, FY2019 (Jan. 2020),
                   PCL_ECP00163847-980 (“HESS Q4 FY2019 Report”), at
                   PCL_ECP00163919;80

                o Converting the Environmental Officer weekly report to an electronic form.
                  See May 2020 Status Update IT Initiatives, PCL_ECP00166640;

                o Testing a mobile application for electronic checklists (continued development
                  is on hold at this time). See HESS Q4 FY2019 Report, at
                  PCL_ECP00163919;

                o Improving the process for submitting and tracking suggestions for revisions to
                  Global HESS policies and procedures. See id.;

                o Developing a rank (position)-specific dashboard to enable users to more easily
                  view information in Global HESS relevant to their specific job duties. See id.;
                  and

                o Simplifying procedures to increase readability and usability. See id.

                 According to the Company, these efforts address recommendations from the
            Holland America Group Human Factors Study to simplify existing procedures, and to
            utilize technology like mobile checklists to reduce administrative burdens and the
            potential for human error during operations. See MTO Safety, Ship Operations and
            environmental discharges: An action plan for continuous improvement – final report,
            Report MTO-2018-349, PCL_ECP00118647-739 (May 31, 2019) (“Holland America
            Group Human Factors Study”), at PCL_ECP00118685, 716-18, 727-29.

                Before COVID-19, the Company identified the last two items (rank-specific
            dashboard and simplified procedures) as still in progress, with each considered a
            “primary deliverable in 2020.” HESS Q4 FY2019 Report at PCL_ECP00163919.
            For the rank-specific dashboard, the Company reports that it is now “ready for
            internal demonstration and testing,” but will need to be reviewed for management of
            change issues before implementation because it will be “a significant change to the
            user experience in Global HESS.” May 2020 Status Update IT Initiatives,
            PCL_ECP00166640. The Company “will conduct a review of resource constraints in
            July before deciding launch timing, but the intention is to roll out as soon as
            practicable.” Id.

               For the simplification of procedures, the Company has set a goal in the Draft
            Pause Priorities Plan of completing the project before ships resume operation. See
            Draft Pause Priorities Plan at PCL_ECP00166542.


  80
    Similar functionality has been developed within the Company’s Neptune software, discussed
  below. See infra, Part III.H.2.b(i).


                                         Page 129 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 135 of
                                     264
                                                              July 13, 2020


                                ii.   INCIDENT REPORTING

           SeaEvent: SeaEvent is the Company’s new centralized, corporate-wide incident and
            near miss reporting and case management system. See CAM Second Annual Report
            at 36; CAM December 2019 Quarterly Report at 77-78; CAM March 2020 Quarterly
            Report at 123. Rollout to all ships across the Company’s brands was completed in
            November 2019. Id. SeaEvent “allows the data capture, management, analysis and
            reporting of Health, Environmental, Safety, Security, Technical and other operational
            events” related to the Company’s ships. See SeaEvent Overview (Nov. 12, 2019),
            PCL_ECP00143497-516, at PCL_ECP00143499. SeaEvent has the potential to
            improve the consistency of the Company’s incident and near miss reporting, and
            enable better fleetwide information-sharing and tracking, trending, and analysis of
            incident and near miss data. See also infra, Part IV.D.4.a(i) (discussing SeaEvent in
            the context of the Company’s new procedure on continuous improvement from
            lessons learned).

                               iii.   PLANNED MAINTENANCE AND SPARE PARTS

           Marine Asset Strategies Transformation (“MAST”) (In Development): The
            Company has the spent the last two years planning and designing its MAST initiative,
            which will be a single, cross-brand planned maintenance and spare parts management
            (including procurement and logistics) system. The Company believes that the new
            system will improve its ability to efficiently deliver spare parts to ships, including
            those that are needed to keep shipboard pollution prevention equipment in working
            order. See CAM Second Annual Report at 83; CAM December 2019 Quarterly
            Report at 79; CAM March 2020 Quarterly Report at 124. The system’s functionality
            would include allowing the Company to monitor the location and status of its spare
            parts inventory across the entire fleet. See id.; see also MAST Update,
            PCL_ECP00083937-40, (Nov. 13, 2018); October 2019 Probation Supervision
            Report, Attachment 3, at 11. To support this functionality, the Company is exploring
            the use of mobile devices by shipboard engineers to assist in identifying issues with
            the reliability, availability, and maintainability of pollution prevention equipment.
            See Employee Interview/Call Notes.

               According to the Company, the initial version of the MAST software is
            approximately 50% complete, but completion and subsequent testing on ships has
            been delayed by about one year (until about December 2021) due to COVID-19. See
            MAST Timeline – Revised 2020 (Covid Impact), PCL_ECP00165997. Once the
            MAST system is in place, the next step (estimated for approximately 2025 and
            beyond) will be the creation and stocking of centralized spare part inventory
            warehouses to physically store and deploy parts. See Employee Interview/Call Notes.

                               iv.    VOYAGE PLANNING

           Voyage Planning Software (In Development): The Company executed a contract
            with a vendor to develop voyage and environmental planning software in August
            2019. The software would, among other things, integrate and automatically update


                                         Page 130 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 136 of
                                     264
                                                              July 13, 2020


            information about environmental boundaries and discharge/emission requirements—
            including Company requirements, which may be more stringent than those set by
            regulatory bodies—into the electronic navigational charts used by ships, replacing the
            current analog approach that relies on the use of an Excel spreadsheet referred to as
            “the Matrix.” See CAM Second Annual Report at 37; CAM December 2019
            Quarterly Report at 79-80; CAM March 2020 Quarterly Report 124-25. The goal is
            to “provide a real-time, dynamic view of environmental restrictions[,] including a 12-
            hour look ahead” to “reduce the complexity of environmental regulation
            interpretation” and “reduce the risk of human errors that could lead to improper
            discharges.” See Health, Environmental, Safety, and Security (HESS), Technical,
            Regulatory and Sustainability Report First Quarter, FY2020 (Apr. 2020),
            PCL_ECP00163655-772, at PCL_ECP00163737. This software would potentially
            address two recommendations from the Holland America Group Human Factors
            Study: (1) restructuring the environmental component of voyage planning; and
            (2) improving situational awareness to reduce non-compliant discharges. See Holland
            America Group Human Factors Study at PCL_ECP00118727-30.

                The timeline for developing and implementing the software has been impacted by
            COVID-19, and the Company hopes to receive the completed software by July 2020
            so that testing can occur through October 2020. See May 2020 Status Update IT
            Initiatives, PCL_ECP00166640. The Company reports that rollout of the software
            will be prioritized for the first ships that are planned to come back into service. Id.

                                 v.    DATA ANALYTICS

           Data Analysis for Compliance Improvement Opportunities (In Development):
            The Company has engaged a data science consulting firm to examine the Company’s
            current analytical capabilities and assist in analyzing the Company’s existing data sets
            to identify “opportunities for improvement in processes, systems or training &
            communication as they relate to compliance.” See Ethics & Compliance October
            2019 Final Strategic Plan at PCL_ECP00141423-24; CAM March 2020 Quarterly
            Report at 121-22. As part of its initial efforts, the firm analyzed data sets from certain
            brands to develop prototype models for analyzing three principle areas: (1) food
            waste management; (2) Oily Water Separator/Oil Content Meter work orders and
            failures; and (3) unplanned work orders. Id. at 121; Carnival Phase 1 Read Out,
            (Dec. 20, 2019), at PCL_ECP00150714-88. Going forward, the firm proposes to rely
            on a technique called “data virtualization” to integrate the Company’s data that is
            siloed across the different brands (regardless of factors such as format or location),
            and provide a means for accessing, managing, and delivering the data in real time to
            applications accessible by end-users. See id. at PCL_ECP00150768. This approach,
            in theory, would enable the Company to analyze its data holistically across the
            brands, and develop corporate-wide metrics and key performance indicators that
            would allow for a more targeted, informed, and proactive approach to addressing
            compliance challenges. According to the Company, this initiative “has good
            momentum and is moving forward,” although the Company has “reduced the
            arrangement in terms of costs and resources due to COVID-19.” May 2020 Status



                                          Page 131 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 137 of
                                     264
                                                              July 13, 2020


             Update IT Initiatives, PCL_ECP00166640. Current areas of focus include
             “COVID19 focused relaunch brainstorm activities” and “COVID19 focused risk
             analysis.” Id.; and

            Global Maritime Data Lake (In Development): The Company is developing a
             corporate-wide project to migrate data from various systems (e.g., SeaEvent,
             Neptune, Mistral) into a “global maritime data lake,”81 which would enable more
             advanced analytics, such as correlating incident data with data on weather conditions,
             training records, or personnel onboard. See Employee Interview/Call Notes. Each
             brand would have access to its own data from the data lake for performing analytics
             in the software of its choice. Id. Work on this initiative is being coordinated with the
             outside firm that is performing the data analysis on compliance improvement
             opportunities discussed in the prior bullet. See May 2020 Status Update IT
             Initiatives, PCL_ECP00166640.

                         b) Brand/Operating Group Specific Initiatives

                                   i.   DATA COLLECTION & ANALYTICS

            Neptune: Neptune is a proprietary software platform that the Company developed
             prior to the ECP, which collects raw data from ships in real time and utilizes
             individual modules for data analytics. See CAM March 2020 Quarterly Report at
             122-23. Some of the key modules that relate to environmental compliance include:

                 o Neptune Live: Tracks ship route and location and Advanced Air Quality
                   System usage, and generates real time alerts under specific circumstances
                   (e.g., ship deviates from planned route; ship approaches Emission Control
                   Area or other regulated area). Work is in progress to develop an overboard
                   discharge alarm;

                 o Neptune Checklists and Electronic Forms: Digitizes all environmental
                   checklists and forms (with plans to expand to other subject matter areas),
                   generates related alarms, and creates an auditable trail of task completion;

                 o Neptune Environment: Tracks key environmental data (e.g., data on the usage
                   or generation of potable water, bilge water, ballast water, sludge, refrigerants,
                   or other wastewater streams);

                 o Neptune EEE: Manages the collection, transfer, and storage of data related to
                   energy efficiency and Advanced Air Quality Systems;




  81
    A “data lake” is a system or repository of data stored in its natural or raw format. It can
  include structured, semi-structured, unstructured, and binary data.


                                           Page 132 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 138 of
                                     264
                                                              July 13, 2020


                o Neptune LAB: Analyzes ship performance using data collected from
                  Advanced Air Quality Systems, engines, propulsion systems, and
                  nautical/navigational systems;

                o Neptune Mobile: Pushes data to smart devices to provide alerts (including
                  environmental alarms) for shipboard and shoreside employees. An Apple iOS
                  app was released in November 2019, and an Android app was released in
                  February 2020, although “the applications are currently being beta tested by
                  only a limited number of users.” Company Comments on Draft Report;

                o Neptune OnBoard (In Development): Enables ships to view their own
                  Neptune Live data (including environmental alarms) and other data analytics,
                  even if there is no satellite connection. It has been rolled out to over 90 ships;
                  and

                o Neptune Electronic Seal (In Development): Generates real time alerts for
                  shoreside personnel if a re-usable seal with an electronic sensor (including an
                  Environmental Control System seal) is broken on a ship. Pilot testing of the
                  software by the vendor has been delayed due to COVID-19 until at least
                  September 2020.

  See Employee Interview/Call Notes.

                  In 2019, the Company collected about 100 million raw data points per day in
             Neptune, which can be analyzed in the various Neptune modules. See DMWG
             General Presentation (Sept. 23, 2019). As of September 2019: 101 ships can upload
             engine and automation systems data; 99 ships can upload energy use in port data; 80
             ships can upload propulsion data; and 26 ships can upload HVAC and engine room
             ventilation system data. Id. Each operating group has different technical systems
             connected to Neptune, and data is not necessarily comparable across brands/operating
             groups. See Event Notes. Corporate-wide analysis of data across the brands will be
             difficult until the Company selects a standard data approach and implements the
             Global Maritime Data Lake. While all Neptune modules are available for use, none
             are required by the Company except Neptune Live. As a result, each operating group
             utilizes Neptune differently. See Environmental Working Group/OLTM/OLCM
             Virtual Conference Minutes 24 – 26 March 2020, PCL_ECP00162521-38, at
             PCL_ECP00162536. For example, while all operating groups use Neptune Live to
             track the position of their ships, only Costa Group utilizes Neptune Checklists and
             Neptune Environment to track environmental compliance information. See Employee
             Interview/Call Notes.

                                 ii.   TRAINING

            Global Learning and Development Information System (“GLADIS”): GLADIS
             is a global learning management system that provides computer-based training,
             including environmental training. See CAM Second Annual Report at 83; CAM
             December 2019 Quarterly Report at 78-79; CAM March 2020 Quarterly Report at


                                          Page 133 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 139 of
                                     264
                                                              July 13, 2020


            123-24; MPD CAM ECP Request Feedback (July 12, 2019), PCL_ECP00131600.
            GLADIS was fully deployed to all Carnival ships as of the third quarter of 2019 for
            use by shipboard crew. See HESS Q4 FY2019 Report at PCL_ECP00163920. As of
            April 2020, however, Carnival UK and Costa Group had not completed loading all
            their crew training content into the system. See id. Carnival UK and Costa Group
            also use GLADIS for shoreside personnel training, while Carnival Cruise Line and
            Holland America Group use a different learning management system for their
            shoreside employees. See id.; see also PCL_ECP00129700.

                Although GLADIS is a global platform used by all of the Company’s brands, each
            operating group controls the content on its own GLADIS server in accordance with
            applicable flag state and other requirements, and cannot access data from other
            operating groups. In addition, each brand tracks some of its GLADIS training in
            other software systems due to integration issues, vendor contracts, and/or brand
            choice. See Maritime Operations Monthly Dashboard (Mar. 2020),
            PCL_ECP00163820.

                The Company plans to roll out an upgraded version of GLADIS in July 2020 that
            would allow for: (1) greater administrative control and management; (2) clearer
            tracking of training completion dates; (3) communication with electronic applications
            used to track attendance during instructor-led trainings; and (4) standardized
            assessments to measure performance during drills. See Employee Interview/Call
            Notes; January 2020 Probation Supervision Report, Attachment 3, at 9; May 2020
            Status Update IT Initiatives, PCL_ECP00166640;

           CrewTube: CrewTube is an application for smart phones and tablets that allows
            crew members to access some types of HESS information and communications
            before joining a ship. See July 2019 Probation Supervision Report, Attachment 3, at
            10; CAM March 2020 Quarterly Report at 112. Use of CrewTube varies by operating
            group. See Employee Interview/Call Notes. A second phase of development, which
            has been put on hold due to COVID-19, will focus on integration with GLADIS to
            allow for implementing and documenting certain HESS trainings on mobile devices.
            See May 2020 Status Update IT Initiatives, PCL_ECP00166640; MPD CAM ECP
            Request Feedback (July 12, 2019), PCL_ECP00131600;

           Drill App (In Development): The Company has developed an offline, tablet-based
            application to “assess training and drills, using a competency-based assessment
            approach for either individuals or teams.” Id. at 4. The app has been made available
            to Apple iOS users, with an Android version planned for release in July 2020. See id.
            at 13; May 2020 Status Update IT Initiatives, PCL_ECP00166640;

           Onboard Instructor Led Training Attendance App (In Development): The
            Company has developed an offline scanning application to create an electronic record
            of attendance at onboard trainings by scanning crew member IDs. See July 2019
            Probation Supervision Report, Attachment 3, at 13. The app can interface with
            GLADIS to automatically update a crew member’s training file. Testing of the
            software has been delayed due to COVID-19 until ship operations resume. See id.


                                         Page 134 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 140 of
                                     264
                                                              July 13, 2020


            This application could reduce the recordkeeping burden associated with having to
            manually record and track onboard training attendance, which has been a frequent
            complaint to the CAM Team—especially from Environmental Officers. See
            Employee Interview/Call Notes; and

           CADIS (In Development): This software is a sub-system of GLADIS which would
            allow job competencies to be created for specific positions, which, in turn, would
            guide the creation of Professional Development Records so that employees
            understand the skills necessary for current and future positions. See May 2020 Status
            Update IT Initiatives, PCL_ECP00166640.

                                iii.   STAFFING/MANNING

           Costa Group and Carnival UK Mistral Improvements (In Development): Costa
            Group and Carnival UK use an internally developed crew personnel management
            system called Mistral that provides modules to address HR, recruiting, payroll, and
            crew service needs, such as staffing/manning and training requirements. In particular,
            Mistral is used to develop crew schedules and track staffing/manning shortages. See
            Employee Interview/Call Notes. According to the Company, development of a new
            crew planning module utilizing artificial intelligence is approximately 75% complete
            but has been put on hold due to COVID-19. See May 2020 Status Update IT
            Initiatives, PCL_ECP00166640; and

           Costa Group SCEDAS Module for Optimizing Crew Complements (In
            Development): Costa Group has retained a German institute to develop software to
            help optimize crew staffing levels based on the time associated with completing role-
            specific work tasks, as well as national laws, regulations, and rules (e.g., rest hour
            requirements). See CAM March 2020 Quarterly Report at 120-21; Employee
            Interview/Call Notes. The first phase of the project focused on gathering information
            from two Costa ships and two AIDA ships. Deck and engine crew members on these
            ships entered information into the software’s “task collector” each time they
            performed a task, including when they started and stopped the task and the nature of
            the work. Analysis of the data was underway when cruise operations were suspended
            in mid-March, and work on this project is currently suspended. See May 2020 Status
            Update IT Initiatives, PCL_ECP00166640. When the project restarts, Costa Group
            plans to work with the institute to develop and deploy an algorithm to assist in
            understanding crew staffing needs and strategies. While the current phase of the
            project is limited to deck and engine employees, Costa Group plans to include hotel
            employees in future phases. See Employee Interview/Call Notes; see also infra, Part
            IV.A.3.d (noting that the software was identified as a preventive action in an
            investigation report into staffing concerns on an AIDA ship).

                                iv.    SHIP VISITS

           Holland America Group iInspector (In Development): iInspector is a desktop and
            mobile web application used on Holland America Group ships to create, manage, and
            store certain ship visit reports, surveys, and inspections. It is integrated with other


                                         Page 135 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 141 of
                                     264
                                                              July 13, 2020


             systems, including the planned maintenance system used by Holland America Group.
             See TPA Holland America Group Audit Report (Jan. & Feb. 2020),
             PCL_ECP00164056-82, at PCL_ECP00164069, 74; Quality Assurance Applications
             Overview, PCL_ECP00151290-300, at PCL_ECP00151291-300. According to the
             Company, the software has been used for ship superintendent technical reports, and
             has been trial-tested for dry dock reports. Further development of the software has
             been paused due to COVID-19. However, Holland America Group intends to explore
             integrating the software with Global HESS in the future. See May 2020 Status
             Update IT Initiatives, PCL_ECP00166640.

                 3.      Ongoing CAM Team Examination

         The CAM Team will continue to monitor the Company’s development and

  implementation of IT initiatives in support of compliance, including those discussed above as

  well as any new initiatives. The CAM Team will also examine the Company’s implementation

  of the IT-related initiatives in the Ethics & Compliance Strategic Plan. See Ethics & Compliance

  October 2019 Final Strategic Plan at PCL_ECP00141423-24. The Company reports that,

  pursuant to the Strategic Plan, it formed a cross-brand and cross-functional IT Compliance

  Committee in 2019, composed of members of the Maritime, IT, and Ethics & Compliance

  Departments at both All Brands Group and the operating groups, as well as the Company’s data

  analytics consultant. May 2020 Status Update IT Initiatives, PCL_ECP00166640. The

  Committee met several times in early 2020. Id. However “[d]ue to the COVID-19 impacts, the

  IT Compliance Committee meetings have been put on pause since March 2020.” Id.

         Before this suspension, the Committee planned to “[c]onduct a sample of ship visits to

  identify, catalogue and prioritize current IT problems, limitations or deficiencies that inhibit

  effective compliance behaviors, practices or functions,” and “[r]eview data sources and

  platforms for analyzing information” to facilitate the “understanding of operational challenges

  and identify[] opportunities for improvement in processes, systems or training & communication

  as they relate to compliance.” See Corporate Compliance Manager Quarterly Environmental




                                            Page 136 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 142 of
                                     264
                                                              July 13, 2020


  Compliance Report Q3 2019, PCL_ECP001447152-273, at PCL_ECP001447167, 71, 74; Ethics

  & Compliance October 2019 Final Strategic Plan at PCL_ECP00141423-24. Currently,

  however, the Company reports that “[t]he needs and objectives of this Committee are continuing

  to be evaluated.” May 2020 Status Update IT Initiatives, PCL_ECP00166640.

  IV.    CAM FINDINGS: UNRESOLVED BARRIERS AND OPPORTUNITIES FOR IMPROVEMENT

         A.      Repeat Failures on Basic Compliance Support for the Ships

                 1.     Overview

         A recurring theme of prior CAM reports has been the impact on ship-level compliance of

  the failure of the Company’s top leadership to support compliance fully—not just in words, but

  in actions that translate to direct support for the ships. Even before the COVID-19 crisis placed

  unprecedented strains on the Company’s finances and operations, the Company had repeatedly

  failed to adequately address compliance support for its ships on issues identified by the

  Company’s internal and external studies and findings, and supported by the findings of RAAS,

  the TPA and the CAM. As detailed below, these issues include: working pollution prevention

  equipment;82 spare parts; sufficient staffing levels and manageable workloads; IT support,



  82
     The Company states that “not every temporary malfunction of a piece of pollution prevention
  equipment rises to the level of non-compliance with applicable regulations or the ECP. Many
  pieces of pollution prevention equipment have redundant counterparts, and many malfunctions
  are repaired in less than 24 hours.” See Company Comments on Draft Report. As detailed
  below, the CAM Team identified over 200 incidents during ECP Year Three involving pollution
  prevention equipment that was out of service for more than 24 hours, including approximately
  100 incidents related to oily bilge water management equipment. See infra, Part IV.A.2.b. The
  number of incidents involving pollution prevention equipment out of service for less than 24
  hours is significantly larger. See id. Regardless of the number of incidents, however, the
  Company’s response is concerning. It reflects a mindset that is focused on how incidents are
  classified, rather than on lessons that can be learned from incidents regarding continued obstacles
  to ship compliance efforts. Crew members have continued to express to the CAM Team that the
  (un)reliability of pollution prevention equipment is a significant workload issue. See Employee
  Interview/Call Notes; see also infra, Part IV.A.1-3. Even if crew members are able to complete



                                           Page 137 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 143 of
                                     264
                                                              July 13, 2020


  including voyage planning support; and waste offload and vendor assessment support. See CAM

  March 2020 Quarterly Report at 2-3, 37-41, 54-56; CAM December 2019 Quarterly Report at 9-

  11.

         The Draft Pause Priorities Plan is a telling case-in-point. Many, if not most, of the

  Environmental initiatives in the Plan relate to basic compliance support for ships on issues

  identified since the beginning of the ECP. For example, the initiatives include:

                          Pollution Prevention Equipment and Spare Parts
   Providing ships with a full set of environmental critical spare Try to Do Before Ship
   parts for pollution prevention equipment                        Resumes Service
   Identifying and assessing repairs needed to improve reliable    Do Before Ship Resumes
   operation of pollution prevention equipment and proposing a     Service
   schedule for completion of work
   Completing all significant repairs to pollution prevention      Do When Feasible
   equipment
   Completing leak repairs to Advanced Air Quality Systems         Try to Do Before Ship
                                                                   Resumes Service
   Completing installation, training, and commission of ballast    Try to Do Before Ship
   water treatment systems installed but not yet in use            Resumes Service
   Repairing and replacing regular leaking piping/components       Try to Do Before Ship
                                                                   Resumes Service
   Repairing major pipe system changes                             Do When Feasible
   Completing full installation of dry bilge upgrades              Do When Feasible


  a repair in less than 24 hours in many instances, it still means that they have taken time and
  resources away from their other obligations.
      Relatedly, the Company’s statement about “redundant” equipment is an issue on which DOJ
  observed over a year ago that the Company’s position “appear[s] to reflect an antagonistic
  corporate culture where management prizes avoiding adverse findings more than achieving
  actual compliance and progress.” See CAM April 2019 Quarterly Report at 12 (citation
  omitted). DOJ further noted that “the failure of [redundant] components had systemic
  consequences and played a significant role in the [conduct on the Caribbean Princess] leading to
  conviction.” Id. at 11 (citation omitted). The CAM has similarly observed that “[g]iven the role
  that non-working pollution prevention equipment played in the felony convictions in this matter,
  it would seem more appropriate for the Company to provide ships with the support and resources
  needed to keep all pollution prevention equipment on board in good operating condition,” rather
  than to dispute whether failures of “redundant” pollution prevention equipment should rise to the
  level of an ECP violation. See id. at 14.



                                           Page 138 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 144 of
                                     264
                                                              July 13, 2020


   Completing Environmental Control System83 requirements (e.g.,        Before Ship Resumes
   color-coded hoses and padlocks)                                      Service
   Purchasing and installing electronic key tracking boxes84            Within 60 days of return
                                                                        to service
                                  Crew Staffing and Workload
   Ensuring a full complement of deck and technical teams               Before Ship Resumes
                                                                        Service
   Implementing four-shift watch-keeping rotations for engineers85      Within 60 days of return
                                                                        to service
   Ensuring a dedicated Advanced Air Quality System engineer is         Before Ship Resumes
   onboard equipped ships                                               Service
                                            IT Support
   Developing and implementing voyage and environmental                 Do When Feasible
   planning software tool
                                  Waste Vendor Assessments
   Assessing each waste vendor, with priorities on early itinerary      Try to Do Before Ship
   locations                                                            Resumes Service

  See Draft Pause Priorities Plan at PCL_ECP00166537-43.




  83
     The Environmental Control System is a program established under the ECP that requires the
  “control” of certain vulnerable points (e.g., pipes and valves) on ships that could be used to make
  an unauthorized discharge into the sea, such as by installing seals or padlocks. See ECP § IX.B.1
  (requiring the Company to implement an Environmental Control System program to “deter and
  detect unauthorized discharge of vessel waste streams through vulnerable pipework
  connections”).
  84
     As discussed in prior CAM reports, the Company committed at least as early as February 2019
  to install these systems on ships to help control keys that provide access to portable pumps and
  hoses. Crew members from across the Company reported to the CAM Team that they were
  eager for the systems, which could reduce the time, labor, and potential for human error
  associated with Environmental Control System requirements. However, the Company postponed
  the deadline for installing these systems from December 31, 2019, to September 1, 2020, “based
  on competing priorities . . . and the availability of managers and implementers.” CAM
  December 2019 Quarterly Report at 83-84 (citations omitted).
  85
     Four-shift watchkeeping means having teams of engineers who staff the engine control room
  in six-hour shifts throughout the day to ensure 24/7 coverage. This is in contrast to three-shift
  watchkeeping, historically used on the Company’s ships, in which teams of engineers staff the
  engine control room in eight-hour shifts. Four-shift watchkeeping is generally considered to
  allow for a more optimal alignment of work schedules with rest and meal times than three-shift
  watchkeeping. However, it may require additional engineer(s) to be onboard. See Employee
  Interview/Call Notes.



                                           Page 139 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 145 of
                                     264
                                                              July 13, 2020


         It is a remarkable failure that at the time the COVID-19 crisis emerged, well into ECP

  Year Three, the Company was still struggling to comprehensively address important compliance

  issues that arose long before the pandemic. In its comments on the draft of this Report, the

  Company states it should not be judged critically if ships resume cruise operations without some

  or all of these commitments implemented, due to the resource and other logistical obstacles it

  now faces.86 This caveat is offered even for measures with a “Do Before Ship Resumes Service”

  timeline. As stated in the Draft Pause Priorities Plan: “The ability to implement the

  commitments in the earliest time frame – ‘before ships resume service’ - may be challenging for

  certain ships which may return to service outside of the United States as early as August 2020 . .

  . To the extent that the commitments in the earliest time frames are not met, this will not

  preclude a ship’s return to operation, but the Company will document and provide an

  explanation.” Id. at PCL_ECP00166535.

         The unprecedented nature of the pandemic, including the existence of factors beyond the

  Company’s control, is without question. But two critical points remain: (1) many of the

  initiatives in the Draft Pause Priorities Plan relate to issues that arose months or years before the

  COVID-19 pandemic, when the Company did not face current financial or logistical constraints;

  and (2) the Company’s broad statement that “[t]o the extent that the commitments in the earliest

  time frames are not met, this will not preclude a ship’s return to operation,” without specifying

  which issues would be acceptable to leave unaddressed, the nature of any explanation to be

  provided, or who the ultimate decision-maker would be, does not appear to support its stated


  86
    According to the Company, it “cannot commit to performing tasks by a specific deadline if it
  does not have control over all the steps necessary to complete the task. The Company can only
  commit to do tasks over which it has full control. For example, many tasks are constrained by
  COVID-19 challenges that limit the availability and ability to embark a 3rd party vendor.” See
  Company Comments on Draft Report.


                                            Page 140 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 146 of
                                     264
                                                              July 13, 2020


  representations to the Court that “we are totally focused on compliance . . . and we are not going

  to cut any corners.” Dkt. No. 189 at 1-2; see also Draft Pause Priorities Plan Cover Letter at

  PCL_ECP00166532 (stating that the Company is “maintaining [its] focus on safety,

  environmental protection and compliance”).

         This is not to say that the Company has not made any progress on many of these and

  other issues. Notably, as the CAM has observed, many top-level Carnival Corp. leaders have

  increased their visibility on compliance issues since the Probation Revocation Agreement,

  including through issuing increased communications on the importance of environmental

  protection, safety, and compliance. See CAM March 2020 Quarterly Report at 39-40. But the

  resolution of the Company’s persistent compliance challenges requires concrete commitments

  and concrete actions that support compliance, and remove obstacles to compliance, for those

  doing the daily work of operating the ships. As noted in prior CAM reports, and underlined by

  the Court and DOJ, those commitments could include the goals that:

            No ship will sail without all pollution prevention equipment installed and in working
             order;

            No ship will sail without all critical (environmental) spare parts onboard;

            No ship will sail without a full complement of qualified deck and technical officers;

            No ship will sail without all IT systems and tools critical to support compliance,
             including voyage planning, installed and in working order; and

            No ship will offload waste to an unvetted or unapproved waste vendor.

  See, e.g., CAM March 2020 Quarterly Report at 41, 56; Status Conf. Tr. at 10-11, 37 (Apr. 24,

  2020).87



  87
    In its comments on the draft of this Report, the Company states that these are Company goals.
  See Company Comments on Draft Report. The CAM has neither seen these goals unequivocally



                                           Page 141 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 147 of
                                     264
                                                              July 13, 2020


         An essential first step in moving forward is for top leadership to accept responsibility for

  the Company’s historic and ongoing compliance failures.88 That acceptance must be followed by

  specific commitments to address those failures. Only if top leadership makes clear commitments

  to undertake concrete steps towards compliance support can they also be held accountable if

  those steps are delayed or do not occur. Statements like “our top priorities are to operate safely,

  to protect the environment, and to be in compliance everywhere we operate in the world” are

  important, but without a commitment to concrete actions in support of those statements, they are

  not a basis for sustainable change in both culture and performance. See Corporate Vision

  Statement, https://www.carnivalcorp.com/corporate-information/mission-and-history. Worse,

  for the goal of enhancing corporate culture, if the statements by top leaders are not backed up

  with visible and measurable actions tied to the real, day-to-day compliance challenges

  experienced by the ships, then the sincerity of those words, and of compliance as a core

  corporate value, will be called into question.89

         Some within the Company have observed that the current suspension of cruise operations

  presents an opportunity to focus on compliance—including working to ensure that ships are

  staffed and equipped to operate compliantly upon return to service. As the Chief Ethics &


  stated by top leadership to Company employees, nor observed a willingness of those top leaders
  to be held accountable if the goals are not attained. Further, the Company states that its ability to
  meet these goals is now limited due to the COVID-19 crisis. See id. Again, this response misses
  the point. These goals relate to long-standing issues that the Company struggled to adequately
  address in the months and years preceding the COVID-19 pandemic.
  88
    The statement by top leadership accepting personal responsibility for the probation violations
  was required by the Probation Revocation Agreement. See Important Message from Chairman
  Micky Arison and CEO Arnold Donald (July 1, 2019) (stating that “Chairman Arison, Mr.
  [Stuart] Subotnick and I [Arnold Donald] take full responsibility for these violations”).
  89
    Relatedly, it remains to be seen if future ship designs will be changed to address
  environmental compliance challenges identified during the probationary period. See infra, Part
  VII.D.


                                            Page 142 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 148 of
                                     264
                                                              July 13, 2020


  Compliance Officer stated at the April 24, 2020, Status Conference: “We are prepared now to

  really begin looking at prior to re-entry how do we come back stronger, better, smarter . . . [We]

  remain wholly committed to figuring what we can advance during this pause so we come back

  stronger.” Status Conf. Tr. at 44-46 (Apr. 24, 2020). The CAM Team will continue to monitor

  what specific measures the Chief Ethics & Compliance Officer is able to have implemented on

  the ships so that they can “come back stronger,” including on the issues of pollution prevention

  equipment, spare parts, crew staffing and workload, IT support, and waste offload and waste

  vendor assessment support, discussed in the following sections. In this regard, the CAM Team

  will also continue to examine whether the Chief Ethics & Compliance Officer and

  Environmental Corporate Compliance Manager are empowered with the authority to ensure that

  ships “come back stronger and better equipped,” as well as whether the appointment of a

  Carnival Corp. Chief Operating Officer facilitates and supports compliance efforts as ships

  return to service. See Dkt. No. 189 at 5 (quoting April 2020 Probation Supervision Report,

  Attachment 5, at 2).

                 2.      Pollution Prevention Equipment and Spare Parts

         Since the beginning of the ECP, issues related to pollution prevention equipment and

  spare parts have been a frequent and ongoing source of findings from TPA and RAAS audits,

  incident reports, and the Company’s internal and external studies and assessments.90


  90
     In addition, throughout the ECP, crew members from across the Company have expressed
  frustration to the CAM Team over difficulties they face in obtaining spare parts, including
  delivery delays and cancelled purchase orders. See Employee Interview/Call Notes. At the
  January 8, 2020, Status Conference, the Carnival Corp. CEO shared an anecdote with the Court
  about a conversation he had with a Chief Engineer onboard one of the Company’s ships. When
  the CEO asked him, “What would make your job better? . . . What could we do to help you do
  your job better?,” the Chief Engineer responded: “[S]ometimes I order parts and it takes a long
  time to get them . . . Well, I actually often order parts and it takes a long time to get them.”



                                           Page 143 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 149 of
                                     264
                                                              July 13, 2020


                         a) Audit Findings

         In ECP Year One, the TPA identified “critical spare parts” as one of six key areas of

  audit findings during ship and shoreside audits. See TPA First Annual Report at 15, 23-24. In

  addition, the TPA found that the majority of Major Non-Conformity findings91 fell under the

  category of “failure of Pollution Prevention equipment.” See TPA First Annual Report at 12-

  14.92 Overall, in ECP Year One, the TPA issued:

            12 audit findings regarding critical spare parts, including five from ship audits and
             seven from shoreside audits. See TPA First Annual Report at 11-12. Examples of
             findings include that “Critical Spare Parts for Environmental Equipment was not
             maintained to par levels, orders were found overdue without follow up.” Id. at 23;
             and

            16 audit findings (including 12 Major Non-Conformities) regarding inoperable
             pollution prevention equipment, as well as 23 audit findings (including one Major
             Non-Conformity) regarding piping or valve issues, all from ship audits. See id. at
             111.



  Status Conf. Tr. at 30 (Jan. 8, 2020). The TPA observed later at that same hearing: “Spare parts
  has been a consistent item in our audit reports that there’s issues with not getting the parts in
  time, requisitions being canceled at the shoreside that never got to the ships. This has been an
  ongoing issue for two and a half to three years.” Id. at 96.
  91
     TPA audit findings fall into three categories (from most to least serious): (1) Major Non-
  Conformities; (2) Non-Conformities; and (3) Observations. See CAM First Annual Report at 42-
  43. A “Major Non-Conformity” is “an observed situation where objective evidence indicates a
  violation of a Marine Environmental Protection Requirement [collectively, MARPOL, the Act to
  Prevent Pollution from Ships, the Clean Water Act, and the Oil Pollution Act of 1990] or policies
  established by this ECP that consists of or contributes to the discharge or potential discharge of
  oil, or oily wastes, or other prohibited wastes into the water. It may also include the discovery of
  pollution prevention equipment determined to be incapable in terms of processing and
  monitoring capabilities or inadequate with respect to the quantities of wastes such equipment is
  required to process.” ECP § I.D.
  92
    The TPA notes that many of these findings related to Oily Water Separator equipment, and
  that, at the time of the report, the Company had plans to upgrade and replace the Oily Water
  Separators on its ships. Id. at 14. These upgrades were completed across the fleet by January 31,
  2019. See CAM Second Annual Report at Appendix A. However, as discussed below, ships
  continue to experience challenges with maintaining the operability of their Oily Water Separator
  equipment.



                                           Page 144 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 150 of
                                     264
                                                              July 13, 2020


         TPA audit findings in these areas continued in ECP Year Two, although “[i]mprovements

  were noted in a reduction of overall findings.” See TPA Second Annual Report at 24. The TPA

  identified inoperable pollution prevention equipment as among the top four “Most Common

  Audit Findings” categories, making up about 8% of total audit findings and, as in ECP Year One,

  the majority of Major Non-Conformity findings. See id. at 2, 13, 19. The TPA also listed

  “Failure of Pollution Prevention Equipment” as an area of focus for ECP Year Three. Id. at 25.

  Overall, in ECP Year Two, the TPA issued:

            Nine audit findings regarding critical spare parts, including four from ship audits and
             five from shoreside audits. See id. at 14; and

            22 audit findings (including 10 Major Non-Conformities) regarding inoperable
             pollution prevention equipment, as well as seven audit findings regarding piping or
             valve issues, all from ship audits. See TPA Year 2 Audit Matrix.

         At the end of ECP Year Two, the TPA recommended that the Company “[c]ontinue

  efforts to minimize risk of ‘out of service’ pollution prevention equipment.” TPA Second

  Annual Report at 3, 6. Specific recommendations include to: “[b]uild in a reliability,

  availability, and maintainability (RAM analysis) solution into the design, procurement,

  installation, and operation of pollution prevention equipment”;93 and to improve management



  93
     The Company reports that it conferred with the TPA and decided to use an alternative
  methodology, known as Reliability Centered Maintenance (“RCM”), which the Company
  believes “will meet the same goal as the RAM methodology.” See Company Comments on Draft
  Report. The Company engaged a third party to perform an RCM analysis on the HVAC systems
  of two of its new ships (one of which was completed and implemented, and one of which is in
  progress). See id. The Company “was planning to perform a study of pollution prevention
  equipment” using the RCM methodology on one other ship, “but this was delayed due to
  COVID-19.” See id. The Company also reports that it has “reorganized the current focus of its
  MAST program to focus solely on pollution prevention equipment.” See id.; see also supra, Part
  III.H.2.1(iii) (noting that the Company is exploring the use of mobile devices by shipboard
  engineers to assist in identifying issues with the reliability, availability, and maintainability of
  pollution prevention equipment as part of its MAST initiative).




                                           Page 145 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 151 of
                                     264
                                                              July 13, 2020


  systems that influence “inventory control, spare parts identification, and logistics systems that

  ensure deliver within appropriate timeframes.” Id. at 6.94

            In ECP Year Three, the TPA continued to identify both critical spare parts and pollution

  prevention equipment as areas of common audit findings. See TPA Third Annual Report at 26-

  27, 30-31. The majority of the Major Non-Conformity findings issued during the year were

  “associated with inoperable Pollution Prevention Equipment,” including “wasted, holed, or

  cracked” Advanced Air Quality Systems. See id. at 13. Overall, in ECP Year Three, the TPA

  issued:

               Eight audit findings regarding critical spare parts, including seven from ship audits
                and one from a shoreside audit. See id. at 30, 39-40; and

               24 audit findings (including 10 Major Non-Conformities) regarding inoperable or
                malfunctioning pollution prevention equipment, all from ship audits. See id. at 39.

            Among other actions, the TPA recommended that “[n]o vessel leaves port without a full

  complement of critical spares.” Id. at 31.

            The Company’s internal RAAS auditors have also issued findings related to inoperable

  pollution prevention equipment and spare parts throughout the ECP. See CAM First Annual

  Report at 64-65 (summarizing repeat ECP Year One RAAS audit findings, including “Critical

  spares not standardized or below minimum levels”); CAM Second Annual Report at 105-07

  (summarizing repeat ECP Year Two RAAS audit findings, including “Advanced Air Quality

  System out of service awaiting spare parts” and “Issues related to critical spare parts for



  94
    The TPA observed that “[c]onnectivity issues between ships and shoreside” have, in some
  cases, created delays in critical spare parts ordering and delivery, and that “[m]ultiple non-
  centralized IT issues used by the different brands have made consolidation of process
  challenging especially related to critical spare parts.” Id.; see also infra, Part III.H.2.a(iii)
  (discussing the Company’s efforts to develop a single, corporate-wide planned maintenance and
  spare parts management system under its MAST initiative).



                                              Page 146 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 152 of
                                     264
                                                              July 13, 2020


  Advanced Air Quality Systems”); RAAS Q4 Report Prepared for the Audit and HESS

  Committees, PCL_ECP00152849-855, (Jan. 15, 2020), at PCL_ECP00152852 (identifying “key

  areas” of environmental audit findings during 2019, including bilge water and oily water

  management and Advanced Air Quality Systems).

                        b) Incident Reports

         In addition to audit findings, there have been numerous incident reports related to

  inoperable pollution prevention equipment and spare parts on Covered Vessels throughout the

  ECP. These come from a range of formal and informal reporting mechanisms, see infra, Part

  IV.F.1, with the majority coming from the Company’s internal weekly Flash Reports.

         The ECP requires the CAM to report to the Interested Parties if the CAM “receives

  information regarding a Major Non-Conformity.” See ECP § VI.F.6. The ECP’s definition of

  Major Non-Conformity “may . . . include the discovery of pollution prevention equipment

  determined to be incapable in terms of processing and monitoring capabilities or inadequate with

  respect to the quantities of wastes such equipment is required to process.” Id. § I.D. An analysis

  of the CAM Team’s internal records indicates that, pursuant to this provision, the CAM has

  reported:

             Over 200 incidents during ECP Year Three involving pollution prevention equipment
              that was out of service for more than 24 hours. Of these incidents, approximately:

                 o 70 were related to unavailable spare parts;95




  95
    The CAM Team identified over 30 additional incidents involving unavailable spare parts for
  pollution prevention equipment that did not rise to the level of a Major Non-Conformity.



                                          Page 147 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 153 of
                                     264
                                                              July 13, 2020


                o 100 were related to Oily Water Separators96 or White Boxes;97 50 were related
                  to Advanced Air Quality Systems; and 50 were related to incinerators; along
                  with additional incidents related to other systems such as ballast water
                  treatment, garbage/food waste management, and sewage treatment systems;
                  and

                o 18 were related to corroded or deteriorated piping, valves, or other
                  components.98

            Over 150 incidents during ECP Year Two involving pollution prevention equipment
             that was out of service for more than 24 hours. Of these incidents, approximately:

                o 40 were related to unavailable spare parts;99 and

                o 80 were related to Oily Water Separators or White Boxes; 30 were related to
                  Advanced Air Quality Systems; and 35 were related to incinerators; along
                  with additional incidents related to other systems such as ballast water
                  treatment, garbage/food waste management, and sewage treatment systems.100




  96
    Within the category of Oily Water Separator incidents, the CAM Team has identified several
  recurring issues that appear to affect this equipment across the fleet, including: corroded,
  blocked, or otherwise damaged sample or supply lines; corroded or blocked heat exchanger
  elements; Oil Content Meter display errors or other malfunctions; flow switch errors or
  malfunctions; and three-way valve errors or malfunctions.
  97
    The White Box, also known as a Bilge Control Discharge Box, is a locked metal cage. The
  White Box contains an Oil Content Meter, which is in addition to the Oil Content Meter on the
  Oily Water Separator. The White Box is the final check on the oil content of bilge water before
  such water can be discharged overboard. In addition to oil content, the White Box records data
  such as: discharge volume, valve positions, flow through the Oil Content Meter, overboard flow,
  door position, vessel position, and time. See Dkt. No. 58-1 at 1-2.
  98
     The CAM Team identified over 300 additional incidents across all incident types that were
  related to corrosion or deterioration issues. These incidents primarily related to bilge
  leaks/overflows, air emissions (e.g., refrigerant emissions), and other pollution prevention
  equipment issues that did not rise to the level of a Major Non-Conformity. The CAM Team did
  not systemically track data on incidents related to corrosion/deterioration during ECP Years One
  or Two. Therefore, this data is provided for ECP Year Three only.
  99
    The CAM Team identified over 15 additional incidents involving unavailable spare parts for
  pollution prevention equipment that did not rise to the level of a Major Non-Conformity.
  100
     The CAM Team did not systematically track data on incidents reported to the Interested
  Parties during ECP Year One. Therefore, data for this year is not provided.


                                          Page 148 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 154 of
                                     264
                                                              July 13, 2020


  See Internal Incident Log. The universe of reported incidents involving inoperable pollution

  prevention equipment and spare parts that did not rise to the level of a Major Non-Conformity is

  significantly larger. See id.

                         c) Company Studies and Assessments

         The Company’s internal and external reports and assessments have also identified issues

  related to pollution prevention equipment and spare parts throughout the ECP. For example:

            Holland America Group Workload Study: The November 2019 Holland America
             Group workload study for onboard technical/engineering and Environmental Officers,
             performed by DNV-GL AS Maritime (“DNV GL”), found that, across all brands and
             positions, the “purchasing and procurement process is a recurring point of discussion.
             Lack of spare parts onboard increases workload as crew must find work-arounds and
             fabricate items to complete a job related to a breakdown or other unscheduled
             maintenance.” DNV GL, Workload analysis of HA Group Technical and
             Environmental Officers, Report No. 2019-9346 (Nov. 1, 2019), PCL_ECP00149393-
             602 (“Holland America Group Workload Study”), at PCL_ECP00149433. It added
             that a “complicating factor is when previously ordered spare parts are sometimes
             ordered at alternative vendors, resulting in the delivery of wrong parts and further
             prolonging the purchasing process.” Id. The study recommended “[o]ptimiz[ing] the
             purchasing and procurement process for onboard end-users” as a “prioritized action
             for reducing workload,” noting that the “current procurement process for spare parts
             makes up a significant proportion of the technical department’s workload.” Id. at
             PCL_ECP00149509;

            Holland America Group Human Factors Study: The May 2019 Holland America
             Group human factors study, performed by MTO Safety, noted concerns that for ship
             design and refurbishment projects, “it can take a very long time to get refurbishments
             and new spare parts which makes the operations much more complex and increase[s]
             the number of work arounds.” Holland America Group Human Factors Study at
             PCL_ECP00118685. The study also found that, for older ships: there were “major
             problems with technical equipment such as sensors, alarms and equipment being
             inoperable”; that “much monitoring and cleaning in [the engine room] had to be done
             dealing with leaks and malfunctions”; that workloads for engineering officers “will
             increase considerably due to malfunctions of equipment”; and that it “takes long to
             get spare parts and to get maintenance work done.” Id. at PCL_ECP00118687. The
             study further noted “several problems related to the supply of spare parts.” Id. at
             PCL_ECP00118705. These include “not a large enough budget for spare parts, in
             particular at the end of the financial year,” as well as delayed or cancelled spare parts
             orders which “may lead to systems being inoperable for a long time.” See id.; and




                                           Page 149 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 155 of
                                     264
                                                              July 13, 2020


            Fleet Engineering Survey: The February 2018 ECP-required Fleet Engineering
             Survey,101 performed by DuPont Sustainable Solutions, identified “[i]nsufficient
             spares,” “slow delivery of spares,” and “delivery of a part that is incorrect for that
             ship’s equipment” as among the reasons that procedures and instructions are not
             always followed. DuPont Sustainable Solutions, Environmental Compliance Survey
             Final Results, PCL_ECP00042039-95 (Feb. 2018), at PCL_ECP00042053.
             Suggestions from survey respondents for the prevention of future environmental
             incidents included to “[p]erform adequate maintenance to reduce equipment failures”
             and “[h]ave better availability of spare parts.” Id. at PCL_ECP0042085. Other
             compliance concerns from respondents included the reliability of Advanced Air
             Quality Systems and “the lack of spare parts.” Id. at PCL_ECP0042086.

                 3.      Crew Staffing and Workload

         The ECP requires the Company “to supplement crews as needed . . . and/or to provide

  additional shore-side resources” if “inadequacies in the size and capabilities of vessel crews be

  proven as a contributing factor to their inability to meet the objectives of this ECP.” ECP § I.F.

  A key area of focus for the CAM Team throughout the ECP has been whether crew staffing

  levels and workloads are adequate to achieve compliance.

                         a) CAM Report Findings

         At the end of ECP Year One, the CAM observed that the Company faces challenges in

  attracting and retaining sufficient numbers of qualified deck, technical, and environmental

  officers—especially engineers. See CAM First Annual Report at 72-73. These challenges

  continued in ECP Year Two. See CAM Second Annual Report at 56-58. As the CAM noted,

  “[t]hese challenges are not unique to the Company. Finding and retaining qualified personnel,

  especially deck and engineering officers, is a challenge across the entire maritime industry.” Id.



  101
      The ECP required the Company to “issue a survey to all shipboard engineering officers and
  all Environmental Officers on its vessels for information on how to improve MARPOL
  compliance, to include what new equipment, maintenance, parts, and procedures would be
  beneficial” that included an “assessment requesting the frank opinions of the vessels’ engineers
  as to their ability to adequately maintain the vessels’ systems, equipment, and components.”
  ECP § IX.N.1.



                                           Page 150 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 156 of
                                     264
                                                              July 13, 2020


  at 57. The CAM also observed that the “industry-wide staffing shortage for officer positions

  provides the Company with an extraordinary opportunity to be a leader in addressing historic

  ethnic, racial, and gender employment disparities in the maritime industry, and to address

  compliance challenges related to labor supply.” Id. at 61; see also infra, Part VII.A (discussing

  diversity and inclusion issues, including link between global officer shortage and issues of race,

  gender, and ethnicity).

         Throughout ECP Years Two and Three, CAM reports have repeatedly identified crew

  staffing and workload challenges as one of the Company’s top compliance-related concerns.

  See, e.g., CAM March 2020 Quarterly Report at 41, 56 (listing “[s]hips sailing with a full

  complement of qualified technical officers” as a specific compliance goal); CAM December

  2019 Quarterly Report at 10 (noting that the Company’s employees “have repeatedly identified

  struggles with: adequate staffing of ships (including in the engine/technical departments);

  workload . . . diversity and inclusion; workplace harassment and discrimination; and other issues

  noted in reports from the CAM, TPA, Propel, and the Company’s own consultants”); CAM

  Second Annual Report at 95-96 (noting, as potential systemic causes to a prohibited discharge

  incident, the Company’s possible failures to: hire sufficient numbers of engineers; establish

  adequate manning levels for operations in environmentally sensitive areas; or hire sufficiently

  experienced or trained engineers); id. at 97-98 (noting, as factors which may have played a role

  in a recordkeeping falsification incident, workplace issues that the CAM and the TPA had

  identified on ships across all operating groups, including: work-load and time pressure;

  insufficient shoreside support; insufficient manning/staffing; and inadequate training or

  qualifications of junior engineers).




                                           Page 151 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 157 of
                                     264
                                                              July 13, 2020


                        b) Company Studies and Assessments

         The Company’s internal and external studies and assessments have made similar

  findings. For example:

            Holland America Group Human Factors Study: The May 2019 Holland America
             Group Human Factors Study identified workload balance in the engine control room
             as one of the “latent conditions” contributing to compliance issues. See Holland
             America Group Human Factors Study at PCL_ECP00118656. The study found that
             there is a “high workload” in the engine control room with “frequent interruptions”
             and “low staffing, being on or under [the Table of Personnel, a list of positions
             allocated to each ship], [] working overtime.” Id. at PCL_ECP00118650, 85-91.
             Further, “the workload and work situation” in the engine control room is “at times
             unmanageable and measures must be taken to reduce workload” and “improve quality
             for voyage planning tasks.” Id. at PCL_ECP00118685; see also CAM Second
             Annual Report at 49-53 (summarizing the study);

            Holland America Group Workload Study: The November 2019 Holland America
             Group Workload Study for onboard technical/engineering and Environmental
             Officers, commissioned to complement the Human Factors Study, also found that
             engineering and environmental officers face challenges from high administrative
             workloads; under-staffing (including instances of ships sailing without an officer
             position staffed because no one was available and/or substituting certain officer
             positions with lower ranked positions); and competence gaps that relate to some
             officers lacking sufficient relevant experience. See Holland America Group
             Workload Study at PCL_ECP00149402-07; see also CAM March 2020 Quarterly
             Report at 127-34 (summarizing the study); and

            Food Waste Workload Assessment: The April 2020 Food Waste Workload
             Assessment made observations and recommendations regarding food waste staffing
             and workload, including the following three “common areas of particular concern”:
             (1) supervision of food separation and processing; (2) galley steward numbers and
             shift rotations; and (3) resourcing in the recycling center. Food Waste Workload
             Assessment at PCL_ECP00163154; see also supra, Part III.F.5.a (summarizing the
             study).

         The Holland America Group Human Factors Study and Workload Study, which together

  include over 100 combined recommendations for improvement, have been shared across the

  Company’s brands/operating groups. The Chief Maritime Officer identified 21

  recommendations for implementation in whole or part by All Brands Group (e.g., developing

  technology solutions like voyage planning software, see supra, Part III.H.2.a(iv), fleetwide



                                           Page 152 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 158 of
                                     264
                                                              July 13, 2020


  training on specific issues, and streamlining of procedures). See MTO Study – HA Group

  Priority Actions, PCL_ECP00149606-16. Other recommendations were identified for

  implementation by the operating groups. See id.

         In response, Holland America Group developed an action plan that identifies the

  recommendations it has decided to implement, including over 10 actions that are targeted at

  reducing workload and improving staffing levels. See id. Prior to the COVID-19 pandemic,

  Holland America Group was in various stages of implementing its action plan, while Carnival

  UK and Carnival Cruise Line had also begun to assess and prioritize implementation of similar

  recommendations for their ships. See MTO Action Plan (July 25, 2019). To date, the CAM

  Team has not received information on Costa Group’s response plans.

         One recommendation from the Holland America Group Workload Study, which the

  Company has not yet determined whether it will implement, is to perform a workload study of

  shoreside staff (including ship superintendents) “to better understand and remedy the workload

  issues that create conflicts between office and ship.” Holland America Group Workload Study at

  PCL_ECP00149407. While RAAS performed a benchmarking study in August 2018 that

  compared ship superintendent staffing and workloads across the Company’s brands/operating

  groups, it did not issue specific recommendations or required actions, or analyze other shoreside

  staff positions. See Cross-Brand Ship Superintendent (Aug. 29, 2018), PCL_ECP00124546-88.

  Each operating group reviewed the RAAS study and implemented different improvements to

  their ship superintendent programs. The impact of these changes was scheduled to be analyzed

  by RAAS in a follow-up study during 2020. See Employee Interview/Call Notes. However, in

  light of COVID-19 impacts, the timing of this follow-up study is uncertain.




                                          Page 153 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 159 of
                                     264
                                                              July 13, 2020


                         c) Audit, Ship Visit, and Self-Reported Non-Conformity Report Findings

         In 2019, at the request of the Chief Maritime Officer, RAAS auditors began preparing a

  “Manning Shortfall Report,” which collects basic data on the deck and technical

  manning/staffing status of a vessel when it is audited. See Internal Communication. The CAM

  team analyzed approximately 80 of these reports available in Global HESS from ships across the

  Company’s brands/operating groups (in roughly equal proportion to each brand/operating

  group’s percentage of the total fleet). According to the CAM Team’s analysis, 74% (59 reports)

  of these reports identified deck/technical workload issues and/or under-staffing for various time

  periods ranging from a few days to months. When drilling down to the operating group level, at

  least 50% of each operating group’s ships reported staffing shortages.102

         Similar trends can be seen in the CAM Team’s analysis of Fleet Chief Engineer ship visit

  reports performed under the Company’s HMP 1503 procedure, since its implementation

  beginning around December 2018. Of 71 reports produced to the CAM Team, just over 60%

  identified issues with engine room workload, engineer qualifications, or general staffing issues,

  with the single biggest issue (over 40%) being a lack of sufficient experience or training for

  engineers.



  102
     However, only about 3% of RAAS audit findings since April 2017 were attributed to staffing
  issues. This low figure may be explained by the fact that RAAS audits compliance with the
  Company’s procedures in Global HESS. As the CAM has previously observed, the Company
  has not incorporated crew staffing requirements sufficient to support compliance into Global
  HESS. See CAM September 2019 Quarterly Report at n.35 (noting that “if the Company’s
  leadership recognizes that ships need to be adequately manned in order to meet [compliance]
  requirements, the Company could incorporate manning requirements sufficient to support
  compliance into Global HESS. If shoreside operations do not provide a ship with an appropriate
  number of qualified crew members to meet these requirements, that performance gap could be
  reported to senior management through an internal or external audit. If such an audit finding
  were made, corrective action would be required and tracked. The CAM understands that, at
  present, Global HESS does not obligate action in response to manning shortfalls.”).



                                           Page 154 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 160 of
                                     264
                                                              July 13, 2020


         Since January 2019, ships have been required to self-report instances where they are

  unable to meet the requirements of Company Global HESS procedures. See HMP 1106 Self

  Reported Non-Conformities. The CAM Team’s analysis of over 3,300 of these reports, called

  Self-Reported Non-Conformities, indicated that approximately 10% of these reports appeared to

  be tied to staffing-related issues. Of these reports, the single biggest issue (25%) was missing

  required certifications for engineers. Reports from February to May 2020 also include just over

  20 reports identifying impacts to staffing levels or deck/technical operations due COVID-19.

                         d) Investigation Report Findings

         The CAM Team’s analysis of HESS incident investigation reports since April 2017

  (including investigations performed by the Incident Analysis Group, brands/operating groups,

  and RAAS103) indicated that staffing or workload issues contributed to approximately 7% of the

  incidents. See also infra, Part IV.D.4.a(i) (discussing example of investigation into staffing

  shortage concerns on an AIDA ship).

         Notably, one investigation report focused on examining crew staffing level concerns on

  the AIDAluna. The investigation was performed at the request of the Environmental Corporate

  Compliance Manager and the Chief Maritime Officer in response to comments in a May 2019

  Fleet Chief Engineer report that the “Senior Engineer position, as structured, is clearly

  overloaded,” and that the “Technical Department [is] suffering from lack of manpower and

  continues short manning.” FCE Ships Visit Summary, PCL_ECP00117788-99, at

  PCL_ECP00117788. The report further noted that “[a] lot of effort and time is required [for

  compliance with HESS environmental procedures] with depletion of other duties. Surely the



  103
     RAAS performed investigations of HESS incidents before the Incident Analysis Group was
  formed around March 2019.


                                           Page 155 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 161 of
                                     264
                                                              July 13, 2020


  manning structure requires to be reviewed in order to rebalance the extra workload.” Id. at

  PCL_ECP00117791.

           The Incident Analysis Group was assigned to investigate and “report on current manning

  level, manning level as planned, the actual workload onboard, management decisions relevant to

  the [Fleet Chief Engineer’s] observations and to determine any effects the manning level had on

  HESS compliance.” Final Report Manning Level Concern, IAG201917 (Mar. 22, 2020) (“IAG

  Report”), at 2. In addition, a third-party, DNV GL, was asked to “support the investigation by

  evaluating the tasks assigned to the AIDAluna engine team and staff levels currently available on

  board to manage the environmental operations assigned.” Id. The Incident Analysis Group and

  DNV GL conducted a ship visit a few weeks after the Fleet Chief Engineer visit; however, DNV

  GL did not issue its report until August 2019, while the Incident Analysis Group did not issue its

  final report until March 2020, approximately nine months after the initial Fleet Chief Engineer

  visit.

           DNV GL found that the general administrative tasks engineers are required to perform

  had “gradually risen over the years,” making “it very difficult to complete all these requirements

  within regular working hours.” DNV GL, AIDAluna – Accusation of Under-manning Effecting

  ECP Compliance, Memo No. 10166208-1 (Aug. 14, 2019) (“DNV GL Report”), at 5. This

  workload burden was exacerbated by the implementation of additional ECP administrative tasks

  “without additional manning.” Id. DNV GL also noted that its workload assessment was done

  prior to the implementation of the new “yellow manning” requirements, which require additional

  engineers to be in the engine control room during higher-risk activities like waste transfers and

  discharges. Id. at 6. DNV GL noted that “significant operational changes that result in




                                           Page 156 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 162 of
                                     264
                                                              July 13, 2020


  additional workload should be subject to an impact assessment. Ever-increasing additional

  requirements without other changes are unsustainable.” Id. at 9.104

         The Incident Analysis Group report noted a lack of “experienced specialists in certain

  positions.” IAG Report at 2. The report further noted that, although Costa Group’s shoreside

  Marine HR group tracks manning shortage and overtime issues, the AIDAluna’s concerns about

  the impact of shortages and high workloads had not been communicated to shoreside personnel.

  See id. at 3. The report did not address why the ship felt unable or unwilling to raise these

  concerns previously with shoreside management, RAAS, the TPA or the CAM Team.

         For corrective and preventive actions, the Incident Analysis Group noted that, at the time

  of the Fleet Chief Engineer’s May 2019 visit, Costa Group’s shoreside management was already

  in the process of getting approval for increasing engine department staffing for all AIDA ships,

  including adding an engine clerk to assist with administrative duties, and that the AIDAluna

  received its engine clerk in December 2019. Id. at 16. The report also noted that Costa Group

  retained outside consultants from a German institute to develop software to help optimize crew

  staffing levels, based on data collected from crew members on Costa and AIDA ships, including

  the AIDAluna, about the amount time spent on specific work tasks and in rest hours. Id. at 7-8;

  see also supra, Part III.H.b(iii) (discussing the software). In addition, the report assigned some

  preventive actions to All Brands Group that would apply across the Company’s brands/operating


  104
     The CAM has made a similar observation—using the enhanced yellow manning requirements
  as a case-in-point—about the need for a management of change process to assess impacts from
  proposed changes to Company procedures before they are implemented. See CAM March 2020
  Quarterly Report at 134-35; December 2019 Quarterly Report at 84-85. According to the CAM
  Team’s analysis, in the time period since the new yellow manning requirements were
  implemented around May 2019, there have been: 13 related RAAS audit findings; 4 Fleet Chief
  Engineer reports noting challenges with implementing the requirements; and 13 Self-Reported
  Non-Conformity reports from ships related to their inability to meet the requirements.



                                           Page 157 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 163 of
                                     264
                                                              July 13, 2020


  groups, including the implementation of a management of change procedure. See id. at 16-17;

  see supra, Part III.E.2.a (noting that development of the procedure was delayed due to COVID-

  19, with a current target completion date of July 2020).

                          e) COVID-19 Impacts

          The COVID-19 pandemic has had major impacts on crew staffing and workload—many

  of which are developing in real time. As discussed above, the Company’s ships are in the

  process of moving to “minimum operational manning” levels as they enter various stages of

  layup during the extended pause in cruise operations. See supra, Part I.C.4.d.

          The Draft Pause Priorities Plan contains several crew staffing and workload-related

  initiatives. In addition to those noted above, see supra, Part IV.A.1, these include:

             Having each brand “develop and implement a methodology and criteria for bringing
              back the most competent talent before guest operations resume. If shipboard staffing
              size will be reduced, brands will let go or furlough those personnel who are less
              qualified or have under-performed”; and

             Developing “common criteria used in re-hiring (ship and shore-side) that emphasizes
              the priorities within the Corporate Vision statement – including commitment to
              safety, environmental protection; ethics & compliance; diversity and inclusion,” with
              a goal of having an initial set of criteria by September 2020 and a final set by mid-
              2021.

  See Draft Pause Priorities Plan at PCL_ECP00166539, 48.

          As noted below, the CAM recognizes that the significant disruptions to the marine and

  cruise industries from COVID-19 may temporarily ameliorate some of the staffing challenges the

  Company was facing pre-COVID-19 related to the global shortage of qualified ship officers. See

  infra, Part VII.A (discussing impacts on diversity and inclusion efforts). As cruise ships resume

  guest service, it is likely that, at least initially, only a small subset of ships (within Carnival Corp.

  and the cruise industry more broadly) that sailed with passengers before COVID-19 will do so

  again. This may result in a glut of available officers, including engineering officers, to staff



                                             Page 158 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 164 of
                                     264
                                                              July 13, 2020


  those ships in the near term. However, this situation is likely to be temporary. Over time, either

  more and more will ships return to service, approaching or even surpassing pre-COVID-19

  levels, thereby reducing the pool of available qualified officers; or, if ships never return to pre-

  COVID-19 levels of service, the surplus of qualified officers who are unable to find open

  positions on cruise ships will leave the industry to pursue other opportunities. Under either

  scenario, the Company and the cruise industry are likely to continue facing the challenge of a

  long-term shortage of qualified officers.

                 4.      IT Support, Including Voyage Planning

         Inadequate IT support has been a longstanding area of struggle for the Company’s ships.

  As discussed above, the CAM has observed that the Company’s IT resources in support of

  compliance are, among other critiques, generally outdated and uncoordinated across the

  Company’s brands. See supra, Part III.H. The Company has recognized the need for more

  modern and centralized technologies, and is working on various IT initiatives to better support

  the compliance needs of the ships. See id. Overall, however, these efforts have proceeded

  slowly, with frequent delays and limited tangible outcomes. Many of the IT initiatives underway

  are designed to address chronic issues discussed in this and prior CAM reports, including:

            Voyage Planning: In ECP Years Two and Three, the CAM Team identified over 50
             and over 80 incidents, respectively, on Covered Vessels that appeared to be
             attributable at least in part to voyage planning errors, such as miscalculations of
             environmental boundary lines or misunderstandings about applicable environmental
             requirements. See Internal Incident Log; see also CAM First Annual Report at 41,
             54-55 (discussing voyage planning-related incidents on Covered Vessels); CAM
             December 2018 Quarterly Report at 10-11 (same). The Company’s current process
             for communicating information about environmental boundaries and requirements to
             the ships relies primarily on a spreadsheet, called “the Matrix,” that is periodically
             updated by shoreside personnel and uploaded in Global HESS. See supra, Part
             III.H.2.a(iv). Based on information in this spreadsheet and related online links, deck
             officers in charge of voyage planning, in consultation with Environmental Officers,
             are responsible for developing the environmental plan portion of the ship’s overall
             voyage plan, including information about when and where discharges, emissions, and


                                              Page 159 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 165 of
                                     264
                                                              July 13, 2020


             offloads are permitted or restricted. See CAM Second Annual Report at 37-38
             (describing the voyage planning process). This time-consuming and labor-intensive
             approach is rife for potential human error (including, at times, incorrect information
             within the Matrix itself), and is a frequent source of complaints to the CAM Team by
             shipboard personnel across the Company’s brands. See id.; CAM September 2019
             Quarterly Report at 79; Employee Interview/Call Notes.

                 As discussed above, the Company is working with an outside vendor to develop
             software that would integrate and automatically update information about
             environmental boundaries and requirements into the electronic navigational charts
             used by ships, replacing the current analog Matrix approach. See supra, Part
             III.H.2.a(iv). Before COVID-19, this project was subject to delays.105 COVID-19
             has further delayed the timeline, and the current plan is for the Company to receive
             the completed software by July 2020 so that testing can occur through October 2020.
             See supra, Part III.H.2.a(iv). The Company reports that rollout of the software will
             be prioritized for the first ships that are planned to come back into service. Id.;

            Spare Parts: In ECP Years Two and Three, the CAM Team identified over 55 and
             over 100 incidents, respectively, on Covered Vessels that appeared to be attributable
             at least in part to unavailable spare parts for pollution prevention equipment. Of these
             incidents, approximately 40 and 70, respectively, involved pollution prevention
             equipment that was out of service for more than 24 hours. See Internal Data Log; see
             also supra, Part IV.A.2.b. Spare parts issues have also been a frequent source of
             findings from TPA and RAAS audits, as well as the Company’s internal and external
             studies and assessments, including the Holland America Group Human Factors Study,
             Holland America Group Workload Study, and Fleet Engineering Survey. See id.

                  As discussed above, the Company has the spent the last two years planning and
             designing an initiative, called MAST, that would provide a single, cross-brand system
             for managing spare parts (including procurement and logistics) and planned
             maintenance tasks. See supra, Part III.H.2.a(iii). The Company believes that the new
             system will improve its ability to efficiently deliver spare parts to ships, including
             parts for pollution prevention equipment. See id. According to the Company, the
             initial version of the MAST software is approximately 50% complete, but COVID-19
             has delayed the timeline for completion and subsequent testing on ships by about one
             year (until about December 2021). See id. Once the MAST system is in place, the

  105
      In July 2019, the Company reported that full rollout of the software across its fleet was
  expected by mid- to late 2020. See CAM September 2019 Quarterly Report at 84. In November
  2019, the Company reported that it did not expect to receive the completed software until
  February/April 2020, and that the Company would first review the software to determine if it met
  its needs before deciding whether to adopt and deploy the technology. See CAM December
  2019 Quarterly Report at 79-80. In March 2020, the Company reported that the software was
  still under development, “with the vendor contractually obligated to deliver the survey in mid-
  May. Assuming the software meets all requirements at that time, Carnival will pilot the software
  on a ship as early as July.” CAM March 2020 Quarterly Report at 124-25 (citation omitted).


                                          Page 160 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 166 of
                                     264
                                                              July 13, 2020


            next step (estimated for approximately 2025 and beyond) will be to create and stock
            centralized warehouses to physically store and deploy the parts to the Company’s
            ships around the world. See id.; and

           Crew Staffing and Workload: CAM reports have repeatedly identified crew
            staffing and workload challenges as one of the Company’s top compliance concerns,
            due in part to difficulties (not unique to the Company) in attracting and retaining
            sufficient numbers of qualified deck, technical, and environmental officers—
            especially engineering officers. See supra, Part IV.A.3. The Company’s internal and
            external studies and assessments have made similar findings. See id. As detailed
            above, the CAM Team’s review of various audit, ship visit, investigation, and other
            reports indicates that:

               o Approximately 74% of Manning Shortfall Reports from RAAS audits
                 identified deck/technical workload issues and/or under-staffing for various
                 time periods ranging from a few days to months, with at least 50% of each
                 operating group’s ships reporting staffing shortages;

               o Just over 60% of Fleet Chief Engineer reports identified issues with engine
                 room workload, engineer qualifications, or general staffing issues, with the
                 single biggest issue (over 40%) being a lack of sufficient experience or
                 training for engineers;

               o Approximately 10% of Self-Reported Non-Conformity Reports appeared to be
                 tied to staffing-related issues, with the single biggest issue (25%) being
                 missing required certifications for engineers; and

               o Approximately 7% of investigation reports indicated that staffing or workload
                 issues contributed the underlying incidents.

            See id.

                As discussed above, some of the Company’s operating groups are developing
            software, or improvements to existing software, to address issues related to crew
            staffing and workload. See supra, Part III.H.2.b(iii). These include: (1) efforts by
            Costa Group and Carnival UK to develop a new module within an existing crew
            personnel management system, called Mistral, for planning crew schedules and
            staffing using artificial intelligence. Development is approximately 75% complete,
            but is on hold due to COVID-19; and (2) efforts by Costa Group to develop, with an
            outside consultant, a software, called SCEDAS, to help optimize crew staffing levels
            based on obtaining and analyzing data on how long it takes to complete role-specific
            work tasks. This project is also on hold due to COVID-19. See id.




                                         Page 161 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 167 of
                                     264
                                                              July 13, 2020


          Despite the promise of these and other efforts to provide ships with better IT systems and

  tools to support compliance, there have been limited concrete improvements implemented to

  date.

                 5.         Waste Vendor Assessments

          As detailed in the separate CAM Barrier finding below, the TPA and RAAS issued

  multiple audit findings between 2018 and 2020 regarding the Company’s failure to follow its

  internal procedures requiring the assessment of third-party vendors that receive wastes offloaded

  from the Company’s ships. See infra, Part IV.E. These findings revealed that the Company was

  not always evaluating waste vendors before using them, as it had stated in its public

  Sustainability Reports. See infra, Part IV.E.3. Although the Company recently published an

  updated waste vendor assessment procedure, its current program still appears to be inadequate.

  See infra, Part IV.E.5.

          In addition, the Company reported over 90 incidents during ECP Year Three involving its

  waste vendors, including numerous incidents where wastes were inadvertently discharged into

  the sea due to an error or equipment failure attributable to the waste vendor. See infra, Part

  IV.E.4. The Company’s current procedures do not appear to establish a formal, standardized

  mechanism for ships to report issues or concerns about waste vendors, or for shoreside

  management to follow up on such reports. See id.

                 6.         Ongoing CAM Team Examination

          The CAM Team will continue to examine the Company’s efforts to provide basic

  compliance support to the ships. A key area of focus will be the extent to which the Company

  uses the current suspension of cruise operations as an opportunity to address compliance failures

  of the past and provide ships with the staffing and resources they need for compliant operations




                                           Page 162 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 168 of
                                     264
                                                              July 13, 2020


  before returning to service. This will include examining the Company’s implementation of its

  Draft Pause Priorities Plan.

         It will also include examining issues related to the Company’s preservation of support for

  compliance (budgets, staffing, and other resources) as it navigates through the crisis, such as:

            Is there internal tension in the Carnival Corp.’s CEO’s direction to brand leaders to
             “reduce or eliminate non-critical cash expenditures, but of course never cutting
             anything that would impact compliant, environmentally sound and safe operations”?
             See An Important Message from Arnold Donald (Mar. 12, 2020),
             PCL_ECP00165434-35 (emphasis added); see also infra, Part IV.B.3;106

            Is the Company satisfying Special Condition of Supervision No. 5, to “fully fund and
             implement the ECP”? See Dkt. No. 30 at 3; and

            Is the Company satisfying the ECP requirement to “supplement crews as needed . . .
             and/or to provide additional shore-side resources” if “inadequacies in the size and
             capabilities of vessel crews be proven as a contributing factor to their inability to
             meet the objectives of this ECP”? See ECP § I.F.

         In analyzing the criminal conduct that took place on the Caribbean Princess, the

  Company’s Chief Maritime Office determined that the illegal activity was the result of a culture



  106
      Similar messaging has been reiterated in subsequent employee communications from the
  CEO and other members of top leadership. See, e.g., Message from Arnold Donald (Apr. 3,
  2020), PCL_ECP00165441-42 (“As always, our highest responsibility and top priorities are
  compliance, environmental protection and the health, safety and well-being of our guests, the
  people in the locations we touch and you and all the members of our Carnival family.”). In
  addition, on April 11, 2020, the Ethics & Compliance Department “sent a message to Covered
  Personnel as a reminder of the Company’s ongoing commitment to ethics and compliance.”
  April 2020 Probation Supervision Report, Attachment 5, at 1. This message stated that: “All
  [Company] leaders are delivering this key message: these cash preservation efforts are vital, but
  they must be done in a way that does not jeopardize safety, environmental protection and
  compliance. Especially in a time of crisis, it’s important that we do not waver from our core
  fundamentals and our top priorities.” A Message from Your Ethics & Compliance Department
  (Apr. 11, 2020), PCL_ECP00165343. It also emphasized that “anyone directly involved in the
  cash preservation planning, as well as anyone it impacts, has an obligation and a duty to speak up
  if you believe that decisions are being made that threaten or jeopardize our safety, environmental
  and compliance commitments. For example, this might include our decisions relating to
  maintenance, waste management or the purchasing of spare parts for pollution prevention or
  safety equipment.” Id.



                                           Page 163 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 169 of
                                     264
                                                              July 13, 2020


  of “excessive frugality” that “permeated to the lowest levels of our shipboard teams and led to

  their actions.” See Chief Maritime Officer Root Cause Analysis. He cautioned that “[u]nless we

  change this frugality and establish a stronger environmental culture . . . we could begin this cycle

  again at the end of the ECP.” Id.; see also CAM First Annual Report at 36-37.

          As the Company responds to the COVID-19 crisis, it is critical that its messaging and

  actions on compliance do not reinforce, or support a reversion back, to a culture of “excessive

  frugality.” As noted above, former DOJ Deputy Attorney Sally Yates has warned that

  companies face a risk of doing just that: “Whenever we’re in an emergency situation, it’s natural

  for the attention and focus to go to the emergency . . . [T]he real risk is that we let this

  emergency mentality become more long-term . . . It’s not just a budgeting issue, but it’s also a

  messaging and emphasis issue . . . That is where people can start cutting corners because they

  feel like they need to do that to help the bottom line of the organization.” A. Barbarino,

  LAW360.COM, Ex-DOJ Deputy Warns of Virus’ Long-Term Compliance Risks (Apr. 22, 2020).

          B.      Missed Opportunities in Response to Culture Assessment Findings

                  1.      Background

          As described above, the Company’s environmental compliance culture was assessed in

  connection with a large-scale survey of over 70,000 employees. See supra, Part III.D.1. The

  results of that Environmental Compliance Culture Assessment were presented to, and accepted

  by, the Company’s top leadership, and it seemed that there was support for and momentum

  towards undertaking a concerted, corporate-wide effort to address the opportunities for

  improvement identified in the Assessment. See id. While significant time and resources have

  been expended since the findings were first shared with the Company approximately ten months

  ago, the Company still has no final, comprehensive Culture Action Plan, and the Company’s




                                             Page 164 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 170 of
                                     264
                                                              July 13, 2020


  overall response reflects missed opportunities in terms of process and substance. In addition, this

  effort demonstrates the continued relevance of the CAM’s ECP Year One finding that the

  Company’s complex corporate structure—including the lack of centralization and lack of clarity

  as to responsibility, accountability, and authority for environmental compliance—is a barrier to

  compliance.

                 2.     Process Concerns: Delays and the Impact of the Corporate Structure

         A significant issue with respect to the culture change effort has been delay at the All

  Brands Group level. The results of the Environmental Compliance Culture Assessment were

  provided to the Company on August 28, 2019; the Company’s most senior leaders stated to the

  CAM that they accepted the Assessment’s findings in early September 2019; and the Company

  made commitments to the Court that it would address those findings during the October 2, 2019,

  Status Conference. Yet, as of March 2020, when COVID-19 forced the suspension of the

  Company’s cruise operations, the Culture Action Plan was still in draft form. Not even the initial

  step of “establish[ing] a high-level [Culture Action Plan] Steering Committee and attending

  Working Group to oversee, coordinate and hold the brands accountable for implementation of

  this plan” had been accomplished. See Draft Culture Action Plan at PCL_ECP00154953.

         While the Company notes that “the Ethics & Compliance Department developed a plan,

  but the process of finalizing the plan was delayed because the Company’s other leaders had to

  focus on COVID-19 priorities,” see Company Comments on Draft Report, this does not account

  for the fact that the Environmental Compliance Culture Assessment Report was shared with the

  Company in late August 2019, and COVID-19 did not emerge as a challenge for the Company

  until early 2020. As of the date of this Report, despite what the CAM Team understands to be

  weekly meetings joined by ECI and members of the All Brands Group Ethics & Compliance




                                           Page 165 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 171 of
                                     264
                                                              July 13, 2020


  Department, there is still no final Culture Action Plan, there is still no operational Steering

  Committee or Working Group, and the COVID-19 crisis has further stalled implementation.

         Faced with delays in the development of a Culture Action Plan by All Brands Group,

  some, but not all, leaders at the brand/operating group level took action to develop independent

  culture action plans in collaboration with All Brands Group. See supra at Part III.D.3. Several

  of these plans have been updated to address the COVID-19 crisis. For example: the Carnival

  Cruise Line plan addresses “Culture During Crisis,” see Carnival Cruise Line Culture Action

  Plan at PCL_ECP00164131; and the Holland America Group plan includes evaluations of

  “COVID-19 Opportunities” and “Learning from the Ships and Experiences During Covid.” See

  Holland America Group Culture Action Plan at PCL_ECP00166115-19. The fact that Carnival

  Cruise Line, Holland America Group, and Carnival UK were able to develop and begin

  implementing comprehensive culture action plans for their respective organizations, while All

  Brands Group was not, raises questions about the All Brands Group approach to this issue that

  have not been satisfactorily explained.

         In examining this delay with people who have been directly involved from across the

  Company, it has become clear that there have been many meetings and discussions, but a lack of

  focus on generating a clear plan. In the Environmental Compliance Culture Assessment Report,

  Propel advised that: “Cultural change is most effective when it is closely linked with company

  strategy and operational goals, and is anchored with a commitment from Top Management.”

  Environmental Compliance Culture Assessment Report at 44. Propel further advised: “To

  ensure consistency of messaging and implementation, all of the Top Management should agree

  on a coordinated plan to achieve an effective cultural change in the organization.” Id. at 42.

  Based on the CAM Team examination to date, no one at All Brands Group is being held



                                            Page 166 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 172 of
                                     264
                                                              July 13, 2020


  accountable for promptly developing goals and objectives for the Company-wide Culture Action

  Plan, and for routinely evaluating the Company’s progress towards meeting those goals and

  objectives. Indeed, the Draft Culture Action Plan states that “[o]versight coordination and

  accountability will be provided by a central Steering Committee and Working Group,” but since

  neither the Steering Committee nor the Working Group has been activated, it suggests that doing

  so has not been made a priority. See Draft Culture Action Plan at PCL_ECP00154952.

         Consistent with this uncoordinated approach, when discussing the lack of a finalized

  Company-wide Culture Action Plan with those involved at All Brands Group, reference is made

  to the need to respect the autonomy of the brands as the main impediment. See Employee

  Interview/Call Notes. One senior leader acknowledged that delays in addressing the findings of

  the Environmental Compliance Culture Assessment could be attributed to the Company’s

  organizational structure, in which the brands/operating groups have a great deal of independence.

  See id. While centralization is not a panacea, in this instance the Company’s decentralized

  operations have resulted in a delayed, fragmented, and ineffective response to findings of serious

  compliance issues that undercut efforts to develop a sustainable compliance culture. As different

  Culture Action Plans have been developed by some brands/operating groups, others, like Costa

  Group and its component brands, are awaiting the comprehensive Culture Action Plan that has

  yet to be finalized by All Brands Group. This lends support to the CAM’s ECP Year One

  finding that the Company’s decentralized corporate structure was a barrier to compliance—a

  barrier that after more than three years has not been fully addressed.

                 3.      Substance Concerns: Draft Culture Action Plan

         Even if All Brands Group had moved forward with the Draft Culture Action Plan, the

  CAM has several substantive concerns with the plan itself that have been shared with the




                                           Page 167 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 173 of
                                     264
                                                              July 13, 2020


  Company. If there was a single take-away from the Environmental Compliance Culture

  Assessment, it was that the Company’s senior-most leaders need to be at the forefront of

  addressing their failure to foster and develop a sustainable compliance culture. Yet, in its

  language and design, the Draft Culture Action Plan seeks to drive the focus away from the role

  of top leaders both to take responsibility for the Company’s compliance failures and to take

  individual ownership over actions to strengthen the Company’s compliance culture. It does not

  clearly require, as a starting point, that the highest levels of leadership speak to their support of

  compliance and be held accountable to act in concrete ways that support actual compliance

  efforts.

             Instead of such an approach, the proposed Draft Culture Action Plan is written in

  language focused on the perception of tone by employees, and on actions by lower level

  supervisors, with vague language about “accountability” that is not clearly focused on

  management and even has the potential to be perceived as threatening. This last concern is

  problematic in a Company in which a “blame culture” has been identified as a problem by

  multiple entities, including Propel, that have looked into the culture of the Company. See CAM

  September 2019 Quarterly Report at 19-22 (summarizing prior surveys and reports that “have

  also consistently identified concerns regarding a blame culture and lack of trust between

  employees, supervisors and managers”). For instance, the Culture Action Plan identifies the

  following as “critical drivers of culture”:

                “One is the tone that is perceived by employees as coming from ‘the top’ (the Board,
                 CEO, brand presidents, division and ship/shore location leaders);

                A second is the support of that tone (or lack thereof) that is given by each
                 employee’s most immediate authority (generally a supervisor);

                A third is the extent to which employees believe they can or cannot raise concerns
                 without fear of retaliation; and


                                               Page 168 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 174 of
                                     264
                                                              July 13, 2020


            A fourth is the extent to which employees believe there is accountability for
             behaviors that step outside those desired values, attitudes and expectations.”

  Draft Culture Action Plan at PCL_ECP00154952 (emphases in original). To define the drivers

  of corporate culture in terms of how leadership communications are “perceived by employees”

  and “the extent to which employees believe” their company operates justly suggests that the

  culture change effort is geared towards modifying how employees react to messaging, as

  opposed to changing the actual messages and behaviors coming from Company leaders and

  addressing the extent to which the Company actually operates in a just manner.107

         Relatedly, the Culture Action Plan does not address the need for leaders throughout the

  Company to be visible in providing concrete support for compliance in the Company’s day-to-

  day operations. If the Plan has Company leaders reiterate the corporate vision statement that

  “our top priorities are to operate safely, to protect the environment, and to be in compliance

  everywhere we operate in the world,” but those statements are not paired with concrete actions to

  address compliance needs, they may have the perverse of effect of sanctioning language that

  talks the talk of compliance, but does not walk the walk. This is related to the concern that there

  could be internal tension in the Carnival Corp. CEO’s direction to brand leaders to “reduce or

  eliminate non-critical cash expenditures, but of course never cutting anything that would impact

  compliant, environmentally sound and safe operations.” See supra, Part IV.A.6 (citing An

  Important Message from Arnold Donald (Mar. 12, 2020), PCL_ECP00165434-35).




  107
     The Company states that “the Culture Action Plan does prioritize actual leadership
  commitment in addition to lower-level employees’ perception of that commitment. The surveys
  distributed to lower-level employees were designed to measure the latter, but that does not mean
  that the Company was not also working to improve the former.” See Company Comments on
  Draft Report. However, efforts to prioritize actual leadership commitment and communications
  are not reflected in the language of the Draft Culture Action Plan.


                                           Page 169 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 175 of
                                     264
                                                              July 13, 2020


                 4.      COVID-19 Impacts: Culture Section of the Draft Pause Priorities Plan

         A section of the Draft Pause Priorities Plan is devoted to culture, but it is not a substitute

  for developing a comprehensive Culture Action Plan. In the Draft Pause Priorities Plan, there is

  no individual or function identified as responsible for developing goals or objectives, or

  coordinating efforts across the Company. Rather, “[m]ultiple individuals and working groups

  from across the company have agreed to participate in implementing different aspects of the

  Culture Pause Priorities Plan.” Draft Pause Priorities Plan at PCL_ECP00166547. The culture

  portion of the Draft Pause Priorities Plan consists of efforts that have already been undertaken by

  the brands/operating groups, and selected action items from the Draft Culture Action Plan being

  undertaken primarily by All Brands Group in coordination with its consultant ECI.

         The efforts being undertaken primarily by the brands/operating groups are related to

  addressing the well-being of crew currently on ships and planning for resumption of cruise

  operations. The specific topics are:

            Bring-Back Selection Strategy: “Develop common criteria used in re-hiring (ship
             and shore-side) that emphasizes the priorities within the Corporate Vision statement –
             including commitment to safety, environmental protection; ethics & compliance;
             diversity and inclusion; etc;”

            Team Wellness: “Each brand monitors team wellness and develops related materials
             and responses, the materials are shared across the brands, and [All Brands Group]
             monitor and report on these efforts”;

            Welcome Back Awareness Launch: “Design a collective launch that will highlight
             and preview these priorities: Employee Reflections and Leadership Listening . . .
             Values and Vision. . .Organizational Commitment to Ethics & Compliance, and
             Culture Training”; and

            HR Lifecycle Enhancements: “Each brand develops, exchanges, and reviews
             inserts of [ethics and compliance] factors into HR Lifecycle, including:

                 o Applications

                 o Job Descriptions



                                            Page 170 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 176 of
                                     264
                                                              July 13, 2020


                 o Interview Questions

                 o Performance Evaluations

                 o End-of-Contract / Exit Interview Questions”

  Id. at PCL_ECP00166548-50.

          In addition to these brand/operating group-led efforts, the culture portion of the Draft

  Pause Priorities Plan also includes: Board and Leadership Trainings (planned for September and

  December 2020); development of a culture survey “to assess trust, openness, and care”; and an

  Ethics & Compliance Program Self-Assessment for “E&C team and brand leaders.” See id.

  These efforts will be led by All Brands Group and ECI. The latter two items do not have

  deadlines associated with them, and the timing is left to “[All Brands Group] to decide.” In

  response to CAM Team questions, the Company indicated that these efforts would take place

  once Company leaders were no longer singularly focused on responding to the COVID-19 crisis.

                 5.      Ongoing CAM Team Examination

         The CAM Team will continue to monitor the Company’s efforts to address the deficits in

  its compliance culture identified in the Propel Environmental Compliance Culture Assessment,

  including the development and implementation of the culture section of the Draft Pause Priorities

  Plan during the current suspension of cruise operations brought on by COVID-19, and,

  eventually, a comprehensive Culture Action Plan. The CAM notes the relevance of former

  Deputy Attorney General Yates’s admonition, quoted above, see supra, Part IV.A.6, and cited by

  the Court at the April 24, 2020, Status Conference, “on just how important even in emergency

  times, unprecedented emergency times like this, that it’s so important to focus on the values that

  the company has and not just be focused on the bottom line. You need the bottom line to have

  an industry . . . but it can be a temptation to cut corners.” Status Conf. Tr. at 12 (Apr. 24, 2020).

  As noted above, to the extent that the Company’s need to respond to the existential threat to its


                                            Page 171 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 177 of
                                     264
                                                              July 13, 2020


  existence posed by COVID-19 causes it to postpone efforts to address the persistent deficits in its

  corporate compliance culture, there is a risk that doing so could lead to a return to a “culture of

  excess frugality” that the Chief Maritime Officer determined was a root cause of the crimes

  committed on the Caribbean Princess. See supra, Part IV.A.6.

         C.      Unresolved Weaknesses in Corporate Compliance Function

                 1.      Overview

         As discussed above, the Company pleaded guilty in June 2019 to a probation violation

  for “failing to provide sufficient responsibility and authority to the [Environmental Corporate

  Compliance Manager] to implement the ECP,” Dkt. No. 134 at 10, and “acknowledge[d] that it

  failed to establish [an Environmental Corporate Compliance Manager] with authority (including

  resources, budget, and staff) as required to implement the ECP.” Id. at 2; supra, Part III.E.1. In

  ECP Year One, the CAM made a finding that the Company had failed to provide the

  Environmental Corporate Compliance Manager with ECP-required authority, and that the

  Company’s complex corporate structure, including the lack of centralization and lack of clarity

  as to responsibility, accountability, and authority for environmental compliance, was an

  unresolved barrier to environmental compliance. See CAM First Annual Report at 4-5, 25-30.

  The Company did not act to remedy these findings until it faced the revocation of its probation

  near the end of ECP Year Two. See CAM Second Annual Report at 46-49, 91-92.

         Since pleading guilty, the Company has made significant efforts—many required by the

  Probation Revocation Agreement negotiated by the Company and DOJ—toward standing up a

  new, centralized compliance function. These efforts included appointing a Chief Ethics &

  Compliance Officer (a position that did not exist at the Company before), who officially began

  duties in August 2019. The Chief Ethics & Compliance Officer leads the new Ethics &




                                            Page 172 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 178 of
                                     264
                                                              July 13, 2020


  Compliance Department, which is based at All Brands Group, as well as the broader Ethics &

  Compliance Program, which extends throughout the brands/operating groups. See id.

          Building a centralized compliance structure from scratch would be a difficult task for

  almost any corporation. This is especially so for a complex, multi-national corporation like

  Carnival Corp. that has historically operated in a highly decentralized manner, preserving a great

  deal of management autonomy within the individual brands/operating groups. See supra, Part

  I.B.3.a. The COVID-19 pandemic also began to hit approximately 6-9 months after the launch

  of the Ethics & Compliance Department and Program, testing the Company’s new compliance

  function in unprecedented ways.

          The Company’s ongoing compliance challenges, discussed throughout this Report, are

  exacerbated by the fact that it did not attempt a systemic, corporate governance solution to its

  compliance problems sooner. As noted above, the CAM made findings in ECP Year One that

  the Company’s decentralized structure was a barrier to compliance, and that the Environmental

  Corporate Compliance Manager did not have the authority required by the ECP. It is now

  several months into ECP Year Four. The new Ethics & Compliance Department is less than a

  year old and struggling to find its footing—a situation exacerbated by the fact that the Company

  is facing the biggest crisis of its nearly fifty-year history.

          Despite many significant efforts to date, unresolved weaknesses in the corporate

  compliance function persist. The CAM’s findings from ECP Year One largely still stand:

  (1) the compliance function remains decentralized in many ways, a symptom of the Company’s

  generally decentralized operations; and (2) the Company does not yet appear to have provided

  the Environmental Corporate Compliance Manager with the authority required by the ECP. In

  addition, the Company does not yet appear to have provided either the Environmental Corporate



                                              Page 173 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 179 of
                                     264
                                                              July 13, 2020


  Compliance Manager or the Chief Ethics & Compliance Officer (a position not created until ECP

  Year Three) with the authority required by the settlement of the Probation Revocation Petition.

  These issues remain ongoing barriers to compliance.

                 2.     Compliance Function Remains Decentralized in Many Ways

         The Company’s compliance function remains decentralized in many ways. This is most

  notable on the Health/Safety/Security side of HESS compliance. Before COVID-19, the

  Company decided to allocate “much less” financial and personnel resources at the All Brands

  Group level to the Health/Safety/Security function “than those allocated for both the

  Environmental and General Compliance functions.” Ethics & Compliance December 2019

  Financial Plan at PCL_ECP00162714. This was due to the Company’s belief that “the overall

  maturity” of the Health/Safety/Security functions at the brand/operating group levels meant that

  All Brands Group’s “compliance oversight and monitoring role of these functions does not

  appear to require the financial resources of the other functions.” Id. The Company added that

  this “conclusion will of course be evaluated as part of the regular risk assessment program that is

  being developed within the ethics & compliance program.” Id. It remains to be seen if the

  challenges the Company faces from COVID-19 will affect this conclusion.

         Moreover, across all HESS areas, including Environmental, ownership and accountability

  over compliance-related initiatives and reforms tends to reside in the brands/operating groups.

  See Employee Interview/Call Notes. This is consistent with the widely reported tendency of

  brands/operating groups to resist direction or mandates from All Brands Group. See id. In many

  instances, the Company seeks to address a compliance problem by setting up a “working group”

  comprised of individuals from both All Brands Group and the brands/operating groups. The All

  Brands Group members often develop a set of approaches, followed by a protracted negotiation




                                           Page 174 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 180 of
                                     264
                                                              July 13, 2020


  process seeking “buy-in” from each of the brands/operating groups on any proposed solution.

  See id.

            The Draft Pause Priorities Plan is a prime illustration of this approach. For example, it

  lists at least five different groups as being involved in developing the Environmental initiatives:

  (1) the Environmental Corporate Compliance Manager and Operating Line Compliance

  Managers; (2) the brand/operating group Executive Vice Presidents of Marine Operations;

  (3) the Operating Line Ethics & Compliance Officers; (4) the Environmental Working Group;

  and (5) additional subject matter experts. Draft Pause Priorities Plan at PCL_ECP00166535.

  Similarly, at least 14 individuals from across All Brands Group and the brands/operating lines

  are involved in the Investigations initiatives. See id. at PCL_ECP00166544. For the Culture

  initiatives, “[m]ultiple individuals and working groups from across the company have agreed to

  participate in implementing different aspects of the Culture Pause Priorities Plan.” Id. at

  PCL_ECP00166547. Likewise, for the Training initiatives, “[m]ultiple individuals and working

  groups from across the company have agreed to participate in implementing different aspects of

  the Training Pause Priorities Plan.” Id. at PCL_ECP00166551.

            The most common internal complaint about this approach is that it results in delayed,

  uncoordinated, and ineffective solutions to some of the Company’s most serious and long-

  standing compliance challenges, including ineffective internal investigations, see infra, Part

  IV.D, and a corporate culture that does not support compliance. See supra, Part IV.B. On these

  and other compliance issues, there remains a need for coordinated, efficient action that is driven

  from the center, with clear ownership and accountability resting with All Brands Group.




                                             Page 175 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 181 of
                                     264
                                                              July 13, 2020


                 3.      Ongoing Failure to Provide Required Authority to Chief Ethics &
                         Compliance Officer and Environmental Corporate Compliance Manager

         In pleading guilty to the probation violation for failing to provide sufficient authority to

  the Environmental Corporate Compliance Manager, the Company committed to providing both

  the Chief Ethics & Compliance Officer and the Environmental Corporate Compliance Manager

  with “the appropriate budget and staff; a substantive role in financial, strategic, and sustainability

  planning processes; and compliance authority over regulatory obligations and operations across

  and within all brands.” Dkt. No. 134 at 2 (emphasis added).

         It is not clear that these positions have been given the required compliance authority,

  especially over “operations” and “across and within all brands.” As discussed in prior CAM

  reports, the Ethics & Compliance October 2019 Final Charter and Final Strategic Plan include

  language which states, in a conclusory manner, that the Chief Ethics & Compliance Officer and

  the Environmental Corporate Compliance Manager have a “substantive role” in financial and

  strategic planning processes and “authority and [substantial] control” over the operating groups.

  See CAM September 2019 Quarterly Report at 39-41; CAM December 2019 Quarterly Report at

  32-33. Terms like “substantive role” and “substantial control” are not defined. Nor is it clear

  how—or if—these concepts are implemented in practice.

         This issue is tied to CAM finding, discussed above, that the Company’s compliance

  function remains decentralized in many ways. The Company’s general tendency to operate in a

  highly decentralized way bleeds into its Ethics & Compliance function, resulting in a persistent

  reluctance from All Brands Group (bolstered by resistance from the brands/operating groups) to

  push out compliance-related initiatives and reforms in a centralized and coordinated manner,

  with ownership and accountability residing with All Brands Group. See supra, Part IV.C.2.

  Such reluctance indicates that the Chief Ethics & Compliance Officer and the Environmental


                                            Page 176 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 182 of
                                     264
                                                              July 13, 2020


  Corporate Compliance Manager do not, in reality, have compliance authority “across and within

  all brands.” Indeed, in numerous discussions, their authority is generally described as the

  “authority to ask” for support. See Employee Interview/Call Notes.

         In addition to lacking compliance authority “across and within all brands,” these

  positions do not appear to be empowered to exercise compliance authority over “operations.”

  For example, as discussed above, many of the initiatives in the Draft Pause Priorities Plan relate

  to basic support for compliant ship operations, such as completing significant repairs to pollution

  prevention equipment; providing a full set of environmental critical spare parts; repairing and

  replacing regular leaking piping/components; implementing voyage planning software; and

  assessing waste vendors. See supra, Part IV.A.1. However, the draft Plan provides that ships

  may be able to resume cruise operations without some or all of these commitments implemented,

  even those with a “Do Before Ship Resumes Service” timeline. See id. The draft Plan does not

  specify which issues would be acceptable to leave unaddressed, who the ultimate decision-maker

  is, the nature of any explanation to be provided, and the recourse (if any) by Ethics &

  Compliance leadership if the explanation is unacceptable. See id. Therefore, it is unclear

  whether the Chief Ethics & Compliance Officer and the Environmental Corporate Compliance

  Manager are empowered “to ensure that when the ships return to service, they will come back

  stronger and better equipped.” See Dkt. No. 189 at 5 (quoting April 2020 Probation Supervision

  Report, Attachment 5, at 2).

         In essence, the authority granted to Chief Ethics & Compliance Officer and

  Environmental Corporate Compliance Officer positions is the authority to ask, not the authority

  to do. Indeed, the Company describes its system of governance as one in which executives are

  encouraged to engage in “collaboration and coordination.” See Company Comments on Draft



                                           Page 177 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 183 of
                                     264
                                                              July 13, 2020


  Report. Under this system, the authority granted to the Chief Ethics & Compliance Officer and

  Environmental Corporate Compliance Manager is “not unilateral.” See id. Apart from

  “collaborating and trying to resolve issues in the ordinary course of operations, both of these

  individuals, like the other senior executives of the Company, have the ability to escalate issues to

  the CEO, the Leadership Team, and/or the Board of Directors.” See id. The CAM does not

  question that this has been the Company’s approach, and is unable to opine on the effectiveness

  of this approach on other aspects of the Company’s business. However, as detailed in prior

  CAM reports, and as the Company has acknowledged, the Company is not yet where it wants to

  be on compliance, with “much work to do.” See CAM March 2020 Quarterly Report at 53

  (quoting Chief Ethics & Compliance Officer). The governance-by-consensus approach, without

  clearly empowered compliance leadership, appears to be an ongoing barrier to obtaining a

  comprehensive and consistent approach to meeting the compliance needs of the ships.

         Relatedly, there remain unclear relationships and lines of authority between the Ethics &

  Compliance Program and the Chief Maritime Officer organization, which oversees marine

  operations. See CAM September 2019 Quarterly Report at 37 (noting that “the role of the new

  Chief Ethics & Compliance Officer vis a vis the Chief Maritime Officer regarding compliance

  management and oversight was unclear, including respective authorities and responsibilities”).

  The Company does not appear to have gone through a change management108 process to

  understand how the new compliance function would fit into broader corporate operations. In




  108
     “Change management,” as distinct from the “management of change” concept discussed
  elsewhere in this Report and prior CAM reports, refers to changes at an organizational or
  behavioral level, and can be defined as “the practice of applying a structured approach to
  transition an organization from a current state to a future state to achieve expected benefits.” See
  What is Change Management?, https://www.acmpglobal.org/page/change_management.



                                           Page 178 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 184 of
                                     264
                                                              July 13, 2020


  particular, the issue of how to reconcile the Chief Ethics & Compliance Officer’s required

  “compliance authority over regulatory obligations and operations across and within all brands,”

  see Dkt. No. 134 at 2, with the Chief Maritime Officer’s historic authority over “global maritime

  operations, including maritime quality assurance and policy, maritime affairs, shipbuilding, ship

  refits and research and development,” see 2019 10-K at 23-24, is one that the Company does not

  yet appear to have resolved.109 Whether these issues will be considered and addressed with the

  appointment of a Carnival Corp. Chief Operating Officer remains to be seen.

                 4.      Ongoing CAM Team Examination

         The CAM Team will continue to monitor the Company’s efforts to support its corporate

  compliance function, including the extent to which the Chief Ethics & Compliance Officer and

  Environmental Corporate Compliance Manager are empowered with the authority required by

  the ECP and Probation Revocation Agreement. See supra, Part III.E.4.

         The CAM observes that one possible way to address the continuing weaknesses in the

  Company’s corporate compliance function would be to have a single, centralized entity within

  All Brands Group that had both the authority and resources (including budgets and staffing) to:

  develop practices and procedures that it deemed necessary or prudent to compliant ship

  operations; require implementation of those practices and procedures; and monitor and assess

  their effectiveness. It would be staffed with personnel with compliance and operational

  experience, and would represent a single point of control, responsibility, and accountability. Key

  problems such an entity could address include:


  109
     Likewise, it is not yet clear what the relationship and lines of authority will be between the
  Ethics & Compliance Program and the new Chief Operating Officer organization, which will
  oversee “major operational functions, including global maritime, global ports and destinations,
  global sourcing, global IT and global auditing [RAAS].” See supra, Part I.C.4.f (citation
  omitted).


                                           Page 179 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 185 of
                                     264
                                                              July 13, 2020


             Creating a formal process for corporate-wide consideration of learnings from
              incidents, audits, investigations, government findings, and consultants to obtain the
              full benefits of that work;

             Creating a single body responsible for staying abreast of regulatory changes,
              eliminating significant duplication of effort;

             Obviating the need for the cumbersome process of rulemaking by consensus across
              different brands/operating groups, which may result in delayed responses to incidents
              and findings, as well as inconsistent performance;

             Obviating the need for the distinction between “doers” (e.g., operational personnel)
              and “checkers” (e.g., compliance personnel) that creates barriers to effective internal
              communication and coordination; and

             Creating a process, that would include a robust management of change analysis, by
              which shoreside personnel have responsibility and accountability for implementing
              procedures on the ships, rather than simply pushing procedures out to ships without
              accounting for the impact on ongoing operations, resources, existing obligations, and
              officer and crew preparedness.

         D.      Internal Investigations Remain Flawed

                 1.      Overview

         In ECP Year One, the CAM made a finding that the “Company’s internal investigations

  are critically flawed.” See CAM First Annual Report at 5, 33-40.110 The CAM’s observation




  110
     The CAM observed that: (1) investigations repeatedly failed to identify root cause(s), and the
  Company lacked a procedure or standard methodology for performing root cause analysis;
  (2) investigation reports often sought to attribute blame to specific shipboard personnel, rather
  than evaluate the role of broader, systemic issues that may have contributed to the incident;
  (3) the investigation program was still largely decentralized, despite being housed in the RAAS
  function; (4) relevant policies and procedures provided little guidance on how to conduct
  investigations, including with respect to preservation of evidence; (5) there was inconsistent
  information sharing regarding brand/operating line investigation findings between
  brand/operating line investigators and RAAS; (6) there were delays in the conduct of
  investigations led by brands/operating lines; and (7) the Company failed to follow existing
  procedures or guidance as part of its internal investigations, or to provide adequate guidance and
  direction to external investigators in third-party led investigations.



                                            Page 180 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 186 of
                                     264
                                                              July 13, 2020


  was reflected in similar findings by the TPA and DNV GL, the outside consultant the Company

  engaged to assess its investigation procedures during the same timeframe.111

         As the Company moves into ECP Year Four, the investigations function remains flawed.

  Some progress has been made, including efforts to: establish a new, independent investigations

  department at All Brands Group, called the Incident Analysis Group; hire additional

  investigators; revise investigation procedures; develop investigations training; and improve the

  consistency and quality of investigation reports, including systemic (root) cause analyses.112

  However, these improvements have proceeded slowly and with limited tangible results. More

  than a year after the new Incident Analysis Group department was established, there is a

  continued lack of strong, centralized leadership at the All Brands Group level to establish both

  the independence of the investigation function and the method and scope of investigations,

  including processes for identifying systemic (root) causes, implementing corrective and

  preventive actions, and sharing lessons learned. See also supra, Part IV.C (discussing

  unresolved weaknesses in the corporate compliance function, including ongoing decentralization

  of many HESS compliance functions).




  111
     The TPA found in ECP Year One that the Company’s investigations procedures “are
  inconsistent, non-conclusive and ineffective.” TPA First Annual Report at 3, 5, 21-23. At the
  end of ECP Year Two, the TPA found that there is still “no effective procedure in place to
  identify or develop preventive actions or Root Cause and Analysis.” TPA Second Annual
  Report at 22; see also DNV GL, Towards improving Carnival’s incident investigation process,
  Report No. 2018-0209, Rev. Final (May 8, 2018), PCL_ECP00051998-2050 (“DNV GL
  Investigations Assessment”), at PCL_ECP00052035-39.
  112
     As discussed below, COVID-19 has impacted some of these efforts as a result of staff
  reductions and restrictions on in-person visits to ships and shoreside facilities (including the
  CSMART training center). See infra, Part IV.D.6.


                                            Page 181 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 187 of
                                     264
                                                              July 13, 2020


                 2.     Background

         In September 2018, about mid-way through ECP Year Two, the Company committed to

  the Court that it would improve its investigations program through various proposed actions and

  timetables, in accordance with the findings and recommendations from DNV GL, the TPA, and

  the CAM. See Investigations Timeline – U.S. v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D.

  Fla.) (Sept. 21, 2018) (“September 2018 Timeline Submission”). These actions included:

  improved and more consistent root cause analyses; improved and more consistent investigation

  reports; improved investigations training; improved and more consistent methodologies for

  conducting investigations; and improved processes for identifying and sharing lessons learned

  across the fleet and managing risk areas. Id.; see also DNV GL Investigations Assessment at

  PCL_ECP00052035-39. The Company also announced its plan to create a new, independent

  department at All Brands Group that would be responsible for significant HESS investigations.

  See Letter from Environmental Corporate Compliance Manager, Company’s Proposed Change

  to Maritime Investigations & Modification of the ECP (Sept. 5, 2018), at PCL_ECP00067415.

         As described in prior CAM reports, the Company did not meet its initial self-imposed

  deadlines for improving the investigations function described in the September 2018 Timeline

  Submission. The Company did not launch the Incident Analysis Group until March 2019, and, at

  that time, the revised procedures/guidance and trainings to support the new department remained

  pending. To lead the Incident Analysis Group and implement the recommendations from the

  September 2018 Timeline Submission, the Company hired a former official from the United

  States National Transportation Safety Board, who began work in March 2019. Approximately

  five months later, in August 2019, under the leadership of the new Vice President of the Incident

  Analysis Group, these recommended actions were still pending. The Company pushed the target




                                          Page 182 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 188 of
                                     264
                                                              July 13, 2020


  completion dates for the revised investigation procedures, guidance, and training to September

  2019. See Court Appointed Monitor Communication – Twelfth & Thirteenth Requests for

  Documents and Information (Sept. 13, 2019), PCL_ECP00134957-62. The Company also

  missed these revised target dates. As discussed below, however, the Company launched an in-

  person systemic (root) cause analysis training course for Incident Analysis Group investigators,

  developed by an outside consultant, in November 2019, and published revised investigation

  procedures and associated guidance materials in late February 2020 (including a guidance

  manual that has since been withdrawn).113

                 3.     Revised Investigation Procedures

         On February 27, 2020, months after the extended target deadline of September 2019, the

  Company published a set of revised investigation procedures and associated materials, including

  guidance, report templates, and other appendices. As discussed in the most recent CAM

  Quarterly Report, these materials included:

            Incident Analysis Procedure: This procedure outlines processes for investigations,
             including: event severity classification; investigation assignment; near miss events;
             operating group-led incident analyses; Incident Analysis Group-led incident analyses;
             reporting; corrective and preventive measures; and incident analysis tracking
             (“Incident Analysis Procedure”). See HMP 1302 Incident Analysis Procedure
             (“HMP 1302”);

            Incident Analysis Risk Matrix: This risk matrix appendix provides guidance on
             classifying events according to three levels of severity:

                 o Level 1 (ship-led investigation);
                 o Level 2 (brand/operating group-led investigation); or
                 o Level 3 (Incident Analysis Group-led investigation)


  113
     As of the date of this Report, the Company continues to work on finalizing its new procedures
  for investigator accreditation and competency development. These had a target completion date
  of September 16, 2019. See CAM March 2020 Quarterly Report at 88; Court Appointed Monitor
  Communication – Twelfth & Thirteenth Requests for Documents and Information (Sept. 13,
  2019), at PCL_ECP00134961; Employee Interview/Call Notes.


                                          Page 183 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 189 of
                                     264
                                                              July 13, 2020


                (“Incident Analysis Risk Matrix”). See HMP 1302-A Internal HESS Incident
                Analysis Matrix (“HMP 1302-A”);

            Investigation Scoping Template: This template appendix is a form for determining
             the scope of an investigation, with questions ranging from basic factual information,
             such as ship name and time of event, to more substantive information, such as the
             objective of the investigation and similar prior incidents. See HMP 1302-B Scope of
             Investigation Template;

            Near Miss Worksheet: This spreadsheet appendix is a screening tool designed to
             assist in determining whether a near miss event warrants an investigation (“Near Miss
             Worksheet”). See HMP 1302-C High Potential Worksheet (“HMP 1302-C”);

            Preliminary Report Template: This report template appendix provides basic
             formatting and content instructions for preliminary investigation reports
             (“Preliminary Report Template”). See HMP 1302-D Preliminary Report Template;

            Final Report Template: This report template appendix provides basic formatting
             and content instructions for final investigation reports. It is more detailed than the
             Preliminary Report Template and includes a section for preventive actions. See HMP
             1302-E Final Report Template;

            Report Distribution List: This appendix contains distribution lists for the
             individuals within the Company (both at All Brands Group and within the
             brands/operating groups) to whom preliminary and final investigation reports should
             be circulated. See HMP 1302-F Report Distribution List;

            Investigation Manual: This appendix consists of a guidance manual for planning
             and conducting investigations, including evidence gathering, interviews, and report
             writing”) (“Investigation Manual”). See HMP 1302-G Investigation Manual (“HMP
             1302-G”);114 and

            Continuous Improvement from Lessons Learned Procedure: This procedure
             describes processes for incorporating lessons learned from internal and external audit
             findings, HESS events, near misses, and incident analyses into Global HESS
             procedures, as well as processes for communicating lessons learned to management
             and the ships, as part of continuous improvement efforts (“Continuous Improvement
             from Lessons Learned Procedure”). See HMP 1303 HESS Procedure Continuous
             Improvement from Lessons Learned (“HMP 1303”).




  114
     As discussed below, this Investigation Manual was withdrawn in June 2020 for further
  revision.


                                          Page 184 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 190 of
                                     264
                                                              July 13, 2020


         As the CAM has observed, these procedures are more comprehensive than previous

  drafts reviewed by the CAM Team, and seek to provide steps for how to proceed through an

  investigation, as well as processes for continuous improvement. See CAM March 2020

  Quarterly Report at 80-84. However, as discussed below, the Company’s approach to

  investigations, including its procedures, continues to be a work in progress.

         In June 2020, the Company revised the Incident Analysis Procedure to emphasize: the

  independence and authority of the Incident Analysis Group; the importance of identifying

  systemic (root) causes that may go beyond ship operations and relate to shoreside management;

  and the Company’s commitment to applying “just culture” principles and avoiding a blame

  culture approach.115 The following language was added near the beginning of the procedure:

         It is emphasized that the Incident Analysis Group shall be considered independent and
         that the Incident Analysis Group and Company investigators hold sufficient authority
         to follow wherever an incident analysis takes them.

         During an analysis, consideration should be given to make further enquiries beyond the
         shipboard operation. Should evidence indicate corrective or preventive actions belong in
         the company management ashore, then the investigator should follow those indications.
         The root cause analysis should not be assumed to be concluded onboard but that it may
         well continue ashore.

         Incident analyses will be performed adopting the principles of Just Culture. Blame
         will not be apportioned, rather the aim is to ascertain why an incident occurred and how
         to prevent its reoccurrence. However, if the analysis reveals intentional wrongdoing by
         an individual or individuals either onboard or ashore, this shall be recorded as part of the
         analysis report.

  HMP 1302 at § 1 (emphasis added).



  115
     As explained in prior CAM reports, a blame culture is defined as the tendency within an
  organization to look for a person or persons that can be held responsible or blamed for an
  adverse event; as opposed to a just culture, in which an organization, while appropriately holding
  individuals accountable, also holds itself accountable for how systems or approaches it designs
  and implements contribute to unwanted behaviors and adverse events. See CAM First Annual
  Report at n.26.


                                           Page 185 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 191 of
                                     264
                                                              July 13, 2020


            While laudable, whether and how the concepts in this revised language will be carried out

  in practice remains to be seen, as discussed below.

                           a) Investigation Assignments

            The revised Incident Analysis Procedure provides a high-level overview of the process

  for assigning and initiating investigations. See HMP 1302. But many elements of the process

  remain unclear. For instance, under the plain language of the procedure and its appendices, it is

  unclear whether or how ship leadership will be trained to classify incident severity per the

  Incident Analysis Risk Matrix, see HMP 1302-A, or to identify near misses that should be

  investigated per the Company’s Near Miss Worksheet. See HMP 1302-C.116

            Further, once incidents are classified under the Incident Analysis Risk Matrix or Near

  Miss Worksheet, and reported under the Company’s reporting procedures (i.e., COM 1101

  Reporting Of Hess And Operational Events, Near Misses And Ship Inspections, COM 1102

  Marine Casualties, COM 1103 United States Environmental Reporting Requirements, and any

  applicable operating group-specific procedures), it is not clear how, or which, incidents are

  routed to the Incident Analysis Group for investigation. As described in the most recent CAM



  116
     The Near Miss Worksheet does not identify criteria, resources, or other guidance to answer
  the following types of questions that it presents:
           How far the incident was from being a loss (i.e., remote to more than 2 steps)?
           The learning value of the incident (i.e., useful to the entire Company, department, ship, or
            no learning value)?
           Whether the near miss is visible before it leads to an accident (i.e., with great difficulty,
            some insight, obvious, or widely known)?
           The value of the near (i.e., with respect to current, future, or past operations)?
           Was this a repeat or similar event within the same operating company?
           [Potential value of] Property damage/Assets?
           [Effect on] Environmental release/exceeding standards?
           [Impact on] Reputation?
  See HMP 1302-C.


                                              Page 186 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 192 of
                                     264
                                                              July 13, 2020


  Quarterly Report, under the revised Incident Analysis Procedure, Vice Presidents and Corporate

  Compliance Managers remain responsible for monitoring “all hotline and Fleet Operations

  Center reports on a daily basis to maintain awareness of potential incidents that may warrant

  incident analysis by [the Incident Analysis Group].” HMP 1302 at § 3.2. “Pertinent reports” are

  then routed to the Chief Ethics & Compliance Officer, Chief Maritime Officer, and relevant

  Corporate Compliance Managers for “incident analysis decision[s].” Id. It is not clear which

  types of incidents are routed for this shared “incident analysis decision” process, or whether it is

  performed for every Level 3 (Incident Analysis Group-led) incident, the elevation of significant

  Level 2 (brand/operating group-led) and near-miss incidents, or both. See CAM March 2020

  Quarterly Report at 84-85.117

                         b) Investigation Manual

         Initially, an Investigation Manual accompanied the revised Incident Analysis Procedure

  that was published in late February 2020. See HMP 1302-G. The Investigation Manual was

  described as guidance on how to perform an investigation once assigned. See id. A review of

  the Investigation Manual by the CAM Team and TPA indicated that a significant portion of its

  content appeared to be copied (sometimes word-for-word) from external sources, including a

  manual from the Marine Accident Investigators’ International Forum, see MAIIF Investigation

  Manual (2014), as well as copyrighted materials from the TPA’s corporate parent, the American

  Bureau of Shipping.




  117
      In its comments on the draft March 2020 Quarterly Report, the Company recognized that
  “Global HESS procedures can more clearly describe the extent of the [Chief Ethics &
  Compliance Officer’s] authority, and Carnival will update those procedures.” See Company
  Draft Report Comments. As noted above, the Company has since revised HMP 1302, but the
  recent revisions do not materially affect the CAM’s prior analysis.


                                            Page 187 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 193 of
                                     264
                                                              July 13, 2020


         The CAM Team shared these and other concerns about the Investigation Manual with the

  Company. Pulling from multiple different source materials resulted in a Manual that was

  disjointed, often vague, and lacking clear and practical guidance that reflected the Company’s

  unique operations. Further, the source materials primarily relate to safety investigations, and do

  not address the full breadth of investigations that Company investigators will undertake.

         In response to these critiques, in June 2020, the Company withdrew the Investigation

  Manual from Global HESS and has committed to creating a “bespoke” Investigations Manual for

  all levels (Levels 1-3) of investigations and for “all areas: [International Safety Management

  Code], Financial, Legal, HR, etc.” See Draft Pause Priorities Plan at PCL_ECP00166545.118

                        c) Incident Analysis Group Independence and Authority

         As noted above, the Incident Analysis Procedure was revised in June 2020 to include

  statements that “the Incident Analysis Group shall be considered independent,” and that “the

  Incident Analysis Group and Company investigators hold sufficient authority to follow wherever

  an incident analysis takes them.” HMP 1302 at § 1. The recently revised DOJ guidance on

  corporate compliance programs notes the importance of taking steps “to ensure investigations are

  independent, objective, appropriately conducted, and properly documented.” DOJ Corporate

  Compliance Guidance at 7. However, as of the date of this Report, the Incident Analysis

  Group’s ability to operate as an independent function with sufficient authority remains in

  question.




  118
     It is unclear whether the Company intends to create a single unified Investigations Manual or
  several Manuals specific to individual areas. The CAM Team’s concerns about the rescinded
  Manual, however, were not intended to suggest that multiple Manuals are needed, only that the
  guidance should be tailored to performing compliance investigations in the context of the
  Company’s maritime operations.


                                           Page 188 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 194 of
                                     264
                                                              July 13, 2020


         For example, Incident Analysis Group investigation reports are subject to review by

  various members of senior management, as well as subject matter experts, at All Brands Group

  and the brands/operating groups before finalization. See Employee Interview/Call Notes; HMP

  1302 § 3.6.2. There are, however, no formal criteria or guidance for this review. The lack of

  guiding criteria increases the risk that All Brands Group or brand/operating group management

  may seek to refute or revise damaging or unwanted findings and recommendations. Experience

  with the brands pushing back on unwanted investigation and audit findings has been widely

  reported to the CAM Team. See Employee Interview/Call Notes. Such pushback—or the fear of

  encountering such pushback—frustrates investigators and could lead to “negotiated” findings

  that make it less likely that investigators will identify or address potential systemic causes,

  including causes that could hold shoreside management accountable.

         Further, the fact that this review process is deemed necessary appears to reflect concerns

  about the quality of Incident Analysis Group investigations, and whether the department is

  sufficiently resourced with skilled personnel. As DOJ notes, a “hallmark of a compliance

  program that is working effectively is the existence of a well-functioning and appropriately

  funded mechanism for the timely and thorough investigations of any allegations or suspicions of

  misconduct by the company, its employees, or agents.” DOJ Corporate Compliance Guidance at

  16 (emphasis added).

         In addition, the Company announced that it would establish an Advisory Council, made

  up primarily of brand/operating group representatives, to “oversee” the Incident Analysis Group.

  See Draft Pause Priorities Plan at PCL_ECP00166546. The CAM expressed concerns that

  placing oversight of investigations under the control of an Advisory Council would be unlikely

  to produce the independent and effective investigative function the Company asserts that it seeks,



                                            Page 189 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 195 of
                                     264
                                                              July 13, 2020


  along with concerns that there was no guidance or criteria setting forth the Council’s mandate or

  defining the scope of the Council’s oversight. In response to these concerns, the Company has

  stated that the Advisory Council “will be changed to a Working Group in order to clarify that the

  purpose[] of the group is to provide guidance on investigative process, not to oversee the work of

  [the Incident Analysis Group], or to influence any particular investigations.” See Company

  Comments on Draft Report. The Company also states that it will “issue a revised HESS

  procedure that clarifies the independence of [the Incident Analysis Group].” See id. At this

  time, it is not possible to determine if these changes will address the CAM’s concerns.

                        d) Continuous Improvement from Lessons Learned

         The Company’s new Continuous Improvement from Lessons Learned Procedure

  “describe[s] the processes through which [HESS] management system procedures are

  continuously improved by incorporating lessons learned from internal and external audit

  findings, HESS events, near misses and incident analyses, and to describe how lessons learned

  are to be communicated to management and the fleet.” See HMP 1303.119 The procedure

  identifies three components of the “continuous improvement process of HESS management

  system procedures and communication of associated lessons learned”:

            Incident Analysis and Trending: Analyzing “trends from HESS audit findings and
             incidents to identify and incorporate improvements into HESS procedures”;

            Incorporating Preventive Actions into Procedures: Incorporating “preventive
             actions from HESS incident analysis reports into HESS procedures”; and

            Sharing Lessons Learned: Communicating “lessons learned from HESS events
             (incidents and near misses), analysis preventive actions and audit findings to
             management both ashore and onboard, as well as the Board of Directors.”


  119
      The procedure addresses, in part, one of the original May 2018 DNV GL recommendations:
  to implement methods for tracking and trending information across the fleet to identify and
  manage key areas of risk. See DNV GL Investigations Assessment, at PCL_ECP00052035-39.


                                          Page 190 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 196 of
                                     264
                                                              July 13, 2020


  See HMP 1303 at § 3.

         Overall, the procedure reflects an effort to improve information sharing across the

  organization to enable continuous improvement. However, many aspects of its implementation

  remain vague, including details about how incident analysis and trending (including of

  investigation findings) will be performed, and how lessons learned will be shared.

                                    i.   INCIDENT ANALYSIS AND TRENDING

         The procedure states that “[a]nalyzing audit findings and trends, as well as HESS

  incidents, near misses and analysis results is an effective and important means to identify

  opportunities to improve the HESS management system.” Id. at § 3.1. However, details about

  how this analysis and trending will be performed, including the extent to which it will encompass

  investigation findings, is unclear.

         The procedure requires three types of analysis and review, none of which specifies how

  investigation findings will be tracked, analyzed, or trended:

            Audit Findings: RAAS must “conduct an analysis and review of internal and
             external audit findings” on a quarterly basis, and report its findings to the Chief
             Ethics & Compliance Officer, Chief Maritime Officer, operating group Executive
             Vice Presidents, and Operating Company Ethics & Compliance Officers. Id.
             Operating Company Ethics & Compliance Officers must “review all analysis reports
             for their brand/group with a focus on ensuring preventive actions have been
             implemented.” Id. This quarterly RAAS analysis appears to be limited to audit
             findings, and does not appear to include investigation findings. See id.;

            HESS Events: The All Brands Group Maritime Policy & Analysis group must
             “conduct an analysis and review of HESS events” on a quarterly basis, including:
             trends across incident types; identified causation patterns (e.g., equipment failure,
             poor communication, lack of training); and common weaknesses in HESS controls
             (e.g., inadequate maintenance, inadequate procedures, poor risk awareness). Id. The
             CAM Team understands that this analysis is based on HESS events that are reported
             from the ships and stored in the Company’s SeaEvent incident reporting database.
             See Employee Interview/Call Notes; see also supra, Part III.H.2.a(ii) (discussing
             SeaEvent).




                                           Page 191 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 197 of
                                     264
                                                              July 13, 2020


                 As of the date of this Report, however, trending of this data has not yet been
             performed, and the Company continues to refine and tweak the data that SeaEvent
             tracks. See id. In particular, the extent to which SeaEvent allows for the consistent
             tracking and trending of specific investigation data or findings from Level 1 and 2
             investigations remains unclear. See id. Notably, there is currently no centralized
             repository of Level 3 investigation data or findings, and any trending or tracking of
             such information must be performed manually. The CAM Team understands that no
             such analysis has yet been performed. See Employee Interview/Call Notes. See id.;
             and

            Level 1 and 2 Incidents: On a weekly basis, the Health/Safety/Security Corporate
             Compliance Manager, Vice President of the Incident Analysis Group, and Senior
             Director of the Incident Analysis Group must “extract a report from SeaEvent of
             severity level 1 and 2 incidents that were entered into the system during the previous
             week” to “assess the potential need for analysis of incidents.” HMP 1303 at § 3.1.
             However, the procedure does not provide details on how this review is to be
             performed, including criteria for determining when a Level 1 or Level 2 incident
             presents a “potential need for analysis.” See id. As noted above, the extent to which
             data or information on investigation findings would be included in the SeaEvent
             reports that are reviewed is unclear.

                                 ii.   SHARING OF LESSONS LEARNED

         The procedures list a range of “types of communications” that “must be used as

  appropriate to communicate lessons learned from HESS events and associated analyses.” Id.

  at § 3.3. These include:

            Fleetwide Communications of Preliminary Investigation Findings:
             Communications to the ships of preliminary investigation findings when those
             findings “suggest a need to issue an immediate communication to the fleet regarding
             preliminary incident lessons learned and/or the need to take any immediate risk-
             mitigating actions.” Id. at § 3.3.1;

            Safety and Environmental Awareness Bulletins: Quarterly Safety and
             Environmental Awareness Bulletins “distributed to shoreside and shipboard senior
             management” which provide “factual information pertaining to recent marine safety,
             technical safety and environmental incidents and near misses that took place on
             Company ships” to “raise awareness of the general circumstances, contributing
             factors and root causes surrounding these incidents and near misses in order to
             improve operations, reduce risk and prevent future incidents.” Id. at § 3.3.4.
             Shipboard management teams must review the bulletins to “determine if similar
             incidents could occur on board their ships and if so, are to take appropriate preventive
             actions to reduce recurrence, and to document such actions.” Id.; and




                                           Page 192 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 198 of
                                     264
                                                              July 13, 2020


              Case Studies: Short (1-2 page) documents which, as “part of preventive action
               implementation or at the direction of the [Chief Maritime Officer],” will be
               incorporated into the CSMART training curriculum. Id. at § 3.3.5.

         Overall, however, the procedure does not specify clear, routinized processes for

  determining when and how such communications are issued. For example, for fleetwide

  communications of preliminary investigation findings, the procedure identifies at least four

  individuals from All Brands Group and the relevant brand/operating group, in addition to

  relevant subject matter experts, who jointly review preliminary investigation reports and

  determine whether a communication is needed. See id. at § 3.3.1. Then, a subset of those

  individuals determines the “type of communication needed and the appropriate communication

  distribution type.” See id. This appears to be a largely ad hoc process, with no one individual or

  department having clear ownership over the critical task of ensuring the consistent, effective

  sharing of lessons learned.

                  4.     Investigation Reports

             The CAM Team has continued to review investigation reports for HESS incidents

  prepared by the Incident Analysis Group, as well as the brands/operating group and ships. As

  with past reports, the factual and technical assessments in these reports vary in rigor and quality.

  See CAM March 2020 Quarterly Report at 88.

                         a) Systemic (Root) Cause Analysis

         DOJ emphasizes that “a hallmark of a compliance program that is working effectively in

  practice is the extent to which a company is able to conduct a thoughtful root cause analysis of

  misconduct and timely and appropriately remediate to address the root causes.” DOJ Corporate

  Compliance Guidance at 17. Investigations should be “used to identify root causes, system

  vulnerabilities, and accountability lapses, including among supervisory managers and senior




                                            Page 193 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 199 of
                                     264
                                                              July 13, 2020


  executives.” Id. at 16. It is important to evaluate: “How high up in the company do

  investigative findings go?” Id. And: “Were any systemic issues identified?” Id. at 17.

                                   i.   INVESTIGATION REPORTS

         The CAM Team’s review of the Company investigation reports indicates that, in general,

  the reports continue to focus on direct or proximate causes of an incident, without also

  sufficiently identifying or addressing broader, systemic (root) causes.120

         For example, a February 2020 Incident Analysis Group investigation report for an

  incident on a Princess Cruise Lines ship involving the discovery of duplicate, partially completed

  Oil Record Books identified issues of blame culture (fear of making a mistake) and high

  workload (distractions in the engine control room) as contributing to the incident, but failed to:

  assess the impact of these potential systemic issues on the incident; provide corrective or

  preventive actions designed to address these issues; or undertake a further investigation of All

  Brands Group or the brand/operating group to examine these issues. See CAM March 2020

  Quarterly Report at 139-40 (discussing incident); Final Report, Partially Filled Oil Record

  Books, IAG2019058 (Feb. 5, 2020). The investigation report found that the duplicate Oil Record

  Books “were not started to intentionally change entries or to hide illegal transfers/discharges,”

  but were created “due to mistakes that were made in the originals,” and “a perceived pressure not

  to make mistakes.” Id. at 1, 4, 6. The report also noted that “the engineers stated that they were

  distracted by alarms and phone calls which caused the errors,” and that the Chief Engineer

  believed that distractions in the engine control room were leading to mistakes. See id. at 1. The

  report further noted that distractions were a problem in prior similar incidents, but did not make


  120
     Increasingly, however, the reports do include discussions of similar prior incidents, including
  incidents on other Company ships, which may be useful in identifying incidents that have
  potential common systemic cause(s).


                                           Page 194 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 200 of
                                     264
                                                              July 13, 2020


  recommendations or initiate further inquiries related to these observations aimed at discovering

  why these distractions were occurring elsewhere as well. Instead, the report recommended only

  two preventive actions: (1) to revise the relevant Global HESS procedure to include a process

  for closing an Oil Record Book should it need to be closed prior to completion; and (2) to issue a

  case study regarding the incident. See id. at 7.121

                                   ii.   INVESTIGATOR NOTES

         The CAM Team reviewed investigator notes from seven Incident Analysis Group

  investigations finalized during the first half of 2020. These records generally reflect the CAM

  Team’s concerns that the Company’s investigations are not performed in a way that would

  support the identification of systemic (root) causes.

         Based on the CAM Team’s review, the majority of the notes appear to focus on

  interviewees’ recollections of events leading up to, during, and after the incidents. It is unclear

  whether or how the investigators sought to identify or understand potential underlying, systemic

  causes of the incidents.

         A minority of the notes, however, indicate at least some limited follow-up regarding

  broader issues, such as training and fatigue. For example, in an investigation regarding an

  emissions violation, the investigator asked a senior engineer about “any issues that could have

  affected the [junior] engineer: like stress, fatigue, experience?” See PCL_ECP00166460-64.

  However, it appears that even when investigators asked questions about these issues, follow-up

  opportunities may have been missed. In that same investigation, the senior engineer responded


  121
     The report also does not examine other implications of this incident—including the possibility
  that an Oil Record Book not created in accordance with United States law might have been
  presented to United States regulatory authorities. The CAM notes that the Company’s
  underlying criminal convictions in the current case include multiple counts of failure to maintain
  accurate records. See Dkt. No. 30; see also CAM First Annual Report at 8-11.


                                            Page 195 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 201 of
                                     264
                                                              July 13, 2020


  that the junior engineer “is the only female engineer and may feel excluded.” Id. Based on the

  available records, it does not appear that the investigator followed up on this potential issue, and

  the comment was not included in the final report. Id. The root cause in the final report was

  identified as the junior engineer’s “attention slip.” Final Report, [Emission Control Area]

  Violation, IAG2019044 (Apr. 2, 2020), at 1. This appears to be a missed opportunity to probe

  deeper into issues of diversity and inclusion that may be systemic within the Company. See also

  infra, Part VII.A (discussing diversity and inclusion issues).

                         b) Just Culture v. Blame Culture

         The Company’s investigation reports continue to focus on the identification of individual

  errors and direct or proximate cause—a sign of a potential blame culture, as opposed to just

  culture, approach. Under a just culture approach, individual accountability is important

  (especially if there has been intentional wrongdoing), but a focus on individual errors without

  also identifying or addressing potential systemic causes can foster a culture of blame and fear,

  attributes of the Company’s culture found throughout its brands in the Propel Environmental

  Compliance Culture Assessment. See Environmental Compliance Culture Assessment Report at

  3-4; CAM September 2019 Quarterly Report at 19-22. Examples of findings from recent

  investigation reports reflecting a potential blame culture approach include:

            “The investigation concluded that the root cause of the incident was the staff
             captain’s reliance on his experience with and trust in the bosun and deck crew to
             manage potential risks.” Final Report, Paint Raft Tilting, IAG2020010A (Apr. 17,
             2020), at 1;

            “The root cause of the incident is the failure of the engine team to identify the
             planned workload during the pre-cruise technical meeting and the daily meeting.”
             Final Report, Overflow of Permeate While in Port, IAG2020006 (Apr. 2, 2020), at 1;

            “The root cause of the wire damage was due to the recovery team starting to heave
             the tenderboat from the water without checking the davit wire for correct position in




                                            Page 196 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 202 of
                                     264
                                                              July 13, 2020


             the tilting sheave.” Final Report, LSA Failure, IAG2019048 (Mar. 30, 2020), at 2;
             and

            “The root cause of the incident was an attention failure of the 2nd engineer to respond
             to gray water tank 11 port high level alarm.” Final Report, Grey Water Discharge
             Overboard, IAG202019042 (Oct. 29, 2019), at 1.

         Even a casual reader of investigation methodology literature would read these summaries

  and observe that they have not fully explored why the failures occurred, as each of these “root

  cause” findings begs the addition of at least one more “why” question.

         Like the investigation reports, the case studies that are sometimes circulated after an

  investigation is completed also tend to focus on individual errors rather than broader, systemic

  causes. For example, the “Why It Happened” section for the case study related to the “Grey

  Water Discharge Overboard” incident listed above states that the incident was caused by an

  engineer who acknowledged an alarm indicating that the level of grey water in a tank was getting

  too high, but “did not take action or share the information” with the rest of the engineering team

  because he believed the alarm “was inaccurate as he had received false high level alarms from

  another grey water tank in the past.” Non-Compliant Grey Water Spill, Case Study #03-2020 at

  1. As with the investigation report, the case study lists the cause as the engineer’s error (failure

  to act on an alarm) without examining or addressing potential systemic causes, such as high

  workload/distractions, alarm fatigue, and issues of ship system/equipment design resulting in

  multiple prior false alarms.

                 5.      Auditing the Investigation Function

         The Company has not yet implemented a comprehensive process for auditing the

  effectiveness of its investigations function. Currently, this is addressed to a limited extent. For

  instance, during ship and shoreside audits, RAAS reviews the status of action plans for

  completed investigations involving the relevant ship or office/facility, including whether action



                                            Page 197 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 203 of
                                     264
                                                              July 13, 2020


  items have been completed and closed out in a timely manner. See HMP 1301-A1 Shipboard

  HESS Audit Work Steps at 107-08; HMP 1301-A2 Office HESS Audit Work Steps at 24. RAAS

  can also issue repeat findings to target recurrent issues. See id.

         However, RAAS does not currently audit the effectiveness of the Incident Analysis

  Group investigation procedures or processes. The CAM understands that the Company has

  targeted 2021 for RAAS to begin performing audits of the Incident Analysis Group function.

  See Employee Interview/Call Notes.

                 6.         Investigation Training

         As discussed in prior CAM reports, the Company took steps to improve its investigation

  training during ECP Year Three, including for Incident Analysis Group, brand/operating group,

  and ship investigators.

         For Incident Analysis Group investigators and management, the Company held a week-

  long causal analysis training in its Miami, Florida, offices in November 2019. See CAM March

  2020 Quarterly Report at 85-86; CAM December 2019 Quarterly Report at 46-47. The training

  was conducted by MTO Safety, an outside consultant retained by the Company. In February

  2020, the Company held an additional, abbreviated version of the course for management in its

  Miami, Florida, offices, which the CAM Team attended. Overall, the training appeared to

  provide good analytical methods and tools, with a skilled and highly experienced instructor.122

  Before COVID-19, the Company intended to provide this training course at its CSMART



  122
     However, the CAM has continued concerns that attendance at a single training course—even
  a multi-day course—will not make investigators proficient at performing effective causal
  analysis without additional, ongoing coaching and mentoring by experienced professionals with
  expertise in causal analysis. As discussed above, the CAM Team’s ongoing review of Incident
  Analysis Group investigation reports indicates that these reports still repeatedly fail to
  sufficiently identify or address potential systemic causes.


                                             Page 198 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 204 of
                                     264
                                                              July 13, 2020


  facility. However, these plans are on hold in light of the closure of CSMART to all in-person

  training courses, likely until at least April 2021. See infra, Part VII.B.

         For shipboard and shoreside personnel that conduct “less significant” HESS

  investigations, the Company rolled out a computer-based training module on root cause analysis

  in December 2019. See CAM March 2020 Quarterly Report at 87; CAM December 2019

  Quarterly Report at 47; TRG 1101 Root Cause Analysis Training. The short course, which can

  be completed in approximately 30 minutes, focuses on the “5 Why Methodology” for performing

  root cause analysis. Overall, the computer-based training appears to offer a good introduction to

  incident analysis. However, inexperienced investigators would likely need additional training,

  and/or a more complete investigations manual, to be able to conduct a thorough investigation.123

                 7.      COVID-19 Impacts

         As with other areas of the Company’s operations, the COVID-19 pandemic has impacted

  the investigations function. This includes significant personnel impacts: five out of eight

  Incident Analysis Group investigators were either laid off or furloughed as a result of staff

  reductions. In addition, the Vice President of the Incident Analysis Group, who was hired in

  March 2019 to lead the new department, is no longer with the Company. The former Senior

  Director of the Incident Analysis Group has assumed the role of acting Vice President, and it is

  unclear when this critical position will be filled permanently. See Employee Interview/Call

  Notes. As a result, as of the date of the Report, the department lacks defined leadership and a

  cohesive vision for moving forward.



  123
     “Judgment and experience are required to use the 5-Whys tool effective to reach management
  system failures. The level of analysis is up to the group and does not always ensure reaching
  root causes.” Center for Chemical Process Safety, Guidelines for Investigating Process Safety
  Incidents, (3rd ed. 2019) at 30-31.


                                            Page 199 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 205 of
                                     264
                                                              July 13, 2020


         In addition, investigators have had to shift to performing remote investigations due to

  general travel restrictions, as well as Company-specific restrictions on visiting ships and

  shoreside facilities. Like remote audits, remote investigations are not ideal because they do not

  enable the same level of access to physical spaces, equipment, and personnel.

         As noted above, the Company is also currently unable to provide in-person training to its

  investigators due to the closure of the CSMART facility.

         Despite these challenges, the suspension of cruise operations presents a unique

  opportunity for the Company to focus improving its investigations function. The Company’s

  Draft Pause Priorities Plan includes several investigations-related efforts, including: creating

  investigative templates/forms; developing investigator competencies; improving investigator

  training; developing investigative standards; establishing criteria to evaluate investigators and

  implement performance reviews; and improving the technical accuracy of investigation reports.

  See Draft Pause Priorities Plan at PCL_ECP00166545-46. Responsibility for these efforts,

  however, remains unclear given the current state of uncertainty with Incident Analysis Group

  structure and staffing.

                 8.         Ongoing CAM Team Examination

         The CAM Team will continue to examine the Company’s efforts to improve its internal

  investigations function, including its efforts to address findings by DNV GL, the TPA, and the

  CAM.124 Key areas of focus will be: (1) the function and structure of the Incident Analysis

  Group, including its independence, authority, and resources; (2) the revision, implementation,

  and effectiveness of investigation procedures; (3) the process for identifying and classifying



  124
     To date, DNV GL’s recommendations from its May 2018 Investigations Assessment have
  largely not been implemented.


                                           Page 200 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 206 of
                                     264
                                                              July 13, 2020


  matters for investigation, including the individuals responsible for making such determinations

  and the timeframes for making them; (4) training for Incident Analysis Group, brand/operating

  group, and ship investigators; (5) the methodologies for systemic (root) cause analysis used by

  Incident Analysis Group, brand/operating group, and ship investigators; (6) the implementation

  of corrective and preventative actions and how these actions are monitored for effectiveness; and

  (7) the process for disseminating investigation results and lessons learned to corporate

  leadership, including the Boards of Directors, and relevant personnel at All Brands Groups, the

  brands/operating groups, and ships across the fleet.

         E.      Inadequate Waste Vendor Assessment Program

                 1.      Overview

         As noted in prior CAM reports, the Company acknowledged in 2019, following multiple

  RAAS and TPA audit findings, that it was not following its own internal procedures requiring

  the assessment of third-party waste vendors.125 See CAM December 2019 Quarterly Report at 7,

  61-62, 91; CAM March 2020 Quarterly Report at 111, 158. Not only was the Company failing

  to follow its own procedures, but it was also acting contrary to statements in its public

  Sustainability Reports from 2013-2017 assuring the public that “shoreside waste facilities are




  125
     This Report uses the term “waste vendor” to refer generally to entities or facilities that receive
  or handle wastes offloaded from the Company’s ships at the ports it calls upon around the world.
  Waste streams that may be offloaded include: black water/sewage; food waste; garbage/solid
  waste; hazardous waste (including medical waste); grey water; and oily wastes (e.g., sludge,
  bilge water, and other oily waste or residues). Waste vendors may be barges that dock alongside
  the ship, trucks that remain ashore, or other types of reception facilities. Wastes may be
  transferred from the ship to the waste vendor manually (for solid waste streams), via a hose
  connection (for liquid waste streams), or other means depending on the waste stream. The
  Company has a current working list of approximately 600 different waste vendors and visits
  approximately 900 ports around the world. See Employee Interview/Call Notes.


                                            Page 201 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 207 of
                                     264
                                                              July 13, 2020


  evaluated prior to offloading the waste from the ships where they are reused, recycled,

  incinerated, or landfilled.” See infra, Part IV.E.3 (citations omitted).

         On March 25, 2020, the Company published an updated waste vendor assessment

  procedure and associated materials. Although an improvement from the prior process (which, in

  some instances, was no process at all), the Company’s current program still appears to be

  inadequate. The vetting process relies almost exclusively on reviewing vendor self-assessments

  and performing a form of due diligence by searching for media reports. This is the type of

  “check-the-box” approach that DOJ has cautioned can often be inefficient and ineffective. See

  infra, Part IV.E.5.b (citation omitted).

                 2.      Audit Findings

         In ECP Year One, both the TPA and RAAS issued audit findings to Holland America

  Group shoreside offices related to inadequate waste vendor assessments. During a January 2018

  audit, the TPA found that Holland America Group had entered into a contract with a waste

  vendor but could not provide any evidence “that the due diligence audit was conducted before

  entering into the agreement,” as required by then-current Company procedure. TPA Holland

  America Group Audit Report (Jan. 2018), PCL_ECP00046837-83, at PCL_ECP00046867 (Non-

  Conformity-08). Shortly thereafter, during a February 2018 audit, RAAS found that Holland

  America Group had “no waste vendor assessment program in place.” RAAS Holland America

  Group Audit Report (Feb. 2018) (Item 10 – Non-Conformance).

         Over a year later, in a May 2019 audit of the Company’s All Brands Group offices, the

  TPA made a finding that the “Company’s published Sustainability Report states ‘that shore side

  waste facilities are evaluated prior to offloading the waste from the ships,’” but the Company

  provided “no evidence . . . to document [that] these evaluations are conducted.” TPA Carnival




                                             Page 202 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 208 of
                                     264
                                                              July 13, 2020


  Corp. Audit Report (May 2019), PCL_ECP00123097-118, at PCL_ECP00123108 (Non-

  Conformity-02). Months later, in an October 2019 audit of the Carnival Cruise Line offices, the

  TPA made a similar finding that Carnival Cruise Line had no process for “due diligence checks

  of waste vendor operations and associated reception facilities.” TPA Carnival Cruise Line Audit

  Report (Oct. 2019), PCL_ECP00142954-76, at PCL_ECP00142968-69 (Non-Conformity-02).

         Two years after its first audit of Holland America Group offices identifying the waste

  vendor assessment issue, the TPA made yet another finding during a January/February 2020

  audit that Holland America Group had not been managing waste vendors “in alignment with the

  [then-current] procedure” since November 2018. TPA Holland America Group Audit Report

  (Jan. & Feb. 2020), PCL_ECP00164056-82, at PCL_ECP00164072 (Non-Conformity-02).

         Following these findings, the Company has acknowledged to DOJ and the CAM that

  “[t]he TPA and the Company’s internal [RAAS] audit team have identified that not all Operating

  Lines” are following “[c]urrent Company procedures [that] require each Operating Line to

  develop and implement a waste offload vetting program as a Company Policy.” [Draft]

  Carnival Corporation’s Response to Government’s Suggestions Regarding Environmental

  Performance Metrics (Oct. 29, 2019), at 3.

         The RAAS and TPA audit findings are significant for at least two reasons. First, they

  indicate that the Company had not been adhering to its own waste vendor assessment procedures,

  raising significant concerns about gaps in the Company’s compliance management system, as

  well as providing evidence of the lack of coordination across brands/operating groups and

  ongoing systemic issues with the Company’s waste vendor assessment programs. Second, they

  reveal that the Company had been presenting an inaccurate picture of its waste vendor vetting

  and oversight practices to the public through its annual sustainability reports, despite having



                                           Page 203 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 209 of
                                     264
                                                              July 13, 2020


  received multiple internal and external audit findings that these practices were not being

  performed as required.126

                 3.      Company Sustainability Report Statements

         The Company’s Sustainability Reports for Fiscal Years 2013 through 2017 state that

  “shoreside waste facilities are evaluated prior to offloading the waste from the ships where they

  are reused, recycled, incinerated, or landfilled.” See Sustainability from Ship to Shore: FY2017

  Sustainability Report, at 76; Sustainability from Ship to Shore: FY2016 Sustainability Report, at

  57; Sustainability from Ship to Shore: FY2015 Sustainability Report, at 44; Sustainability from

  Ship to Shore: FY2014 Sustainability Report, at 46; see also Sustainability Report: FY2013

  Sustainability Report, at 52.127

         Notably, however, the Company’s most recent report for 2018, released in June 2019,

  uses different language. It states that the Company aims to “[f]urther develop and implement

  [waste] vendor assurance procedures,” but stops short of saying that waste vendors “are

  evaluated prior to offloading the waste from the ships,” as had been stated in prior years. See

  Sustainability from Ship to Shore: FY2018 Sustainability Report, at 12 (emphasis added).

                 4.      Incident Reports

         During ECP Year Three, the Company has reported over 90 incidents involving its waste

  vendors. These include numerous incidents where black water/sewage, grey water, oily



  126
     While relevant law does not appear to impose a legal obligation on the Company to perform
  waste vendor due diligence, the Company has incorporated waste vendor assessment
  requirements into its Environmental Management System procedures in Global HESS, and
  compliance with those procedures is audited by international certification bodies. Further,
  making inaccurate statements in its sustainability reports may have implications for the
  Company’s Environmental, Social and Governance, or ESG, ratings.
  127
     The Fiscal Year 2013 report contains a truncated version of the quoted language, stating that
  “shoreside waste facilities are evaluated prior to offloading the waste from the ships.” Id.


                                            Page 204 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 210 of
                                     264
                                                              July 13, 2020


  wastes/sludge, or other waste streams have been inadvertently discharged into the sea during

  waste offload operations due to an error or equipment failure attributable to the waste vendor

  (such as a leaking hose, a failure to timely notice and respond to an overflowing reception

  tank/receptacle, or carelessness in handling solid waste items). See Internal Incident Log.

         The number of reported incidents, however, likely paints an incomplete picture. The

  Company’s internal reporting procedure only requires reporting of: (1) ECP violations; (2) non-

  compliant environmental discharges; (3) environmental violations; (4) pollution prevention

  equipment issues; and (5) environmental near-misses. See COM 1101-A2 Daily Environmental

  Events Summary. The International Maritime Organization has issued guidance stating that ships

  should report any inadequacies with waste vendors “to the Administration of the flag State and,

  if possible, to the competent Authorities in the port State.” Revised Consolidated Format for

  Reporting Alleged Inadequacy of Port Reception Facilities, MEPC.1/Circ.469/Rev.2. However,

  the Company’s internal reporting procedure, COM 1101, does not require internal reporting of

  inadequacies with waste vendor facilities unless there is an incident that falls under one of the

  five categories listed above. As a result, ships could be observing problems with waste vendors

  but not reporting them through a formal channel.128 Based on the CAM Team’s review, there

  does not appear to be any other procedure that establishes a formal mechanism for such

  reporting. In practice, the CAM Team understands that some shipboard personnel may send an

  informal email to shoreside to report inadequacies with a waste vendor (and, at times, have

  refused to use a vendor because of concerns about how the vendor would handle the ship’s



  128
     The CAM Team’s search of the International Maritime Organization’s Port Reception
  Facilities database reveals no inadequate port reception facility reports filed by Carnival Corp.
  entities with the International Maritime Organization. See IMO GSIS: Port Reception Facilities,
  Reported Cases of Alleged Inadequacy.


                                           Page 205 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 211 of
                                     264
                                                              July 13, 2020


  waste), but there appears to be no standardized process for such reporting or for following up on

  such reports. See Employee Interview/Call Notes.

                 5.     Revised Waste Vendor Assessment Procedure

                        a) Overview

         On March 25, 2020, following a review of its pre-existing waste vendor assessment

  procedure and associated processes (or lack thereof) with support from subject matter experts

  from across the brands, the Company published an updated waste vendor assessment procedure

  and attachments. The revised suite of procedures includes:

            Revised Waste Vendor Assessment Procedure: The main procedure for
             performing waste vendor assessments (“Revised Waste Vendor Assessment
             Procedure”), which requires ships, “starting 01 July 2020,” to “offload only to waste
             vendors . . . whose waste management practices for that waste stream have been
             identified as ‘preferred’ or ‘acceptable.’” See ENV 1004 Environmental
             Management of Waste Vendors (“ENV 1004”). As described below, the “preferred”
             and “acceptable” categories apply to vendors whose risk profiles indicate minimal
             risk for the environment. See id.;

            Approved Waste Vendor List: The list of approved “preferred” and “acceptable”
             vendors, as described by ENV 1004 (“Approved Waste Vendor List”). The Company
             has not yet published its Approved Waste Vendor List. See ENV 1004 A1 List of
             Vendors (“ENV 1004 A1”);

            Waste Vendor Self-Assessment Form: A questionnaire submitted to potential
             waste vendors to aid in the assessment of each vendor’s risk profile (“Waste Vendor
             Self-Assessment Form”). See ENV 1004-A2 Duty of Care – Self Assessment Form;
             and

            Decision Tree Guidance: Guidance for the review of a waste vendor’s risk profile
             (“Decision Tree Guidance”). See ENV 1004 A3 Waste Service Compliance Decision
             Tree (“ENV 1004 A3”).

         The Revised Waste Vendor Assessment Procedure requires the Company to assess all

  waste vendors by June 30, 2020, and categorize each vendor into one of the following risk

  profile categories:

            Preferred, meaning that “[v]endor waste handling practices for the applicable waste
             stream are environmentally sustainable and pose minimal risk for the environment.”


                                          Page 206 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 212 of
                                     264
                                                              July 13, 2020


             See ENV 1004 . Offloads to preferred vendors “are encouraged as vendor’s waste
             management practices have been identified by Carnival as the best environmental
             option.” Id.;

            Acceptable, meaning that “[v]endor waste handling practices for the applicable waste
             stream pose a minimal risk for the environment.” Offloads to “acceptable” waste
             vendors are “allowed.” Id.;

            Contingent, meaning that “[v]endor waste handling practices for the applicable waste
             stream poses a higher risk for the environment.” Id. Offloads to contingent waste
             vendors “can occur with agreement from the operating company Shoreside
             management on a case by case basis” with prior approval. Id.; or

            Unapproved, meaning that “[v]endor waste handling practices are unacceptable from
             a risk standpoint and the environment.” Id. Offloads to unapproved vendors are
             prohibited. Id.

         The Company has developed a multi-part process for performing the waste vendor

  assessments. This process includes: (1) review of vendor responses to the Waste Vendor Self-

  Assessment Form; (2) due diligence searches for negative media reports pertaining to the vendor;

  and (3) in limited circumstances, in-person site visits to the vendor. Relevant factors for

  consideration during the review of a vendor’s risk profile include: past violations; insurance and

  licensing; facility accessibility and visitation permissibility; waste removal methodologies; and

  third-party audits. See ENV 1004 A3.

         For the first step in the process, the individual brands perform an initial review of the

  completed Waste Vendor Self-Assessment Forms. This initial review is done in accordance with

  the Decision Tree Guidance, and may include additional steps, such as identifying areas that

  require further review or additional information from the vendor.129 See ENV 1004 A3.



  129
     The CAM Team understands that the Company is in the process of screening approximately
  600 waste vendors. The Company developed this initial list by requesting vendor candidates
  from port agents. The list includes vendors new to the Company, as well as those the Company
  has used in the past. See Employee Interview/Call Notes.



                                           Page 207 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 213 of
                                     264
                                                              July 13, 2020


  Separately, but contemporaneously, the All Brands Group Environmental Corporate Compliance

  and All Brands Group Anti-Bribery and Corruption groups130 conduct due diligence media

  reviews of these vendors to identify and evaluate risk factors from external sources.131

            In general, if the initial brand-level review designates the vendor as “preferred” or

  “acceptable” (i.e., minimal risk for the environment) and the All Brands Group media review

  does not identify any external risks, then the vendor is added to the Approved Waste Vendor

  List. See ENV 1004 A1. If, on the other hand, the initial brand-level review designates the

  vendor as anything other than “preferred” or “acceptable,” or the All Brands Group media

  review identifies external risks, then the brand submits the vendor and relevant information to a

  Waste Vendor Committee for further consideration. The Waste Vendor Committee is composed

  of at least one subject matter expert representative from each brand, along with representatives

  from the Ethics & Compliance Department and the All Brands Group Maritime Policy &

  Analysis group. The Committee reviews the relevant vendor information and determines if the

  identified risks are acceptable. See Employee Interview/Call Notes. Under the revised

  procedure, vendors must be re-assessed every three years, or sooner if new information emerges

  through continuous media review. See Employee Interview/Call Notes.

            Notably, the only time an in-person site visit is required under the new procedure is if the

  vendor: (1) has prior violations; (2) has an unacceptable risk profile as determined by the Waste

  Vendor Committee; and (3) the Company is otherwise required to use the vendor. See ENV

  1004 A3. The procedure, however, generally contemplates that site visits may be used as a form




  130
    The CAM Team understands that the Company started assessing shoreside waste vendors for
  Anti-Bribery and Corruption purposes in May 2020. See Employee Interview/Call Notes.
  131
        The Company uses Navix and LexisNexis for this negative media screening.


                                              Page 208 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 214 of
                                     264
                                                              July 13, 2020


  of due diligence to develop a vendor’s risk profile, but does not provide instruction as to when

  such visits are advisable or preferable. In addition, the procedure is silent on the handling of

  shipboard or shoreside concerns, complaints, or observations about shoreside waste vendor

  operations or compliance performance.

                          b) CAM Team Assessment

          The Company has admitted that it was not performing the comprehensive waste vendor

  vetting that it claimed in its public sustainability reports. That is a critical first step in addressing

  this issue. Having developed and begun to implement its new procedures and processes is an

  improvement from the previous practices. However, the Company’s current waste vendor

  assessment program still appears to be inadequate when reviewed under relevant standards.

          For example, Foreign Corrupt Practices Act (“FCPA”) guidance published by the DOJ

  and the World Economic Forum provides a helpful benchmark for what a company’s waste

  vendor assessment program should address. See DOJ, A Resource Guide to the U.S. Foreign

  Corrupt Practices Act, Second Edition (2020) (“DOJ Guide”); World Economic Forum, Good

  Practice Guidelines on Conducting Third-Party Due Diligence (2013) (“WEF Guidelines”). The

  DOJ Guide and the WEF Guidelines provide similar frameworks for companies to follow when

  designing and implementing their own risk-based third-party diligence processes. Generally, the

  guidelines suggest that companies implement processes to ensure that they: (1) understand the

  qualifications and associations of their third parties; (2) confirm that their third parties are

  performing the work for which they are being paid; (3) undertake ongoing monitoring of their

  third-party relationships; and (4) inform their third parties of their compliance programs and

  commitment to ethical and lawful business practices. See DOJ Guide at 62; WEF Guidelines at

  7-15.




                                             Page 209 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 215 of
                                     264
                                                              July 13, 2020


            Confirming that the Company’s waste vendors are performing their duties properly and in

  compliance with Company policies and procedures requires more than reviewing self-

  assessments and searching for media reports.132 Site visits may not be practical or necessary in

  all instances, but, as the DOJ Guide indicates, companies should avoid “[c]ompliance programs

  that employ a ‘check-the-box’ approach” because they “may be inefficient and, more

  importantly, ineffective.” DOJ Guide at 58.

                    6.     COVID-19 Impacts

            The CAM Team understands that, as a result of COVID-19, the Company has adjusted its

  timeline to complete the assessment and approval of waste vendors, required by July 1, 2020,

  under the revised procedure. See Employee Interview/Call Notes. The Company’s current plan

  is to provide a list of those vendors that have been assessed and approved to date, with a focus on

  vendors that currently service ships in layup. Id. The Company published its initial list on July

  2, 2020. See ENV1004-A1.133 Going forward, the Company will “try” to “[a]ssess each waste

  vendor in accordance with the new procedure, with priorities on early itinerary locations” and

  “[w]here required, and if feasible, conduct site visits” for higher risk vendors before the ships

  resume service. Draft Pause Priorities Plan at PCL_ECP00166542.

            In addition, the Company has stated that it is experiencing delays in receiving responses

  to the Waste Vendor Self-Assessment Forms, and that some waste vendors may no longer be in

  operation. See Employee Interview/Call Notes. If ships return to service and vendors for a



  132
     Southwest Airlines, for example, states in its 2019 One Report that they “audit[] our
  environmental vendors to verify their operations are compliant and they demonstrate
  commitment to environmental stewardship.” Southwest Airlines, 2019 One Report,
  http://investors.southwest.com/financials/company-reports/one-reports, at 93.
  133
        The initial list includes 36 approved vendors in 36 ports.



                                              Page 210 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 216 of
                                     264
                                                              July 13, 2020


  particular port are not currently on the Approved Waste Vendor List, the vessel is expected to

  complete and submit a Self-Reported Non-Conformity report, see supra, Part IV.A.3.c, prior to

  offloading waste. See Employee Interview/Call Notes.134

                 7.     Ongoing CAM Team Examination

         The CAM Team will continue to examine the Company’s development and

  implementation of its revised waste vendor assessment program, including its process for

  selecting, assessing, and approving waste vendors. This will include examining the extent to

  which the Company takes advantage of the current suspension of cruise operations to thoroughly

  assess waste vendors currently in use or likely to be used in early itineraries when ships resume

  sailing. As DOJ noted at the April 24, 2020, Court Status Conference: “We would certainly

  hope that when the company does begin cruising again, that there has been meaningful vetting,

  that the company know where the waste that it discharges ashore is going, and that it’s being

  treated properly and not just going back into the ocean.” Status Conf. Tr. at 11 (Apr. 24, 2020).

         F.      Ongoing ECP and Environmental Law Violations

                 1.     Overview

         As in prior years, violations of the ECP and environmental laws persisted during ECP

  Year Three. The Company has stated that the “fact that violations have occurred does not

  convey what the Company has learned from the violations to reduce their frequency since an

  expectation of no violations would be unreasonable.” See Company Comments on Draft Report.

  The CAM agrees that it would be unreasonable to expect no violations in the course of normal


  134
     The CAM recognizes that these reports will provide the Company with a method to track the
  use of waste vendors that have not yet been added to the Approved Waste Vendor List. The
  CAM notes, however, that given the limited scope of the current Approved Waste Vendor List,
  the administrative burden of shipboard employees will likely increase if ships increasingly travel
  to ports that do not include approved waste vendors.


                                           Page 211 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 217 of
                                     264
                                                              July 13, 2020


  operations. However, these incidents remain concerning, not only because of their impacts or

  potential impacts on the environment, but because they continue to reflect broader, systemic

  corporate leadership and culture issues that serve as barriers to compliance. See CAM Second

  Annual Report at 94; CAM March 2020 Quarterly Report at 137. As the Company has

  acknowledged, “[p]rogress has been made although the Company has [] much more work still to

  do.” See Company Comments on Draft Report.

         The Company’s violations on Covered Vessels reported during ECP Year Three (April

  19, 2019 – April 18, 2020) included incidents related to:135

            Air emissions, including leaks of ozone-depleting substances from refrigerant gas
             systems; and emission violations associated with the use of, or failure to use,
             Advanced Air Quality Systems (discussed further below);

            Discharges to the sea of various liquid and solid wastes, including: Advanced Air
             Quality System washwater (discussed further below), ballast water,



                 [Text continues on following page.]




  135
     Although this Report, like prior CAM reports, identifies the ships involved in certain
  incidents, the Company’s compliance challenges are not limited to incidents occurring on the
  named ships. Such incidents reflect the broader, systemic issues regarding the need to
  adequately support the ships and take appropriate action on compliance.




                                           Page 212 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 218 of
                                     264
                                                              July 13, 2020


             blackwater/sewage,136 chemicals, 137 food waste,138 grey water, oil and oily wastes,139
             permeate (e.g., treated sewage/grey water),140 recreational (e.g., pool/Jacuzzi) water,
             solid items/garbage (including plastics), and treated bilge water;141



  136
     During the final quarter of ECP Year Three, this includes the discovery in February 2020 of:
  (1) four separate discharges of sewage and grey water totaling approximately 40 cubic meters in
  Mexican waters between December 2017 and October 2019 by the Carnival Fantasy due to a
  miscalculation of the relevant environmental boundary line, in violation of Company policy.
  Carnival Corp. HESS Weekly Flash Report (Feb. 19, 2020), PCL_ECP00156030-49 (“Feb. 19,
  2020 Flash Report”); Carnival Corp. Special Condition 13(a) Report (Feb. 11, 2020),
  PCL_ECP00155215; and (2) an unspecified quantity of apparent discharges of untreated sewage
  and grey water in the Pacifico Mexicano Profundo “core” special area on approximately four
  prior voyages by the Emerald Princess due to an apparent miscalculation of the relevant
  environmental boundary line, currently under investigation to determine if there was a violation
  of anything other than Company policy. Carnival Corp. Special Condition 13(a) Report (Mar. 2,
  2020), PCL_ECP00157397; Carnival Corp. HESS Weekly Flash Report (Mar. 25, 2020),
  PCL_ECP00161737-48 (“Mar. 25, 2020 Flash Report”). The Company reports that “it appears
  other ships have also conducted improper discharges in the Pacifico Mexican Profundo.” Mar.
  25, 2020 Flash Report at PCL_ECP00161738.
  137
     During the final quarter of ECP Year Three, this includes the discovery in February 2020 of
  the apparent discharge of an unspecified quantity of spent Barbicide disinfectant used in the Spa
  Department by the Carnival Horizon after a Spa crew member reported that the chemical was
  “being drained into the sink drains” (which drain to grey water tanks that discharge overboard),
  rather than collected in drums and offloaded ashore. Carnival Corp. Special Condition 13(a)
  Report (Feb. 18, 2020), PCL_ECP00155557; Feb. 19, 2020 Flash Report. It was determined that
  “the proper workplace environmental training was not provided to the crewmember,” who was
  on their first contract. Id.
  138
     During the final quarter of ECP Year Three, this includes the discharge of approximately
  three cubic meters of comminuted food waste in Barbados waters by the AIDAluna on March 20,
  2020, in violation of MARPOL Annex V due to a failure to realize that the ship was in a
  MARPOL Annex V special area. Carnival Corp. HESS Weekly Flash Report (Apr. 8, 2020),
  PCL_ECP00162764-73; Carnival Corp. Special Condition 13(a) Report (Mar. 30, 2020),
  PCL_ECP00162136.
  139
      During the final quarter of ECP Year Three, this includes the discharge of approximately 13
  liters of biodegradable hydraulic oil in Antarctic waters by the Seabourn Quest on December 27,
  2019, in violation of MARPOL Annex I due to a seal failure attributed to low sea water
  temperatures. Feb. 19, 2020 Flash Report; Carnival Corp. Special Condition 13(a) Report (Dec.
  30, 2019), PCL_ECP00145409.
  140
     During the final quarter of ECP Year Three, this includes the discharge of approximately 37
  cubic meters of treated sewage (permeate) in Belizean waters by the AIDAdiva on February 13,
  2020, in violation of Belizean national requirements due to an internal tank overflow. Carnival
  Corp. HESS Weekly Flash Report (Feb. 26, 2020), PCL_ECP00157363-79 (“Feb. 26, 2020



                                          Page 213 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 219 of
                                     264
                                                              July 13, 2020


            Pollution prevention equipment maintenance and operation, including incidents
             where equipment related to Advanced Air Quality Systems, ballast water treatment
             systems, food waste management systems, garbage management systems (including
             incinerators, crushers, and compactors), Oily Water Separator/White Box systems,
             and sewage treatment systems have been out of service for more than 24 hours,142
             and many more incidents where equipment has been out of service for less than 24
             hours. These incidents represent a significant workload concern even when they do
             not rise to the level of a regulatory or ECP violation; and

            Recordkeeping, including several incidents of apparent intentional falsifications of
             ship record books in violation of legal and/or Company requirements, as well as
             numerous incidents of apparent inadvertent errors in ship record books. These
             include:

                o Multiple findings of apparent falsifications of Planned Maintenance System
                  records on different Company ships, where crew members have indicated that
                  work orders for planned maintenance tasks (such as inspections, cleanings,
                  and alarm tests) have been completed when the work has not actually been
                  done. See CAM March 2020 Quarterly Report at 144-45; CAM September
                  2019 Quarterly Report at 90;

                o The discovery of “three kinds of irregularities in the training records” on the
                  Carnival Inspiration: (1) inaccurate entries in the ship’s computerized
                  database that tracks the completion of training; (2) forged signatures on
                  training attendance sheets; and (3) incorrect dating of training attendance
                  sheets. See id. at 90-92 (citations omitted). An independent outside
                  investigation determined that the Environmental Officer responsible for the
                  “irregularities” appeared “not to have appreciated how important it is that
                  training sessions be given, that records be accurately kept, and that signatures
                  be authentic.” Id. at 92 (citation omitted);

                o The discovery of two partially completed Oil Record Books in the drawer of
                  an Environmental Officer’s cabin on the Sea Princess, which the Incident


  Flash Report”); Carnival Corp. Special Condition 13(a) Report (Feb. 17, 2020),
  PCL_ECP00155545.
  141
     During the final quarter of ECP Year Three, this includes the discharge of approximately 23.5
  cubic meters of treated bilge water “within the buffer zone of the Pacifico Mexicano Profundo
  Biosphere Reserve” by the P&O Cruises UK Arcadia on January 22, 2020, in violation of
  Company Policy. Feb. 26, 2020 Flash Report; Carnival Corp. Special Condition 13(a) Report
  (Jan. 24, 2020), PCL_ECP00148393.
  142
     As noted above, the CAM Team identified over 200 incidents during ECP Year Three
  involving pollution prevention equipment that was out of service for more than 24 hours,
  including approximately 100 incidents related to oily bilge water management equipment. See
  supra, Part I.A and Part IV.A.2.b.


                                          Page 214 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 220 of
                                     264
                                                              July 13, 2020


                      Analysis Group determined were started and later replaced with duplicate Oil
                      Record Books due to mistakes in the originals and “a perceived pressure not
                      to make mistakes.” See CAM March 2020 Quarterly Report at 139-40
                      (citation omitted). These “actions breached maritime and Company policy.”
                      Id. at 140 (citation omitted); see also supra, Part IV.D.4.a(i) (discussing
                      incident and investigation findings);

                   o The discovery of modified Daily Sounding Logs entries with “randomly
                     adjusted quantities” on the Carnival Pride, in violation of Company policy,
                     which the Incident Analysis Group determined was due to an engineer feeling
                     “prompted” by a more senior engineer to modify the records to correct
                     perceived errors and “to avoid any potential audit findings.” See CAM March
                     2020 Quarterly Report at 140-41 (citation omitted); CAM December 2019
                     Quarterly Report at n.62 (citation omitted); and

                   o The insertion of incorrect training dates (embarkation date instead of the
                     actual date training was conducted) in training records on the Holland
                     America Line Zaandam by a crew member who said they were “instructed to
                     do so on the previous ships.” See CAM March 2020 Quarterly Report at 141
                     (citation omitted).

  See Internal Incident Log; Quarterly Tracking Spreadsheet – Q1 2020 (Apr. 3, 2020); CAM

  March 2020 Quarterly Report at 137-152; CAM December 2019 Quarterly Report at 85-91;

  CAM September 2019 Quarterly Report at 86-96; Carnival Corp. Special Condition 13(a)

  Reports; Carnival Corp. HESS Weekly Flash Reports.

            Other incidents tracked by the CAM Team, which do not typically involve violations of

  the ECP or environmental laws, include: bilge leaks/overflows; emissions of non-ozone-

  depleting refrigerant gases; Environmental Control System program (i.e., the seal/lock/weld

  program to control vulnerable points on ships that could be used for overboard discharges)

  issues, such as broken or missing seals with no evidence of intentional tampering; and near

  misses.

            These incidents are reported to the CAM Team through formal and informal reporting

  mechanisms, including: audit findings (both internal and external); CAM Team visit findings;

  weekly internal Flash Reports; Environmental Open (Hotline) Reports; Special Condition 13



                                            Page 215 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 221 of
                                     264
                                                              July 13, 2020


  Reports required under the Probation Agreement;143 notices to the Office of Probation; and other

  notifications. See Third Annual Work Plan at 7. The CAM Team continues to track and assess

  issues associated with these incidents, including issues related to: shoreside support, such as

  concerns related to workload/staffing, IT systems, waste vendors, spare parts, training, or

  policies and procedures; and workplace/culture, such as concerns related to blame culture,

  retaliation, discrimination, harassment or bullying, or unsafe working conditions. The CAM also

  reports to the Interested Parties as required by the ECP. See ECP §§ III.D.6, VI.F.6.

         As discussed in prior CAM reports, the CAM Team tracks and analyzes incident report

  data, but no longer compiles this data in CAM reports. As the Company has noted, apparent

  trends in the data may reflect trends in rates of reporting, which can be a positive development,

  rather than trends in actual incident occurrences. See CAM September 2019 Quarterly Report at

  95-96. Further, as the Court has observed, focusing on individual incidents on ships can distract

  from the most pressing barriers to compliance, which are the Company’s broader culture issues.

  See, e.g., Status Conf. Tr. at 5-6 (Apr. 10, 2019).

                 2.      Advanced Air Quality Systems

                         a) Background

         The CAM Team continues to examine issues related to the Company’s use of Advanced

  Air Quality Systems. See CAM March 2020 Quarterly Report at 145-152. Advanced Air


  143
      As part of the Probation Agreement, the Judgment in this matter was amended to include a
  revised Special Condition of Probation 13 that establishes enhanced reporting requirements for
  the Company. Among other things, the Company must, under Special Condition of Probation
  13(a), inform the Interested Parties, CAM, and TPA of any: (i) breach of the ECP; (ii) breach of
  the plea agreement; (iii) violation of the conditions of probation; (iv) violation of any Marine
  Environmental Protection Requirement; (v) violation of any applicable United States (federal or
  state) environmental law; (vi) violation of certain international maritime environmental law
  conventions; or (vii) credible allegations, including Environmental Open (Hotline) Reports, of
  violations of the ECP or environmental law. See Dkt. No. 134, at 12-13 (Ex. B).



                                            Page 216 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 222 of
                                     264
                                                              July 13, 2020


  Quality Systems, also called Exhaust Gas Cleaning Systems or “scrubbers,” remove sulfur oxide

  compounds from a ship’s engine and boiler exhaust gases. See EPA, Exhaust Gas Scrubber

  Washwater Effluent (Nov. 2011),

  https://www3.epa.gov/npdes/pubs/vgp_exhaust_gas_scrubber.pdf. (“EPA Exhaust Gas Scrubber

  Report”). The Company’s Advanced Air Quality Systems use an “open loop” design, in which

  seawater drawn from the ocean is used as washwater that is sprayed onto engine exhaust gases,

  causing a chemical reaction that removes sulfur oxide compounds from the exhaust. See id. The

  washwater is “filtered and mixed with sea water” before being discharged back to the ocean. See

  CAM March 2020 Quarterly Report at 146.144

         As discussed in recent CAM Quarterly Reports, a new global marine fuel sulfur cap set

  by the Marine Environment Protection Committee of the International Maritime Organization

  went into effect on January 1, 2020. See CAM March 2020 Quarterly Report at 147-148; CAM

  December 2019 Quarterly Report at 89-91; MARPOL Annex VI, Regulation 14.1.3. Under the

  global marine fuel sulfur cap, ships operating outside of Emission Control Areas must either:

  (1) use marine fuels with a sulfur content that does not exceed 0.50%, id.; or (2) use an approved

  equivalent method, id. at 4.1, which includes the use of an approved Advanced Air Quality

  System to reduce emissions. See MEPC.259(68), 2015 Guidelines for Exhaust Gas Cleaning

  Systems (May 15, 2015). The global marine fuel sulfur cap does not change marine fuel sulfur

  content limits for ships operating inside of Emission Control Areas, which must continue to use

  marine fuels with a sulfur content that does not exceed 0.10% or use an approved equivalent




  144
      This is in contrast to a “closed loop” design, which uses freshwater injected with caustic soda
  as the washwater. The washwater in a closed loop system can either be discharged into the
  ocean or held onboard for disposal ashore. See EPA Exhaust Gas Scrubber Report at 1.



                                           Page 217 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 223 of
                                     264
                                                              July 13, 2020


  method to reduce emissions, such as an approved Advanced Air Quality System. See MARPOL

  Annex VI, Regulations 14.4.3 and 4.1; see also Carnival Corp., Environmental Compliance

  Notice #5-2019. Ships operating without an approved Advanced Air Quality System must not

  use fuel exceeding applicable sulfur limits. See id.

         As part of its efforts to comply with the new cap, the Company required each ship to

  develop, implement, and maintain a Ship Implementation Plan (“SIP”) that must outline “how

  the ship will prepare to comply with the new sulphur requirements,” and “should address at a

  minimum, risk assessments of new fuels, fuel oil system modifications and alternative means of

  compliance.” See CAM March 2020 Quarterly Report at 147-148 (citation omitted).



                 [Text continues on following page.]




                                           Page 218 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 224 of
                                     264
                                                              July 13, 2020


                        b) Incidents

         As noted above, the Company experienced multiple incidents related to its Advanced Air

  Quality Systems during ECP Year Three, including emission exceedances,145 prohibited

  washwater discharges,146 and equipment failures or malfunctions.147




  145
     These included the following incidents during the fourth quarter of ECP Year Three: burning
  fuel with a high sulfur content for approximately one hour and 41 minutes while underway
  towards Napier, New Zealand, in violation of MARPOL Annex VI by the Holland America Line
  Maasdam on February 4, 2020; burning heavy fuel oil for approximately three hours and 54
  minutes while in port in Grand Turk, Turks and Caicos, in violation of MARPOL Annex VI by
  the Carnival Elation on February 20, 2020; exceeding emission ratio limits for approximately
  two hours and six minutes while underway towards Cartagena, Colombia, in violation of
  MARPOL Annex VI by the Carnival Miracle on March 7, 2020; and exceeding emission ratio
  limits for approximately four hours and 24 minutes while in international waters, in violation of
  MARPOL Annex VI by the Carnival Legend on April 3, 2020. See Carnival Corp. Special
  Condition 13(a) Reports; Carnival Corp. HESS Weekly Flash Reports.
  146
     These included the following incidents during the fourth quarter of ECP Year Three: the
  discharge of washwater by the Costa Luminosa in Port Everglades, Florida, on January 25, 2020,
  and February 4, 2020, in violation of local Port Everglades, Florida, requirements; the discharge
  of washwater by the Carnival Liberty in Port Canaveral, Florida, on February 25, 2020, without
  washwater filters installed in violation of Company policy; the discharge of washwater by the
  Carnival Elation in Port Canaveral, Florida, on April 7, 2020, without washwater filters installed
  in violation of Company policy; and the discharge of washwater with an overboard pH of less
  than 6.0 in violation of the United States Environmental Protection Agency Vessel General
  Permit by the Carnival Pride while underway towards Baltimore, Maryland, on March 8, 2020.
  See Carnival Corp. Special Condition 13(a) Reports; Carnival Corp. HESS Weekly Flash
  Reports.
  147
     These included the following incidents during the fourth quarter of ECP Year Three in which
  Advanced Air Quality Systems were out of service for more than 24 hours: the Cunard Queen
  Victoria on January 20, 2020, due to compliance computer issues; the Holland America Line
  Veendam on February 1, 2020, due to gas analyzer issues; the Carnival Elation on February 24,
  2020, due to an exhaust gas leak; the Carnival Fantasy on February 27, 2020, due to an
  automation system malfunction; and the P&O Cruises UK Aurora on March 10, 2020, due to a
  turbidity probe malfunction. See Carnival Corp. Special Condition 13(a) Reports; Carnival
  Corp. HESS Weekly Flash Reports.



                                          Page 219 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 225 of
                                     264
                                                              July 13, 2020


                        c) Ongoing CAM Team Examination

         The CAM Team will continue its examination of Advanced Air Quality System issues

  during ECP Year Four. This will include monitoring the Company’s compliance with the new

  global marine fuel sulfur cap, as well as with local restrictions on the use of Advanced Air

  Quality Systems in port. See CAM March 2020 Quarterly Report at 148-51 (discussing how an

  increasing number of coastal states and ports around the world have enacted local regulations

  that restrict or prohibit the use of open loop Advanced Air Quality Systems in port due to

  concerns about potential harm to the marine environment from washwater discharges).148 The

  CAM Team also plans to continue exploring workload and staffing issues related to Advanced

  Air Quality Systems,149 and intends to attend the CSMART training course on Advanced Air

  Quality Systems (either virtually or when the facility reopens for in-person courses).




  148
      As discussed in the most recent CAM Quarterly Report, the Company issued an instructional
  notice to its ships on January 11, 2020, in an effort to minimize the chance of “discoloration and
  other surface effects” from Advanced Air Quality System washwater discharges in port. See id.
  at 151; IN ENV 02-2020 Advanced Air Quality System (AAQS) / Exhaust Gas Cleaning System
  (EGCS) Washwater Filter Requirement in Port (“IN ENV 02-2020”). The instructional notice
  required ships with Advanced Air Quality Systems to “have operating washwater filters installed
  and in use in order to be run in port.” Id. On June 11 and 30, 2020, the Company revised the
  instructional notice to permit ships, in certain situations, to use Advanced Air Quality Systems
  without washwater filters installed or in use as long as the Advanced Air Quality System
  discharge point is visually checked “to verify that there are no significant and unusual visual
  effects in the water like oil sheen, soot or significant discoloration.” See IN ENV 02-2020 (Rev.
  June 30, 2020).
  149
     Most of the Company’s brands require equipped ships to have a dedicated Advanced Air
  Quality Systems engineer onboard, and the Holland America Group Workload Study
  recommended a possible study to determine whether one engineer is sufficient. See CAM March
  2020 Quarterly Report at 152. The Draft Pause Priorities Plan sets a short-term goal of ensuring
  there is a designated Advanced Air Quality System engineer onboard equipped ships before they
  resume service. Draft Pause Priorities Plan at PCL_ECP00166539.




                                           Page 220 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 226 of
                                     264
                                                              July 13, 2020


  V.     EVALUATION OF THE EXTERNAL AUDIT FUNCTION (TPA)

         A.      Engagement with the TPA

         The ECP requires the CAM to oversee the TPA to confirm that the TPA acts with

  independence and performs adequate ECP-required audits. See ECP §§ VI.F.1-3. During ECP

  Year Three, the TPA performed 38 Covered Vessel audits (including three accompanied by the

  CAM Team)150 and multiple shoreside office audits (including three accompanied by the CAM

  Team).151 The TPA performed two additional Covered Vessel visits and two additional

  shoreside visits to follow-up on the Company’s response to prior TPA audit findings. The TPA

  also audited the Environmental Excellence training course for Environmental Officers at the

  CSMART training facility. See supra, Part III.G (discussing the training course).

         The CAM Team has continued to be in regular contact with the TPA through both

  weekly calls and periodic in-person meetings. For example, on August 7, 2019, the TPA hosted

  the CAM Team and the Company at its Houston, Texas offices, with 13 members of the TPA

  present. The meeting included presentations from the Company regarding revisions to it

  Environmental Control System methodology, as well as a report on the findings and

  recommendations from the Company’s Food Waste Tiger Teams. The CAM Team and TPA

  team had a meeting after these presentations to discuss observations from the first two years of

  the probationary period and areas of focus areas for ECP Year Three.




  150
      As noted above, due to COVID-19, the TPA was unable to complete scheduled audits of four
  additional Covered Vessels. The TPA plans to conduct these make-up audits in ECP Year Four,
  in addition to the required ECP Year Four audits. See supra, Part I.D.3.
  151
     The shoreside audits included the main office of each operating group, as well as a visit to the
  offices of P&O Australia (which does not operate any Covered Vessels, but provides support to
  Covered Vessels operating in and around Australia).


                                           Page 221 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 227 of
                                     264
                                                              July 13, 2020


            On January 24, 2020, the CAM Team hosted a meeting at its Washington, DC offices,

  with nine members of the TPA, to share feedback, discuss lessons learned, and address areas of

  focus from the first three quarters of ECP Year Three. The CAM Team plans to continue to hold

  these periodic meetings with the TPA during ECP Year Four, although some meetings may be

  held virtually in light of COVID-19.

            The CAM Team has also continued to oversee the TPA’s work by attending TPA ship

  and shoreside facility audits, speaking with Company personnel who have experienced a TPA

  audit, and reviewing TPA audit and annual reports.

            B.      TPA Audit Process

            As noted above, during ECP Year Three, the CAM Team attended three Covered

  Vessel152 and three shoreside153 TPA audits. Consistent with prior observations, the CAM Team

  did not identify significant shortcomings with the TPA’s audit process. See CAM First Annual

  Report at 59-60 (assessing TPA audit process); CAM Second Annual Report at 101. Based on

  the CAM Team’s observations during ship and shoreside TPA audits, follow-up visits after TPA

  audits, and discussions with Company personnel, the TPA teams are qualified, well-organized,

  methodical, and knowledgeable. The TPA auditors continue to demonstrate the technical ability

  and maritime experience necessary to identify a wide range of issues. During ECP Year Three,

  the TPA also made extra efforts to conduct follow-up visits for certain Covered Vessels and

  shoreside offices to assess the Company’s response to TPA audit findings. For example, after




  152
        This included two full audits, as well as a follow-up visit on a previously audited ship.
  153
     This included two full audits, as well as a virtual follow-up visit of previously audited
  shoreside offices.


                                              Page 222 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 228 of
                                     264
                                                              July 13, 2020


  discovering co-mingled food waste issues on a Holland America Line ship in September 2019,

  the TPA returned to the ship in March 2020 to evaluate the status of corrective actions.

         C.      TPA Audit Reports

         As in prior years, the CAM Team has found that TPA audit reports are clear, cover the

  necessary areas, and sufficiently document the TPA’s findings.

         D.      TPA Independence

         As in prior years, the CAM Team has seen no indication that the TPA’s independence is

  compromised, even when audit findings are met with disagreement.

         E.      TPA Receptiveness to CAM Feedback

         As noted above, the CAM Team has provided ongoing feedback to the TPA via regular

  phone calls and periodic in-person meetings. TPA representatives have been receptive to the

  CAM Team’s feedback.

         F.      COVID-19 Impacts

         Following the Court’s Order of June 2, 2020, granting temporary leave for the TPA and

  CAM Team to perform remote audits and visits in light of COVID-19, see supra, Part I.B.3.f, the

  TPA has been coordinating with the Company and the CAM Team on protocols for remote

  audits of both ships and shoreside facilities.154 This process is ongoing. As discussed above, the

  TPA conducted its first remote ship audit, joined by the CAM Team, from July 7-9, 2020, and

  plans to conduct its first remote shoreside audit of the All Brands Group offices, which will also

  be joined by the CAM Team, from July 14-16, 2020. See id.




  154
     As noted above, the TPA, with the Court’s approval, suspended all in-person ship and
  shoreside office and site audits as of March 10, 2020. See supra, Part I.D.1.


                                           Page 223 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 229 of
                                     264
                                                              July 13, 2020


  VI.    EVALUATION OF THE INTERNAL AUDIT FUNCTION (RAAS)

         A.      General RAAS Assessment

         The ECP requires the CAM to “conduct a review of [the Company’s] internal

  environmental audits with respect to Covered Vessels and Covered Personnel.” ECP § VI.F.4.

  This review “shall assess the ability of [the Company’s] internal audit process to accomplish the

  objectives of the ECP, including any inadequacies with respect to [the Company’s] performance,

  whether personnel-based or related to any of its Covered Vessels, systems, equipment, or

  components.” Id.

                 1.      Overview

         During ECP Year Three, RAAS audited 71 Covered Vessels155 and multiple shoreside

  offices, including Carnival Cruise Line, Carnival UK, Costa Group, and P&O Australia (which

  does not operate any Covered Vessels) offices. The CAM Team accompanied RAAS on one of

  the Covered Vessel audits to assess the overall RAAS audit process. During this visit, the CAM

  Team spent most of its time accompanying the auditor(s) covering the environmental compliance

  components of the audit. The CAM Team also spent time observing the auditors’ overall

  process, including their approach to finalizing audit findings.

         As in ECP Year Two, the RAAS auditors appeared knowledgeable about HESS systems,

  conducted themselves professionally, and had the technical expertise required for the audit. The

  auditors also appeared to be provided with access to relevant documents, personnel, and physical

  spaces. However, at times, auditors appeared to be constrained by the ship and shore work-steps,

  which, as discussed in previous CAM reports, are frameworks that generally focus on assessing



  155
     As noted above, due to COVID-19, RAAS was unable to complete scheduled audits of three
  additional Covered Vessels. See supra, Part I.D.4



                                           Page 224 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 230 of
                                     264
                                                              July 13, 2020


  compliance with discrete Global HESS procedural requirements (consistent with applicable

  codes and standards). See CAM Second Annual Report at 102-03. Because these work-steps

  focus on identifying compliance with specific procedural requirements, they may not promote

  the identification of issues outside of the work-steps, the assessment of which could provide

  additional opportunities for continuous improvement through the existing RAAS quality-

  assurance process.156

         A common observation throughout the ECP has been that both ship and shoreside

  management will dispute RAAS audit findings as to both ship and shoreside operations. There

  have been reports that findings are removed or reclassified by shoreside leadership. See

  Employee Interview/Call Notes. These challenges to audit findings appear to be related to the

  view that RAAS audit findings are used unfairly or punitively by management, resulting in

  efforts to contest audit findings rather than to identify, understand, correct, and prevent them.

  See id.; see also HESS Maritime Survey Response. This attitude towards audit findings, which

  flows from the general blame culture identified in the Propel Environmental Compliance Culture

  Assessment and other consultants, see supra, Part III.D and Part IV.B, is viewed as undermining

  the value of the internal audit function, including impeding RAAS’s ability to report on the

  Company’s compliance performance and risk areas to the Boards of Directors. See Employee

  Interview/Call Notes.




  156
     RAAS has a quality-assurance process for reviewing and analyzing audit findings across all
  brands, which generally includes: (1) identifying repeat findings; (2) detecting trends; (3)
  identifying cross-brand issues; and (4) providing guidance on corrective and preventative
  measures.


                                            Page 225 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 231 of
                                     264
                                                              July 13, 2020


                 2.      Audit Process (Pre-COVID-19)

         As described in the CAM First Annual Report, the Company’s internal HESS audits are

  conducted by RAAS, an independent department that reports directly to Carnival Corp.’s Boards

  of Directors. See CAM First Annual Report at 61-63 (providing an overview of the RAAS audit

  process).157 RAAS audits assess compliance with applicable codes (e.g., the International Safety

  Management Code), regulations, and internal policies and procedures. See HMP 1301 - Internal

  Audits.158

         Each ship and operating group shoreside office is audited by RAAS once per year.159

  Unlike TPA ship audits, RAAS audits are “announced”—i.e., ships and shoreside offices know

  in advance when an audit will occur. The annual audit schedule is set approximately six months

  in advance of each year’s audits. Draft audit schedules are shared with the ship or shoreside

  office at least 15 days prior to the audit. Audits typically last for one week.

         For ship audits, RAAS audit teams generally consist of three auditors, one of whom is

  dedicated to focusing on environmental compliance issues, while the other auditors focus on the

  remaining HESS factors of health, safety, and security. For shoreside audits, the audit teams




  157
      The RAAS audit function is distinct from its investigatory function. Prior to the restructuring
  of the Company’s internal investigation function, see supra, Part IV.D, RAAS was also
  responsible for HESS investigations. RAAS remains responsible for certain non-HESS
  investigations (e.g., financial, fraud).
  158
     This section discusses the RAAS audit process prior to COVID-19. As discussed further
  below, RAAS has experienced significant staff reductions and transitioned to a program of
  remote audits as a result of COVID-19. During ECP Year Four, the CAM Team will continue to
  monitor the impacts of these and other changes on the RAAS audit process.
  159
     The CAM understands that it has been regular Company practice, at least among some
  brands, for ships to prepare in advance of RAAS audits. See PCL_DOJ_ESAVP_00043885.



                                            Page 226 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 232 of
                                     264
                                                              July 13, 2020


  vary depending on the facility being audited. They generally consist of five to six auditors and

  do not include a dedicated environmental auditor.

         Each audit team is required to hold certain auditor qualifications/certifications (either

  individually with each auditor or across the audit team). The auditors’ activities during each

  audit are guided by work-steps, which are tied to Company policies and procedures. See HMP

  1301-A1 Shipboard HESS Audit Work Steps; HMP 1301-A2 Office HESS Audit Work Steps.

  These work steps assign risk-based weights to various compliance areas on a scale from one

  through five, with five being the highest risk (e.g., fire prevention).

         RAAS audits typically follow the following format: an opening meeting with relevant

  personnel on the first day of the audit; interviews, physical inspections, and document review

  throughout the course of the audit; and a closing meeting at the completion of the audit where

  findings and recommendations are discussed. See CAM First Annual Report at 62 (describing

  typical audit process for a shipboard audit). For a 10-day period following the audit, the ship or

  shoreside office may review the audit findings and raise any disagreements with the Audit

  Review Committee of the relevant operating group. See id. Within three weeks of completing

  the audit, the relevant Audit Review Committee holds a meeting where final corrective action

  plans, including deadlines, for each finding are agreed upon. See id. at 63.

         Each audit finding is associated with a category (e.g., environmental) and severity (e.g.,

  Major Non-Conformity, Non-Conformity (High, Medium, or Low), or Observation). After the

  audit is complete, RAAS generates a score for each finding based on its severity and risk,

  following the Company’s internal risk matrix. See HMP 1301-A3 Finding Risk Assessment

  Matrix. Repeat findings are graded at one and half times the numerical score. The individual

  finding scores are then deducted from a total score of 1000 (the starting baseline score) to



                                            Page 227 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 233 of
                                     264
                                                              July 13, 2020


  generate the overall audit grade. The spectrum of audit grades ranges from “excellent” (900 –

  1000) to “follow-up required” (below 549). See id. Finally, audit findings are entered into the

  Company’s Global HESS’s audit tracking system, which also tracks the status of the

  implementation of corrective actions.

                   3.      Auditors

         During the CAM Team’s ECP Year Three ship and shoreside office visits (including, but

  not limited to, those accompanying RAAS auditors), the CAM Team has asked Company

  personnel about their experiences and perspectives on the Company’s internal audit process and

  auditors. As in prior years, responses have been mixed and are dependent on a variety of factors,

  such as the audit team composition, the areas of inquiry identified by RAAS, the operating group

  or brand, and the individual office or ship, as well as the limits on the number of such visits that

  the CAM Team can undertake. However, as discussed below, RAAS generally agrees with these

  observations and is taking steps to address them. The feedback generally falls into three

  categories:

               Auditor Attitude: Some Company personnel report that some RAAS auditors can
                take a superior and sometimes condescending attitude towards crew members. See
                Employee Interview/Call Notes. This perception may be a mix of personal
                experiences, personality differences, or perceptions of the audit team’s purpose and
                value more generally. RAAS has recognized that this is a genuine issue and has
                launched initiatives to address communication and perception issues associated with
                the group’s role within the Company, as discussed below;

               Audit Consistency: Some Company personnel report that RAAS audits occasionally
                lack consistency. For instance, Company personnel have reported that RAAS
                auditors review, identify, and interpret non-conformities differently, which can lead
                to lack of uniformity in audit results and expectations. See id. The CAM Team
                understands that RAAS plans to address this issue through a series of initiatives
                designed to enhance audit consistency and streamline the overall audit process, as
                discussed below; and

               Auditor Competency: Some Company personnel report that varying levels of
                auditor competency in discrete areas can present challenges to achieving the goal of


                                             Page 228 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 234 of
                                     264
                                                              July 13, 2020


             consistent and meaningful audits. See Employee Interview/Call Notes. This
             feedback principally focuses on competency in technology and IT-related areas. See
             id. The CAM Team understands that RAAS plans to address issues like competency
             and training in its “HESS 3.0” initiative, as discussed below.

                 4.      Audit Findings

                         a) RAAS 2019 Year End Report

         On January 15, 2020, RAAS issued a report synthesizing audit results and key trends

  from 2019 audit findings. See RAAS Q4 Report Prepared for the Audit and HESS Committees

  (Jan. 15, 2020), PCL_ECP00152849-855. Overall, RAAS found that audit scores for 58% of the

  fleet were higher in 2019 than 2018. Id. at PCL_ECP00152850. No Major Non-Conformities160

  were issued. Id. Repeat findings decreased from 74 to 56 total findings. Id. RAAS also

  reported that during “92 follow up visits, 1,764 action plans were reviewed and 183 (10%) were

  reported to management as potential for repeat.” Id.

          For environmental findings, there was an overall decrease of approximately 6% in the

  number of findings from 2018 to 2019. Id. at PCL_ECP00152852. RAAS attributed the

  majority of findings to “lack of oversight.” Id. The key areas RAAS identified were: refrigerant

  gases; bilge water and oily water management; garbage management; Environmental Control

  Systems; and Advanced Air Quality Systems. Id.

                         b) CAM Team Analysis

         The CAM Team analyzed audit report findings from RAAS audits of Covered Vessels

  that occurred within 60 days prior to a TPA audit. Between the start of the ECP in April 2017




  160
     The Company’s definition of Major Non-Conformity for RAAS audits is different from the
  ECP definition used for TPA audits. For RAAS audits, a Major Non-Conformity is an
  “identifiable deviation that poses a serious threat to the safety of personnel or the ship or a
  serious risk to the environment that requires immediate corrective action or the lack of effective
  and systematic implementation of a requirement.” INT-1007 Glossary of Terms and Acronyms.


                                           Page 229 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 235 of
                                     264
                                                              July 13, 2020


  and June 2020, there were 13 such audits. The CAM Team reviewed the respective RAAS and

  TPA audit reports for those ships to see how often: (1) RAAS reports included findings the TPA

  reports did not, indicating that the findings were resolved before the TPA audit or that the TPA

  may have missed those findings; (2) the TPA reports included findings the RAAS reports did

  not, indicating that the findings arose after the RAAS audit or that RAAS may have missed those

  findings; and (3) both reports contained the same findings, indicating that the findings had not

  been resolved between the RAAS audit and the TPA audit.

         In large part, the findings RAAS identified were different from the findings the TPA

  identified. There are a few examples, however, of the findings overlapping. For example, both

  RAAS and the TPA identified food waste separation issues in their June and July 2019 audits of

  the Holland America Line Westerdam, respectively. During the RAAS audit, “items of non food

  material (paper, plastic, metal) were found inside of food waste bins brought from the point of

  generation to the recycling center, where the only operable food waste pulper unit is located,”

  and a piece of plastic was found in the aft grease trap strainer. See RAAS Audit Report,

  Westerdam (June 2019). During the TPA audit, a wooden skewer was observed in the food

  waste tank, and plastic was found in the grease traps. See TPA Audit Report, Westerdam (July

  2019), PCL_ECP 135821-55. Although the findings identify different specific issues, both

  reports reveal an ongoing struggle with food waste separation.161

         The RAAS and TPA reports for audits of the AIDAmar in July and September 2018,

  respectively, provide another example of overlapping findings. Both audit teams identified

  errors in the Oil Record Book. RAAS identified missing entries for “a number of occasions



  161
     As discussed above, food waste management has been revealed to be a struggle on ships
  across the Company’s entire fleet. See supra, Part III.F.


                                           Page 230 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 236 of
                                     264
                                                              July 13, 2020


  when utilizing portable pumps” and “when transferring lifeboats bilge to sludge tanks.” RAAS

  Audit Report, AIDAmar (July 2018). The TPA found that a March 2018 “annual servicing to

  verifying calibration of the [Oil Content Meter] was not logged.” TPA Audit Report, AIDAmar

  (Sept. 2018), PCL_ECP00081891-2010, at PCL_ECP00081985. This example is notable for at

  least two reasons: first, the audit reports reveal an ongoing issue with Oil Record Book

  recordkeeping; and second, the TPA identified an Oil Record Book error that RAAS could have

  observed, but did not.

         The CAM Team also identified one example of RAAS and TPA making the same

  finding, though as to an obvious issue regarding significant pollution prevention equipment.

  Both RAAS and the TPA audited the Carnival Dream in August 2018, and each found that the

  Advanced Air Quality System had been out of service since March 2018. RAAS Audit Report,

  Carnival Dream (Aug. 2018); TPA Audit Report, Carnival Dream (Aug. 2018),

  PCL_ECP00083586-615.

         Overall, the CAM Team’s analysis of the audit reports for these 13 ships indicates that

  most RAAS findings were addressed before subsequent TPA visits. There was also at least one

  instance (the AIDAmar Oil Record Book recordkeeping issue noted above) where the TPA

  identified a finding that RAAS may have missed.

         A few common themes from across the RAAS and TPA audit reports emerged. These

  included: recordkeeping errors and omissions; issues with seals and locks for the Environmental

  Control System; challenges with food waste separation and garbage disposal; and missing or

  incomplete procedures in Global HESS (an issue that can be attributed to shoreside rather than

  the ship). Given that these are recurring issues identified across multiple ships by both sets of

  auditors, they may be ripe for further analysis as to potential systemic (root) causes.



                                            Page 231 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 237 of
                                     264
                                                              July 13, 2020


                 5.     COVID-19 Impacts

                        a)      Personnel

         As a result of COVID-19-related layoffs and furloughs, RAAS experienced a reduction in

  staff of approximately 60% across the group as of June 2020. See Employee Interview/Call

  Notes. Staffing for the internal HESS audit function went down from approximately 32 to 14

  employees, an approximately 56% staff reduction. See id. The CAM Team will continue to

  examine the impacts of these staffing reductions.

                        b)      Remote Audits

         RAAS has shifted to conducting remote ship and shoreside audits. See id. As of June 23,

  2020, RAAS had completed approximately 11 remote audits of ships and two remote audits of

  shoreside offices, with roughly two dozen additional remote ship and shoreside audits scheduled

  through early September 2020. See RAAS Audit Schedule (June 23, 2020).162 The overall

  process for remote audits is similar to the in-person audit process: an opening meeting with

  relevant personnel on the first day of the audit; interviews, inspections, and document review

  throughout the course of the audit; and a closing meeting at the completion of the audit where

  findings and recommendations are discussed. See Employee Interview/Call Notes; see also

  infra, Part VI.A.2 (discussing the internal audit process). However, meetings, interviews, and

  inspections of physical spaces are performed virtually using various forms of audiovisual

  technology. In addition, a significant portion of the review of records and documents now

  occurs prior to the audit. For instance, RAAS will provide the ship with a list of requested

  materials (such as record books, certificates, and other documents that auditors would typically


  162
      RAAS also plans to conduct approximately five in-person ship audits in mid- to late July
  2020 on ships that will be docked within driving distance of Hamburg, Germany, or Genova,
  Italy, in light of easing travel restrictions in Europe. See id.; Internal Communication.


                                            Page 232 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 238 of
                                     264
                                                              July 13, 2020


  review onboard) that the auditors will review in advance of the audit. The results of this review

  may be the basis for follow-up interview questions or potential audit findings. See Employee

  Interview/Call Notes.

         The CAM Team will continue to engage with RAAS as it transitions to performing

  remote audits, including evaluating the challenges, and any possible advantages, of this new

  approach to auditing.

                          c)    Self-Assessment Program

         RAAS is working on a “Self-Assessment Program” to enable ship crew to conduct “self-

  audits” of HESS policies and procedures that were associated with recurrent or significant audit

  findings in 2019. See id. Under the program, RAAS would notify the ship about the relevant

  HESS policy or procedure to be audited; instruct the ship on how to audit the procedure; and

  provide the ship with one week to perform the self-audit. See id. The CAM Team understands

  that RAAS has experienced delays in launching this program due to COVID-19 impacts,

  including staff reductions. See id. The CAM Team will continue monitor the development and

  implementation of this program.

                          d)    Oversight of Return to Cruise Operations

         RAAS intends to audit ships prior to their return to guest services for compliance with

  HESS policies and procedures, including COVID-19-related requirements. See id. The CAM

  Team understands that RAAS plans to provide this oversight as ships are designated to return to

  service. See id. The CAM Team will continue to engage with RAAS on this effort.




                                           Page 233 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 239 of
                                     264
                                                              July 13, 2020


         B.      RAAS ECP Year Three Highlights

                 1.      August 2019 RAAS Maritime Retreat

         In August 2019, RAAS held its annual week-long RAAS Maritime Retreat at the

  CSMART training center in Almere, Netherlands. Approximately 30 RAAS auditors attended.

  Members of the CAM Team and TPA also observed. The retreat was designed to provide

  auditors with an opportunity to “share best practices, enhance professional development, and

  build stronger professional relationships throughout the team.” 2019 Q3 RAAS Cruise Control

  Newsletter, at PCL_ECP00166720. The agenda included presentations from RAAS Maritime

  leaders, which highlighted several challenge areas, including: the group’s quality assurance

  process; perceptions by others within the Company of RAAS and its auditors; and consistency of

  audit protocols and audit findings. The CAM Team observed that attendees were highly

  engaged, willing to ask RAAS leadership thoughtful and challenging questions, and in general

  expressed a desire to enhance their role and performance within the Company. RAAS leadership

  was similarly engaged and thoughtful in responding to auditor questions, considering issues

  facing the internal audit function, and developing strategies to enhance the group’s value as a

  tool for continuous improvement.

                 2.      RAAS Initiatives

         Following the RAAS Maritime Retreat, RAAS began working on initiatives to address

  some of the identified areas for improvement. These include:

             HESS 3.0: An initiative designed to address several areas for improvement that the
              CAM Team, TPA, RAAS, and Company personnel have identified, including:
              (1) audit planning; (2) field work and follow-up work; (3) auditor training and
              competency; (4) group communication and culture; and (5) root cause and data
              analytical enhancements. A central goal of HESS 3.0 is to improve the consistency of
              RAAS audits and how findings are communicated. In that vein, RAAS plans to focus
              on several projects aimed to improve its overall consistency, such as streamlining the
              ship and shore work-steps; enhancing its opening and closing meeting procedures;



                                            Page 234 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 240 of
                                     264
                                                              July 13, 2020


              and standardizing its follow-up audits. Likewise, RAAS plans to enhance its training
              and cross-brand collaboration efforts, along with emphasizing a more analytical
              causal analysis approach in conjunction with enhancements to the use of metrics and
              data analysis;

             Hackathon: A workshop (originally planned for March 25-26, 2020, but whose date
              has been indefinitely postponed due to COVID-19) developed in collaboration with
              an outside consultant designed to engage Company personnel across different
              departments in brainstorming ways to improve RAAS audits and the audit function;

             Rebranding—Tone from the Top: An initiative in collaboration with the All
              Brands Group Communications and Marketing group designed to improve the overall
              perception of RAAS’s relationship within the Company. A principal takeaway from
              the RAAS Maritime Retreat was that, “[w]hile there are many strong advocates
              across the organization, the current state of trust, cooperation[,] and transparency
              between the business units, ships, brands” presents an opportunity for improvement.
              Project Roadmap: RAAS Branding Initiative 01.10.2020 (DRAFT), at 1. The
              Rebranding initiative aims “to build a stronger and more authentic partnership, trust,
              and commitment between the ship and shore side teams and experts in the RAAS
              organization.” 2019 Q3 RAAS Cruise Control Newsletter at PCL_ECP00166720.

                  RAAS plans to tackle this rebranding initiative in three phases: (1) Phase One
              includes outreach and interviews with shoreside and shipboard stakeholders to assess
              perception and opinions of RAAS; a review of RAAS communications (e.g., RAAS
              newsletters, audit reports, and leadership presentations); and a workshop with RAAS
              leadership to assess “truths” about the organization (i.e., understanding perceptions
              about the RAAS culture, processes, and deliverables); (2) Phase Two will entail
              developing an action plan based on findings from Phase One; and (3) Phase Three
              will consist of carrying out this action plan. While final deliverables are not finalized,
              RAAS anticipates developing RAAS-specific “marketing” material (i.e., a “simple,
              benefit-oriented overview of the organization”; messaging for shipboard and shore
              side leadership; and a presentation for senior leadership. Id.; and

             Project Management Software: To support and manage the HESS 3.0 and
              Rebranding initiatives—as well as support forward-future projects—RAAS has
              engaged a collaboration and project management software, Monday.com. Company
              employees have reported to the CAM Team that the software has enhanced
              communication and efficiency, and has been widely used within the group since
              acquisition. See Employee Interview/Call Notes.

         C.      Ongoing CAM Team Examination

         The CAM Team will continue to evaluate the Company’s internal audit function. This

  will include examining the impacts of COVID-19 on RAAS’s audit process, staffing, and other

  initiatives and activities. It will also include examining RAAS’s role within the broader


                                            Page 235 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 241 of
                                     264
                                                              July 13, 2020


  corporation, including perceptions of RAAS from Company employees and support for RAAS

  from senior management. A large part of RAAS’s success depends “on support from the Board

  and [Senior] Executive Management.” 2019 Q3 RAAS Cruise Control Newsletter, at

  PCL_ECP001667203. Messaging from senior management has a direct “impact on the

  effectiveness of support RAAS receives in carrying out its responsibilities.” Id. For RAAS to

  reach its full potential, it must be viewed as a set of in-house experts and partners who can work

  with ships and shoreside personnel alike to identify areas of risk and opportunities for

  improvement at all levels and across multiple departments within the Company.

  VII.   AREAS OF FOCUS FOR ECP YEAR FOUR

         In addition to the areas of ongoing CAM Team examination described in connection with

  the findings above, the CAM Team continues to examine the following areas of interest and

  intends to report further on these issues in future reports. These examinations will occur in the

  context of the Company’s ongoing response to the COVID-19 pandemic. The CAM recognizes

  that the Company’s ships may be operating in a very different reality, if at all, in ECP Year Four.

         A.      Diversity and Inclusion

         This includes examining the Company’s stated intent to “strive to increase the diversity

  of its shipboard workforce across certain positions.” See Status Report by Princess Cruise Lines,

  Ltd., Dkt. No. 148, at 6. Currently, it continues to appear that any such efforts are being led by

  the brands/operating groups, without a centralized, coordinated plan led by All Brands Group—

  despite public statements from the Carnival Corp. CEO and other members of top leadership on

  the importance of a diverse and inclusive workforce. See CAM March 2020 Quarterly Report at




                                           Page 236 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 242 of
                                     264
                                                              July 13, 2020


  153-54. The opportunity to widen the range of countries and nationalities from which the

  Company recruits and develops future ship officers remains a largely untapped one.163

         The CAM Second Annual Report identified the opportunity to enhance diversity and

  inclusion among the Company’s ship officers as a way to strengthen and support its compliance

  efforts. See CAM Second Annual Report at 54-63. The Company, like others in the cruise

  industry and the maritime industry more broadly, faces challenges to recruit and retain

  individuals for these positions due to a global shortage of qualified officers, especially

  engineering officers. It has been observed that this shortage is connected to issues of ethnicity,

  race, and gender. Historically, officer positions on cruise ships have been filled predominantly

  by men from European countries, while non-officer positions have been filled predominantly by

  men from Asian or other non-European countries:

         While cruise ship personnel are ethnically diverse, they are not apportioned randomly.
         Even a rudimentary analysis of crew composition reveals that they are highly stratified
         based on ethnicity, race and gender. Certain ethnic groups tend to work in specific roles.
         Workers from developed countries tend to occupy higher positions within a ship’s
         organizational hierarchy. These tend to be well remunerated and have either greater
         responsibility, better working conditions, or some combination of the two. The rest of
         the workers, especially those in positions involving more menial tasks, almost universally
         come from the developing world.

  W. C. Terry, Geographic limits to global labor market flexibility: The human resources paradox

  of the cruise industry, 42 Geoforum 660, 662 (2011). Other studies have similarly found “that

  employees in the lowest status roles were mainly from the underdeveloped parts of Eastern

  Europe, Central America and Southeast Asia. Middle ranked employees were mainly from



  163
     While the CAM Team’s focus is primarily on diversity and inclusion issues impacting
  shipboard crew, the CAM Team will seek to learn more about the Company’s shoreside diversity
  and inclusion efforts during ECP Year Four, including the extent to which diversity and
  inclusion considerations were factored into the shoreside staff reductions that occurred as a result
  of COVID-19. See id.



                                            Page 237 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 243 of
                                     264
                                                              July 13, 2020


  developing Western or Eastern Europe countries and crew members in the higher status positions

  employees were from the more developed countries, the United Kingdom and Australia.” E. E.

  T. Bolt and C. Lashley, All at sea: Insights into crew work experiences on a

  cruise liner, 5:2 Research in Hospitality Management 199, 200 (2015) (citations omitted). In

  addition, “[g]ender segmentation is also a feature of cruise ship employment,” with 80% of the

  workforce being male, and females primarily “represented in service-oriented positions.” Id. It

  has further been observed that, while “typical” in the industry, such conditions “are not an

  inevitable feature of cruise ship working life” but are “by-products of company recruitment

  policies and procedures at a corporate level; and of shipboard management sensitivity to crew

  stresses and strains.” Id. at 206.

         The CAM Second Annual Report found that the Company’s strong, long-standing

  relationships with many of its Global Talent Partners,164 including with agencies located in the

  Philippines, Indonesia, and India, provided a unique opportunity to develop a more diverse

  officer corps. See CAM Second Annual Report at 54-63. As the CAM observed, the “industry-

  wide staffing shortage for officer positions provides the Company with an extraordinary

  opportunity to be a leader in addressing historic ethnic, racial, and gender employment




  164
      Global Talent Partners are agencies, generally referred to as “manning agencies” in the
  maritime industry, located around the world that cruise lines and other companies use to recruit
  and train many of the (typically non-officer) crew members on their ships. Holland America
  Group has moved from calling these businesses “manning agencies” to “Global Talent Partners,”
  to shift from an overtly gendered nomenclature to one that focuses on the notion that the
  individuals hired from these agencies provide needed skills or talent, and that the agencies are
  partners in the Company’s efforts. In support of that effort, CAM reports have adopted that
  term.




                                           Page 238 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 244 of
                                     264
                                                              July 13, 2020


  disparities in the maritime industry, and to address compliance challenges related to labor

  supply.” Id. at 61.

         Research indicates that diversity and inclusion promote an organizational culture that

  encourages ethical conduct and a commitment to compliance with the law. See e.g., ECI, How to

  Leverage Workplace Diversity to Increase Regulatory Compliance (June 22, 2018),

  https://www.ethics.org/how-to-leverage-workplace-diversity-to-increase-regulatory-

  compliance/.165 As diversity and inclusion become standardized throughout an organization,

  workplace adaptability increases, resulting in employees who feel more comfortable at work and

  who more readily adopt new policies and behaviors that support compliance programs. See id.

  Research also indicates that diversity and inclusion increases an organization’s profitability,

  innovation, and problem-solving abilities. See e.g., World Economic Forum, The Business Case

  for Diversity in the Workplace is Now Overwhelming (Apr. 29, 2019),

  https://www.weforum.org/agenda/2019/04/business-case-for-diversity-in-the-workplace/.

         The Company has publicly recognized the benefits of diversity and inclusion. For

  example, the Carnival Corp. CEO has stated that:

         Diversity is a business imperative. The key to innovation is diversity of thinking . . .
         having people from different backgrounds and different cultural experiences who are
         organized around a common objective are far more likely to create breakthrough
         innovation than a homogenous group. That same diversity of thinking is a powerful
         advantage.




  165
     As noted above, the Company has hired ECI as a consultant on its culture survey response
  efforts.



                                           Page 239 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 245 of
                                     264
                                                              July 13, 2020


  Carnival Corp., Diversity & Inclusion, https://www.carnivalcorp.com/corporate-

  information/diversity-inclusion.166 In a recent media article on the response of the travel industry

  to the Black Lives Matter movement, the Carnival Corp. CEO is described as “one of the few

  black executives in the [travel] industry,” and is quoted as writing:

         It is not about marketing slogans or campaigns in my view, but about the proactive
         actions each of us personally take and hold ourselves accountable for . . . There is an
         opportunity here for all of us to do more—and do much better—looking closely at our
         diversity and inclusion results across the board and challenging ourselves as individuals
         to take actions that can make a difference.

  J.D. Shadel, Travel brands rushed to post #BlackLivesMatter but are slow to share how they’re

  taking action, WASHINGTONPOST.COM (June 26, 2020),

  https://www.washingtonpost.com/travel/2020/06/26/travel-brands-rushed-post-blacklivesmatter-

  are-slow-share-how-theyre-taking-action/. The President of Princess Cruise Lines also recently

  sent an internal communication to Holland America Group employees stating that:

         We are committed to creating a workplace where everyone feels comfortable bringing
         their whole, true self to work every day and has equal opportunity to develop and
         succeed. Front and center in our core values is Respect. Within that, we each commit to
         being open and honest, building trust, celebrating differences, including everyone, and
         supporting change.

  Message from Jan Swartz (June 19, 2020). In addition, the Company’s Corporate Vision

  Statement states:

         We are committed to a positive and just corporate culture, based on inclusion and the
         power of diversity. We operate with integrity, trust and respect for each other—seeking
  166
     The President of Princess Cruise Lines has similarly stated that: “[Carnival Corp.’s CEO] has
  made diversity and inclusion a real focus of our corporation. We believe, and I think our results
  have proven this to be true, that diverse teams are not just the right thing to do, but they’re really
  good for business because everybody brings their own lens to a problem or an opportunity and
  you get to more effective solutions faster with competitive advantage and I absolutely see that
  happen every day here at Princess Cruises.” Interview with President, Princess Cruise Lines,
  Skift Global Forum Preview: Princess Cruises is Evolving with History in Mind (Sept. 21, 2018),
  https://skift.com/2018/09/21/skift-global-forum-preview-princess-cruises-is-evolving-with-
  history-in-mind/.



                                            Page 240 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 246 of
                                     264
                                                              July 13, 2020


         collaboration, candor, openness and transparency at all times. And we intend to be an
         exemplary corporate citizen leaving the people and the places we touch even better.

  Corporate Vision Statement, https://www.carnivalcorp.com/leading-responsibly/corporate-

  vision-statement (emphasis added).

         However, the efforts of the Company do not yet match these words. Pre- or post-

  COVID-19, the CAM is not aware of any significant, coordinated, centralized effort to launch a

  long-term program that would lead to the development of a diverse officer corps across the

  Company’s ships.167 At the All Brands Group level, diversity and inclusion efforts remain

  unclear, and efforts across the brands/operating lines do not appear consistent or coordinated.

          As noted above, some of the Company’s brands/operating groups have made efforts to

  increase diversity and inclusion among shipboard officers in recent years. For example, Costa

  Group and Carnival Cruise Line have implemented programs to source new officers from non-

  traditional areas, including regions outside of Europe. See Employee Interview/Call Notes. Both

  Costa Group and Carnival Cruise Line currently have several cadets in these programs.168 See

  id. In addition, the June 19, 2020, internal communication from the President of Princess Cruise

  Lines, quoted above, notes that Holland America Group “encourage[s] the recognition of

  important cultural observances shipboard” and “provid[es] floating holidays that shoreside




  167
     As of 2019, the Company reported that it continued to source its shipboard officers primarily
  from European countries (Italy, the UK, the Netherlands, Germany and Norway), while the
  remaining (non-officer) crew positions “are sourced from around the world, with the largest
  contingent from the Philippines, Indonesia and India.” 2019 Form 10-K at 20. The Company
  has not set numeric diversity and inclusion targets or goals for its shipboard officers. See
  Employee Interview/Call Notes.
  168
     In May 2020, Carnival Cruise Line hired a Manager of Marine Talent Attraction to support its
  cadet programs and other recruiting initiatives. See id. However, the individual was furloughed
  as a result of COVID-19. See id.



                                           Page 241 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 247 of
                                     264
                                                              July 13, 2020


  employees use for everything from Passover and Eid ul-Fitr, to Día de Muertos and Juneteenth.”

  See Message from Jan Swartz (June 19, 2020).

         Employees from various positions across the Company continue to express frustration

  and disappointment over the longstanding and continuing lack of ethnic, racial, and gender

  diversity and inclusion within the officer ranks. See id. These frustrations include allegations of

  racism and retaliation. See id.; see also, e.g., Environmental Compliance Culture Assessment at

  28 (noting, as a common theme among free text responses to the Propel survey, the “need to

  eliminate harassment or discrimination” in the workplace, including preferential treatment by

  supervisors for those who share the same nationality or those with whom supervisors have

  romantic relationships); Internal Key Workplace Own-Will Exit Employees Interview Survey

  (Feb. 2018), PCL_ECP00047298 (a survey of approximately 100 former Holland America

  Group employees where “discrimination and favoritism,” “a lot of favoritism when the

  Supervisor is same nationality as the crew,” and “not treating me fairly because of my

  nationality” were among the reasons cited for leaving the Company).

         As discussed above, the significant disruptions to the marine and cruise industries from

  COVID-19 may temporarily ameliorate the global shortage of available qualified ship officers

  that has affected the industry for years. See infra, Part IV.A.3.e (discussing reduced crew

  staffing demands during the suspension of cruise operations, as well as during any restart period

  in which ships are slowly ramping up passenger service). But, as emphasized above, any sudden

  glut of available qualified officers is not likely to last. The Company and the industry continue

  to face the likelihood of a long-term global officer shortage. See id. Therefore, as part of any

  long-term plan to achieve the Company’s stated goals, the need to prioritize diversity and




                                           Page 242 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 248 of
                                     264
                                                              July 13, 2020


  inclusion efforts to expand the pool from which the Company recruits and trains officers remains

  as critical as ever.

          B.      Training

          This includes examining the Company’s environmental and other compliance-related

  trainings, including:

              CSMART course development and delivery, including virtual courses while the
               facility remains closed for in-person courses due to COVID-19, as well as in-person
               courses once the facility re-opens. See supra, Part III.G.2 (discussing COVID-19
               impacts on CSMART environmental and compliance-related trainings);

              The impact of COVID-19-related staff reductions on CSMART operations. See
               supra, Part I.C.4.f;

              The potential role of CSMART in supporting culture change within the broader
               organization. See CAM March 2020 Quarterly Report at 116-17 (observing that
               “[w]hile it appears that great strides have been made to create a culture of trust, care,
               openness, and speaking up during CSMART trainings, the Company’s challenge is to
               carry and sustain that culture aboard the Company’s ships and in its shoreside
               offices”);

              Onboard trainings, including whether a more sustainable and effective onboard
               environmental training program can be developed. See supra, Part III.G.2 (discussing
               ongoing efforts to improve onboard environmental compliance trainings during the
               suspension of cruise operations);

              Training for the Company’s Global Talent Partner recruits. See supra, Part VII.A
               (discussing the Company’s relationships with its Global Talent Partner recruitment
               and training agencies); see also CAM Second Annual Report at 61-62 (discussing
               opportunities to use Global Talent Partner agencies to enhance pre-boarding HESS
               trainings, as well as potential training on overcoming cultural barriers to “speaking
               up” to report compliance concerns);

              Investigations and systemic (root) cause analysis training, including the next iteration
               of the Environmental Excellence CSMART course (which will focus on
               investigations training for Environmental Officers) and other investigations trainings
               for Incident Analysis Group, brand/operating group, and shipboard investigators. See
               supra, Part III.G.2 and Part IV.D;

              Compliance training for corporate leadership, including the Boards of Directors. See
               supra, Part III.E.3.c (discussing annual compliance training curriculum for the Boards
               developed in response to the Probation Revocation Agreement);



                                             Page 243 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 249 of
                                     264
                                                              July 13, 2020


             IT tools and systems in support of training. See supra, Part III.H.2.b(ii); and

             The respective roles of All Brands Group training and HR personnel, CSMART
              personnel, Operating Line Training Managers, and other relevant Company personnel
              in these and other training-related efforts, including development of competency
              frameworks.

  See CAM First Annual Report at 21-23, 69-70; CAM Second Annual Report at 31-35; CAM

  March 2020 Quarterly Report at 111-17.

         The CAM Team’s examination will be guided by the recently revised DOJ Corporate

  Compliance Program Guidance, which emphasizes that a “hallmark of a well-designed

  compliance program is appropriately tailored training and communications.” DOJ Corporate

  Compliance Program Guidance at 5. It is critical to assess “the steps taken by the company to

  ensure that policies and procedures have been integrated into the organization, including through

  periodic training and certification for all directors, officers, relevant employees, and, where

  appropriate, agents and business partners.” Id. It is also important to assess “whether the

  company has relayed information in a manner tailored to the audience’s size, sophistication, or

  subject matter expertise,” as well as whether the company has “evaluated the extent to which the

  training has an impact on employee behavior or operations.” Id. at 5-6.

         C.      Other Personnel Issues

         This includes examining other personnel issues, such as the hiring, staffing, workload,

  and employment conditions of officer and non-officer crew, including Environmental Officers,

  engineering officers and ratings, bridge/deck personnel, hotel personnel, and food and beverage

  personnel—including challenges and recommendations identified in the Holland America Group

  Human Factors Study and Workload Study (such as “indications that crew are working overtime

  without registering all their hours” and “have been compelled to work but discouraged to write

  overtime . . . by senior officers to avoid questions from the office and additional paperwork”).



                                            Page 244 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 250 of
                                     264
                                                              July 13, 2020


  See Holland America Group Workload Study at PCL_ECP00149438; see also supra, Part IV.A.3

  (discussing crew staffing and workload concerns).

           This examination will include exploring the relationship between technical, deck,

  environmental, hotel, and food and beverage personnel, both shipboard and shoreside, on

  compliance issues. In particular, environmental and technical personnel have expressed

  concerns to the CAM Team about a lack of ownership and support for compliance by hotel and

  food and beverage departments—although this is reported to be improving as a result of the

  heightened focus on food and other garbage/waste management. See Employee Interview/Call

  Notes.

           D.     Integration of Compliance Considerations into Ship Design, including New
                  Builds and Dry/Wet Docks

           This includes examining the Company’s efforts regarding the integration of compliance

  considerations into the design or re-design of ships during new build169 and dry/wet dock

  processes. See CAM March 2020 Quarterly Report at 155-157. The Court has expressed

  particular interest in how the Carnival Corp. Chairman of the Boards, who is recognized for his

  leadership role in new ship design, is “making concrete design changes to make sure that the new

  ships that are coming online are able to address some of the failures in the past.” Status Conf.

  Tr. at 69-70 (Jan. 8, 2020). The CAM Team also plans to examine other issues regarding

  dry/wet dock project planning and management, including issues related to the timing and length



  169
     On June 18, 2020, the Company reported that it “believes COVID-19 has impacted shipyard
  operations and will result in delivery delays” of new ships. Id. As noted above, on July 10,
  2020, the Company reported that it “expects only five of the nine ships originally scheduled for
  delivery in fiscal [year] 2020 and fiscal [year] 2021 will be delivered prior to the end of fiscal
  year 2021,” as well as “later deliveries of ships originally scheduled for fiscal [year] 2022 and
  2023.” See July 2020 Business Update. See supra, Part I.C.4.e(ii).



                                           Page 245 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 251 of
                                     264
                                                              July 13, 2020


  of wet/dry periods, scope of work, and cost/budget considerations. The CAM Team’s

  examination will include the integration of design changes that would address environmental

  compliance concerns (e.g., food waste management, Engine Control Room design, piping

  arrangements to avoid cross-contamination of waste streams, and quality of piping materials to

  mitigate deterioration/corrosion), as well as other health,170 safety, and security compliance

  concerns (e.g., measures for the prevention and control of infectious disease spread on ships in

  light of COVID-19).

           The Company has recognized the role that ship system design can play in promoting or

  forming a barrier to compliance, including the impact that ship design has on the ease with which

  compliant operations can be carried out in an efficient manner. See Employee Interview/Call

  Notes. While the CAM understands that many of the ways that ship system designs get updated,

  including through the new build and dry/wet dock processes, are on hold during the suspension

  of the Company’s cruise operations, the CAM Team will seek to understand in ECP Year Four

  how the Company is integrating compliance concerns into ship design. In particular, the CAM

  Team understands that, prior to the onset of COVID-19, design changes were either being

  considered, or in process of being implemented, to: (1) improve food waste separation;

  (2) redesign piping to avoid cross-contamination between waste streams; (3) eliminate leaks and

  redesign piping to minimize bilge water accumulation; and (4) reconfigure piping arrangements

  to allow for more efficient bilge water offloads on select ships. See Employee Interview/Call

  Notes.



  170
      The CAM Team’s review of public health inspection results from the United States CDC’s
  Vessel Sanitation Program indicates that out of 284 inspections between January 2017 to March
  2020 of ships across all Carnival Corp. brands, slightly over 3% (9 inspections) resulted in
  failing scores. See https://wwwn.cdc.gov/InspectionQueryTool/InspectionSearch.aspx.


                                           Page 246 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 252 of
                                     264
                                                              July 13, 2020


         The COVID-19 pandemic has only increased the importance of this area of focus. Not

  only will the Company need to address the backlog of projects resulting from postponed

  drydocks and delayed new build progress, but the Company will also need to consider the impact

  of ship design on the potential spread of a new, highly infectious disease. A report by a team of

  medical professionals involved in implementing the Diamond Princess quarantine details some

  of the ship design features that made an onboard quarantine difficult, including: limited points of

  ingress and egress; small crew living quarters; and limited crew dining area spaces making social

  distancing and isolation difficult. See Y. Yamahata and A. Shibata, Preparation for Quarantine

  on the Cruise Ship Diamond Princess in Japan due to COVID-19, JMIR Public Health &

  Surveillance (May 2020), available at https://pubmed.ncbi.nlm.nih.gov/32365046/. Similarly,

  architects working on ship design in the wake of COVID-19 have emphasized the need to

  eliminate areas of crowding, including at embarkation/disembarkation points, theaters, and in

  crew quarters. See M. Hines, ‘Hygiene is the new luxury’: How cruise ship design could evolve

  to ward against outbreaks, USA TODAY (May 20, 2020), https://www.yahoo.com/news/hygiene-

  luxury-cruise-ship-design-170620642.html.

       The CAM Team will seek to better understand how the Company addresses these ship

  design issues to promote compliance in all HESS areas in ECP Year Four. In particular, the

  CAM Team will evaluate the Company’s decisions regarding guest-facing design issues, which

  may be crucial to regaining customers, as well as decisions regarding behind-the-scenes design

  issues, which are critical to compliance.

         E.      Other Support for Operations and Compliance

         This includes examining the Company’s efforts regarding:

             Financial resources for HESS compliance, including: the revised Ethics &
              Compliance Department and Program budget for Fiscal Year 2020; the revised 2020


                                              Page 247 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 253 of
                                     264
                                                              July 13, 2020


              Operating Line Compliance Manager Annual Plan (Budget) Certifications; and the
              integration of HESS compliance into the annual financial and strategic planning
              processes. See supra, Part III.E;

             Purchasing and procurement processes for spare parts. See supra, Part IV.A.2
              (discussing repeat findings on Company ships regarding pollution prevention
              equipment and spare parts);

             Shoreside support for ships, including the extent to which shoreside has adequate
              resources to provide the support needed by the ships (e.g., superintendent workloads),
              including in light of COVID-19-releated staff reductions. See supra, Part I.C.4.f
              (discussing staff reductions); Part IV.A.3 (discussing crew staffing and workload
              concerns and a prior RAAS study of superintendent workloads); and

             Efforts to improve the clarity and understandability of HESS policies and procedures,
              including the goal to implement “new shorter and clearer” environmental procedures
              before ships resume service. See Draft Pause Priorities Plan at PCL_ECP00166542.
              The recently revised DOJ Corporate Compliance Program Guidance emphasizes the
              importance of evaluating whether “policies and procedures been published in a
              searchable format for easy reference,” as well as whether a company “track[s] access
              to various policies and procedures to understand what policies are attracting more
              attention from relevant employees.” DOJ Corporate Compliance Program Guidance
              at 4.

         F.      Company Response to Internal and External Findings

         This includes examining the Company’s response to findings from the CAM, TPA,

  RAAS, outside consultants, and other internal and external studies and assessments, such as: the

  DNV GL Investigations Assessment; the Propel Environmental Compliance Culture Assessment;

  the ECP-mandated Fleet Engineering Survey; the Holland America Group Human Factors Study;

  the Holland America Group Workload Study; the participant feedback surveys and reports from

  the Operational Excellence and Environmental Excellence CSMART training courses, see CAM

  March 2020 Quarterly Report at 116-17; and the Food Waste Workload Assessment.

         G.      Post-2022: Compliance Beyond the ECP

         From the beginning of the ECP, the CAM has expressed the view that, when the ECP

  comes to an end in 2022, the best scenario for the long-term sustainability of the Company’s

  compliance program would be that no changes to the program are needed or desired because the


                                           Page 248 of 249
Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 254 of
                                     264
                                                              July 13, 2020


  ECP requirements have become fully integrated into the Company’s operations as the new

  normal. See Employee Interview/Call Notes. With that goal in mind, the CAM Team has

  supported the Company’s efforts to revise provisions of the ECP that have proven to be

  inefficient or ineffective in practice and has actively sought input from Company personnel

  about additional ECP provisions that may not be practical long-term. See CAM Second Annual

  Report at 27-31 (discussing joint efforts by the Company, CAM, and TPA to revise ECP

  provisions, including provisions related to Environmental Officer workload).

         During ECP Year Four, the CAM Team will continue to engage the Company on this

  issue, including seeking additional input in light of operational and other changes resulting from

  COVID-19. Through this process, the CAM Team will also seek to evaluate the Company’s

  capacity for continuous improvement in 2022 and beyond, particularly in light of the significant

  staffing reductions and other impacts from COVID-19.

                                                       Respectfully Submitted,




                                                       STEVEN P. SOLOW
                                                       Court Appointed Monitor
                                                       July 13, 2020




                                           Page 249 of 249
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 255 of
                                                   264
                                                                               July 13, 2020


                      APPENDIX A: STATUS OF PROBATION REVOCATION AGREEMENT COMMITMENTS

   Deadline                                   Obligation                                                 Status

Immediately      Search Firm for New Board Member. The Company will                     Search firm retained in July 2019;
                 immediately engage a search firm to assist the Boards of Directors     appointment of new Board member
                 to recruit a new board member with significant corporate               announced April 21, 2020
                 compliance experience.

06/01/2019       Consultant Recommendations. The Company shall provide the              Submitted June 1, 2019
                 Court, CAM, TPA and Interested Parties with the consultant’s
                 further recommendations.

06/2019-         Tiger Teams. The Company’s tiger teams intend to meet in               Met June 3-6, 2019; visited 30 ships
08/2019          Washington D.C. on June 3-7, 2019 for planning workshops in            between June-August 2019
                 which most of the inner workings and plans will be finalized. The
                 tiger teams will be dedicated to visiting at least 30 ships between
                 June and August.

06/10/2019       Financial Penalty. The Company agrees to pay an additional             The Company reports that this was paid
                 financial penalty of $20 million.                                      on schedule. See Status Conf. Tr. at 16
                                                                                        (July 19, 2019).

06/30/2019       Special Condition 13(a) Reporting Process. The Company shall           Submitted June 28, 2019
                 submit for approval to the Interested Parties a proposed process,
                 including the criteria for determining which incidents to report and
                 how they will be reported in compliance with Special Condition of
                 Probation 13(a).

07/01/2019       Interim Progress Report. The Company will provide an interim           Submitted July 1, 2019
                 report on its progress toward completing a proposed action plan to
                 restructure its existing corporate compliance governing authority.




                                                    APPENDIX A | Page 1 of 6
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 256 of
                                                   264
                                                                               July 13, 2020


   Deadline                                  Obligation                                                 Status

07/03/2019       Management Acceptance of Responsibility Statement. The                Issued July 1, 2019
                 Company will issue a statement to all employees in which the CEO
                 of Carnival Corporation & plc (and other senior management if they
                 so choose) personally accepts management responsibility for the
                 probation violations.

08/01/2019       Interim Progress Report. The Company shall provide a second           Submitted August 1, 2019
                 interim report on its progress toward completing a proposed action
                 plan to restructure its existing corporate compliance governing
                 authority.

08/01/2019       Food Waste Management Implementation Plan (Part One). The             Submitted August 1, 2019; update
                 Company will provide to the Interested Parties, TPA, and CAM an       submitted September 4, 2019
                 implementation plan specifying the project, the project owner, and
                 specific timetables for Part one – improved training, supervision,
                 staffing, and culture – of its Three Part Program addressing food
                 waste.

08/02/2019       Draft Unified Regulatory Reporting Policy. The Company will           Submitted July 31, 2019
                 submit for review and comment to the Interested Parties, CAM and
                 TPA a draft new policy in the Company’s Environmental
                 Management System that will govern the reporting requirements for
                 discharges according to United States federal and state laws.

08/14/2019       Proposed Action Plan on Corporate Re-Structuring. The                 Submitted August 14, 2019
                 Company shall provide the Court, CAM, TPA and Interested Parties
                 with the Company’s proposed action plan to restructure its existing
                 corporate compliance governing authority.

08/23/2019       Comments on Draft Unified Regulatory Reporting Policy. The            Joint CAM/TPA comments submitted
                 Interested Parties, CAM, and TPA will provide comments to the         August 23, 2019
                 Company, if any, on the Company’s draft new policy in the


                                                   APPENDIX A | Page 2 of 6
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 257 of
                                                   264
                                                                               July 13, 2020


   Deadline                                   Obligation                                                  Status

                 Company’s Environmental Management System that will govern the
                 reporting requirements for discharges according to United States
                 federal and state laws.

08/28/2019       Comments on Proposed Action Plan on Corporate Re-                       Joint CAM/TPA comments submitted
                 Structuring. The Interested Parties, CAM and TPA will provide           August 28, 2019
                 any comments or suggestions to the Company about the Company’s
                 proposed action plan to restructure its existing corporate compliance
                 governing authority.

09/13/2019       Final Action Plan on Corporate Re-Structuring. The Company              Submitted September 13, 2019; update
                 will provide a final version of its action plan to restructure its      submitted October 9, 2019; supplements
                 existing corporate compliance governing authority to the Court.         submitted November 1, 2019 (preliminary
                                                                                         financial plan) and December 10, 2019
                                                                                         (final financial plan)

                                                                                         Additional supplement (updated final
                                                                                         financial plan) expected week of July 27,
                                                                                         2020

09/13/2019       [Sanctions.] If the Company fails to submit an action plan to           --
                 restructure compliance by September 13, 2019, the Court may
                 impose sanctions of up to $1,000,000.00 per day, until the date of
                 compliance, as determined by the court.

09/22/2019       Final Unified Regulatory Reporting Policy. The Company will          Policy implemented in Global HESS
                 adopt and implement a final new policy that addresses the comments September 19, 2019
                 it received from the Interested Parties, the CAM, and the TPA on the
                 draft new policy in the Company’s Environmental Management
                 System that will govern the reporting requirements for discharges
                 according to United States federal and state laws.



                                                    APPENDIX A | Page 3 of 6
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 258 of
                                                   264
                                                                               July 13, 2020


   Deadline                                  Obligation                                                 Status

09/23/2019       [Sanctions.] If the Company fails to submit an action plan to         --
                 restructure compliance by September 23, 2019, the Court may
                 impose sanctions of up to $10,000,000.00 per day, until the date of
                 compliance, as determined by the court.

10/09/2019       [Sanctions.] If, by October 9, 2019, the Company fails to complete    --
                 implementation of certain tasks enumerated in September 13, 2019
                 compliance action plan, the Court may impose sanctions of up to
                 $1,000,000.00 per day, until the date of compliance, as determined
                 by the Court.

10/09/2019       Environmental Corporate Compliance Manager Promotion. The Environmental Corporate Compliance
                 Company will elevate the Environmental Corporate Compliance Manager promoted from Vice President to
                 Manager.                                                    Senior Vice President on May 17, 2019

10/09/2019       Chief Ethics & Compliance Officer Charter and Job                     Submitted September 13, 2019; update
                 Description. The Company will create the Chief Ethics &               submitted October 9, 2019
                 Compliance Officer charter and job description.

10/09/2019       Chief Ethics & Compliance Officer Appointment. The Company            Chief Ethics & Compliance Officer
                 will appoint the Chief Ethics & Compliance Officer.                   officially assumed duties August 12, 2019

10/09/2019       Executive Compliance Committee. The Company will create the           Submitted September 13, 2019; update
                 Executive Compliance Committee.                                       submitted October 9, 2019

10/09/2019       Annual Training Curriculum for Boards of Directors. The               Submitted October 9, 2019
                 Company will create an annual training curriculum for members of
                 its Boards of Directors that would include corporate compliance
                 topics.

10/09/2019       Boards’ Statement on Commitment to Compliance. The                    Submitted October 9, 2019
                 Company’s Boards of Directors will adopt a new written statement


                                                   APPENDIX A | Page 4 of 6
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 259 of
                                                   264
                                                                               July 13, 2020


   Deadline                                   Obligation                                                  Status

                 that reiterates the Company’s and the Boards’ commitment to
                 compliance.

10/31/2019       Food Waste Disposal Technologies Analysis. The Company shall            Submitted October 31, 2019
                 review and provide an analysis of: (1) new food waste disposal
                 technologies; (2) options for redesign of existing food waste
                 disposal systems and associated processes; and (3) the optimization
                 of food waste disposal systems and associated processes.

11/01/2019       [Sanctions.] If the Company fails to complete implementation of         --
                 certain tasks to restructure compliance by November 1, 2019, the
                 Court may impose sanctions of up to $10,000,000.00 per day, until
                 the date of compliance, as determined by the Court.

01/31/2020       Food Waste Management Implementation Plan (Part 3). The                 Submitted January 31, 2020
                 Company shall provide to the Interested Parties, TPA, and CAM an
                 implementation plan to optimize food waste management, including
                 food waste disposal systems and associated processes, specifying
                 projects, the project owners, and specific timetables for milestones.

No deadline set Third-Party Food Waste Staffing Assessment. The Company will Third-party assessment submitted to
                retain a qualified third-party to assess the necessary staffing levels Interested Parties, CAM, and TPA on
                for both the operational and compliance aspects of food waste          April 17, 2020
                management to determine appropriate resources to comply with the
                updated procedures.

May 29, 2020     Company Plan in Response to Third-Party Food Waste Staffing             Submitted June 2, 2020 (extension agreed
                 Assessment. Within forty-five days of receiving the third-party         upon with Interested Parties, CAM, and
                 food waste staffing assessment, the Company will provide the            TPA)
                 Interested Parties, CAM, and TPA with its plan in response to the
                 assessment.



                                                    APPENDIX A | Page 5 of 6
              Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 260 of
                                                   264
                                                                               July 13, 2020


   Deadline                                  Obligation                                     Status

12/31/2021       Single-Use Plastic Reduction. The Company shall reduce the           TBD
                 purchase and consumption of single-use plastic items across the
                 corporate fleet by 50 percent.

12/31/2021       Food Waste Weight Reduction. The Company shall reduce the            TBD
                 total weight of food waste that the Company creates by 10 percent.

04/18/2022       Commitment of $20 Million in Capital Expenditures to                 TBD
                 Optimize Food Waste Management. The Company has
                 committed a minimum of $20 million in capital expenditures
                 throughout the remainder of probation to optimize food waste
                 management, including food waste disposal systems and associated
                 processes.




                                                   APPENDIX A | Page 6 of 6
           Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 261 of
                                                264
                                                                            July 13, 2020


                                        APPENDIX B: COMPANY INITIATIVES

   Category         Initiative                                          Description

Communications   Case Studies      An initiative to share lessons learned from incidents. Case studies typically take the
& Awareness                        form of a short document summarizing a notable environmental incident that occurred
                                   on a Company ship, along with lessons learned and reminders to avoid similar
                                   incidents in the future.

Communications   ECP Newsletter    A monthly newsletter from the Chief Maritime Officer covering issues and
& Awareness                        developments related to environmental compliance.

Communications   Electronic HESS   A program to replace paper-based HESS notice boards on ships with flat screen
& Awareness      Notice Boards     televisions.

Communications   Environmental     Fleetwide communications from the Environmental Corporate Compliance Manager’s
& Awareness      Compliance        team that raise awareness about environmental compliance-related matters and
                 Notices           typically require shipboard personnel to take certain actions to promote compliance.

Communications   Ethics &          A weeklong event held in November 2019 at all Holland America Group offices to
& Awareness      Compliance        highlight the importance of ethics and compliance. Some ships also held events
                 Week              onboard. The theme was “Awareness, Recognition, Reinforcement.”

Communications   HESS Feedback     A program to install HESS feedback stations on ships to allow to crew members to
& Awareness      Stations          submit written feedback, concerns, and suggestions on HESS-related issues.

Communications   Operation         A trademarked brand name for the Company’s environmental compliance and
& Awareness      Oceans Alive      stewardship program. It includes a communications program consisting of
                                   compliance notices, newsletters, case studies, info-graphics and video messages. It
                                   also includes the Top 5 Program, the Environmental Excellence Awards, and the
                                   Environmental Hub online chat forum.




                                               APPENDIX B | Page 1 of 4
                Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 262 of
                                                     264
                                                                                 July 13, 2020


    Category             Initiative                                          Description

Communications       Safety and         A quarterly bulletin providing information related to marine safety, technical safety,
& Awareness          Environmental      and environmental incidents and near misses that took place on Company ships.
                     Awareness
                     Bulletin

Communications       Soundwaves         A podcast hosted by the Carnival Corp. CEO that includes interviews with people
& Awareness          Podcast            throughout the Company. It has covered various compliance-related topics, including
                                        reducing single-use plastics.

Communications       Speak Up           A program to install info-graphic posters encouraging employees to “speak up” and
& Awareness          Posters            report compliance concerns. The posters are refreshed each year.

Communications       Stand in           A program to install signage on and around Oily Water Separator and White Box
& Awareness          Compliance         equipment to make the equipment stand out and remind crew members to follow
                     Program            procedures when operating it.

Communications       The                An online chat forum for Environmental Officers and other compliance personnel that
& Awareness          Environmental      is designed as a platform to share environmental compliance information, as well as
                     Hub and Hotel      solicit feedback on training, procedures, and best practices. The Company has also
                     Operations         established an Environmental Hub Hotel Operations Forum for hotel personnel.
                     Forum

Diversity and        IDEA               An inaugural forum on Inclusion, Diversity, Equity, and Aspiration hosted by
Inclusion            Conference         Carnival Cruise Line in Miami, Florida, from January 22-24, 2020.

Employee             Environmental      A program to give away collectible environmental “challenge coins” to employees
Incentive            Challenge Coins    who go above and beyond environmental compliance and stewardship expectations.
Programs             and Certificates




                                                    APPENDIX B | Page 2 of 4
                Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 263 of
                                                     264
                                                                                 July 13, 2020


    Category            Initiative                                          Description

Employee             Environmental    A reward and recognition program for employees who exceed environmental
Incentive            Excellence       compliance expectations. Awards are given to ships achieving the highest levels of
Programs             Awards           compliance, based on a standard scoring criteria.

Employee             HESS Employee    A program to reward employees for their HESS-related compliance performance or
Incentive            of the Month     leadership. The criteria and rewards differ by brand.
Programs             Program

Incident Data        HESS Monthly     The Chief Maritime Officer’s monthly dashboard analyzing HESS compliance-related
Tracking and         Dashboard        key performance indicators.
Analysis

Other                Environmental    A program to address concerns with the Environmental Control System
                     Control System   (seal/lock/weld) program. The first phase focused on reducing the number of seals on
                     “Get Well”       ships to a manageable level that still acts to deter and detect improper discharges. The
                     Program          Environmental Corporate Compliance Manager and his team also collaborated with
                                      the CAM Team and TPA on ECP revisions to improve the effectiveness of the
                                      Environmental Control System program.

Training             Tool Box Talks   A series of supervisor-led training sessions held onboard ships that cover various
                                      environmental and technical requirements, including the Environmental Control
                                      System program, bilge water procedures, portable pump procedures, and food waste
                                      management.

Waste                Bilge Water      An initiative to reduce the volume of bilge water that accumulates in ships across the
Management and       Minimization     fleet. It includes a focus on the need to promptly report and repair leaks to the bilge.
Reduction            Initiative

Waste                Oily Water       A fleetwide initiative to install updated Oily Water Separator and White Box
Management and       Separator and    equipment on ships. The updated equipment is designed to be more effective at
Reduction



                                                  APPENDIX B | Page 3 of 4
           Case 1:16-cr-20897-PAS Document 191 Entered on FLSD Docket 07/14/2020 Page 264 of
                                                264
                                                                            July 13, 2020


   Category         Initiative                                        Description

                 White Box       separating oil from water and more resistant to tampering. The Company reported
                 Upgrades        that these installations were completed by January 31, 2019.

Waste            Top 5 Program   An initiative to address five key areas of environmental concern/risk related to: (1)
Management and                   waste stream and ballast water discharges; (2) tampering or unauthorized
Reduction                        modifications to pollution prevention equipment; (3) identification and control of
                                 vulnerable vales, fittings and portable pumps; (4) use of compliant fuels and
                                 Advanced Air Quality System operation; and (5) reporting leaks to the bilge and
                                 making timely repairs.




                                             APPENDIX B | Page 4 of 4
